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                                            Exhibit 1

                                        Loan Agreement




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                                                                      EXECUTION VERSION




     SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT

                                   Dated as of January 31, 2017

                                              Among

                           WHITE EAGLE ASSET PORTFOLIO, LP,
                                     as Borrower,

                      THE FINANCIAL INSTITUTIONS PARTY HERETO,
                                       as Lenders

                             IMPERIAL FINANCE & TRADING, LLC
                 as Initial Servicer, as Initial Portfolio Manager and as Guarantor

                             LAMINGTON ROAD BERMUDA LTD.
                                   as Portfolio Manager

                                               And

                                          CLMG CORP.,

                                     as Administrative Agent




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        THIS SECOND AMENDED AND RESTATED LOAN AND SECURITY
AGREEMENT (this “Loan Agreement”) is made and entered into as of January 31, 2017, among
WHITE EAGLE ASSET PORTFOLIO, LP, a Delaware limited partnership (the “Borrower”),
IMPERIAL FINANCE & TRADING, LLC, a Florida limited liability company, as Initial
Servicer (in such capacity, the “Initial Servicer”), as Initial Portfolio Manager (in such capacity,
the “Initial Portfolio Manager”) and as Guarantor (in such capacity, the “Guarantor”),
LAMINGTON ROAD BERMUDA LTD., a Bermuda company, as Portfolio Manager (in such
capacity, the “Portfolio Manager”), LNV Corporation, a Nevada corporation, as initial lender
(the “Initial Lender”), the financial institutions party hereto as Lenders (together with the Initial
Lender, the “Lenders”), and CLMG Corp., a Texas corporation, as the administrative agent for
the Lenders (in such capacity, the “Administrative Agent”).

                                      W I T N E S S E T H:

      WHEREAS, the Borrower desires that the Lenders agree to extend financing to the
Borrower on the terms and conditions set forth herein.
       WHEREAS, the Lenders are willing to provide such financing on the terms and
conditions set forth in this Loan Agreement.
        WHEREAS, in consideration for the Lenders providing such financing, the Borrower
hereby agrees to pay, among other things, the Aggregate Participation Interest to the Lenders on
the terms and conditions set forth herein.
         WHEREAS, on May 16, 2014, the Borrower converted from being a Delaware limited
liability company to a Delaware limited partnership.
       WHEREAS, on May 16, 2014, the Predecessor Parent Pledgor (i) transferred to the LP
Parent its limited partnership interests in the Borrower pursuant to the Borrower Interest
Purchase and Sale Agreement and the Assignment of Interest in Limited Partnership, (ii) the
Predecessor Parent Pledgor and LP Parent entered into the Predecessor Parent Pledgor LP
Contribution Agreement, and (iii) the LP Parent and Borrower entered into the LP Parent
Contribution Agreement.
       WHEREAS, the Borrower (formerly known as White Eagle Asset Portfolio, LLC, a
Delaware limited liability company), the Initial Portfolio Manager, the Initial Servicer, the Initial
Lender and the Administrative Agent entered into that certain Loan and Security Agreement,
dated as of April 29, 2013 (as amended, restated, supplemented or as otherwise modified prior to
May 16, 2014, the “Original Loan Agreement”).
        WHEREAS, the Borrower, the Initial Portfolio Manager, the Initial Servicer, the
Guarantor, the Initial Lender, the Lenders and the Administrative Agent entered into that certain
Amended and Restated Loan and Security Agreement, dated as of May 16, 2014 (as amended,
restated, supplemented or as otherwise modified prior to the date hereof, the “Original Amended
and Restated Loan Agreement”).
       WHEREAS, the parties hereto wish to amend and restate the Original Amended and
Restated Loan Agreement in its entirety.

 SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
    WHITE EAGLE ASSET PORTFOLIO, LP, IMPERIAL FINANCE & TRADING, LLC,
    LAMINGTON ROAD BERMUDA LTD., LNV CORPORATION AND CLMG CORP.
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       NOW, THEREFORE, in consideration of the premises and the mutual agreements herein
contained, the parties hereto agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

               Section 1.1 Defined Terms. Capitalized terms used and not otherwise defined
in this Loan Agreement shall have the meanings given to them in the List of Defined Terms
attached hereto as Annex I.

                  Section 1.2   Other Definitional Provisions.

                    (a)      Unless otherwise specified therein, all terms defined in this Loan
Agreement have the meanings as so defined herein when used in the Lender Notes or any other
Transaction Document, certificate, report or other document made or delivered pursuant hereto.

                        (b)    Each term defined in the singular form in Section 1.1 or elsewhere
in this Loan Agreement shall mean the plural thereof when the plural form of such term is used
in this Loan Agreement, the Lender Notes or any other Transaction Document, and each term
defined in the plural form in Section 1.1 or elsewhere in this Loan Agreement shall mean the
singular thereof when the singular form of such term is used herein or therein.

                       (c)     The words “hereof,” “herein,” “hereunder” and similar terms when
used in this Loan Agreement shall refer to this Loan Agreement as a whole and not to any
particular provision of this Loan Agreement, and article, section, subsection, schedule and
exhibit references herein are references to articles, sections, subsections, schedules and exhibits
to this Loan Agreement unless otherwise specified.

               Section 1.3 Other Terms. All accounting terms not specifically defined herein
shall be construed in accordance with GAAP. All terms used in Article 9 of the UCC in the State
of Delaware, and not specifically defined herein, are used herein as defined in such Article 9.

               Section 1.4 Computation of Time Periods. Unless otherwise stated in this
Loan Agreement, in the computation of a period of time from a specified date to a later specified
date, the word “from” means “from and including” and the words “to” and “until” each means
“to but excluding.”

                                    ARTICLE II
                THE LENDERS’ COMMITMENTS, BORROWING PROCEDURES,
                       SECURITY INTEREST AND LENDER NOTES

                  Section 2.1   Lenders’ Commitments.

                    (a)    On the terms and subject to the conditions set forth in this Loan
Agreement, the Lenders made the Initial Advance pursuant to the Original Loan Agreement and

 SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
    WHITE EAGLE ASSET PORTFOLIO, LP, IMPERIAL FINANCE & TRADING, LLC,
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shall make Ongoing Maintenance Advances, and may make Additional Policy Advances, to the
Borrower from time to time before the Commitment Termination Date in such amounts as may
be from time to time requested by the Borrower pursuant to Section 2.2 and agreed to by the
Lenders, for the purposes set forth in Section 2.8(a); provided, however that (i) the aggregate
principal amount of all Advances from time to time outstanding under this Loan Agreement
(including any Protective Advances that the Borrower has knowledge or notice of) shall not
exceed the Borrowing Base and (ii) no Lender shall be obligated to make any Advance to the
Borrower to the extent that the aggregate outstanding amount of such Advances made by such
Lender hereunder exceeds such Lender’s Commitment as set forth in Schedule 2.1(a), as the
same is amended (or deemed amended) from time to time by Assignment and Assumption
Agreements executed pursuant to Section 13.4 of this Loan Agreement, nor shall any Lender be
obligated to make any Advance required to be made by any other Lender.

                         (b)    On the Initial Closing Date, the Lenders made the Initial Advance
to the Borrower.

                        (c)    So long as the Borrower has requested the same pursuant to a
Borrowing Request delivered to the Administrative Agent as set forth below and subject to the
conditions set forth in this Loan Agreement, the Lenders shall make Ongoing Maintenance
Advances to the Borrower; provided, however, that the aggregate principal amount of all
Advances outstanding under this Loan Agreement (including any Protective Advances that the
Borrower has knowledge or notice of) shall not exceed the Borrowing Base.

                        (d)    So long as the Borrower has requested the same pursuant to a
Borrowing Request delivered to the Administrative Agent as set forth below and subject to the
conditions set forth in this Loan Agreement, the Lenders may make Additional Policy Advances
to the Borrower in amounts determined by the Lenders in their sole discretion; provided,
however, that the aggregate principal amount of all Advances outstanding under this Loan
Agreement (including any Protective Advances that the Borrower has knowledge or notice of)
shall not exceed the Borrowing Base.

                        (e)    Without regard to the Borrowing Base and without any Borrowing
Request, and whether before or after the Partial Repayment Date, the Lenders shall be entitled to
make Advances on behalf of the Borrower as the Lenders determine in their reasonable
discretion are necessary in order to make premium payments and to pay other costs and expenses
to ensure that one or more Pledged Policies selected by the Lenders in their sole discretion, other
than Policies that are abandoned or sold as contemplated by Section 2.7 of this Loan Agreement,
remain in full force and effect, as determined by the Lenders in their sole discretion (such
Advances, together with any Advances made from time to time by the Lenders hereunder to pay
any costs and expenses in defending the Collateral against any lawsuits or in any other
proceedings (including attorneys’ fees) and any Advances made from time to time by the
Lenders hereunder during the occurrence and continuance of an Unmatured Event of Default or
an Event of Default shall collectively be referred to herein as “Protective Advances”).

                  Section 2.2   Borrowing Procedures.
 SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
    WHITE EAGLE ASSET PORTFOLIO, LP, IMPERIAL FINANCE & TRADING, LLC,
    LAMINGTON ROAD BERMUDA LTD., LNV CORPORATION AND CLMG CORP.
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                       (a)     The Borrower shall request Advances hereunder by giving notice
to the Administrative Agent of the proposed borrowing. Such notice (herein called a “Borrowing
Request”) shall be in the form of Exhibit A. The Borrowing Request for the Initial Advance was
permitted to have been prepared and delivered by the Borrower up to five (5) Business Days
before the date of execution of the Original Loan Agreement such that the related Proposed
Initial Advance Notice and Initial Advance Acceptance was executed concurrently with the
Original Loan Agreement. The Borrowing Request for the Initial Advance (i) specified the date
and aggregate amount of the proposed Initial Advance, (ii) identified the Subject Policies
proposed to be pledged hereunder in connection with the Initial Advance and confirm that the
related Collateral Packages (taking into account the exceptions noted on Schedules V, VI, VII,
VIII, IX, X and XI to the Account Control Agreement) had been uploaded to the FTP Site and
(iii) attached a Borrowing Base Certificate, signed by an officer of the Borrower or the Portfolio
Manager.

                        (b)     The Borrower may request an Ongoing Maintenance Advance
hereunder by delivering a fully executed and completed Borrowing Request to the
Administrative Agent. Each Borrowing Request for a proposed Ongoing Maintenance Advance
shall (i) specify the date and aggregate amount of the proposed Ongoing Maintenance Advance
and (ii) attach a Borrowing Base Certificate, signed by an officer of the Borrower or the Portfolio
Manager. The Borrowing Request for the initial Ongoing Maintenance Advance was permitted
to have been prepared and delivered by the Borrower up to five (5) Business Days before the
date of execution of the Original Loan Agreement such that the related Subsequent Advance
Acceptance was executed concurrently with the Original Loan Agreement.

                       (c)     The Borrower shall not deliver any Borrowing Request with
respect to a proposed Additional Policy Advance unless and until it has received written notice
from the Administrative Agent confirming that the Administrative Agent and the Lenders have
completed their due diligence with respect to the Additional Policies proposed to be pledged
hereunder in connection with the making of such Additional Policy Advance, and indicating
which Additional Policies, if any, will be accepted as Collateral hereunder and the estimated
amounts that the Lenders will be willing to fund under this Loan Agreement with respect to such
Additional Policies. After the Borrower’s receipt of such written notice from the Administrative
Agent, the Borrower may request an Additional Policy Advance hereunder with respect to such
Additional Policies by delivering a fully executed and completed Borrowing Request to the
Administrative Agent. Each Borrowing Request related to a proposed Additional Policy
Advance shall (i) specify the date and aggregate amount of the proposed Additional Policy
Advance, (ii) identify the Additional Policies proposed to be pledged hereunder in connection
with such Additional Policy Advance, confirm that the related Collateral Packages have been
uploaded to the FTP Site, and confirm that the related Expense Deposit shall be wired to the
Administrative Agent’s Account promptly following confirmation of the amount thereof and (iii)
attach a Borrowing Base Certificate, signed by an officer of the Borrower or the Portfolio
Manager. The Administrative Agent agrees that the Expense Deposit shall be used solely by the
Administrative Agent and the Lenders for reasonable third-party out-of-pocket expenses incurred
in connection with the review and evaluation of the Additional Policies identified in such

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Borrowing Request, and that any unused portion of the Expense Deposit shall be returned to the
Borrower.

                      (d)     The Borrower hereby expressly authorizes the Portfolio Manager
to execute any Borrowing Base Certificates that are to be delivered in connection with this
Agreement. Each of the Borrower, the Portfolio Manager, the Initial Servicer, the Initial
Portfolio Manager and the Guarantor hereby agrees that neither the Administrative Agent nor
any Lender shall incur any liability to anyone in acting upon any signature, written instrument or
notice purportedly signed by an officer of the Borrower or the Portfolio Manager.

                  Section 2.3   Funding.

                         (a)    No later than five (5) Business Days following the Lenders’ receipt
of the Borrowing Request for the Initial Advance, the Lenders, in their sole discretion and acting
unanimously, determined whether to approve the Subject Policies, and the Administrative Agent
notified the Borrower of the determination of the amount, if any, the Lenders would fund (a
“Proposed Initial Advance”, and such notice of the Proposed Initial Advance, a “Proposed Initial
Advance Notice”). Such determination was made in the Lenders’ sole discretion. As the
Lenders were willing to make such Proposed Initial Advance and the Borrower determined to
accept such Proposed Initial Advance, on or before the third (3rd) Business Day after the
delivery of the Proposed Initial Advance Notice by the Administrative Agent, the Borrower
notified the Administrative Agent that the Borrower accepted the Proposed Initial Advance (an
“Initial Advance Acceptance”). No later than the third (3rd) Business Day following the
Lenders’ receipt of the Initial Advance Acceptance, and subject to the complete satisfaction of
the conditions precedent set forth in Article VII with respect to the Initial Advance and the
limitations set forth in Section 2.1, the Lenders distributed funds in the amount set forth in the
Proposed Initial Advance Notice to the Payment Account and was disbursed by the Securities
Intermediary in accordance with the terms of the Account Control Agreement.

                       (b)     No later than five (5) Business Days following the Lenders’ receipt
of a Borrowing Request for an Ongoing Maintenance Advance, the Administrative Agent shall
notify the Borrower of the resulting total Ongoing Maintenance Advance to be funded by the
Lenders on the related Subsequent Advance Date (such notice, the related “Subsequent Advance
Acceptance”) subject to the immediately following sentence. Subject to the complete
satisfaction of the conditions precedent set forth in Article VII with respect to such Ongoing
Maintenance Advance and the limitations set forth in Section 2.1, the Lenders shall distribute
funds in the amount set forth in such Subsequent Advance Acceptance to the Payment Account
to be disbursed by the Securities Intermediary in accordance with the terms of the Account
Control Agreement.

                       (c)    No later than five (5) Business Days following the Lenders’ receipt
of a Borrowing Request for an Additional Policy Advance, the Lenders shall, in their sole
discretion and acting unanimously, determine whether to approve the Additional Policies, and
the Administrative Agent shall notify the Borrower of the determination of the amount, if any,
the Lenders will fund (a “Proposed Additional Policy Advance”, and such notice of the Proposed
 SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
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Additional Policy Advance, a “Proposed Additional Policy Advance Notice”); provided that such
determination shall be in the Lenders’ sole discretion. If the Lenders are willing to make such
Proposed Additional Policy Advance and the Borrower determines to accept such Proposed
Additional Policy Advance, on or before the third (3rd) Business Day after the delivery of the
Proposed Additional Policy Advance Notice by the Administrative Agent, the Borrower shall
notify the Administrative Agent that the Borrower accepts the Proposed Additional Policy
Advance (an “Additional Policy Advance Acceptance”) which notice shall specify the agreed
Additional Policy Advance Amount; for avoidance of doubt, if the Borrower does not deliver an
Additional Policy Advance Acceptance by 5:00 pm, New York time on the third (3rd) Business
Day following the delivery of the Proposed Additional Policy Advance Notice, then the
Borrower shall be deemed to have rejected such Proposed Additional Policy Advance. On the
third (3rd) Business Day following the Lenders’ receipt of the Additional Policy Advance
Acceptance, and subject to the complete satisfaction of the conditions precedent set forth in
Article VII with respect to such Additional Policy Advance and the limitations set forth in
Section 2.1, the Lenders shall distribute funds in the amount set forth in the Proposed Additional
Policy Advance Notice to the Payment Account to be disbursed by the Securities Intermediary in
accordance with the terms of the Account Control Agreement.

                         (d)   The Borrower shall not deliver more than three (3) Borrowing
Requests in any calendar month. In addition, the Borrower shall not deliver any Borrowing
Request so long as with respect to two (2) Borrowing Requests previously delivered to the
Administrative Agent, (i) with respect to a Borrowing Request relating to an Additional Policy
Advance, the Administrative Agent has not yet delivered the related Proposed Additional Policy
Advance Notice, the Borrower has not yet delivered the related Additional Policy Advance
Acceptance, the Borrower has not yet rejected the related Proposed Additional Policy Advance
or the Borrower has delivered the related Additional Policy Advance Acceptance and the related
Subsequent Advance Date has not yet occurred, in each case, in accordance with Section 2.3(c),
or (ii) with respect to a Borrowing Request relating to an Ongoing Maintenance Advance, the
Borrower has delivered the related Subsequent Advance Acceptance and the related Subsequent
Advance Date has not yet occurred.

                Section 2.4 Representation and Warranty. Each Borrowing Request pursuant
to Section 2.2 and each acceptance of an Advance by the Borrower shall automatically constitute
a representation and warranty by the Borrower to the Administrative Agent and each Lender that
on the requested date of the requested Advance and on the related Advance Date (a) the
representations and warranties set forth in Article VIII will be true and correct in all respects as
of such Borrowing Request date and as of such Advance Date as though made on such dates
(which may be made by reference to updated schedules for Section 8.1(i), Section 8.1(j), Section
8.1(m), Section 8.1(q), Section 8.1(s), Section 8.1(u) and Section 8.1(w), although the updates to
any such schedules shall not be deemed to cure any breach resulting from schedules delivered
prior to such date nor shall the updates to any such schedules be deemed to constitute a waiver
by the Administrative Agent or any Lender of the satisfaction of any of the conditions precedent
set forth in Article VII for the making of an Advance (and, for the avoidance of doubt, any
rejection of a proposed Advance by the Required Lenders because of such updates to any such

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schedules shall not constitute an abandonment by the Required Lenders of any of the Pledged
Policies related to such Advance for the purposes of Section 2.7(b))), (b) except as otherwise
agreed to in this Section, all of the conditions precedent to the making of an Advance contained
in Article VII have been satisfied or will have been satisfied as of such Advance Date, (c) no
Event of Default or Unmatured Event of Default has occurred and is continuing or will result
from the making of such Advance, and (d) the aggregate principal balance of the outstanding
Advances hereunder (taking into account the amount of the Advance requested by the Borrower
pursuant to such Borrowing Request including any Protective Advances that the Borrower has
knowledge or notice of) will not exceed the Borrowing Base.

                Section 2.5 Lender Notes. With respect to each Lender, the Advances made
by such Lender to the Borrower shall be evidenced by a single promissory grid note executed by
the Borrower (as the same may be amended, modified, extended or replaced from time to time, a
“Lender Note” and collectively, the “Lender Notes”) substantially in the form of Exhibit B
hereto, with appropriate insertions to reflect Advances actually funded by such Lender, the
related applicable interest rates thereof and related repayments and appropriate revisions to
reflect assignments effected in accordance with Section 13.4 of this Loan Agreement, payable to
the order of such Lender. The Borrower hereby irrevocably authorizes each Lender to make (or
cause to be made) appropriate notations on the grid attached to its Lender Note (or on any
continuation of such grid) or at such Lender’s option, in the records of such Lender, which
notations, if made, shall evidence, inter alia, the date of, the outstanding principal of, and the
interest rates and Interest Periods applicable to the Advances made by such Lender and related
repayments and appropriate revisions to reflect assignments effected in accordance with Section
13.4 of this Loan Agreement. Such notations shall be rebuttably presumptive evidence of the
subject matter thereof absent manifest error; provided, however, that the failure to make any such
notations shall not limit or otherwise affect any Obligations of the Borrower. The Borrower
hereby agrees to promptly execute and deliver a new Lender Note upon any assignment to a new
Lender effected in accordance with Section 13.4 of this Loan Agreement, and each Lender
making an assignment of all or any portion of its Lender Note will either (i) if such assignment is
an assignment of its entire Lender Note, deliver its Lender Note to the Borrower for termination
and cancellation effective upon Borrower’s execution and delivery of such new Lender Note to
the assignee thereof or (ii) if such assignment is an assignment in part of such Lender Note,
deliver its Lender Note to the Borrower for termination and cancellation effective upon
Borrower’s execution and delivery of a new Lender Note to the assignee thereof and a new
Lender Note to such Lender.

                  Section 2.6   Security Interest.

                        (a)     To secure the timely repayment of the principal of, and interest on,
the Advances, and all other Obligations of the Borrower to any Secured Party, including, without
limitation, the Aggregate Participation Interest, and the prompt performance when due of all
covenants of the Borrower hereunder and under any other Transaction Document, whether
existing or arising as of the Initial Closing Date or thereafter, due or to become due, direct or
indirect, the Borrower hereby pledges and grants to the Administrative Agent, for the benefit of

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the Secured Parties, a continuing, first priority security interest in, and assignment of, all of the
Borrower’s rights, titles and interests in, to and under all of the following, whether owned,
existing or arising as of the Initial Closing Date or thereafter: all assets of the Borrower,
including but not limited to all right, title and interest of the Borrower in the Pledged Policies
(unless and until such Policies are abandoned or sold as provided by Section 2.7 of this Loan
Agreement) and proceeds thereof; all accounts receivable, notes receivable, claims receivable
and related proceeds including but not limited to, cash, loans, securities, accounts; contract
rights; the contracts with the Custodian and/or the Securities Intermediary; the Collection
Account, the Payment Account, the Escrow Account, the Policy Account, the Borrower Account
and any other account of the Borrower; reserve accounts; escrow agreements and related books
and records; the rights under any purchase agreements relating to such Policies; all data,
documents and instruments contained in the Collateral Packages; and such other assets, tangible
or intangible, real or personal, as reasonably may be required by the Administrative Agent to
fully secure any Advances contemplated herein. All of the rights and assets described in the
previous sentence are herein referred to collectively as “Collateral”; provided, however, that this
definition of “Collateral” does not limit any other collateral that may be pledged to secure the
Advances under any other Transaction Document. Each of the Borrower, Imperial and the
Portfolio Manager, on behalf of itself and each of its Affiliates, hereby acknowledges and agrees
that each of the collateral assignments that were previously filed with Issuing Insurance
Companies in connection with the Red Falcon Credit Facility, shall remain on file in full force
and effect with such Issuing Insurance Companies, that all references to CLMG Corp. therein
shall be deemed to refer to CLMG Corp. in its capacity as the Administrative Agent under this
Agreement and the other Transaction Documents, shall relate to the applicable Policies pledged
hereunder in connection with the Additional Policy Advance made on December 29, 2016 and be
subject to the terms and conditions of this Agreement and the other Transaction Documents to
secure the Borrower's obligations hereunder and thereunder.

                        (b)    The Borrower shall file such financing statements, and execute and
deliver such agreements, certificates and documents, and take such other actions, as the
Administrative Agent requests in order to perfect, evidence or protect the security interest
granted pursuant to Section 2.6(a), including without limitation delivering a collateral
assignment in respect of each Pledged Policy subject to this Loan Agreement, naming the
Administrative Agent, on behalf of the Lenders, as the collateral assignee, filed with, and
acknowledged to have been filed by, the applicable Issuing Insurance Company; provided, that
the foregoing collateral assignment shall not apply to the portion of the face amount that is
retained by a third party under any Retained Death Benefit Policy. On or prior to each Advance
Date (other than the Advance Date for the Initial Advance), the Borrower shall deliver or cause
to be delivered completed but unsigned Change Forms for the Subject Policies to the Securities
Intermediary. Within two (2) Business Days of the making of the Initial Advance Date, the
Borrower delivered or caused to be delivered completed but unsigned Change Forms for the
Subject Policies to the Securities Intermediary. The Borrower shall cause the Securities
Intermediary to execute all such Change Forms in blank to be held by the Securities
Intermediary. If an Issuing Insurance Company updates its Change Forms, at the request of the
Administrative Agent, the Borrower shall deliver or cause to be delivered completed but

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unsigned updated Change Forms for the related Pledged Policies within five (5) Business Days
of such request. The Borrower shall cause the Securities Intermediary to execute such Change
Forms in blank to be held by the Securities Intermediary. The Borrower grants to the
Administrative Agent, as its irrevocable attorney-in-fact and otherwise, the right, in the
Administrative Agent’s sole discretion following acceleration or maturity of the Obligations of
the Borrower under this Loan Agreement, to complete or direct the Securities Intermediary to
complete and send any and all Change Forms previously delivered to it by or on behalf of the
Borrower or otherwise obtained by the Administrative Agent, to the applicable Issuing Insurance
Companies. The Borrower hereby acknowledges that the foregoing grant has been coupled with
an interest. The Borrower hereby authorizes the Administrative Agent to file such financing
statements as the Administrative Agent determines are necessary or advisable to perfect such
security interest without the signature of the Borrower, provided however, notwithstanding any
other provision of any Transaction Document, the Administrative Agent shall have no duty or
obligation to file such financing statements, continuation statements or amendments thereto; and
provided, further, that if the Administrative Agent notifies the Borrower in writing that it intends
to file any financing statements, continuation statements or amendments thereto but fails to do
so, and does not in connection therewith timely instruct the Borrower to file such item or items,
then the Borrower shall not be and shall not be deemed to be in breach of any representation or
warranty concerning the perfection of related or affected security interests if such breach is a
direct result of the Administrative Agent’s failure to file such item or items and such filing would
have perfected such security interests. The Borrower hereby appoints the Administrative Agent
as the Borrower’s irrevocable attorney-in-fact, with full power and authority to take any other
action to sign or endorse the Borrower’s name on any Collateral, and to enforce or collect any of
the Collateral following acceleration of the obligations of the Borrower under this Loan
Agreement in relation to an uncured Event of Default. The Borrower hereby acknowledges that
the foregoing appointments of the Administrative Agent as the Borrower’s irrevocable attorney-
in-fact have been coupled with an interest. The Borrower hereby ratifies and approves all acts of
such attorney undertaken or performed consistent with the foregoing and all Applicable Law, and
agrees that the Administrative Agent will not be liable for any act or omission with respect
thereto, except to the extent that such act or omission constitutes gross negligence, fraud or
willful misconduct on the part of the Administrative Agent. Subject to the provisions of the
UCC and the rights of any purchaser (including any Lender) of the Collateral in connection with
the Lenders’ exercise of remedies, none of the foregoing provisions and undertakings constitute
or shall be deemed to constitute waiver by the Borrower of its rights, title and interest in or to
any such Collateral or the proceeds thereof that are in excess of its payment obligations
hereunder and under the Lender Notes.

                        (c)    Upon the abandonment of a Pledged Policy or upon the receipt by
the Lenders of the portion of the related sale proceeds to which the Lenders are entitled in
accordance with terms of this Loan Agreement after the sale of a Pledged Policy, in each case,
pursuant to Section 2.7, the security interest of the Administrative Agent in such Pledged Policy
for the benefit of the Secured Parties shall be released and the Administrative Agent agrees to
file, promptly upon request, such releases or assignments, as applicable, with respect to such
Pledged Policy, request the Securities Intermediary to deliver to the Borrower the Change Forms

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delivered to it in blank by the Borrower pursuant to Section 2.6(b) related to such Pledged
Policy, and to take such other actions as the Borrower shall reasonably request in order to
evidence any such release of such Pledged Policy. Upon the repayment of all of the Borrower’s
Advances then outstanding and all other Obligations (including, without limitation, the
Aggregate Participation Interest) and termination of all Commitments and this Loan Agreement,
the security interest of the Administrative Agent in the Collateral for the benefit of the Secured
Parties shall be released and the Administrative Agent agrees to file, promptly upon request, such
releases or assignments, as applicable, request the Securities Intermediary to deliver to the
Borrower all Change Forms delivered to it in blank by the Borrower pursuant to Section 2.6(b),
and to take such other actions as the Borrower shall reasonably request in order to evidence any
such release.

                  Section 2.7   Sale or Abandonment of Collateral.

                         (a)    Sale of Collateral.

                                 (i)     So long as no Event of Default has occurred and is
continuing, (I) if the Portfolio Manager reasonably determines in good faith that the sale of one
or more Pledged Policies would (through the application of the proceeds thereof or the removal
of a Pledged Policy which solely caused an Unmatured Event of Default) cure any Unmatured
Event of Default, (II) if the Portfolio Manager reasonably determines in good faith that it is in the
best interests of the Borrower and the Lenders to sell any of the Pledged Policies, (III) if the
making of an Ongoing Maintenance Advance by the Lenders hereunder would cause the
aggregate principal amount of all Advances outstanding under this Loan Agreement to exceed
the Borrowing Base, and the Portfolio Manager reasonably determines in good faith that the sale
of one or more Pledged Policies would (through the application of the proceeds thereof) be
sufficient to pay scheduled Premiums previously approved in writing by the Required Lenders or
(IV) if a Lender Default has occurred and is continuing and the Portfolio Manager reasonably
determines in good faith that the sale of one or more Pledged Policies would (through the
application of the proceeds thereof) be sufficient to pay Expenses and scheduled Premiums each
as previously approved in writing by the Required Lenders then, in each case, the Borrower may
sell such Pledged Policies pursuant to the terms of this Section 2.7(a). Any sale of one or more
Pledged Polices pursuant to clause (I) of the immediately preceding sentence or any sale while
an Unmatured Event of Default has occurred and is continuing shall be subject to the Required
Lenders’ consent in their sole and absolute discretion, and any other sale (other than a sale
pursuant to clause (IV) of the immediately preceding sentence) shall be subject to the Required
Lender’s consent, exercised in a commercially reasonable manner. The Pledged Policies sold
pursuant to clause (I) of the first sentence of this Section 2.7(a)(i) shall be limited to the relevant
Pledged Policies which caused the related Unmatured Event of Default or Pledged Policies the
proceeds of which will be in an amount necessary to generate sufficient proceeds to cure the
related Unmatured Event of Default. The number of Pledged Policies sold pursuant to clause
(III) of the first sentence of this Section 2.7(a)(i) shall be limited to an amount necessary to
generate sufficient proceeds to pay scheduled Premiums previously approved in writing by the
Required Lenders. The number of Pledged Policies sold pursuant to clause (IV) of the first

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sentence of this Section 2.7(a)(i) shall be limited to an amount necessary to generate sufficient
proceeds to pay scheduled Premiums previously approved in writing by the Required Lenders
and Expenses.

                                 (ii)     In relation to any proposed sale of a Pledged Policy
pursuant to this Section 2.7(a), the Portfolio Manager shall first provide the Lenders or their
designee the option to purchase such Pledged Policy and shall provide written notice of such
proposed sale to the Lenders identifying the Pledged Policies to be sold, the proposed sale price
(the “Sale Price”) for each individual Pledged Policy and a copy of the draft proposed sale
agreement(s) relating thereto (each, a “Proposed Sale Agreement”). Any Lender or any designee
of such Lender shall have ten (10) Business Days after its receipt of such written notice to notify
the Borrower of such Lender’s or its designee’s intent to purchase the related Pledged Policy or
Pledged Policies at the related Sale Price for cash on substantially the same terms as the related
Proposed Sale Agreement(s). If any Lender or any designee of such Lender delivers such notice
to the Borrower and Administrative Agent within such ten (10) Business Day period, then the
Borrower shall sell the related Pledged Policy or Pledged Policies to such Lender or such
designee of such Lender for cash on substantially the same terms as the related Proposed Sale
Agreement(s) within thirty (30) Business Days of the Borrower’s receipt of such notice. Should
no Lender or designee thereof exercise its right to acquire a Pledged Policy pursuant to this
Section 2.7(a), such Pledged Policy shall be made available for sale (I) through normal market
channels, (II) for cash, (III) to third parties unaffiliated in any way with the Borrower, the
Portfolio Manager or any Affiliate of any of them, and (IV) at a price no less than the related
Sale Price and otherwise only on the same terms as those offered to the Lenders and pursuant to
the related Proposed Sale Agreement. Any such sale shall be consummated by the earlier of (x)
sixty (60) days after the expiration of the aforementioned ten (10) Business Day period that any
Lender or any designee of such Lender had to deliver notice to the Borrower that it wished to
purchase such Pledged Policy and (y) the date that is seven (7) days prior to the date that the next
Premium payment is due with respect to such Pledged Policy, as determined by the Portfolio
Manager and approved by the Administrative Agent. If such sale is not consummated by such
date, any subsequent proposed sale of such Pledged Policy shall again be subject to the
provisions of this Section 2.7(a) and the Borrower and the Portfolio Manager shall again provide
the Lenders the option to purchase such Pledged Policy pursuant to this Section 2.7(a).

                                  (iii) Notwithstanding the foregoing, no sale of Pledged Policies
shall be consummated pursuant to sub-clause (I), (II) or (III) of the first sentence of Section
2.7(a)(i), if after the distribution of the related Net Proceeds and the release of the related
Pledged Policies sold pursuant to such sale, the LTV immediately after such distribution and
release will be higher than the LTV immediately prior to the related sale of Pledged Policies.

                                (iv)   In each instance, the Net Proceeds of a sale of a Pledged
Policy pursuant to this Section 2.7(a) shall be (x) prior to the Permitted Sale Cashflow Date, (A)
if such sale is pursuant to sub-clause (I) of the first sentence of Section 2.7(a)(i) or if such sale
was consummated during the continuance of an Unmatured Event of Default, deposited into the
Administrative Agent’s Account to repay Advances and other outstanding Obligations and (B) if

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such sale is pursuant to sub-clause (II), (III) or (IV) of the first sentence of Section 2.7(a)(i) and
so long as such sale was not consummated during the continuance of an Unmatured Event of
Default, deposited into the Collection Account and distributed in accordance with the Priority of
Payments or as otherwise permitted in writing by the Administrative Agent for the purposes set
forth in sub-clause (III) or (IV) of the first sentence of Section 2.7(a)(i), as applicable, (y) on and
after the Permitted Sale Cashflow Date but prior to the Partial Repayment Date, deposited into
the Administrative Agent’s Account to repay Advances and other outstanding Obligations and
otherwise, deposited into the Collection Account and distributed in accordance with the Priority
of Payments or as otherwise permitted in writing by the Administrative Agent for the purposes
set forth in sub-clause (III) or (IV) of the first sentence of Section 2.7(a)(i), as applicable, and (z)
on and after the Partial Repayment Date, deposited into the Collection Account and distributed in
accordance with Section 5.2(e).

                               (v)      For the avoidance of doubt, any such sale of one or more
Pledged Policies that results in the elimination of the relevant condition or circumstance that
comprised the Unmatured Event of Default (by removal of relevant Pledged Policies or use of
proceeds of such sale to eliminate any default in the performance of any economic, financial or
payment covenant hereunder), as determined by the Required Lenders in their discretion
(exercised in a commercially reasonable manner), will comprise the cure of such Unmatured
Event of Default. Notwithstanding the foregoing, the Borrower shall be permitted to transfer a
Pledged Policy (i) if such Pledged Policy was initially transferred to the Borrower pursuant to the
Predecessor Parent Pledgor Contribution Agreement, to the Predecessor Parent Pledgor pursuant
to Section 6.3 of the Predecessor Parent Pledgor Contribution Agreement and (ii) if such Pledged
Policy was initially transferred to the Borrower pursuant to the LP Parent Contribution
Agreement, to the LP Parent pursuant to Section 6.3 of the LP Parent Contribution Agreement.

                        (b)    Should the Required Lenders determine that Advances should no
longer be made in order to pay Premiums on a Pledged Policy or group of Pledged Policies or the
Portfolio Manager on behalf of the Borrower determines that Premiums on a Pledged Policy or
group of Pledged Policies should no longer be paid (such determining party, the “Determining
Party”), whether before or after the Partial Repayment Date, the Determining Party shall deliver
written notice of such determination to the other party (the “Non-Determining Party”) in the
form attached hereto as Exhibit G (an “Abandonment Notice”) and if the Determining Party is
the Required Lenders or if the Determining Party is the Portfolio Manager and the related
Abandonment Notice does not indicate that the Borrower or the Portfolio Manager wishes to
permit the Required Lenders or their designee the right to assume ownership of the Pledged
Policies set forth in such Abandonment Notice pursuant to this Section 2.7(b) without engaging
in the Abandonment Sale Process (such Pledged Policies, the “Direct Assumption Policies”),
Non-Determining Party in its reasonable discretion shall designate an unrelated third-party
experienced in marketing the sale of life insurance policies on the secondary and tertiary market
(the “Broker”) to market and sell such Pledged Policies (such marketing and sale process, the
“Abandonment Sale Process”). The Non-Determining Party shall request the Broker, based on
the Broker’s experience, to propose a minimum sale price in respect of each such Pledged Policy
(the “Abandonment Price”). The Determining Party shall then have two (2) Business Days after

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the Broker proposes such Abandonment Price to rescind the Abandonment Notice in respect of
the related Pledged Policy by delivering written notice of such rescission to the Non-
Determining Party. Upon the delivery of such written notice to the Non-Determining Party, such
Pledged Policy shall no longer be subject to this Section 2.7(b). If the Determining Party does
not rescind the Abandonment Notice in respect of such Pledged Policy within such two (2)
Business Day period, then the Non-Determining Party or its designee shall have seven (7)
Business Days after the Broker proposes such Abandonment Price to purchase such Pledged
Policy at such Abandonment Price. If the Non-Determining Party or its designee does not
purchase such Pledged Policy within such seven (7) Business Day period, then within ninety (90)
days after the related Abandonment Notice was delivered to the Non-Determining Party, such
Pledged Policy may be sold; provided that prior to selling such Pledged Policy for a price less
than the related Abandonment Price, the Non-Determining Party shall cause the Broker to notify
the Determining Party of such potential sale and the Non-Determining Party shall have the right
to purchase such Pledged Policy at the proposed sale price within five (5) Business Days of the
Broker’s delivery of such notice to the Determining Party. If the Non-Determining Party or its
designee does not purchase such Pledged Policy within such five (5) Business Day period, then
the Determining Party or its designee shall have five (5) Business Days to purchase such Pledged
Policy at such proposed sale price. If none of the Determining Party, the Non-Determining Party
or their designees purchase such Pledged Policy, then such Pledged Policy may be sold for the
proposed sale price to the potential purchaser. If the Non-Determining Party purchases any
Pledged Policy pursuant to this Section 2.7(b) and the Non-Determining Party was the Borrower
or the Portfolio Manager, the Borrower shall transfer such Pledged Policy to the LP Parent.
Proceeds of any sale pursuant to this Section 2.7(b) shall be deposited (i) if the Determining
Party was the Borrower or the Portfolio Manager, pursuant to Section 2.7(a)(iv) and (ii)
otherwise, into the Collection Account. For the avoidance of doubt, after a Pledged Policy has
been set forth in an Abandonment Notice but prior to the consummation of the sale of such
Pledged Policy in accordance with this Section 2.7(b), the Lenders in their sole and absolute
discretion may make one or more Protective Advances in respect of such Policy and the
Borrower may make premium payments in respect of such Pledged Policy so long as such
payments by the Borrower are not made using proceeds of any Advances. Each Pledged Policy
set forth in an Abandonment Notice shall cease to be a Pledged Policy on the date that is the
earlier of (A) the date on which the Non-Determining Party has assumed ownership of such
Pledged Policy in accordance with this Section 2.7(b), (B) the date on which such Pledged Policy
lapses or (C) the date on which such Pledged Policy is sold in accordance with this Section
2.7(b). If any Pledged Policy set forth in an Abandonment Notice is not sold within ninety (90)
days after such Abandonment Notice was delivered to the Non-Determining Party or if the
Determining Party was the Borrower or the Portfolio Manager and the related Abandonment
Notice indicated that the Borrower or the Portfolio Manager wished to permit the Required
Lenders or their designee the right to assume ownership of the Pledged Policies set forth in such
Abandonment Notice pursuant to this Section 2.7(b) without engaging in the Abandonment Sale
Process, (i) if the Non-Determining Party is the Required Lenders, then the Administrative Agent
on behalf of the Required Lenders or, at the option of the Required Lenders, another Person
designated by the Required Lenders, shall have the right to assume ownership of such Policies,
or any subset thereof, prior to their lapse, from the Borrower through the Securities Intermediary

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at no cost to the Non-Determining Party and (ii) if the Non-Determining Party is the Borrower,
then the Borrower shall have the right to designate an Affiliate to assume ownership of such
Policies, or any subset thereof, prior to their lapse, from the Borrower through the Securities
Intermediary at no cost to the Non-Determining Party. Such assumption of ownership by the
Non-Determining Party (or its Affiliate or designee, as applicable) shall be free and clear of (i)
any ownership claim to any right, title or interest by or through the Determining Party (arising
hereunder or otherwise) or (ii) any Adverse Claims arising under or in relation to the Transaction
Documents and transactions contemplated thereby, and all without payment to the Determining
Party or any other Person. In connection therewith, the Determining Party agrees to provide
reasonable cooperation and assistance to effectuate such transfer, including by providing
appropriate instructions to the Administrative Agent, Securities Intermediary, Custodian and
Servicer concerning the release of Liens created hereby, appropriate Entitlement Orders (as
defined in the Account Control Agreement) removing related Securities Entitlements (as defined
in the Account Control Agreement) out of the Policy Account and delivery of related documents
and information to or as instructed by the Non-Determining Party (or its Affiliate or designee, as
applicable). For the avoidance of doubt, (I) the occurrence of a Lender Default shall not
constitute a determination on the part of the Required Lenders that Advances should no longer be
made in order to pay Premiums on a Pledged Policy or group of Pledged Policies and that the
Required Lenders or the Portfolio Manager on behalf of the Borrower shall only become the
Determining Party for the purposes of this Section 2.7(b) upon delivering written notice in the
form attached hereto as Exhibit G to the other party, (II) failure by any Lender to make an
Advance relating to a Pledged Policy in respect of which any Determining Party has delivered or
thereafter delivers an Abandonment Notice shall not constitute a Lender Default, regardless of
whether any Lender or the Administrative Agent has received any notice of a Lender Default,
and (III) no party shall be obligated to pay Premiums on a Pledged Policy in respect of which
any Determining Party has delivered an Abandonment Notice.

                        (c)      At any time during the term of this Loan Agreement, the
Administrative Agent acting at the direction of the Required Lenders, may direct the Borrower in
writing to sell any or all of the Pledged Policies that are Retained Death Benefit Policies. Upon
receipt of such written direction, such Pledged Policies shall be made available by the Borrower
and the Portfolio Manager for sale through normal market channels for cash and the
Administrative Agent, the Portfolio Manager, any Lender or any of their respective Affiliates
may participate as a bidder in any such sale; provided that prior to consummating any sale
pursuant to this Section 2.7(c), the related sale price shall be subject to the approval of the
Required Lenders in their sole and absolute discretion. The Borrower shall consummate any
such sale within twelve (12) months after the related written direction was delivered by the
Administrative Agent to the Borrower pursuant to the first sentence of this Section 2.7(c).




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                  Section 2.8   Permitted Purposes.

                     (a)    The Borrower hereby agrees that it has not used and it shall not use
the proceeds of any Advance made hereunder, under the Original Loan Agreement or under the
Original Amended and Restated Loan Agreement except for the following purposes:

                                (i)    with respect to the Initial Advance or an Additional Policy
Advance, to acquire Policies that became Pledged Policies on the Initial Closing Date or will
become Pledged Polices on the related Subsequent Advance Date and for any legally permissible
payments approved by the Required Lenders in their sole discretion and specified in the
Proposed Initial Advance Notice or Proposed Additional Policy Advance Notice and related
instructions delivered to the Securities Intermediary under the Account Control Agreement,
including distributions to Imperial, payment of the Up-Front Fee, reimbursement to the
Predecessor Parent Pledgor, the Parent Pledgors, Imperial or Affiliates thereof of any funds
remitted in respect of the Initial Expense Deposit, the reasonable attorneys’ fees of the Borrower
and the Lenders incurred in connection with the negotiation and preparation of the Transaction
Documents, the payment of certain obligations owed by an Affiliate of the Borrower to
Lexington Insurance Company and approved by the Administrative Agent and the related
Expense Deposit (it being understood that $65,078,665.46 of the proceeds of the Additional
Policy Advance that was made on December 29, 2016 was used by the Borrower solely to (i) pay
interest accrued in connection with the Red Falcon Credit Facility, and (ii) prepay all of the
aggregate outstanding balance of Advances and all other Obligations (each as defined under the
loan agreement related to the Red Falcon Credit Facility); it being further understood that after
the making of such payments, the Red Falcon Credit Facility was terminated in accordance with
a master termination agreement that was entered into on December 29, 2016).

                             (ii)   with respect to an Ongoing Maintenance Advance, (A) to
pay Ongoing Maintenance Costs; (B) prior to November 9, 2015 only, to pay Debt Service; (C)
to pay the Administrative Agent Fee and/or (D) to make any other payments or distributions, as
approved in writing by the Required Lenders in their sole discretion.

                       (b)     For the avoidance of doubt, all proceeds of Advances were, prior
to the date hereof, deposited, and after the date hereof, shall be deposited by the Lenders into the
Payment Account, other than the Initial Advance and the Additional Policy Advance that was
made on December 29, 2016. The Borrower has caused and shall cause any amounts on deposit
in the Payment Account to be distributed by the Securities Intermediary in accordance with the
terms of the Account Control Agreement, which amounts shall be used for the purposes set forth
in Section 2.8(a) and as specified in the related Borrowing Request.

                        (c)   For the avoidance of doubt, (i) prior to November 9, 2015, no
proceeds of any Advance were used for, and no Lender was obligated to make any Advance for,
the purposes of paying any accrued interest due on any prior Advances that equals the Rate
Floor, (ii) on and after November 9, 2015, no proceeds of any Advance shall be used for, and no
Lender shall be obligated to make any Advance for, the purposes of paying any accrued interest
due on any prior Advances, regardless of whether such interest equals the Rate Floor and (iii) no
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proceeds of any Advance were used for or shall be used for, and no Lender shall be obligated to
make any Advance for, the purposes of paying any amounts owing by the Borrower or any
Affiliate thereof to Sea Port Group Securities, LLC or any of its Affiliates.

                                     ARTICLE III
                        INTEREST; INTEREST PERIODS; FEES, ETC.

                Section 3.1 Interest Rates. The Borrower hereby promises to pay interest on
the unpaid principal amount of each Advance for the period commencing on the date such
Advance is made until such Advance is paid in full. Interest will accrue on each outstanding
Advance during each Interest Period at a rate per annum equal to the sum of (i) the greater of (A)
(1) LIBOR or, if LIBOR is unavailable, (2) the Base Rate and (B) one and a half percent (1.5%)
(the portion of interest related to clause (i), the “Rate Floor”) plus (ii) the Applicable Margin;
provided however that in the event that an Event of Default has occurred and is continuing and
unwaived in writing by the Required Lenders, then for each day during any Interest Period on
which such Event of Default remains uncured and unwaived in writing by the Required Lenders,
each Advance shall bear interest at the Default Rate.

       After the second (2nd) Business Day following the date on which any other monetary
Obligation of the Borrower arising under this Loan Agreement shall become due and payable,
the Borrower shall pay (to the extent permitted by law, if in respect of any unpaid amounts
representing interest) interest (after as well as before judgment) on such amounts at a rate per
annum equal to the Default Rate. No provision of this Loan Agreement shall require the
payment or permit the collection of interest in excess of the maximum permitted by Applicable
Law.

              Section 3.2 Interest Payment Dates. Interest accrued on all outstanding
Advances shall be due and payable, without duplication:

                       (a)    on each Interest Payment Date;

                       (b)     on the date of any prepayment, in whole or in part, of principal of
outstanding Advances, either from funds available for distribution to the Borrower pursuant to
clause “Thirteenth” of Section 5.2(b) and/or from funds available to the Borrower from any
capital contribution or other source of funding obtained by the Borrower that is not expressly
prohibited by this Loan Agreement;

                      (c)   on Advances accelerated pursuant to Section 10.2, immediately
upon such acceleration; and

                       (d)    on the Maturity Date.

              Section 3.3 Computation of Interest and Fees. All interest and fees shall be
computed on the basis of the actual number of days (including the first day but excluding the last


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day) occurring during the period for which such interest or fee is payable over a year comprised
of 360 days.

              Section 3.4 Participation Interest. With respect to each Pledged Policy, the
Borrower shall pay the related Participation Interest to the Lenders pursuant to the terms of this
Loan Agreement.

               Section 3.5 Administrative Agent Fee. On each Distribution Date, the
Borrower shall pay the related Administrative Agent Fee to the Administrative Agent, regardless
of whether the then Available Amount is sufficient to pay such amount.

                                      ARTICLE IV
                                 PAYMENTS; PREPAYMENTS

               Section 4.1 Repayments and Prepayments. The Borrower shall repay in full
the unpaid principal amount of all Advances on the Maturity Date. Prior thereto, the Borrower:

                       (a)     may voluntarily prepay all or any portion of the aggregate
outstanding Advances, either in whole or in part, from funds available for distribution to the
Borrower pursuant to clause “Thirteenth” of Section 5.2(b) and/or from funds available to the
Borrower from any capital contribution or other source of funding obtained by the Borrower that
is not expressly prohibited by this Loan Agreement;

                       (b)      shall repay principal of outstanding Advances, in the amounts set
forth in, and pursuant to, the Priority of Payments on each Distribution Date;

                       (c)    shall, upon any acceleration of the Maturity Date pursuant to
Section 10.2, repay all such Advances within one (1) Business Day of the Administrative
Agent’s delivery of notice of such acceleration to the Borrower.

               Section 4.2 Making of the Expense Deposit. Each Expense Deposit shall be
deposited by the Borrower no later than 3:00 p.m. (New York City time), on the day when due in
lawful money of the United States of America in same day funds to the account designated in
writing by the Administrative Agent to the Borrower (the “Administrative Agent’s Account”).
Funds received by any Person after 3:00 p.m. (New York City time), on the date when due will
be deemed to have been received by such Person on the next following Business Day.

               Section 4.3 Due Date Extension. If any payment of principal or interest with
respect to any Advance falls due on a day which is not a Business Day, then such due date shall
be extended to the next following Business Day, and additional interest shall accrue at the
applicable interest rate and be payable for the period of such extension.

                                    ARTICLE V
                      ACCOUNTS; DISTRIBUTION OF COLLECTIONS


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                  Section 5.1   Accounts.

                        (a)     Collection Account. The Borrower has established, continuously
maintained and shall continue to maintain, in the name of the Borrower, an Eligible Account
bearing a designation clearly indicating that the funds deposited therein are held for the benefit
of the Administrative Agent, on behalf of the Secured Parties (the “Collection Account”), that at
all times shall be subject to the Account Control Agreement.

                       (b)      Payment Account. The Borrower has established, continuously
maintained and shall continue to maintain, in the name of the Borrower, an Eligible Account
bearing a designation clearly indicating that the funds deposited therein are held for the benefit
of the Administrative Agent, on behalf of the Secured Parties (the “Payment Account”), that at
all times shall be subject to the Account Control Agreement. All proceeds of Advances shall be
deposited by the Lenders into the Payment Account other than the Initial Advance. The
Borrower has caused and shall cause any amounts on deposit in the Payment Account to be
distributed by the Securities Intermediary in accordance with the terms of the Account Control
Agreement, which amounts were used and shall be used for the purposes set forth in Section
2.8(a) and as specified in the related Borrowing Request.

                      (c)      Borrower Account. The Borrower has established, continuously
maintained and shall continue to maintain, in the name of the Borrower, an Eligible Account
bearing a designation clearly indicating that the funds deposited therein are held for the benefit
of the Administrative Agent, on behalf of the Secured Parties (the “Borrower Account”), that at
all times shall be subject to the Account Control Agreement. The Borrower hereby
acknowledges and agrees that $6,000,000 of the proceeds of the Additional Policy Advance that
was made on December 29, 2016 was deposited into the Borrower Account, and $388,069.36 of
such proceeds was used on December 29, 2016 to pay certain cost and expenses incurred in
connection with the transactions contemplated by the Second Amendment. The Borrower
hereby agrees that the remaining amount of such proceeds was used and shall be used solely to
pay Debt Service and Ongoing Maintenance Costs, and the Borrower shall not withdraw any
such proceeds for any other purpose (it being understood that a breach of any of the foregoing
use of proceeds requirements shall constitute a breach of Section 9.1(e)). The Borrower shall be
entitled to withdraw any other amounts on deposit in the Borrower Account for any purpose,
including, without limitation, the payment of Premiums or Expenses.

                        (d)    Escrow Account. The Borrower has established, continuously
maintained and shall continue to maintain, in the name of the Borrower, an Eligible Account
bearing a designation clearly indicating that the funds deposited therein are held for the benefit
of the Administrative Agent, on behalf of the Secured Parties (the “Escrow Account”), that at all
times shall be subject to the Account Control Agreement.

                      (e)   Administrative Agent Action. The Administrative Agent may, at
any time after an Event of Default has occurred and is continuing, give written notice to the
Securities Intermediary and to the Borrower of the occurrence of such event and specifying
whether the Administrative Agent is exercising its rights and remedies in relation thereto in
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accordance with this Loan Agreement and the Account Control Agreement, and will do any or
all of the following: (i) exercise exclusive dominion and control over the funds deposited in the
Accounts, (ii) have amounts that are sent to the Accounts redirected pursuant to its instructions,
and (iii) take any or all other actions the Administrative Agent is permitted to take under this
Loan Agreement and the Account Control Agreement for the benefit of the Secured Parties. If at
any time, any Account shall cease to be an Eligible Account, the Borrower shall as promptly as
reasonably practicable (but in no event more than twenty (20) Business Days) establish a
replacement Eligible Account.

                        (f)     Collections Held In Trust. If at any time the Borrower, the
Portfolio Manager, the Servicer (if an Affiliated Entity), the Initial Servicer, the Guarantor, the
Initial Portfolio Manager, the Securities Intermediary or any of their Affiliates or any Affiliate of
Imperial, as the case may be, shall receive any Collections or other proceeds of any Collateral
other than through payment into the Collection Account, the Borrower, the Portfolio Manager,
the Guarantor, the Initial Portfolio Manager, the Servicer (if an Affiliated Entity) or the Initial
Servicer, as applicable, shall promptly (but in any event within two (2) Business Days of receipt
thereof) remit or cause to be remitted all such Collections or other proceeds to the Collection
Account. If the Servicer is not an Affiliated Entity, the Borrower will instruct and shall exercise
all remedies available to it under the Servicing Agreement to cause the Servicer to remit to the
Collection Account all Collections or other proceeds of any Collateral received by the Servicer
within two (2) Business Days of Servicer’s receipt thereof, and failure of the Servicer timely to
make any such remittance shall be deemed to be a breach by the Borrower of its duties under this
Section 5.1(f) and Section 9.1(ee). All Collections received by the Borrower, the Portfolio
Manager, the Initial Portfolio Manager, the Guarantor or the Initial Servicer shall be held by such
Person in trust for the exclusive benefit of the Administrative Agent (on behalf of the Secured
Parties). The outstanding principal amount of the Advances shall not be deemed repaid by any
amount of the Collections held in trust by any Person, unless such amount is finally paid to the
Administrative Agent in accordance with Section 5.2.

                  Section 5.2   Application of Available Amounts.

                       (a)     If no Unmatured Event of Default or Event of Default has occurred
and is continuing or is waived in writing by the Required Lenders, the Administrative Agent and
the Borrower, and otherwise, the Administrative Agent acting alone, shall instruct the Securities
Intermediary to distribute Collections deposited in the Collection Account, and all other amounts
deposited in the Collection Account, in accordance with this Section 5.2. In delivering the
instructions required under Section 5.2(b), Section 5.2(c) and Section 5.2(e), the Administrative
Agent shall have the right to rely absolutely upon the information in the Calculation Date
Reports, unless the Administrative Agent or the Required Lenders provide alternative
information to the Borrower by notice in writing (such notice an “Alternative Information
Notice”) not more than five (5) Business Days after receipt of the related Calculation Date
Report by the Administrative Agent, in which case, provided that the Borrower shall not have
objected to such Alternative Information Notice in writing within one (1) Business Day of its
receipt thereof, the Administrative Agent shall have the absolute right to act in accordance with

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such Alternative Information Notice. In the event that the Borrower shall have objected to such
Alternative Information Notice, then the Borrower and the Administrative Agent shall negotiate
in good faith to resolve such objection within five (5) days, the amount subject to such objection
shall be retained in the Collection Account during the pendency of such negotiations and the
amount not subject to such objection shall be distributed pursuant to such Alternative
Information Notice. The amount subject to such objection shall be distributed in accordance
with Section 5.2(b), Section 5.2(c) or Section 5.2(e), as applicable, (i) if such objection is
resolved, on the Business Day following the date on which such objection is resolved, in which
case such amounts shall be distributed in accordance with such resolution or (ii) if such objection
is not resolved, on the first Business Day following the day that is five (5) days following the
date on which the Borrower objects to such Alternative Information Notice, in which case such
amounts shall be distributed in accordance with the relevant Alternative Information Notice.
Notwithstanding the foregoing, if the Borrower fails to deliver the related Calculation Date
Report or the related Payment Instructions on or prior to the related Calculation Date, then the
Administrative Agent acting alone, based on information in the Administrative Agent’s
possession, shall be entitled to prepare such Calculation Date Report and Payment Instructions
and thereby instruct the Securities Intermediary to distribute Collections deposited in the
Collection Account, and all other amounts deposited in the Collection, to be distributed in
accordance with this Section 5.2, and the Administrative Agent shall have no liability
whatsoever in respect of such instructions (the procedures set forth in this sentence if the
Borrower fails to deliver the related Calculation Date Report or the related Payment Instructions
on or prior to the related Calculation Date, the “Borrower Failure Procedures”).

                        (b)     On or prior to each Calculation Date, the Borrower shall prepare
and deliver or cause to be prepared and delivered to the Administrative Agent a quarterly
calculation report substantially in the form attached hereto as Exhibit D (the “Calculation Date
Report”) with respect to the related Distribution Date, and the Borrower shall simultaneously
deliver or cause to be delivered to the Securities Intermediary the payment instructions necessary
to make the payments indicated in such Calculation Date Report (the “Payment Instructions”). If
no Unmatured Event of Default or Event of Default has occurred and is continuing or is waived
in writing by the Required Lenders, on each Distribution Date, the Administrative Agent and the
Borrower shall jointly instruct the Securities Intermediary to distribute from the Available
Amount then on deposit in the Collection Account, in accordance with the Payment Instructions
related to the Calculation Date Report for such Distribution Date, subject to the delivery of an
Alternative Information Notice, and the procedures set forth in Section 5.2(a) for the resolution
of any objections of the Borrower in respect of such Alternative Information Notice, or if the
Borrower has failed to deliver the related Calculation Date Report or the related Payment
Instructions on or prior to the related Calculation Date, the Administrative Agent acting alone
shall instruct the Securities Intermediary to distribute from the Available Amount then on deposit
in the Collection Account, in accordance with the Borrower Failure Procedures, and in either
case, the following amounts in the following order of priority unless otherwise agreed in writing
by the parties hereto (and, with respect to any payment to the Securities Intermediary or the
Custodian, as consented to by such Person in writing):


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First,            to the extent not paid from the proceeds of one or more Advances, to the
                  Custodian and the Securities Intermediary, as applicable, the fees, and expenses
                  due and payable thereto in accordance with the Account Control Agreement
                  including, but not limited to, any Claims of any Indemnified Bank Person due and
                  payable in accordance with the Account Control Agreement; provided that (i) the
                  aggregate amount of Claims payable under this clause “First” shall not exceed
                  $10,000 on any Distribution Date and (ii) the aggregate amount of Claims payable
                  under this clause “First” and under clause “First” of Section 5.2(c) shall not, in
                  aggregate, exceed $250,000 during the term of this Loan Agreement;

Second,           to the extent not paid from the proceeds of one or more Advances, to the
                  Borrower, an amount equal to the Ongoing Maintenance Costs Reimbursable
                  Amount payable to the Borrower and not previously paid to the Borrower, if any;

Third,            to the Administrative Agent for the account of the Lenders, the then outstanding
                  principal balance of all Protective Advances;

Fourth            to the Administrative Agent, the Administrative Agent Fee;

Fifth,            to the Administrative Agent for the account of the Lenders, an amount equal to
                  any accrued and unpaid interest on all Advances through such date;

Sixth,            (a) if no Lender Default is continuing, to the Administrative Agent for the account
                  of the Lenders, the Required Amortization or (b) if a Lender Default has occurred
                  and is continuing, in the following order of priority:

                              (i)   to the applicable Issuing Insurance Company, the payment
of scheduled Premiums which are due and payable prior to the following Distribution Date as set
forth in the related Premium Payment Schedule;

                              (ii)  (a) to the Servicer, the Servicing Fee and costs and other
amounts reimbursable to the Servicer pursuant to the Servicing Agreement and (b) to the
Portfolio Manager, the Portfolio Manager Fee;

                             (iii) to the Borrower by deposit to the Borrower Account, the
amounts described in clauses (iii) and (v) of the definition of Expenses which are then due and
payable; and

                                 (iv)   to the Administrative Agent for the account of the Lenders,
the Required Amortization;

Seventh,          to the Administrative Agent for the account of the Lenders, an amount equal to
                  the aggregate unpaid Amortization Shortfall Amounts for all of the Shortfall
                  Pledged Policies, if any, and any Amortization Shortfall Amounts due on any
                  prior Distribution Date that remain unpaid; provided, that the aggregate amount

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                  payable under this clause “Seventh”, under clause “Tenth” of this Section 5.2(b)
                  and under clauses “Ninth” and “Fourteenth” set forth under Section 5.2(c), shall
                  be in an amount up to the Aggregate Shortfall Amount Limit;

Eighth,           to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, an amount equal to the Participation Interest
                  Percentage of any amounts paid to the Administrative Agent for the account of
                  the Lenders pursuant to clause “Seventh” of this Section 5.2(b) on such
                  Distribution Date; provided, that any such amount received by the Lenders under
                  this clause “Eighth” shall not reduce the outstanding principal balance of the
                  Advances or any accrued interest thereon;

Ninth,            Reserved;

Tenth,            to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, an amount equal to the aggregate unpaid
                  Participation Interest Shortfall Amounts for all of the Shortfall Pledged Policies, if
                  any, and any Participation Interest Shortfall Amounts due on any prior
                  Distribution Date that remain unpaid; provided, that any such amount received by
                  the Lenders under this clause “Tenth” shall not reduce the outstanding principal
                  balance of the Advances or any accrued interest thereon; provided further, the
                  aggregate amount payable under this clause “Tenth”, under clause “Seventh” of
                  this Section 5.2(b) and under clauses “Ninth” and “Fourteenth” set forth under
                  Section 5.2(c), shall be in an amount up to the Aggregate Shortfall Amount Limit;

Eleventh,         to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, the aggregate of (i) the Participation Interest
                  Percentage of the remaining Available Amount after giving effect to all
                  distributions on such Distribution Date pursuant to clauses “First” through
                  “Tenth” of this Section 5.2(b) and (ii) the Participation Interest Percentage of any
                  amount actually paid to the Participation Interest Account pursuant to clause
                  “Tenth” of this Section 5.2(b) on such Distribution Date; provided, that any such
                  amount received by the Lenders under this clause “Eleventh” shall not reduce the
                  outstanding principal balance of the Advances or any accrued interest thereon;

Twelfth,          to the Custodian and the Securities Intermediary, as applicable, any fees and
                  expenses due and payable thereto that remain unpaid (including such fees and
                  expenses not paid pursuant to clause “First” of this Section 5.2(b)); and

Thirteenth,       to the Borrower, any remaining Available Amount after giving effect to all
                  distributions on such Distribution Date pursuant to clauses “First” through
                  “Twelfth” of this Section 5.2(b) by deposit to the Borrower Account.

                      (c)     Prior to the Partial Repayment Date, if an Unmatured Event of
Default or Event of Default has occurred and is continuing and is not waived in writing by the
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Required Lenders, on each Distribution Date, the Administrative Agent shall instruct the
Securities Intermediary to distribute from the Available Amount then on deposit in the
Collection Account and amounts on deposit in the Escrow Account (which may be distributed
directly from the Escrow Account or by first transferring such amounts to the Collection
Account, as determined by the Administrative Agent), in accordance with the Payment
Instructions related to the Calculation Date Report for such Distribution Date, subject to the
delivery of an Alternative Information Notice, and the procedures set forth in Section 5.2(a) for
the resolution of any objections of the Borrower in respect of such Alternative Information
Notice, or if the Borrower has failed to deliver the related Calculation Date Report or the related
Payment Instructions on or prior to the related Calculation Date, the Administrative Agent acting
alone shall instruct the Securities Intermediary to distribute from the Available Amount then on
deposit in the Collection Account and amounts on deposit in the Escrow Account (which may be
distributed directly from the Escrow Account or by first transferring such amounts to the
Collection Account, as determined by the Administrative Agent), in accordance with the
Borrower Failure Procedures, and in either case, the following amounts in the following order of
priority unless otherwise agreed in writing by the parties hereto (and, with respect to any
payments to the Securities Intermediary or the Custodian, as consented to by such Person in
writing):

First,            to the extent not paid from the proceeds of one or more Advances, to the
                  Custodian and the Securities Intermediary, as applicable, the fees, and expenses
                  due and payable thereto in accordance with the Account Control Agreement,
                  including, but not limited to, any Claims of any Indemnified Bank Person due and
                  payable in accordance with the Account Control Agreement; provided that (i) the
                  aggregate amount of Claims payable under this clause “First” shall not exceed
                  $10,000 on any Distribution Date and (ii) the aggregate amount of Claims payable
                  under this clause “First” and under clause “First” of Section 5.2(b) shall not, in
                  aggregate, exceed $250,000 during the term of this Loan Agreement;

Second,           to the extent not paid from the proceeds of one or more Advances, to the Escrow
                  Account, an amount equal to the Ongoing Maintenance Costs Reimbursable
                  Amount payable to the Borrower and not previously paid to the Borrower, if any;

Third,            to the Administrative Agent for the account of the Lenders, the then outstanding
                  principal balance of all Protective Advances;

Fourth,           to the applicable Issuing Insurance Company, the payment of scheduled
                  Premiums which are due and payable prior to the following Distribution Date as
                  set forth in the related Premium Payment Schedule;

Fifth,            so long as the Servicer is not Imperial or an Affiliate of Imperial or the Borrower,
                  to the Servicer, the Servicing Fee and costs and other amounts reimbursable to the
                  Servicer pursuant to the Servicing Agreement and approved in writing by the
                  Administrative Agent;

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Sixth,            to the Administrative Agent, the Administrative Agent Fee;

Seventh,          to the Administrative Agent for the account of the Lenders, an amount equal to
                  any accrued and unpaid interest on all Advances through such date;

Eighth            (a) to the Portfolio Manager, the Portfolio Manager Fee and (b) if the Servicer is
                  Imperial or an Affiliate of Imperial or the Borrower, the Servicing Fee and costs
                  and other amounts reimbursable to the Servicer pursuant to the Servicing
                  Agreement;

Ninth,            to the Administrative Agent for the account of the Lenders, an amount equal to
                  the aggregate unpaid Amortization Shortfall Amounts for all of the Shortfall
                  Pledged Policies, if any, and any Amortization Shortfall Amounts due on any
                  prior Distribution Date that remain unpaid; provided, that the aggregate amount
                  payable under this clause “Ninth”, under clause “Fourteenth” of this Section
                  5.2(c) and under clauses “Seventh” and “Tenth” set forth under Section 5.2(b),
                  shall be in an amount up to the Aggregate Shortfall Amount Limit;

Tenth,            to the Administrative Agent for the account of the Lenders, an amount equal to all
                  outstanding Advances and any other amounts with respect to the Advances or
                  Lender Notes;

Eleventh,         to the Administrative Agent for the account of the Lenders by deposit in the
                  Participation Interest Account, an amount equal to the Participation Interest
                  Percentage of any amount paid to the Administrative Agent for the account of the
                  Lenders pursuant to clause “Ninth” of this Section 5.2(c) on such Distribution
                  Date; provided, that any such amount received by the Lenders under this clause
                  “Eleventh” shall not reduce the outstanding principal balance of the Advances or
                  any accrued interest thereon;

Twelfth,          to the Escrow Account, the amounts described in clauses (iii) and (v) of the
                  definition of Expenses which are then due and payable;

Thirteenth,       Reserved;

Fourteenth,       to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, an amount equal to the aggregate unpaid
                  Participation Interest Shortfall Amounts for all of the Shortfall Pledged Policies, if
                  any, and any Participation Interest Shortfall Amounts due on any prior
                  Distribution Date that remain unpaid; provided, that any such amount received by
                  the Lenders under this clause “Fourteenth” shall not reduce the outstanding
                  principal balance of the Advances or any accrued interest thereon; provided
                  further, the aggregate amount payable under this clause “Fourteenth”, under
                  clause “Ninth” of this Section 5.2(c) and under clauses “Seventh” and “Tenth” set


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                  forth under Section 5.2(b), shall be in an amount up to the Aggregate Shortfall
                  Amount Limit;

Fifteenth,        to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, the aggregate of (i) the Participation Interest
                  Percentage of the remaining Available Amount after giving effect to all
                  distributions on such Distribution Date pursuant to clauses “First” through
                  “Fourteenth” of this Section 5.2(c), and (ii) the Participation Interest Percentage
                  of any amount actually paid to the Participation Interest Account pursuant to
                  clause “Fourteenth” of this Section 5.2(c) on such Distribution Date; provided,
                  that any such amount received by the Lenders under this clause “Fifteenth” shall
                  not reduce the outstanding principal balance of the Advances or any interest
                  thereon;

Sixteenth,        to the Custodian and the Securities Intermediary, as applicable, any fees and
                  expenses due and payable thereto that remain unpaid (including such fees and
                  expenses not paid pursuant to clause “First” of this Section 5.2(c)); and

Seventeenth, to the Escrow Account, any remaining Available Amount after giving effect to all
             distributions on such Distribution Date pursuant to clauses “First” through
             “Sixteenth” of this Section 5.2(c).

                         (d)    Except as set forth in this Section 5.2(d), all amounts on deposit in
the Escrow Account shall remain in the Escrow Account until the second Business Day after the
earlier of (i) the date as of which all existing Events of Default are cured by the Borrower or
waived in writing by the Required Lenders in their sole and absolute discretion and so long as no
Unmatured Event of Default has occurred and is continuing and no Protective Advances remain
outstanding or (ii) the date that is the later of (x) six (6) months after the Partial Repayment Date
and (y) six (6) months after all outstanding Protective Advances have been repaid, on which date
the Administrative Agent shall instruct the Securities Intermediary to distribute all amounts on
deposit in the Escrow Account to the Borrower Account. Amounts on deposit in the Escrow
Account may be used by the Administrative Agent, acting at the written direction of the
Required Lenders, to cure Event(s) of Default or Unmatured Event(s) of Default and to repay
outstanding Protective Advances. If the related Event of Default has occurred and continues for
a year or if the Administrative Agent has foreclosed on or exercised any of its other rights and
remedies in respect of the Pledged Policies, amounts on deposit in the Escrow Account may be
used by the Administrative Agent to pay the outstanding principal balances of the Advances, any
other Obligations owing to the Lenders and Ongoing Maintenance Costs.

                      (e)      On and after the Partial Repayment Date, on each Distribution
Date, the Administrative Agent and the Borrower jointly shall (if no Unmatured Event of Default
or Event of Default has occurred and is continuing) or the Administrative Agent alone shall (if an
Unmatured Event of Default or Event of Default has occurred and is continuing) instruct the
Securities Intermediary to distribute from the Available Amount then on deposit in the
Collection Account and amounts on deposit in the Escrow Account (which may be distributed
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directly from the Escrow Account or by first transferring such amounts to the Collection
Account, as determined by the Administrative Agent), in accordance with the Payment
Instructions related to the Calculation Date Report for such Distribution Date, subject to the
delivery of an Alternative Information Notice, and the procedures set forth in Section 5.2(a) for
the resolution of any objections of the Borrower in respect of such Alternative Information
Notice, or if the Borrower has failed to deliver the related Calculation Date Report or the related
Payment Instructions on or prior to the related Calculation Date, the Administrative Agent acting
alone shall instruct the Securities Intermediary to distribute from the Available Amount then on
deposit in the Collection Account and amounts on deposit in the Escrow Account (which may be
distributed directly from the Escrow Account or by first transferring such amounts to the
Collection Account, as determined by the Administrative Agent), in accordance with the
Borrower Failure Procedures, and in either case, the following amounts in the following order of
priority unless otherwise agreed in writing by the parties hereto (and, with respect to any
payments to the Securities Intermediary or the Custodian, as consented to by such Person in
writing):

First,            to the extent not paid from the proceeds of one or more Protective Advances, to
                  the Custodian and the Securities Intermediary, as applicable, the fees, and
                  expenses due and payable thereto in accordance with the Account Control
                  Agreement, including, but not limited to, any Claims of any Indemnified Bank
                  Person due and payable in accordance with the Account Control Agreement;
                  provided that (i) the aggregate amount of Claims payable under this clause (i)
                  shall not exceed $10,000 on any Distribution Date and (ii) the aggregate amount
                  of Claims payable under this clause (i), under clause “First” of Section 5.2(b) and
                  under clause “First” of Section 5.2(c) shall not, in aggregate, exceed $250,000
                  during the term of this Loan Agreement;

Second,           to the applicable Issuing Insurance Company, the payment of scheduled
                  Premiums which are due and payable prior to the following Distribution Date as
                  set forth in the related Premium Payment Schedule;

Third,            to the Administrative Agent for the account of the Lenders, the then outstanding
                  principal balance of all Protective Advances plus accrued and unpaid interest
                  thereon;

Fourth,           to the Administrative Agent, the Administrative Agent Fee;

Fifth,            (a) to the Portfolio Manager, the Portfolio Manager Fee and (b) to the Servicer,
                  the Servicing Fee and costs and other amounts reimbursable to the Servicer
                  pursuant to the Servicing Agreement;

Sixth,            to the Borrower, any amounts actually paid by the Borrower to pay scheduled
                  Premiums and Expenses, and in each case, as previously approved by the
                  Required Lenders in writing and not previously reimbursed;

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Seventh,          to the Collection Account, to be held in reserve to fund (i) Premiums on Pledged
                  Policies in accordance with the schedule of Premiums approved by the Required
                  Lenders in accordance with Section 9.1(d)(vii), an amount equal to up to the
                  difference of (A) the aggregate amount of Premiums projected by the Portfolio
                  Manager to be payable on all Pledged Policies during the succeeding twenty four
                  calendar months (determined using methodology consistent with the methodology
                  used for projecting Premium payments prior to the Partial Repayment Date and
                  approved in writing by the Required Lenders) minus (B) the amounts then held in
                  the Collection Account in reserve to fund such Premiums as previously reserved
                  pursuant to the immediately preceding sub-clause (A), (ii) the fees and expenses
                  of the Custodian and the Securities Intermediary which will be due and payable
                  thereto in accordance with the Account Control Agreement during the succeeding
                  twenty four calendar months and (iii) the Portfolio Management Fees, the
                  Servicing Fees and costs and other amounts reimbursable to the Servicer which
                  will be due and payable thereto in accordance with the Servicing Agreement
                  during the succeeding twenty four calendar months;

Eighth,           Reserved;

Ninth,            to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, an amount equal to the aggregate unpaid
                  Participation Interest Shortfall Amounts for all of the Shortfall Pledged Policies, if
                  any, and any Participation Interest Shortfall Amounts due on any prior date that
                  remain unpaid; provided, that the aggregate amount payable under this clause
                  (viii), under clauses “Seventh” and “Tenth” set forth under Section 5.2(b) and
                  under clauses “Ninth” and “Fourteenth” set forth under Section 5.2(c), shall be in
                  an amount up to the Aggregate Shortfall Amount Limit;

Tenth,            to the Administrative Agent for the account of the Lenders by deposit to the
                  Participation Interest Account, the aggregate of (i) the Participation Interest
                  Percentage of the remainder of such Collections and (ii) the Participation Interest
                  Percentage of any amount paid to the Participation Interest Account pursuant to
                  Clause “Eighth” of this Section 5.2(e) on such date;

Eleventh,         to the Custodian and the Securities Intermediary, as applicable, any fees and
                  expenses due and payable thereto that remain unpaid (including such fees and
                  expenses not paid pursuant to Clause “First” of this Section 5.2(d)); and

Twelfth,          to the Borrower Account or the Escrow Account, as applicable, any remaining
                  Available Amount after giving effect to all distributions on such Distribution Date
                  pursuant to clauses “First” through “Eleventh” of this Section 5.2(e).

                        (f)    After a Pledged Policy becomes a Shortfall Pledged Policy, if the
Borrower subsequently obtains a favorable judgment, ruling or verdict in an appeal or otherwise
such that the related Issuing Insurance Company actually pays all or a portion of the face amount
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of such Shortfall Pledged Policy plus any applicable statutory interest (such Shortfall Pledged
Policy, a “Recovered Pledged Policy”), and (i) if there are any unpaid Participation Interest
Shortfall Amounts or Amortization Shortfall Amounts for any other Shortfall Pledged Policy or
if an Event of Default has occurred and is continuing, then Collections in respect of such
Recovered Pledged Policy shall be distributed pursuant to Section 5.2(b), Section 5.2(c), or
Section 5.2(e), as applicable and (ii) if there are no unpaid Participation Interest Shortfall
Amounts or Amortization Shortfall Amounts for any other Shortfall Pledged Policy and so long
as no Event of Default has occurred and is continuing, then first, if amounts were distributed
from the Collection Account to fund Amortization Shortfall Amounts or Participation Interest
Shortfall Amounts, in each case, with respect to such Recovered Pledged Policy, on any prior
date pursuant to Section 5.2(b) Clauses “Seventh”, “Eighth” or “Tenth”, Section 5.2(c) Clauses
“Ninth”, “Eleventh” or “Fourteenth” or Section 5.2(e) Clause “Ninth”, or were withdrawn from
the Escrow Account on any prior date to fund Amortization Shortfall Amounts or Participation
Interest Shortfall Amounts, in each case, with respect to such Recovered Pledged Policy, then
Collections in respect of such Recovered Pledged Policy shall be distributed to the Borrower
Account up to the aggregate of such amounts so funded, and, second the Borrower and the
Lenders shall cooperate in good faith in order to equitably distribute any remaining Collections
in respect of such Recovered Pledged Policy and if the Lender and the Borrower cannot reach an
agreement on the distribution of such remaining Collections within thirty (30) days of the date
such Shortfall Pledged Policy became a Recovered Pledged Policy, then such remaining
Collections shall be distributed pursuant to the instructions of the Administrative Agent prepared
in good faith and acting at the direction of the Required Lenders.

                        (g)    With respect to any Distribution Date occurring on or after the
Partial Repayment Date, if amounts on deposit in the Collection Account less any amounts held
in reserve pursuant to Clause “Seventh” of Section 5.2(e) will be insufficient to pay the amounts
set forth under Clauses “First”, “Second” and “Fifth” of Section 5.2(e) on such Distribution
Date, then, in lieu of the Lenders making a Protective Advance therefor, the Borrower shall
instruct the Securities Intermediary to apply such amounts held in reserve to pay such amounts
set forth under Clauses “First”, “Second” and “Fifth” of Section 5.2(e) by reflecting such
application in the related Calculation Date Report and Payment Instructions.

                        (h)     For the avoidance of doubt and notwithstanding Section
9.1(d)(vii), on and after the Partial Repayment Date, Premiums may be funded in accordance
with an Alternative Information Notice delivered by the Administrative Agent pursuant to
Section 5.2(e). If Premiums are funded in accordance with an Alternative Information Notice
delivered by the Administrative Agent pursuant to Section 5.2(b), Section 5.2(c) or Section
5.2(e), and the amount of Premiums funded is less than the amount set forth in the Calculation
Date Report in respect of which such Alternative Information Notice was delivered, and as a
result a Pledged Policy lapses, such lapse shall not constitute an Event of Default and such
Pledged Policy shall not be a “Lapse/Grace Policy” for purposes of Section 10.1(p) so long as
the Borrower has provided at least fifteen (15) Business Days prior written notice of such lapse
to the Administrative Agent.


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                  Section 5.3   Permitted Investments.

                       (a)     Funds at any time held in the Collection Account may be invested
and reinvested at the direction of the Borrower (unless an Event of Default shall have occurred
and be continuing, in which case at the written direction of the Administrative Agent) in one or
more Permitted Investments in a manner provided in Section 5.3(c). In the absence of any such
direction, funds held in the Collection Account shall be invested in Permitted Investments
described in clause (a) of the definition thereof. Funds at any time held in the Escrow Account
shall be invested and reinvested at the direction of the Borrower in one or more Permitted
Investments. In the absence of any such direction, funds held in the Escrow Account shall be
invested in Permitted Investments described in clause (a) of the definition thereof.

                       (b)     Each investment made pursuant to this Section 5.3 on any date
with respect to the Collection Account shall mature or be available not later than the Business
Day preceding the Distribution Date after the day on which such investment is made, except that
any investment made on the day preceding a Distribution Date shall mature on such Distribution
Date.

                     (c)     Any investment of funds in the Collection Account shall be made
in Permitted Investments in which the Administrative Agent has a first priority, perfected Lien.

                       (d)    The Administrative Agent shall not be liable in any manner by
reason of any insufficiency in the Collection Account resulting from any loss on any Permitted
Investment included therein.

               Section 5.4 Shortfall Exclusion Election. Notwithstanding anything in this
Loan Agreement to the contrary, if a Pledged Policy becomes a Shortfall Pledged Policy during a
calendar year in which neither the Annual Policy Limit nor the Annual NDB Limit have been
reached, and so long as neither the Aggregate Policy Limit nor the Aggregate NDB Limit have
been reached (assuming that such Pledged Policy shall be treated as a Lapsed/Grace Policy),
then, within two (2) Business Days after such Pledged Policy becomes a Shortfall Pledged
Policy, the Borrower at its option may provide written notice to the Administrative Agent of the
Borrower’s election (the “Shortfall Exclusion Election”) to treat such Pledged Policy as a
Lapsed/Grace Policy. The Borrower may make only one Shortfall Exclusion Election during
each calendar year. If (i) the Borrower makes a Shortfall Exclusion Election with respect to a
Shortfall Pledged Policy during a calendar year and (ii) no Pledged Policy otherwise becomes a
Lapsed/Grace Policy during the remainder of the calendar year in which such Shortfall Exclusion
Election is made, then such Shortfall Pledged Policy shall not be included in calculating the
Amortization Shortfall Amount and the Participation Interest Shortfall Amount. If (i) the
Borrower makes a Shortfall Exclusion Election with respect to a Shortfall Pledged Policy during
a calendar year and (ii) at least one other Pledged Policy becomes a Lapsed/Grace Policy during
the remainder of the calendar year in which such Shortfall Exclusion Election is made, then such
Shortfall Pledged Policy shall thereafter be included in calculating the Amortization Shortfall
Amount and the Participation Interest Shortfall Amount, and an Event of Default under Section
10.1(p) shall be deemed to have occurred.
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              Section 5.5 Lender Valuation. With respect to each Distribution Date, the
Administrative Agent shall, within three (3) Business Days prior to the related Calculation Date,
provide the Borrower with the Lender Valuation of the Pledged Policies as of such Calculation
Date.

                                        ARTICLE VI
                                   INCREASED COSTS, ETC.

                 Section 6.1 Increased Costs. If any change in Regulation D of the Board of
Governors of the Federal Reserve System, or any Regulatory Change, in each case occurring
after the Initial Closing Date:

                                    (A)    shall subject any Affected Party to any Tax, duty or
other charge with respect to any Advance made or funded by it, or shall change the basis of the
imposition of any Tax on payments to such Affected Party of the principal of or interest on any
Advance owed to or funded by it or any other amounts due under this Loan Agreement in respect
of any Advance made or funded by it (except for changes in the rate of Tax on the overall net
income of such Affected Party imposed by any applicable jurisdiction in which such Affected
Party has an office); or

                                       (B)     shall impose, modify or deem applicable any
reserve (including, without limitation, any reserve imposed by the Board of Governors of the
Federal Reserve System, but excluding any reserve included in the determination of interest rates
pursuant to Section 3.1), special deposit or similar requirement against assets of, deposits with or
for the account of, or credit extended by, any Affected Party;

                                      (C)    shall change the amount of capital maintained or
required or requested or directed to be maintained by any Affected Party; or

                                   (D)     shall impose on any Affected Party any other
condition affecting any Advance made or funded by any Affected Party;

and the result of any of the foregoing is or would be to (i) increase the cost to or impose a cost on
an Affected Party funding or making or maintaining any Advance (including any commitment of
such Affected Party with respect to any of the foregoing), (ii) to reduce the amount of any sum
received or receivable by an Affected Party under this Loan Agreement or the Lender Notes, or
(iii) in the good faith determination of such Affected Party, to reduce the rate of return on the
capital of an Affected Party as a consequence of its obligations hereunder or arising in
connection herewith to a level below that which such Affected Party could otherwise have
achieved, then after demand by such Affected Party to the Borrower (which demand shall be
accompanied by a written statement setting forth the basis of such demand), the Borrower shall
pay such Affected Party such additional amount or amounts as will (in the reasonable
determination of such Affected Party) compensate such Affected Party for such increased cost or
such reduction. Such written statement (which shall include calculations in reasonable detail)


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shall, in the absence of manifest error, be rebuttably presumptive evidence of the subject matter
thereof.

                Section 6.2 Funding Losses. The Borrower hereby agrees that upon demand
by any Affected Party (which demand shall be accompanied by a statement setting forth the basis
for the calculations of the amount being claimed) the Borrower will indemnify such Affected
Party against any net loss or actual expense which such Affected Party actually sustains or incurs
(including, without limitation, any net loss or expense actually incurred by reason of the
liquidation or reemployment of deposits or other funds acquired by such Affected Party to fund
or maintain any Advance made by any Lender to the Borrower), as reasonably determined by
such Affected Party, as a result of (a) any payment or prepayment (including any mandatory
prepayment) of any Advance on a date other than a Distribution Date, or (b) any failure of the
Borrower to borrow any Advance on the date specified therefor in an Initial Advance Acceptance
or an Additional Policy Advance Acceptance or with respect to an Ongoing Maintenance
Advance, within five (5) Business Days after the Administrative Agent’s receipt of the related
Borrowing Request. Such written statement shall, in the absence of manifest error, be rebuttable
presumptive evidence of the subject matter thereof.

                  Section 6.3   Withholding Taxes.

                       (a)     Payments Free of Taxes. Any and all payments by or on account
of any obligation of the Borrower shall be made without deduction or withholding for any Taxes,
except as required by Applicable Law. If any Applicable Law (as determined in the good faith
discretion of an applicable Withholding Agent) requires the deduction or withholding of any Tax
from any such payment by a Withholding Agent, then the applicable Withholding Agent shall be
entitled to make such deduction or withholding and shall timely pay the full amount deducted or
withheld to the relevant Governmental Authority in accordance with Applicable Law and, if such
Tax is an Indemnified Tax, then the sum payable by the Borrower shall be increased as necessary
so that after such deduction or withholding has been made (including such deductions and
withholdings applicable to additional sums payable under this Section) the applicable Lender
receives an amount equal to the sum it would have received had no such deduction or
withholding been made.

                       (b)    Payment of Other Taxes by the Borrower. The Borrower shall
timely pay to the relevant Governmental Authority in accordance with Applicable Law, or at the
option of the Administrative Agent or applicable Lender timely reimburse it for the payment of,
any Other Taxes.

                      (c)     Indemnification by the Borrower. The Borrower shall indemnify
the Administrative Agent and each Lender, within 10 days after demand therefor, for the full
amount of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or
attributable to amounts payable under this Section) payable or paid by such Lender or required to
be withheld or deducted from a payment to such Lender and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or
legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
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amount of such payment or liability delivered to the Borrower by a Lender (with a copy to the
Administrative Agent), or by the Administrative Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

                       (d)    Evidence of Payments. As soon as practicable after any payment
of Taxes by the Borrower to a Governmental Authority pursuant to this Section 6.3, the
Borrower shall deliver to the Administrative Agent and relevant Lender the original or a certified
copy of a receipt issued by such Governmental Authority evidencing such payment, a copy of the
return reporting such payment or other evidence of such payment reasonably satisfactory to the
Administrative Agent and such Lender.

                       (e)     Status of Lenders. (i) Any Lender that is entitled to an exemption
from or reduction of withholding Tax with respect to payments made under this Loan Agreement
or the relevant Lender Note shall deliver to the Borrower and the Administrative Agent, at the
time or times reasonably requested by the Borrower or the Administrative Agent, such properly
completed and executed documentation reasonably requested by the Borrower or the
Administrative Agent as will permit such payments to be made without withholding or at a
reduced rate of withholding. In addition, any Lender, if reasonably requested by the Borrower or
the Administrative Agent, shall deliver such other documentation prescribed by Applicable Law
or reasonably requested by the Borrower or the Administrative Agent as will enable the
Borrower or the Administrative Agent to determine whether or not such Lender is subject to
backup withholding or information reporting requirements. Notwithstanding anything to the
contrary in the preceding two sentences, the completion, execution and submission of such
documentation (other than such documentation set forth in Section 6.3(e)(ii)(A), Section
6.3(e)(ii)(B) and Section 6.3(e)(ii)(D) below) shall not be required if in the Lender’s reasonable
judgment such completion, execution or submission would subject such Lender to any material
unreimbursed cost or expense or would materially prejudice the legal or commercial position of
such Lender.

                               (ii)   Without limiting the generality of the foregoing:

                                     (A)      any Lender that is a U.S. Person shall deliver to the
Borrower, the Securities Intermediary and the Administrative Agent on or prior to the date on
which such Lender becomes a Lender under this Loan Agreement (and from time to time
thereafter upon the reasonable request of the Borrower, the Securities Intermediary or the
Administrative Agent), executed originals (or copies if permitted by the Code and by the
regulations promulgated by the Internal Revenue Service) of IRS Form W-9 certifying that such
Lender is exempt from U.S. federal backup withholding tax;

                                       (B)     any Foreign Lender shall, to the extent it is legally
entitled to do so, deliver to the Borrower, the Securities Intermediary and the Administrative
Agent (in such number of copies as shall be requested by the recipient) on or prior to the date on
which such Foreign Lender becomes a Lender under this Loan Agreement (and from time to
time thereafter upon the reasonable request of the Borrower, the Securities Intermediary or the
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                                                 (1)    in the case of a Foreign Lender claiming the
benefits of an income tax treaty to which the United States is a party with respect to payments of
interest under any Loan Document: executed originals (or copies if permitted by the Code and by
the regulations promulgated by the Internal Revenue Service) of IRS Form W-8BEN (which for
purposes of this Section 6.3 includes any successor forms such as IRS Form W-8BEN-E)
establishing an exemption from, or reduction of, U.S. federal withholding Tax pursuant to the
“interest” article of such tax treaty; and in the case of a Foreign Lender claiming the benefits of
an income tax treaty to which the United States is a party with respect to payments of any other
applicable payments under any Loan Document: IRS Form W-8BEN establishing an exemption
from, or reduction of, U.S. federal withholding Tax pursuant to the “business profits” or “other
income” article of such tax treaty;

                                           (2)     executed originals (or copies if permitted by
the Code and by the regulations promulgated by the Internal Revenue Service) of IRS Form W-
8ECI;

                                               (3)    in the case of a Foreign Lender claiming the
benefits of the exemption for portfolio interest under Section 881(c) of the Code, (x) a certificate
to the effect that such Foreign Lender is not a “bank” within the meaning of Section 881(c)(3)(A)
of the Code, a “10 percent shareholder” of the Borrower within the meaning of Section
881(c)(3)(B) of the Code, or a “controlled foreign corporation” described in Section 881(c)(3)(C)
of the Code (a “U.S. Tax Compliance Certificate”) and (y) executed originals (or copies if
permitted by the Code and by the regulations promulgated by the Internal Revenue Service) of
IRS Form W-8BEN; or

                                              (4)     to the extent a Foreign Lender is not the
beneficial owner, executed originals (or copies if permitted by the Code and by the regulations
promulgated by the Internal Revenue Service) of IRS Form W-8IMY, accompanied by IRS Form
W-8ECI, IRS Form W-8BEN, a U.S. Tax Compliance Certificate and/or other certification
documents from each beneficial owner, as applicable; provided that if the Foreign Lender is a
partnership and one or more direct or indirect partners of such Foreign Lender are claiming the
portfolio interest exemption, such Foreign Lender may provide a U.S. Tax Compliance
Certificate on behalf of each such direct and indirect partner;

                                       (C)     any Foreign Lender shall, to the extent it is legally
entitled to do so, deliver to the Borrower, the Securities Intermediary and the Administrative
Agent (in such number of copies as shall be requested by the recipient) on or prior to the date on
which such Foreign Lender becomes a Lender under this Loan Agreement (and from time to
time thereafter upon the reasonable request of the Borrower, the Securities Intermediary or the
Administrative Agent), executed originals (or copies if permitted by the Code and by the
regulations promulgated by the Internal Revenue Service) of any other form prescribed by
Applicable Law as a basis for claiming exemption from or a reduction in U.S. federal
withholding Tax, duly completed, together with such supplementary documentation as may be


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prescribed by Applicable Law to permit the Borrower, the Securities Intermediary or the
Administrative Agent to determine the withholding or deduction required to be made; and

                                      (D)      if a payment made to a Lender under this Loan
Agreement or a Lender Note issued hereunder would be subject to U.S. federal withholding Tax
imposed by FATCA if such Lender were to fail to comply with the applicable reporting
requirements of FATCA (including those contained in Section 1471(b) or 1472(b) of the Code,
as applicable), such Lender shall deliver to the Borrower, the Securities Intermediary and the
Administrative Agent at the time or times prescribed by law and at such time or times reasonably
requested by the Borrower, the Securities Intermediary or the Administrative Agent such
documentation prescribed by Applicable Law (including, to the extent applicable, Section
1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably requested by the
Borrower, the Securities Intermediary or the Administrative Agent as may be necessary for the
Borrower, the Securities Intermediary and the Administrative Agent to comply with their
obligations under FATCA and to determine that such Lender has complied with such Lender’s
obligations under FATCA or to determine the amount to deduct and withhold from such
payment. Solely for purposes of this clause (D), “FATCA” shall include any amendments made
to FATCA after the date of this Loan Agreement.

                       (f)      Treatment of Certain Refunds. If any party determines, in its sole
discretion exercised in good faith, that it has received a refund of any Taxes as to which it has
been indemnified pursuant to this Section 6.3 (including by the payment of additional amounts
pursuant to this Section 6.3), it shall pay to the indemnifying party an amount equal to such
refund (but only to the extent of indemnity payments made under this Section with respect to the
Taxes giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of such
indemnified party and without interest (other than any interest paid by the relevant Governmental
Authority with respect to such refund). Such indemnifying party, upon the request of such
indemnified party, shall repay to such indemnified party the amount paid over pursuant to this
paragraph (f) (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) in the event that such indemnified party is required to repay such refund to such
Governmental Authority. Notwithstanding anything to the contrary in this paragraph (f), in no
event will the indemnified party be required to pay any amount to an indemnifying party
pursuant to this paragraph (f) the payment of which would place the indemnified party in a less
favorable net after-Tax position than the indemnified party would have been in if the Tax subject
to indemnification and giving rise to such refund had not been deducted, withheld or otherwise
imposed and the indemnification payments or additional amounts with respect to such Tax had
never been paid. This paragraph shall not be construed to require any indemnified party to make
available its Tax returns (or any other information relating to its Taxes that it deems confidential)
to the indemnifying party or any other Person.

                       (g)     Survival. Each party’s obligations under this Section 6.3 shall
survive the resignation or replacement of the Administrative Agent or any assignment of rights
by, or the replacement of, a Lender, the termination of the commitments of the Lenders


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hereunder and the repayment, satisfaction or discharge of all obligations under this Loan
Agreement.

                 Section 6.4 Designation of a Different Lending Office. If any Lender requires
the Borrower to pay any Indemnified Taxes or additional amounts to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 6.3, then such Lender
shall (at the request of the Borrower) use reasonable efforts to designate a different lending
office for funding or booking its Loans hereunder or to assign its rights and obligations
hereunder to another of its offices, branches or affiliates, if, in the judgment of such Lender, such
designation or assignment (i) would eliminate or reduce amounts payable pursuant to Section
6.3, as the case may be, in the future, and (ii) would not subject such Lender to any unreimbursed
cost or expense and would not otherwise be disadvantageous to such Lender. The Borrower
hereby agrees to pay all reasonable costs and expenses incurred by any Lender in connection
with any such designation or assignment.

                                       ARTICLE VII
                                CONDITIONS TO BORROWING

         The making of the Advances hereunder is subject to the following conditions precedent:

              Section 7.1 Conditions Precedent to the Closing and the Initial Advance. The
Administrative Agent and the Lenders had no obligation to consummate the transactions
contemplated by the Original Loan Agreement and make the Initial Advance unless:

                        (a)     Representations and Covenants. On and as of the date of the Initial
Advance: (i) the representations of each of the Borrower, the Assignor, the Predecessor Parent
Pledgor, Imperial, the Initial Portfolio Manager, the Initial Servicer, the Custodian and the
Securities Intermediary set forth in the Transaction Documents shall be true and correct in all
material respects with the same effect as if made on such date, and (ii) each of the Borrower, the
Assignor, the Predecessor Parent Pledgor, Imperial, the Initial Portfolio Manager, the Initial
Servicer, the Custodian and the Securities Intermediary were in compliance with the covenants
set forth in the Transaction Documents to which it is a party.

                       (b)    Closing Documents. The Administrative Agent received all of the
following, each duly executed and dated as of the Initial Closing Date, in form and substance
satisfactory to the Required Lenders:

                              (i)   Transaction Documents. Duly executed and delivered
counterparts of the Original Loan Agreement and each other Transaction Document (as defined
in the Original Loan Agreement), which agreements were in full force and effect.

                               (ii)   Resolutions; Organizational Documentation. Certified
copies of resolutions for the Borrower, the Assignor, the Predecessor Parent Pledgor, Imperial,
the Initial Portfolio Manager and the Initial Servicer authorizing or ratifying the execution,
delivery and performance of each Transaction Document (as defined in the Original Loan

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Agreement) to which it was, or would be, a party, together with certified copies of the Borrower
Organizational Documents and in the case of Imperial, the Assignor and the Predecessor Parent
Pledgor, a certified copy of their respective articles or certificate of incorporation or formation
and by-laws, trust agreement or limited liability company agreements, as applicable, of the
Borrower, Imperial, the Initial Servicer, the Initial Portfolio Manager, the Assignor and the
Predecessor Parent Pledgor.

                              (iii) Consents, etc. Certified copies of all documents evidencing
any necessary consents and governmental approvals required by the Borrower, the Assignor, the
Predecessor Parent Pledgor, Imperial, the Initial Portfolio Manager and the Initial Servicer with
respect to each Transaction Document (as defined in the Original Loan Agreement) to which it
was, or would be, a party (including, without limitation, any and all approvals required for the
Borrower or the Servicer to service the Collateral).

                                 (iv)   Incumbency and Signatures. A certificate of each of the
Borrower, the Assignor, the Predecessor Parent Pledgor, Imperial, the Initial Portfolio Manager
and the Initial Servicer, certifying the names of its members, managers, directors or officers
authorized to sign each Transaction Document (as defined in the Original Loan Agreement) to
which it was, or would be, a party.

                                (v)     Good Standing Certificates. Good standing certificates or
equivalent certificates for each of the Borrower, the Assignor, the Predecessor Parent Pledgor,
Imperial, the Initial Portfolio Manager and the Initial Servicer issued as of a recent date
acceptable to the Administrative Agent by: (i) the Secretary of State (or similar governmental
authority) of the jurisdiction of such Person’s formation, and (ii) the Secretary of State (or
similar governmental authority) of the jurisdiction where such Person’s chief executive office
and principal place of business are located.

                              (vi)   Financing Statements. Copies of UCC-1 financing
statements, in form and substance satisfactory to Administrative Agent, to be filed on or before
the Initial Closing Date, naming each of the Borrower, the Predecessor Parent Pledgor and the
Assignor as debtor, and, as appropriate, Administrative Agent, for the benefit of the Secured
Parties, as secured party.

                               (vii) Lien Search Report. Results of completed UCC and tax
and judgment lien searches or their equivalent for the jurisdictions of formation and chief
executive office of the Borrower, the Predecessor Parent Pledgor and the Assignor dated within
two (2) weeks before the Initial Closing Date that named the Borrower, the Assignor and the
Predecessor Parent Pledgor as debtor (none of which showed any of the Collateral or the Pledged
Interests subject to any Liens other than those created pursuant to the Transaction Documents (as
defined in the Original Loan Agreement)).

                              (viii) Payment of Fees. Evidence (which may be in the form of
one or more wire instructions and/or confirmations) that all Fees payable under the Original
Loan Agreement or under any other Transaction Document (as defined in the Original Loan
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Agreement) and all costs and expenses then due and payable had been paid or were paid out of
the proceeds of the Initial Advance.

                              (ix)   Opinions of Counsel. Opinions of counsel to the Borrower,
the Assignor, the Predecessor Parent Pledgor, the Initial Servicer, Imperial, the Initial Portfolio
Manager, the Custodian and the Securities Intermediary, in form and substance satisfactory to
the Administrative Agent.

                            (x)     Accounts. Evidence that the Accounts and the Policy
Account had been established in accordance with the Transaction Documents (as defined in the
Original Loan Agreement).

                              (xi)    Collateral Packages. Copies of the complete Collateral
Packages for the Subject Policies satisfactory to the Administrative Agent as of the Initial
Closing Date, including evidence that all Premiums required to be funded prior to the Initial
Closing Date in order to keep the Subject Policies in force and not in grace or lapse status
through at least April 30, 2013 had been paid (except Subject Policies set forth on the Initial
Advance Lexington Schedule, which may have had Premiums funded through a different date as
set forth on such schedule).

                              (xii)   Reserved.

                             (xiii) Insurance Consultant. Reports produced by the Insurance
Consultant, in form and substance satisfactory to the Administrative Agent.

                             (xiv) Annual Budget. The Borrower shall have produced an
Annual Budget with respect to the Subject Policies as of the Initial Closing Date, in form and
substance reasonably acceptable to the Administrative Agent and the Insurance Consultant.

                                (xv) Solvency Certificate. A certificate of solvency executed by
the chief financial officer of the Predecessor Parent Pledgor certifying that the Borrower was
Solvent.

                            (xvi) Others. Such other documents as the Administrative Agent
may have reasonably requested prior to the Initial Closing Date.

                     (c)     Borrowing Base. The Initial Advance did not exceed the
Borrowing Base as of the date of the Initial Advance.

                       (d)     Transaction Documents. Each of the Transaction Documents (as
defined in the Original Loan Agreement) were in form and substance satisfactory to the Required
Lenders in their sole discretion, and all consents, waivers and approvals necessary for the
consummation of the transactions contemplated thereby were obtained and were in full force and
effect.


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                        (e)     Eligible Policies. Each of the Subject Policies as of the Initial
Closing Date was an Eligible Policy, as determined by the Required Lenders in their sole
discretion, it being understood that such determination shall not operate as a waiver by the
Administrative Agent or any Lender of any right or remedy hereunder or under any other
Transaction Document if it is subsequently discovered that any such Subject Policy was not an
Eligible Policy as of the Initial Closing Date.

                        (f)     Delivery of Policies to Custodian. All Subject Policies (except for
Subject Policies set forth on Schedule 7.1(f)) were delivered to and were held by the Custodian
and the Custodian has verified to the Administrative Agent in writing its receipt of all originals
or copies certified by the applicable Issuing Insurance Companies of such Subject Policies by
delivering the required certification pursuant to the terms of the Account Control Agreement.

                         (g)     Security Interest. The Required Lenders were satisfied that the
Liens and security interests created under and granted by the Transaction Documents (as defined
in the Original Loan Agreement) were first priority perfected security interests and would not be
subject to any other senior or pari passu Liens, security interests or any other Adverse Claims
prior to or after the Initial Closing Date as determined in the Required Lenders’ sole discretion.

                      (h)    No Material Change in Laws. Since January 1, 2013, no material
adverse change in any Applicable Law or any tax treatment of life insurance death benefits or
proceeds had occurred or reasonably could have been expected to occur.

                       (i)     Collateral Assignment. The Securities Intermediary or the
Insurance Consultant had delivered to the related Issuing Insurance Companies a fully completed
and executed collateral assignment in respect of each Subject Policy on the Initial Closing Date
(except for Subject Policies set forth on the Initial Advance Lexington Schedule and the Subject
Policy set forth on Schedule 7.1(a)(i)), naming the Administrative Agent, on behalf of the
Lenders, as the collateral assignee and the Administrative Agent received verbal confirmation
from each of the related Issuing Insurance Companies that all such collateral assignments had
been received by such Issuing Insurance Companies.

                      (j)     Acknowledgements. The Securities Intermediary delivered written
confirmation to the Administrative Agent that it had received an Acknowledgement for each
Subject Policy and had credited each Subject Policy to the Policy Account and the Securities
Intermediary delivered copies of each such Acknowledgement to the Administrative Agent.

                       (k)    Reserved.

                     (l)    No Event of Default or Unmatured Event of Default. No Event of
Default or Unmatured Event of Default which had not been waived in writing by the Required
Lenders had occurred and was continuing or resulted from the making of the Initial Advance.

                     (m)    Borrowing Request; etc. The Administrative Agent received a
Borrowing Request (including (i) a confirmation that the Collateral Packages for the Subject

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Policies (taking into account the exceptions noted on Schedules V, VI, VII, VIII, IX, X and XI to
the Account Control Agreement) had been uploaded to the FTP Site, and (ii) the Borrowing Base
Certificate) for the Initial Advance (which may have been an electronic or facsimile
transmission).

                       (n)     Insurance Consultant. The Borrower had executed and delivered
or caused all necessary third parties to execute and deliver, all documentation and authorizations
necessary for the Insurance Consultant to communicate and receive verifications of coverage and
obtain other information from the Issuing Insurance Companies related to the Subject Policies, as
determined by the Administrative Agent in its sole and absolute discretion.

                       (o)      Third Party Releases. The Borrower had executed and delivered or
caused all necessary third parties to execute and deliver releases of Adverse Claims with respect
to the Subject Policies, as determined by the Administrative Agent in its sole and absolute
discretion and specified to the Borrower in writing prior to the Initial Closing Date.

              Section 7.2 Conditions Precedent to each Ongoing Maintenance Advance. The
making of each Ongoing Maintenance Advance is subject to the following further conditions
precedent:

                        (a)     Representations and Covenants. On and as of the date of such
Ongoing Maintenance Advance: (i) the representations of each of the Borrower, the Assignor,
the Predecessor Parent Pledgor, the Parent Pledgors, Imperial, the Portfolio Manager, the
Servicer, the Guarantor, the Initial Servicer, the Initial Portfolio Manager, the Securities
Intermediary and the Custodian set forth in the Transaction Documents shall be true and correct
in all material respects with the same effect as if made on such date, and (ii) each of the
Borrower, the Assignor, the Predecessor Parent Pledgor, the Parent Pledgors, Imperial, the
Portfolio Manager, the Servicer, the Initial Servicer, the Initial Portfolio Manager, the Guarantor,
the Securities Intermediary and the Custodian shall be in compliance with the covenants set forth
in the Transaction Documents to which it is a party.

                      (b)    No Event of Default or Unmatured Event of Default. No Event of
Default or Unmatured Event of Default which has not been waived in writing by the Required
Lenders shall have occurred and be continuing or will result from the making of such Ongoing
Maintenance Advance under any of the Transaction Documents.

                     (c)    Borrowing Request; etc. The Administrative Agent shall have
received a Borrowing Request (including the Borrowing Base Certificate) for such Ongoing
Maintenance Advance.

                      (d)     Commitment Termination Date. The Commitment Termination
Date shall not have occurred.

                         (e)    Material Adverse Effect. No event has occurred during the shorter
of (i) the three (3) year period preceding the date of such Ongoing Maintenance Advance and (ii)

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the period of time commencing on the Initial Closing Date and ending on the date of such
Ongoing Maintenance Advance, that could reasonably be expected to have a Material Adverse
Effect.

                      (f)     Borrowing Base. The Ongoing Maintenance Advance shall not
exceed an amount such that the Ongoing Maintenance Advance, when taken together with the
outstanding balance of all previous Advances, would cause the aggregate outstanding balance of
the Advances to exceed the Borrowing Base as of the date of such Ongoing Maintenance
Advance.

                     (g)    No Liens; First Priority Security Interest. There shall be no
encumbrance or Lien on any of the Collateral or the Pledged Interests other than Liens or
encumbrances created or expressly permitted under the Transaction Documents.

                        (h)    Transaction Documents. Each of the Transaction Documents shall
be in full force and effect.

                      (i)     No Material Change in Laws. Since the shorter of (i) the three (3)
year period preceding the date of such Ongoing Maintenance Advance and (ii) the period of time
commencing on the Initial Closing Date and ending on the date of such Ongoing Maintenance
Advance, no material adverse change in any Applicable Law or any tax treatment of life
insurance death benefits or proceeds has occurred or reasonably could be expected to occur that
would in the reasonable judgment of the Required Lenders (i) materially impair the collectability
of a Pledged Policy for which the Premiums will be funded with the proceeds of such Ongoing
Maintenance Advance or (ii) make such Ongoing Maintenance Advance or any of the
outstanding Advances illegal.

                        (j)    Fees. All Fees due and payable shall have been paid.

                        (k)    Cash Interest Coverage Ratio Reporting Requirements. The
Borrower shall have delivered to the Administrative Agent a certification from a director or
officer of EMG that includes a calculation of the Cash Interest Coverage Ratio as of the date of
the making of such Ongoing Maintenance Advance (which certification shall include, without
limitation, all information necessary in order to enable the Administrative Agent to
independently make such calculation) and identifies the lowest amount the Cash Interest
Coverage Ratio has ever been since the date of the making of the most recent Ongoing
Maintenance Advance.

              Section 7.3 Conditions Precedent to each Additional Policy Advance. The
making of each Additional Policy Advance is subject to the following further conditions
precedent:

                      (a)     Representations and Covenants. On and as of the date of such
Additional Policy Advance: (i) the representations of each of the Borrower, the Assignor, the
Predecessor Parent Pledgor, the Parent Pledgors, Imperial, the Portfolio Manager, the Servicer,

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the Initial Servicer, the Initial Portfolio Manager, the Guarantor, the Custodian and the Securities
Intermediary set forth in the Transaction Documents shall be true and correct in all material
respects with the same effect as if made on such date, and (ii) each of the Borrower, the
Assignor, the Predecessor Parent Pledgor, the Parent Pledgors, Imperial, the Portfolio Manager,
the Servicer, the Initial Servicer, the Initial Portfolio Manager, the Guarantor, the Custodian and
the Securities Intermediary shall be in compliance with the covenants set forth in the Transaction
Documents to which it is a party.

                      (b)    No Event of Default or Unmatured Event of Default. No Event of
Default or Unmatured Event of Default which has not been waived in writing by the Required
Lenders shall have occurred and be continuing or will result from the making of such Additional
Policy Advance under any of the Transaction Documents.

                       (c)     Borrowing Request; etc. The Administrative Agent shall have
received a Borrowing Request (including (i) a confirmation that the Collateral Packages for the
Subject Policies have been uploaded to the FTP Site and (ii) the Borrowing Base Certificate) for
such Additional Policy Advance (which may be an electronic or facsimile transmission followed
by actual delivery of the original Custodial Packages to the Custodian).

                      (d)     Commitment Termination Date. The Commitment Termination
Date shall not have occurred.

                         (e)    Material Adverse Effect. No event has occurred during the shorter
of (i) the three (3) year period preceding the date of such Additional Policy Advance and (ii) the
period of time commencing on the Initial Closing Date and ending on the date of such Additional
Policy Advance, that could reasonably be expected to have a Material Adverse Effect with
respect to the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor or
Imperial or any of the Collateral or the Pledged Interests.

                        (f)   Borrowing Base. The Additional Policy Advance shall not exceed
an amount such that the Additional Policy Advance, when taken together with the outstanding
balance of all previous Advances, would cause the aggregate outstanding balance of the
Advances to exceed the Borrowing Base as of the date of such Additional Policy Advance, and
the calculation of the Lender Valuation shall include the Subject Policies.

                        (g)    No Liens; First Priority Security Interest. There shall be no
encumbrance or Lien on any of the Collateral, the Additional Policies or the Pledged Interests
other than Liens or encumbrances created or permitted under the Transaction Documents.
Furthermore, from and after the related Subsequent Advance Date, the Administrative Agent, for
the benefit of the Secured Parties, shall have a first priority perfected security interest in, and
assignment of, all of the Borrower’s rights, titles and interests (through the Securities
Intermediary) in, to and under the Additional Policies.

                        (h)    Transaction Documents. Each of the Transaction Documents shall
be in full force and effect.
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                      (i)     Insurance Consultant Report. The Administrative Agent shall have
received a report from the Insurance Consultant, in form and substance satisfactory to the
Required Lenders in their sole discretion, regarding the value of the Collateral.

                      (j)    Annual Budget. The Borrower shall have produced an Annual
Budget with respect to the Additional Policies, in form and substance reasonably acceptable to
the Administrative Agent and the Insurance Consultant.

                      (k)      No Material Change in Laws. Since the shorter of (i) the three (3)
year period preceding the date of such Additional Policy Advance and (ii) the period of time
commencing on the Initial Closing Date and ending on the date of such Additional Policy
Advance, no material adverse change in any Applicable Law or any tax treatment of life
insurance death benefits or proceeds has occurred or reasonably could be expected to occur that
would in the reasonable judgment of the Required Lenders (i) materially impair the collectability
of any Subject Policy or (ii) make such Additional Policy Advance or any of the outstanding
Advances illegal.

                       (l)     Eligible Policies. Each of the Additional Policies being funded on
the related Subsequent Advance Date shall be an Eligible Policy, as determined by the Required
Lenders in their sole discretion.

                      (m)     Fees. All Fees due and payable shall have been paid.

                      (n)     Lender Approval. Each Lender’s executive loan committee or
similar governing body shall have approved such Additional Policy Advance, which approval
may be withheld or granted in such executive loan committee’s or similar governing body’s sole
discretion; provided however, that each Lender’s funding of such Additional Policy Advance
shall be deemed to demonstrate approval of such Additional Policy Advance by such Lender’s
executive loan committee or similar governing body.

                       (o)     Collateral Assignment. The Borrower shall have delivered to the
Securities Intermediary a fully completed and executed collateral assignment in respect of each
Additional Policy on such Advance Date, naming the Administrative Agent, on behalf of the
Lenders, as the collateral assignee.

                       (p)     Delivery of Policies to Custodian. All Additional Policies, and all
documents comprising the related Custodial Packages (including all originals thereof), have been
delivered to and are held by the Custodian, including evidence that all Premiums necessary to
keep such Additional Policies in force have been paid through the period of time commencing on
the proposed Subsequent Advance Date and ending thirty (30) days thereafter, and the Custodian
has verified to the Administrative Agent in writing its receipt of all documents required to be
contained in the related Custodial Package by delivering the required certification pursuant to the
terms of the Account Control Agreement.



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                       (q)    Acknowledgements. The Securities Intermediary shall have
delivered written confirmation to the Administrative Agent that it has received an
Acknowledgement for each Subject Policy and has credited each Subject Policy to the Policy
Account and the Securities Intermediary shall have delivered copies of each such
Acknowledgement to the Administrative Agent.

                      (r)     Change Forms. The Securities Intermediary shall confirm to the
Administrative Agent in writing that it is holding completed Change Forms with respect to the
Subject Policies executed by the Securities Intermediary in blank and the Administrative Agent
shall have received copies of such Change Forms.

                       (s)     Insurance Consultant. The Borrower shall have executed and
delivered or caused all relevant third parties to execute and deliver all documentation and
authorizations necessary for the Insurance Consultant to communicate and receive verifications
of coverage and obtain other information from the Issuing Insurance Companies related to the
Subject Policies, as determined by the Administrative Agent in its sole and absolute discretion.

                        (t)     Third Party Releases. The Borrower shall have executed and
delivered or caused all relevant third parties to execute and deliver all necessary releases of
Adverse Interests with respect to the Subject Policies, as determined by the Administrative Agent
in its sole and absolute discretion and specified to the Borrower in writing prior to the relevant
Advance Date.

                        (u)    Opinions of Counsel. Opinions of Counsel related to certain
bankruptcy matters with respect to the transactions contemplated by the LP Parent Contribution
Agreement and the Predecessor Parent Pledgor LP Contribution Agreement, including, without
limitation, true sale and non-consolidation matters.

               Section 7.4 Conditions Precedent to First Advance Following the Original
Amended and Restated Closing Date. In addition to the conditions precedent set forth in Section
7.2 and Section 7.3, as applicable, the making of the first Advance following the Original
Amended and Restated Closing Date was subject to the following further conditions precedent:

                      (a)     Closing Documents. The Administrative Agent received all of the
following, each duly executed and dated as of the Original Amended and Restated Closing Date,
in form and substance satisfactory to the Required Lenders:

                              (i)     Transaction Documents. Duly executed and delivered
counterparts of the Original Amended and Restated Loan Agreement and each other Transaction
Document (as defined in the Original Amended and Restated Loan Agreement), which
agreements were in full force and effect.

                               (ii)  Resolutions; Organizational Documentation. Certified
copies of resolutions for the Borrower, the Assignor, the Predecessor Parent Pledgor, the Parent
Pledgors, the Portfolio Manager, the Guarantor, the Initial Servicer, the Initial Portfolio Manager

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and the Servicer authorizing or ratifying the execution, delivery and performance of each
Transaction Document (as defined in the Original Amended and Restated Loan Agreement) to
which it was, or would be, a party, together with certified copies of the Borrower Organizational
Documents and in the case of the Assignor, the Predecessor Parent Pledgor, the Parent Pledgors,
the Portfolio Manager, the Guarantor, the Initial Servicer, the Initial Portfolio Manager and the
Servicer, certified copies of their respective certificates of formation and limited liability
company agreements or limited partnership agreements, as applicable.

                                  (iii) Consents, etc. Certified copies of all documents evidencing
any necessary consents and governmental approvals required by the Borrower, the Assignor, the
Predecessor Parent Pledgor, the Parent Pledgors, Imperial, the Portfolio Manager, the Guarantor,
the Initial Servicer, the Initial Portfolio Manager and the Servicer with respect to each
Transaction Document (as defined in the Original Amended and Restated Loan Agreement) to
which it was, or would be, a party (including, without limitation, any and all approvals required
for the Borrower, the Portfolio Manager, the Initial Servicer, the Initial Portfolio Manager or the
Servicer to service the Collateral).

                                 (iv) Incumbency and Signatures. A certificate of each of the
Borrower, the Assignor, the Predecessor Parent Pledgor, the Parent Pledgors, the Portfolio
Manager, the Guarantor, the Initial Servicer, the Initial Portfolio Manager and the Servicer,
certifying the names of its members, managers, directors or officers authorized to sign each
Transaction Document (as defined in the Original Amended and Restated Loan Agreement) to
which it is, or will be, a party.

                               (v)      Good Standing Certificates. Good standing certificates or
equivalent certificates for each of the Borrower, the Assignor, the Predecessor Parent Pledgor,
the Parent Pledgors, the Portfolio Manager, the Guarantor, the Initial Servicer, the Initial
Portfolio Manager and the Servicer issued as of a recent date acceptable to the Administrative
Agent by: (i) the Secretary of State (or similar governmental authority) of the jurisdiction of such
Person’s formation, and (ii) the Secretary of State (or similar governmental authority) of the
jurisdiction where such Person’s chief executive office and principal place of business are
located.

                                 (vi)   Financing Statements. Copies of UCC-1 financing
statements and any UCC-3 financing statement amendments, as applicable, and a form C-1
suitable for filing with the Irish Register of Companies, in form and substance satisfactory to
Administrative Agent, to be filed on or before the Original Amended and Restated Closing Date,
naming each of the Borrower, the Assignor, the Predecessor Parent Pledgor and the Parent
Pledgors as debtor, and, as appropriate, the Administrative Agent, for the benefit of the Secured
Parties, as secured party.

                              (vii) Lien Search Report. Results of completed UCC and tax
and judgment lien searches or their equivalent for the jurisdictions of formation and chief
executive office of the Borrower, the Assignor, each Parent Pledgor and the Predecessor Parent
Pledgor dated within two (2) weeks before the Original Amended and Restated Closing Date that
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named the Borrower, the Assignor, each Parent Pledgor and the Predecessor Parent Pledgor as
debtor (none of which showed any of the Collateral or the Pledged Interests subject to any Liens
other than those created pursuant to the Transaction Documents (as defined in the Original
Amended and Restated Loan Agreement)).

                              (viii) Payment of Fees. Evidence (which may be in the form of
one or more wire instructions and/or confirmations) that all Fees and other costs and expenses
then due and payable under the Original Amended and Restated Loan Agreement or under any
other Transaction Document (as defined in the Original Amended and Restated Loan
Agreement) had been paid or were be paid out of the proceeds of the first Advance following the
Original Amended and Restated Closing Date.

                               (ix)   Opinions of Counsel. Opinions of counsel to the Borrower,
the Assignor, the Parent Pledgors, the Predecessor Parent Pledgor, the Servicer, the Portfolio
Manager, the Guarantor, the Initial Servicer, the Initial Portfolio Manager, the Custodian and the
Securities Intermediary, in form and substance satisfactory to the Administrative Agent.

                            (x)     Accounts. Evidence that the Accounts and the Policy
Account had been established in accordance with the Transaction Documents.

                                 (xi)  Solvency Certificate. A certificate of solvency executed by
the chief financial officer of the GP Parent or its managing member on behalf of the GP Parent
certifying that the Borrower was Solvent.

                            (xii) Others. Such other documents as the Administrative Agent
may have reasonably requested prior to the Original Amended and Restated Closing Date.

                       (b)    Transaction Documents. Each of the Transaction Documents (as
defined in the Original Amended and Restated Loan Agreement) were in form and substance
satisfactory to the Required Lenders in their sole discretion, and all consents, waivers and
approvals necessary for the consummation of the transactions contemplated thereby were
obtained.

               Section 7.5 Conditions Precedent to First Advance Following the Second
Amended and Restated Closing Date. In addition to the conditions precedent set forth in Section
7.2 and Section 7.3, as applicable, the making of the first Advance following the Second
Amended and Restated Closing Date is subject to the following further conditions precedent:

                        (a)    Closing Documents. The Administrative Agent shall have received
all of the following, each duly executed and dated as of the Second Amended and Restated
Closing Date, in form and substance satisfactory to the Required Lenders:

                                (i) Transaction Documents. Duly executed and delivered
counterparts of this Loan Agreement and the Account Control Agreement, which agreements
shall be in full force and effect.

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                                (ii)    Resolutions; Organizational Documentation. Certified
copies of resolutions for the Borrower, the Portfolio Manager, the Guarantor, the Initial Servicer
and the Initial Portfolio Manager authorizing or ratifying the execution, delivery and this Loan
Agreement and the Account Control Agreement, as applicable, together with certified copies of
the Borrower Organizational Documents and in the case of the Portfolio Manager, the Guarantor,
the Initial Servicer and the Initial Portfolio Manager, certified copies of their respective
certificates of formation and limited liability company agreements or limited partnership
agreements, as applicable.

                                (iii) Consents, etc. Certified copies of all documents evidencing
any necessary consents and governmental approvals required by the Borrower, the Portfolio
Manager, the Guarantor, the Initial Servicer and the Initial Portfolio Manager with respect to this
Loan Agreement and the Account Control Agreement, as applicable (including, without
limitation, any and all approvals required for the Borrower, the Portfolio Manager, the Initial
Servicer or the Initial Portfolio Manager to service the Collateral).

                            (iv)     Incumbency and Signatures. A certificate of each of the
Borrower, the Portfolio Manager, the Guarantor, the Initial Servicer and the Initial Portfolio
Manager, certifying the names of its members, managers, directors or officers authorized to sign
each of this Loan Agreement and the Account Control Agreement, as applicable.

                                (v)     Good Standing Certificates. Good standing certificates or
equivalent certificates for each of the Borrower, the Portfolio Manager, the Guarantor, the Initial
Servicer and the Initial Portfolio Manager issued as of a recent date acceptable to the
Administrative Agent by: (i) the Secretary of State (or similar governmental authority) of the
jurisdiction of such Person’s formation, and (ii) the Secretary of State (or similar governmental
authority) of the jurisdiction where such Person’s chief executive office and principal place of
business are located.

                               (vi)    Lien Search Report. Results of completed UCC and tax
and judgment lien searches or their equivalent for the jurisdictions of formation and chief
executive office of the Borrower dated within two (2) weeks before the Second Amended and
Restated Closing Date that name the Borrower as debtor (none of which shall show any of the
Collateral or the Pledged Interests subject to any Liens other than those created pursuant to the
Transaction Documents).

                              (vii) Payment of Fees. Evidence (which may be in the form of
one or more wire instructions and/or confirmations) that all Fees and other costs and expenses
then due and payable hereunder or under any other Transaction Document have been paid or will
be paid out of the proceeds of the first Advance following the Second Amended and Restated
Closing Date.

                             (viii) Opinions of Counsel. Opinions of counsel to the Borrower
the Portfolio Manager, the Guarantor, the Initial Servicer, the Initial Portfolio Manager, the

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Custodian and the Securities Intermediary, in form and substance satisfactory to the
Administrative Agent.

                            (ix)    Accounts. Evidence that the Accounts and the Policy
Account have been established in accordance with the Transaction Documents.

                                 (x)   Solvency Certificate. A certificate of solvency executed by
the chief financial officer of the GP Parent or its managing member on behalf of the GP Parent
certifying that the Borrower is Solvent.

                             (xi)    Others. Such other documents as the Administrative Agent
may reasonably request prior to the Second Amended and Restated Closing Date.

                      (b)     Transaction Documents. Each of the Transaction Documents shall
be in form and substance satisfactory to the Required Lenders in their sole discretion, and all
consents, waivers and approvals necessary for the consummation of the transactions
contemplated thereby shall have been obtained and shall be in full force and effect.

                                    ARTICLE VIII
                          REPRESENTATIONS AND WARRANTIES

               Section 8.1 Representations and Warranties of the Borrower. The Borrower
makes the following representations and warranties to the Administrative Agent and each
Lender:

                        (a)     Organization, etc. The Borrower has been duly organized and is
validly existing and in good standing under the laws of the State of Delaware (and is not
organized under the laws of any other jurisdiction or Governmental Authority) with the requisite
power and authority to own its properties and to conduct its business as such properties are
presently owned and such business is presently conducted. The Borrower is duly licensed or
qualified to do business as a foreign entity in good standing in each jurisdiction in which the
failure to be so licensed or qualified would be reasonably likely to have a material adverse effect
on any of the Pledged Policies, any other Collateral, any of the Pledged Interests, the business,
assets, financial condition or operations of the Borrower or any of the rights or interests of the
Administrative Agent or any of the Lenders hereunder or under any other Transaction Document.

                       (b)    Power and Authority; Due Authorization. The Borrower has (a) all
necessary power, authority and legal right to (i) execute, deliver and perform its obligations
under this Loan Agreement and each of the other Transaction Documents to which it is a party,
and (ii) to borrow moneys on the terms and subject to the conditions herein provided, and (b)
duly authorized, by all necessary action, the execution, delivery and performance of this Loan
Agreement and the other Transaction Documents to which it is a party, the borrowing hereunder
on the terms and conditions of this Loan Agreement and the granting of security therefor on the
terms and conditions provided herein.


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                        (c)    No Violation. The consummation of the transactions contemplated
by this Loan Agreement and the other Transaction Documents and the fulfillment of the terms
hereof and thereof will not and do not (a) conflict with, result in any breach of any of the terms
and provisions of, or constitute (with or without notice or lapse of time or both) a default under,
(i) the Borrower Organizational Documents, or (ii) any material agreement or instrument to
which the Borrower is a party or by which it or any of its properties is bound, (b) result in or
require the creation or imposition of any Adverse Claim upon any of its properties pursuant to
the terms of any such material agreement or instrument or (c) violate any Applicable Law.

                        (d)    Validity and Binding Nature. This Loan Agreement is, and the
other Transaction Documents to which it is a party when duly executed and delivered by the
Borrower and the other parties thereto will be, the legal, valid and binding obligation of the
Borrower, enforceable in accordance with their respective terms, except as enforceability may be
limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar law
affecting creditors’ rights generally and by general principles of equity.

                       (e)     Government Approvals. No authorization or approval or other
action by, and no notice to or filing with, any Governmental Authority or regulatory body
required for the due execution, delivery or performance by the Borrower of any Transaction
Document to which it is a party, remains or remained unobtained or unfiled.

                       (f)    Solvency. As of each Advance Date, after giving effect to each
Advance made on such Advance Date, the Borrower was, is and will be Solvent and able to pay
its debts as they come due, and had, has and will have adequate capital to conduct its business.

                       (g)     Margin Regulations. The Borrower is not engaged in the business
of extending credit for the purpose of purchasing or carrying margin stock, and no proceeds of
any Advances, directly or indirectly, will be used for a purpose that violates, or would be
inconsistent with, Regulations T, U and X promulgated by the Federal Reserve Board from time
to time.

                       (h)     Quality of Title. As of each Advance Date, the Collateral,
including, without limitation, the Pledged Policies, was and is owned by the Borrower (directly
or through the Securities Intermediary) free and clear of any Adverse Claim. As of the date of
any Additional Policy Advance made pursuant to a Borrowing Request, the Subject Policies are
owned by the Borrower (directly or through the Securities Intermediary) free and clear of any
Adverse Claim.

                        (i)    No Rescission. As of each Advance Date, no prior seller of any
Pledged Policy or Subject Policy (if applicable) had or has exercised or, to the knowledge of the
Borrower after reasonable investigation, attempted to exercise the right to rescind any transfer of
such Policy, except with respect to any Pledged Policy or Subject Policy identified on Schedule
8.1(i), in which case, such prior seller subsequently abandoned such exercise or attempt to
exercise (in exchange for specific compensation or such prior seller litigated such attempt to

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exercise and an unfavorable judgment or verdict was rendered against such prior seller and is not
subject to a pending appeal or dispute, as indicated on Schedule 8.1(i)).

                        (j)     Perfection. This Loan Agreement, the Borrower Interest Pledge
Agreement, the Account Control Agreement and the financing statements and form C-1 filed in
connection with this Loan Agreement create a valid first priority security interest in favor of the
Administrative Agent (for the benefit of the Secured Parties) in the Collateral (excluding each of
the Subject Policies set forth on Eligibility Criteria Clause (a) Schedule until the Securities
Intermediary is designated as the “owner” and “beneficiary” under such Pledged Policy by the
related Issuing Insurance Company), which security interest has been perfected (free and clear of
any Adverse Claim) as security for the Obligations. As of the Initial Closing Date, no effective
financing statement or other instrument similar in effect covering any of the Collateral or any
interest therein owned by the Borrower (directly or through the Securities Intermediary) was on
file in any recording office except for financing statements in favor of the Administrative Agent
(for the benefit of the Secured Parties) in accordance with the Original Loan Agreement and the
other Transaction Documents (as defined in the Original Loan Agreement). As of the Original
Amended and Restated Closing Date, no effective financing statement or other instrument
similar in effect covering any of the Collateral or any interest therein owned by the Borrower
(directly or through the Securities Intermediary) was on file in any recording office except for
financing statements in favor of the Administrative Agent (for the benefit of the Secured Parties)
in accordance with the Original Amended and Restated Loan Agreement and the other
Transaction Documents (as defined in the Original Amended and Restated Loan Agreement). As
of the Second Amended and Restated Closing Date, no effective financing statement or other
instrument similar in effect covering any of the Collateral or any interest therein owned by the
Borrower (directly or through the Securities Intermediary) is on file in any recording office
except for financing statements in favor of the Administrative Agent (for the benefit of the
Secured Parties) in accordance with this Loan Agreement and the other Transaction Documents.
As of the date of any Additional Policy Advance made pursuant to a Borrowing Request, no
effective financing statement or other instrument similar in effect covering any of the Subject
Policies will be on file in any recording office except for financing statements in favor of the
Administrative Agent (for the benefit of the Secured Parties) in accordance with this Loan
Agreement and the other Transaction Documents.

                        (k)     Offices. The principal place of business and chief executive office
of the Borrower, the Assignor, the Predecessor Parent Pledgor, each Parent Pledgor and Imperial
is located at the address set forth on Schedule 13.2 (or at such other locations, notified to the
Administrative Agent in jurisdictions where all action required hereby has been taken and
completed).

                      (l)     Compliance with Applicable Laws; Licenses, etc.

                             (i)     The Borrower is in compliance with the requirements of all
Applicable Laws, a breach of any of which, individually or in the aggregate, could reasonably be
expected to have an adverse effect on any of the Pledged Policies, the business, assets, financial

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condition or operations of the Borrower or any of the rights or interests of the Administrative
Agent or any of the Lenders hereunder or under any other Transaction Document.

                                 (ii)  The Borrower has not failed to obtain any licenses, permits,
franchises or other governmental authorizations necessary to the ownership of its properties or to
the conduct of its business, which violation or failure to obtain could reasonably be expected to
have a material adverse effect on any of the Pledged Policies, any other Collateral, any of the
Pledged Interests, the business, assets, financial condition or operations of the Borrower or any
of the rights or interests of the Administrative Agent or any of the Lenders hereunder or under
any other Transaction Document.

                                (iii) The Borrower has complied with all licensure requirements
in each state in which it is required to be specifically registered or licensed as a purchaser, owner
or servicer of life insurance policies.

                             (iv)     There has been no event or circumstance that could
reasonably be expected to result in the revocation of any license, permit, franchise or other
governmental authorization of the Borrower necessary to the ownership of its properties or to the
conduct of its business.

                        (m)    No Proceedings. Except as set forth on Schedule 8.1(m), there is
no order, judgment, decree, injunction, stipulation or consent order of or with any Governmental
Authority to which the Borrower is subject, and there is no action, suit, arbitration, regulatory
proceeding or investigation pending, or, to the actual knowledge of the Borrower, threatened,
before or by any court, regulatory body, administrative agency or other tribunal or governmental
instrumentality, against the Borrower that, individually or in the aggregate, could reasonably be
expected to have a material adverse effect on any of the Pledged Policies, any other Collateral,
any of the Pledged Interests, the business, assets, financial condition or operations of the
Borrower or any of the rights or interests of the Administrative Agent or any of the Lenders
hereunder or under any other Transaction Document; and there is no action, suit, proceeding,
arbitration, regulatory or governmental investigation, pending or, to the actual knowledge of the
Borrower, threatened, before or by any court, regulatory body, administrative agency, or other
tribunal or governmental instrumentality (A) asserting the invalidity of this Loan Agreement, the
Lender Notes or any other Transaction Document, (B) seeking to prevent the issuance of the
Lender Notes or the consummation of any of the other transactions contemplated by this Loan
Agreement or any other Transaction Document, (C) seeking to adversely affect the federal
income tax attributes of the Borrower or (D) asserting that any Pledged Policy or Policy to
become a Pledged Policy is invalid, void or otherwise unenforceable for any reason.

                       (n)    Investment Company Act, Etc. The Borrower is not an
“investment company” or a company “controlled” by an “investment company” within the
meaning of the Investment Company Act of 1940, as amended, by virtue of an exemption other
than pursuant to Section 3(c)(1) or Section 3(c)(7) thereof. The Borrower is not a “covered
fund” under Section 13 of the Bank Holding Company Act of 1956, as amended.

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                       (o)    Eligible Policies. As of the Initial Closing Date, each Pledged
Policy was an Eligible Policy. As of December 29, 2016, each Additional Policy that became a
Pledged Policy on such date was an Eligible Policy. As of the date of any Borrowing Request
relating to any other Additional Policy Advance and the date of such Additional Policy Advance,
each Additional Policy that will become a Pledged Policy on the relevant Advance Date is or will
be an Eligible Policy.

                       (p)    Accuracy of Information. To the best of the Borrower’s
knowledge and belief, after due inquiry, and in reliance on information provided by third parties
(as to the accuracy or completeness of which the Borrower is not liable and has expressed no
opinion or made any representation or warranty), all information furnished by, or on behalf of,
the Borrower to the Administrative Agent or any other Secured Party in connection with any
Transaction Document, or any transaction contemplated thereby, is or was as of the date it was
furnished (if such information was furnished on an earlier date) true and accurate in every
material respect (without omission of any information necessary to prevent such information
from being materially misleading).

                        (q)    No Material Adverse Change. Except as set forth on Schedule
8.1(q), since March 27, 2013, there has been no material adverse change in (A) the Borrower’s
(i) financial condition, business, operations or prospects or (ii) ability to perform its obligations
under any Transaction Document to which the Borrower is a party, (B) any of the Collateral or
(C) any of the Pledged Interests.

                      (r)     Trade Names and Subsidiaries. Other than the name White Eagle
Asset Portfolio, LLC, the Borrower has not used any other names, trade names or assumed
names for the five year period preceding the Original Amended and Restated Closing Date (and
has not used any other names, trade names or assumed names since such date). The Borrower
has no Subsidiaries and does not own or hold, directly or indirectly, any equity interest in any
Person.

                         (s)      Accounts. Set forth in Schedule 8.1(s) is a complete and accurate
description, as of the Second Amended and Restated Closing Date, of the existing Accounts and
the Policy Account. The Accounts and the Policy Account have each been validly and
effectively collaterally assigned to the Administrative Agent, for the benefit of the Secured
Parties, and shall be encumbered by the Lien created pursuant to this Loan Agreement and the
Account Control Agreement. The Account Control Agreement is the legal, valid and binding
obligation of the parties thereto, enforceable against such parties in accordance with their
respective terms (except as enforceability may be limited by applicable bankruptcy, insolvency,
reorganization, moratorium or similar law affecting creditors’ rights generally and by general
principles of equity). None of the Borrower, the Servicer (if an Affiliated Entity), the Guarantor,
the Initial Servicer, the Initial Portfolio Manager or the Portfolio Manager has granted any
interest in the Accounts or the Policy Account to any Person other than the Administrative Agent
and the Administrative Agent has “control” of the Accounts and the Policy Account within the
meaning of the applicable UCC. To the Borrower’s actual knowledge, the Servicer (if not an

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Affiliated Entity) has not granted any interest in the Accounts or the Policy Account to any
Person other than the Administrative Agent.

                       (t)      Financial Statements. The financial statements required to be
delivered pursuant to Section 9.1(d): (i) were, as of the date and for the periods referred to
therein, complete and correct in all respects, (ii) presented fairly the financial condition and
results of operations of the related Person as at such time and (iii) were prepared in accordance
with GAAP, consistently applied, except as noted therein (subject as to interim statements to
normal year-end adjustments).

                      (u)    No Event of Default. Except as set forth on Schedule 8.1(u), no
Event of Default or Unmatured Event of Default has occurred or is continuing, or, in relation to
any Borrowing Request, will result from the funding of the Advance and use of funds specified
therein.

                       (v)    Foreign Assets Control Regulations, Etc.

                               (i)     None of the Borrower, the Predecessor Parent Pledgor, the
Parent Pledgors, the Portfolio Manager or the Guarantor nor any Affiliate of any of them or of
Imperial is (A) a person whose name appears on the list of Specially Designated Nationals and
Blocked Persons published by the Office of Foreign Assets Control, U.S. Department of
Treasury (“OFAC”) (an “OFAC Listed Person”) or (B) a department, agency or instrumentality
of, or is otherwise controlled by or acting on behalf of, directly or indirectly, (x) any OFAC
Listed Person or (y) any person, entity, organization, foreign country or regime that is subject to
any OFAC Sanctions Program (each OFAC Listed Person and each other person, entity,
organization and government of a country described in clause (B), a “Blocked Person”).

                               (ii)    No part of the proceeds from the Advances issued
hereunder, under the Original Loan Agreement or under the Original Amended and Restated
Loan Agreement constituted or constitutes or will constitute funds obtained on behalf of any
Blocked Person or was used or will otherwise be used, directly or indirectly by the Borrower, the
Parent Pledgors, the Predecessor Parent Pledgor, the Initial Servicer, the Portfolio Manager, the
Initial Portfolio Manager, Imperial, the Guarantor or any Affiliate of any of them, in connection
with any investment in, or, to the Borrower’s actual knowledge, any transactions or dealings
with, any Blocked Person.

                                 (iii) To the Borrower’s actual knowledge, none of the Borrower,
the Parent Pledgors, the Predecessor Parent Pledgor, the Portfolio Manager, the Guarantor,
Imperial or any Affiliate of any of them (A) is under investigation by any Governmental
Authority for, or has been charged with, or convicted of, money laundering, drug trafficking,
terrorist-related activities or other money laundering predicate crimes under any Applicable Law
(collectively, “Anti-Money Laundering Laws”), (B) has been assessed civil penalties under any
Anti-Money Laundering Laws or (C) has had any of its funds seized or forfeited in an action
under any Anti-Money Laundering Laws. The Borrower has taken reasonable measures
appropriate to the circumstances, to the extent, if any, required by Applicable Law, to ensure that
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the Borrower and each Affiliate thereof is and will continue to be in compliance with all
applicable current and future Anti-Money Laundering Laws.

                                (iv)    No part of the proceeds from Advances funded hereunder
were used or will be used, directly or indirectly, for any improper payments to any governmental
official or employee, political party, official of a political party, candidate for political office,
official of any public international organization or anyone else acting in an official capacity, in
order to obtain, retain or direct business or obtain any improper advantage. The Borrower has
taken reasonable measures appropriate to the circumstances, to the extent, if any, required by
Applicable Law, to ensure that the Borrower and each Affiliate thereof is and will continue to be
in compliance with all applicable current and future anti-corruption laws and regulations.

                        (w)    Retained Death Benefit Policies. As of the Second Amended and
Restated Closing Date, all Pledged Policies that constitute Retained Death Benefit Policies are
listed on Schedule 8.1(w) and the portion of the Net Death Benefit payable to any Person other
than the Securities Intermediary does not exceed forty-five percent (45%) of the Net Death
Benefit of any such Retained Death Benefit Policy. As of the date of any Additional Policy
Advance made pursuant to a Borrowing Request, all Pledged Policies that are to be funded from
such Advance that constitute Retained Death Benefit Policies are listed on Schedule 8.1(w),
which also indicates the percentage of the Net Death Benefit of each such Retained Death
Benefit Policy that is payable to any Person other than the Securities Intermediary.

                     (x)     Transaction Documents. The Borrower has not entered into any
agreements or instruments other than the Transaction Documents, except as approved in writing
by the Required Lenders in their sole and absolute discretion.

                         (y)     Ownership of Borrower. The Borrower is classified as either a
disregarded entity or a partnership for United States federal income tax purposes. GP Parent is
owned directly by LP Parent. LP Parent owns all of the limited partnership interests in the
Borrower. GP Parent owns all of the general partnership interests in the Borrower. LP Parent is
a resident of Ireland and a qualified person within the meaning of the double tax treaty between
Ireland and the United States with respect to taxes on income and capital gains. Borrower will
be treated as a fiscally transparent entity for Irish tax purposes with respect to at least 99.9% of
its income, in that for Irish tax purposes LP Parent will be entitled to separately take into account
on a current basis LP Parent’s share of every item of income paid to the Borrower, whether or
not distributed to LP Parent, and the character and source of the item in the hands of LP Parent
are determined as if such item were realized directly by LP Parent from the source from which
realized by the Borrower. LP Parent qualifies for the benefits of the double tax treaty between
Ireland and the United States with respect to income from sources within the United States. LP
Parent is the owner of not less than 99.9% of the interests in the Borrower that are limited
partnership interests or general partnership interests. Neither Borrower nor LP Parent is engaged
in a trade or business through a permanent establishment in the United States within the meaning
of the double tax treaty between Ireland and the United States.


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                       (z)    Collections. At least 99.9% of all Collections are exempt from
United States federal income tax under the double tax treaty between Ireland and the United
States, both when paid to the Borrower and when paid by the Borrower to its partners.

                      (aa) Withholding Tax. As of the Original Amended and Restated
Closing Date and any date prior to the date of any transfer or participation by the Initial Lender
of any of its Advances, no amounts to be paid by the Borrower to the Administrative Agent or
any Lender are or were subject to United States withholding tax so long as the representation of
the Initial Lender made on the Original Amended and Restated Closing Date pursuant to Section
13.4 of the Original Amended and Restated Loan Agreement remains accurate.

                        (bb) Irish Withholding Tax. As of the Original Amended and Restated
Closing Date and any date prior to the date of any transfer or participation by the Initial Lender
of any of its Advances, no amounts to be paid by the Borrower to the Administrative Agent or
the Initial Lender are or were subject to any withholding tax imposed by applicable authorities in
Ireland so long as, with respect to the Initial Lender, the representation of the Initial Lender
made on the Original Amended and Restated Closing Date pursuant to Section 13.4 of the
Original Amended and Restated Loan Agreement would be accurate with respect to such Lender,
and after any transfer or participation by the Initial Lender of any of its Advances, (i) no amounts
to be paid by the Borrower to or for the benefit of the assignee or participant will be subject to
any withholding tax imposed by applicable authorities in Ireland; provided that the Borrower
shall not be in breach of the representation it makes pursuant to this clause (i) so long as (x) the
Borrower is using reasonable commercial efforts to comply with the covenant set forth in Section
9.1(kk) hereof and compliance with such covenant will eliminate any withholding tax imposed
by the applicable authorities in Ireland on any payments to be paid by the Borrower to or for the
benefit of such assignee or participant and (y) the Borrower lists the Lender Notes related to such
assignee or participant on the unregulated market of the Irish Stock Exchange plc or other
appropriate stock exchange or takes such other actions described in Section 9.1(kk) within sixty
(60) days after the date of the related transfer or participation and doing so eliminates any
withholding tax imposed by the applicable authorities in Ireland on any payments to be paid by
the Borrower to or for the benefit of such assignee or participant and (ii) no amounts to be paid
by the Borrower to or for the benefit of the Initial Lender are subject to any withholding tax
imposed by applicable authorities in Ireland so long as, with respect to the Initial Lender, the
representation of the Initial Lender made on the Original Amended and Restated Closing Date
pursuant to Section 13.4 of the Original Amended and Restated Loan Agreement would be
accurate with respect to such Lender.

              Section 8.2 Representations and Warranties of the Portfolio Manager. The
Portfolio Manager makes the following representations and warranties to the Administrative
Agent and each Lender:

                        (a)    Organization, etc. The Portfolio Manager has been duly organized
and is validly existing and in good standing under the laws of the Islands of Bermuda (and is not
organized under the laws of any other jurisdiction or Governmental Authority) with the requisite

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power and authority to own its properties and to conduct its business as such properties are
presently owned and such business is presently conducted. The Portfolio Manager is duly
licensed or qualified to do business as a foreign entity in good standing in each jurisdiction in
which the failure to be so licensed or qualified would be reasonably likely to have a material
adverse effect on any of the Pledged Policies, any other Collateral, any of the Pledged Interests,
the business, assets, financial condition or operations of the Portfolio Manager or any of the
rights or interests of the Administrative Agent or any of the Lenders hereunder or under any
other Transaction Document.

                        (b)    Power and Authority; Due Authorization. The Portfolio Manager
has (a) all necessary power, authority and legal right to execute, deliver and perform its
obligations under this Loan Agreement and each of the other Transaction Documents to which it
is a party, and (b) duly authorized, by all necessary action, the execution, delivery and
performance of this Loan Agreement and the other Transaction Documents to which it is a party.

                        (c)     No Violation. The consummation of the transactions contemplated
by this Loan Agreement and the other Transaction Documents and the fulfillment of the terms
hereof and thereof will not and do not (a) conflict with, result in any breach of any of the terms
and provisions of, or constitute (with or without notice or lapse of time or both) a default under,
(i) the constitutional documents of the Portfolio Manager, or (ii) any material agreement or
instrument to which the Portfolio Manager is a party or by which it or any of its properties is
bound, (b) result in or require the creation or imposition of any Adverse Claim upon any of its
properties pursuant to the terms of any such material agreement or instrument or (c) violate any
Applicable Law.

                       (d)     Validity and Binding Nature. This Loan Agreement is, and the
other Transaction Documents to which it is a party when duly executed and delivered by the
Portfolio Manager and the other parties thereto will be, the legal, valid and binding obligation of
the Portfolio Manager, enforceable in accordance with their respective terms, except as
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
or similar law affecting creditors’ rights generally and by general principles of equity.

                       (e)     Government Approvals. No authorization or approval or other
action by, and no notice to or filing with, any Governmental Authority or regulatory body
required for the due execution, delivery or performance by the Portfolio Manager of any
Transaction Document to which it is a party, remains or remained unobtained or unfiled.

                      (f)     Margin Regulations. The Portfolio Manager is not engaged in the
business of extending credit for the purpose of purchasing or carrying margin stock.

                        (g)   Offices. The principal place of business and chief executive office
of the Portfolio Manager is located at the address set forth on Schedule 13.2 (or at such other
locations, notified to the Administrative Agent in jurisdictions where all action required hereby
has been taken and completed).

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                       (h)     Compliance with Applicable Laws; Licenses, etc.

                               (i)     The Portfolio Manager is in compliance with the
requirements of all Applicable Laws, a breach of any of which, individually or in the aggregate,
could reasonably be expected to have an adverse effect on any of the Pledged Policies, the
business, assets, financial condition or operations of the Portfolio Manager or any of the rights or
interests of the Administrative Agent or any of the Lenders hereunder or under any other
Transaction Document.

                               (ii)    The Portfolio Manager has not failed to obtain any licenses,
permits, franchises or other governmental authorizations necessary to the ownership of its
properties or to the conduct of its business, which violation or failure to obtain could reasonably
be expected to have a material adverse effect on any of the Pledged Policies, any other
Collateral, any of the Pledged Interests, the business, assets, financial condition or operations of
the Portfolio Manager or any of the rights or interests of the Administrative Agent or any of the
Lenders hereunder or under any other Transaction Document.

                              (iii) The Portfolio Manager has complied with all licensure
requirements in each state in which it is required to be specifically registered or licensed as a
purchaser, owner or servicer of life insurance policies.

                               (iv)   There has been no event or circumstance that could
reasonably be expected to result in the revocation of any license, permit, franchise or other
governmental authorization of the Portfolio Manager necessary to the ownership of its properties
or to the conduct of its business.

                       (i)     No Proceedings. Except as set forth on Schedule 8.1(m), there is
no order, judgment, decree, injunction, stipulation or consent order of or with any Governmental
Authority to which the Portfolio Manager is subject, and there is no action, suit, arbitration,
regulatory proceeding or investigation pending, or, to the actual knowledge of the Portfolio
Manager, threatened, before or by any court, regulatory body, administrative agency or other
tribunal or governmental instrumentality, against the Portfolio Manager that, individually or in
the aggregate, could reasonably be expected to have a material adverse effect on any of the
Pledged Policies, any other Collateral, any of the Pledged Interests, the business, assets, financial
condition or operations of the Portfolio Manager or any of the rights or interests of the
Administrative Agent or any of the Lenders hereunder or under any other Transaction
Document; and there is no action, suit, proceeding, arbitration, regulatory or governmental
investigation, pending or, to the actual knowledge of the Portfolio Manager, threatened, before or
by any court, regulatory body, administrative agency, or other tribunal or governmental
instrumentality (A) asserting the invalidity of this Loan Agreement or any other Transaction
Document, (B) seeking to adversely affect the federal income tax attributes of the Portfolio
Manager or (C) asserting that any Pledged Policy or Policy to become a Pledged Policy is
invalid, void or otherwise unenforceable for any reason.


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                       (j)    Investment Company Act, Etc. The Portfolio Manager is not an
“investment company” or a company “controlled” by an “investment company” within the
meaning of the Investment Company Act of 1940, as amended, by virtue of an exemption other
than pursuant to Section 3(c)(1) or Section 3(c)(7) thereof.

                        (k)    Accuracy of Information. To the best of the Portfolio Manager’s
knowledge and belief, after due inquiry, and in reliance on information provided by third parties
(as to the accuracy or completeness of which the Portfolio Manager is not liable and has
expressed no opinion or made any representation or warranty), all information furnished by, or
on behalf of, the Portfolio Manager to the Administrative Agent or any other Secured Party in
connection with any Transaction Document, or any transaction contemplated thereby, is or was
as of the date it was furnished (if such information was furnished on an earlier date) true and
accurate in every material respect (without omission of any information necessary to prevent
such information from being materially misleading).

                       (l)      No Material Adverse Change. Since March 27, 2013, there has
been no material adverse change in (A) the Portfolio Manager’s (i) financial condition, business,
operations or prospects or (ii) ability to perform its obligations under any Transaction Document
to which the Portfolio Manager is a party, (B) any of the Collateral or (C) any of the Pledged
Interests.

                        (m)      Trade Names and Subsidiaries. The Portfolio Manager has not
used any other names, trade names or assumed names for the five year period preceding the
Original Amended and Restated Closing Date (and has not used any other names, trade names or
assumed names since such date). The Portfolio Manager has no Subsidiaries and does not own
or hold, directly or indirectly, any equity interest in any Person.

                      (n)     Foreign Assets Control Regulations, Etc.

                                (i)     The Portfolio Manager is not (A) an OFAC Listed Person
or (B) a department, agency or instrumentality of, or is otherwise controlled by or acting on
behalf of, directly or indirectly, any Blocked Person.

                              (ii)    To the Portfolio Manager’s actual knowledge, it (A) is not
under investigation by any Governmental Authority for, or has been charged with, or convicted
of, money laundering, drug trafficking, terrorist-related activities or other money laundering
predicate crimes under any Applicable Law, (B) has not been assessed civil penalties under any
Anti-Money Laundering Laws or (C) has not had any of its funds seized or forfeited in an action
under any Anti-Money Laundering Laws. The Portfolio Manager has taken reasonable measures
appropriate to the circumstances, to the extent, if any, required by Applicable Law, to ensure that
the Portfolio Manager and each Affiliate thereof is and will continue to be in compliance with all
applicable current and future Anti-Money Laundering Laws.

                              (iii) The Portfolio Manager has taken reasonable measures
appropriate to the circumstances, to the extent, if any, required by Applicable Law, to ensure that
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the Portfolio Manager and each Affiliate thereof is and will continue to be in compliance with all
applicable current and future anti-corruption laws and regulations.

                Section 8.3 Representations and Warranties of the Guarantor, the Initial
Servicer and the Initial Portfolio Manager. Imperial Finance, in its capacities as the Guarantor,
the Initial Servicer and the Initial Portfolio Manager, makes the following representations and
warranties to the Administrative Agent and each Lender:

                       (a)      Organization, etc. Imperial Finance has been duly organized and is
validly existing and in good standing under the laws of the State of Florida (and is not organized
under the laws of any other jurisdiction or Governmental Authority) with the requisite power and
authority to own its properties and to conduct its business as such properties are presently owned
and such business is presently conducted. Imperial Finance is duly licensed or qualified to do
business as a foreign entity in good standing in each jurisdiction in which the failure to be so
licensed or qualified would be reasonably likely to have a material adverse effect on any of the
Pledged Policies, any other Collateral, any of the Pledged Interests, the business, assets, financial
condition or operations of Imperial Finance or any of the rights or interests of the Administrative
Agent or any of the Lenders hereunder or under any other Transaction Document.

                      (b)      Power and Authority; Due Authorization. Imperial Finance has (a)
all necessary power, authority and legal right to execute, deliver and perform its obligations
under this Loan Agreement and each of the other Transaction Documents to which it is a party,
and (b) duly authorized, by all necessary action, the execution, delivery and performance of this
Loan Agreement and the other Transaction Documents to which it is a party.

                         (c)     No Violation. The consummation of the transactions contemplated
by this Loan Agreement and the other Transaction Documents and the fulfillment of the terms
hereof and thereof will not and do not (a) conflict with, result in any breach of any of the terms
and provisions of, or constitute (with or without notice or lapse of time or both) a default under,
(i) the organizational documents of Imperial Finance, or (ii) any material agreement or
instrument to which Imperial Finance is a party or by which it or any of its properties is bound,
(b) result in or require the creation or imposition of any Adverse Claim upon any of its properties
pursuant to the terms of any such material agreement or instrument or (c) violate any Applicable
Law.

                        (d)    Validity and Binding Nature. This Loan Agreement is, and the
other Transaction Documents to which it is a party when duly executed and delivered by
Imperial Finance and the other parties thereto will be, the legal, valid and binding obligation of
Imperial Finance, enforceable in accordance with their respective terms, except as enforceability
may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar law
affecting creditors’ rights generally and by general principles of equity.

                       (e)     Government Approvals. No authorization or approval or other
action by, and no notice to or filing with, any Governmental Authority or regulatory body

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required for the due execution, delivery or performance by Imperial Finance of any Transaction
Document to which it is a party, remains or remained unobtained or unfiled.

                      (f)     Margin Regulations. Imperial Finance is not engaged in the
business of extending credit for the purpose of purchasing or carrying margin stock.

                        (g)   Offices. The principal place of business and chief executive office
of Imperial Finance is located at the address set forth on Schedule 13.2 (or at such other
locations, notified to the Administrative Agent in jurisdictions where all action required hereby
has been taken and completed).

                       (h)     Compliance with Applicable Laws; Licenses, etc.

                               (i)    Imperial Finance is in compliance with the requirements of
all Applicable Laws, a breach of any of which, individually or in the aggregate, could reasonably
be expected to have an adverse effect on any of the Pledged Policies, the business, assets,
financial condition or operations of Imperial Finance or any of the rights or interests of the
Administrative Agent or any of the Lenders hereunder or under any other Transaction Document.

                               (ii)    Imperial Finance has not failed to obtain any licenses,
permits, franchises or other governmental authorizations necessary to the ownership of its
properties or to the conduct of its business, which violation or failure to obtain could reasonably
be expected to have a material adverse effect on any of the Pledged Policies, any other
Collateral, any of the Pledged Interests, the business, assets, financial condition or operations of
Imperial Finance or any of the rights or interests of the Administrative Agent or any of the
Lenders hereunder or under any other Transaction Document.

                              (iii) Imperial Finance has complied with all licensure
requirements in each state in which it is required to be specifically registered or licensed as a
purchaser, owner or servicer of life insurance policies.

                             (iv)     There has been no event or circumstance that could
reasonably be expected to result in the revocation of any license, permit, franchise or other
governmental authorization of Imperial Finance necessary to the ownership of its properties or to
the conduct of its business.

                        (i)   No Proceedings. Except as set forth on Schedule 8.1(m), there is
no order, judgment, decree, injunction, stipulation or consent order of or with any Governmental
Authority to which Imperial Finance is subject, and there is no action, suit, arbitration, regulatory
proceeding or investigation pending, or, to the actual knowledge of Imperial Finance, threatened,
before or by any court, regulatory body, administrative agency or other tribunal or governmental
instrumentality, against Imperial Finance that, individually or in the aggregate, could reasonably
be expected to have a material adverse effect on any of the Pledged Policies, any other
Collateral, any of the Pledged Interests, the business, assets, financial condition or operations of
Imperial Finance or any of the rights or interests of the Administrative Agent or any of the

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Lenders hereunder or under any other Transaction Document; and there is no action, suit,
proceeding, arbitration, regulatory or governmental investigation, pending or, to the actual
knowledge of Imperial Finance, threatened, before or by any court, regulatory body,
administrative agency, or other tribunal or governmental instrumentality (A) asserting the
invalidity of this Loan Agreement or any other Transaction Document, (B) except as set forth on
Schedule 8.3(i), seeking to adversely affect the federal income tax attributes of Imperial Finance
or (C) asserting that any Pledged Policy or Policy to become a Pledged Policy is invalid, void or
otherwise unenforceable for any reason.

                       (j)    Investment Company Act, Etc. Imperial Finance is not an
“investment company” or a company “controlled” by an “investment company” within the
meaning of the Investment Company Act of 1940, as amended, by virtue of an exemption other
than pursuant to Section 3(c)(1) or Section 3(c)(7) thereof.

                       (k)    Accuracy of Information. To the best of Imperial Finance’s
knowledge and belief, after due inquiry, and in reliance on information provided by third parties
(as to the accuracy or completeness of which Imperial Finance is not liable and has expressed no
opinion or made any representation or warranty), all information furnished by, or on behalf of,
Imperial Finance to the Administrative Agent or any other Secured Party in connection with any
Transaction Document, or any transaction contemplated thereby, is or was as of the date it was
furnished (if such information was furnished on an earlier date) true and accurate in every
material respect (without omission of any information necessary to prevent such information
from being materially misleading).

                        (l)    No Material Adverse Change. Except as set forth on Schedule
8.3(l), since March 27, 2013, there has been no material adverse change in (A) Imperial
Finance’s (i) financial condition, business, operations or prospects or (ii) ability to perform its
obligations under any Transaction Document to which Imperial Finance is a party, (B) any of the
Collateral or (C) any of the Pledged Interests.

                        (m)     Trade Names and Subsidiaries. Imperial Finance has not used any
other names, trade names or assumed names for the five year period preceding the Original
Amended and Restated Closing Date (and has not used any other names, trade names or assumed
names since such date). Imperial Finance has no Subsidiaries and does not own or hold, directly
or indirectly, any equity interest in any Person.

                      (n)     Foreign Assets Control Regulations, Etc.

                               (i)    Imperial Finance is not (A) an OFAC Listed Person or (B)
a department, agency or instrumentality of, or is otherwise controlled by or acting on behalf of,
directly or indirectly, any Blocked Person.

                             (ii)    To Imperial Finance’s actual knowledge, it (A) is not under
investigation by any Governmental Authority for, or has been charged with, or convicted of,
money laundering, drug trafficking, terrorist-related activities or other money laundering
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predicate crimes under any Applicable Law, (B) has not been assessed civil penalties under any
Anti-Money Laundering Laws or (C) has not had any of its funds seized or forfeited in an action
under any Anti-Money Laundering Laws. Imperial Finance has taken reasonable measures
appropriate to the circumstances, to the extent, if any, required by Applicable Law, to ensure that
Imperial Finance and each Affiliate thereof is and will continue to be in compliance with all
applicable current and future Anti-Money Laundering Laws.

                               (iii) Imperial Finance has taken reasonable measures
appropriate to the circumstances, to the extent, if any, required by Applicable Law, to ensure that
Imperial Finance and each Affiliate thereof is and will continue to be in compliance with all
applicable current and future anti-corruption laws and regulations.

                                           ARTICLE IX
                                           COVENANTS

                Section 9.1 Affirmative Covenants. Until the first day following the date on
which all of the Obligations (including, without limitation, the Aggregate Participation Interest)
are performed and paid in full and this Loan Agreement is terminated, the Borrower (and with
respect to Section 9.1(i), the Portfolio Manager, the Guarantor, the Initial Servicer and the Initial
Portfolio Manager, with respect to Section 9.1(w), the Portfolio Manager and with respect to
Section 9.1(jj), the Initial Servicer and the Portfolio Manager) hereby covenants and agrees as
follows:

                       (a)    Compliance with Laws, Etc. The Borrower shall comply in all
material respects with all Applicable Laws.

                        (b)     Preservation of Existence. The Borrower shall preserve and
maintain its existence, rights, franchises and privileges, and sole jurisdiction of formation, and
qualify and remain qualified in good standing as a foreign entity in each jurisdiction where the
failure to preserve and maintain such existence, rights, franchises, privileges and qualifications
could have a material adverse effect on any of the Pledged Policies, any other Collateral, any of
the Pledged Interests, the business, assets, financial condition or operations of the Borrower or
any of the rights or interests of the Administrative Agent or any of the Lenders hereunder or
under any other Transaction Document.

                       (c)     Performance and Compliance with the Transaction Documents and
Pledged Policies. The Borrower shall timely and fully perform and comply in all material
respects with all provisions, covenants and other promises required to be observed by it under the
Transaction Documents and otherwise with respect to the Pledged Policies.

                      (d)     Reporting Requirements. During the term of this Loan Agreement,
the Borrower shall furnish or cause to be furnished to the Administrative Agent and each Lender:

                              (i)     (A) with respect to the Borrower (x) as soon as available
and in any event within forty-five (45) days after the end of each of the first three fiscal quarters

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of each fiscal year of the Borrower, a copy of the unaudited financial statements of the Borrower,
and so long as such unaudited financial statements are on a consolidated basis and include the
Borrower, those of the Predecessor Parent Pledgor or the Parent Pledgors, as of the end of such
month, certified by an officer or director of the Borrower, the Predecessor Parent Pledgor or the
Parent Pledgors (which certification shall state that the related balance sheets and statements
fairly present the financial condition and results of operations for such fiscal quarter and, if
financial statements are publicly filed by Imperial pursuant to applicable securities laws, such
certification shall be in the same form and scope as the relevant certification delivered in
connection with such filing), delivery of which financial statements shall be accompanied by a
certificate of such officer to the effect that no Event of Default or Unmatured Event of Default
has occurred and is continuing or, if an Event of Default or Unmatured Event of Default has
occurred and is continuing, specifying the details thereof and any action taken or proposed to be
taken with respect thereto and (y) as soon as available, and in any event within two-hundred
seventy (270) days after the end of each fiscal year of the Borrower (commencing with the fiscal
year ending in 2014), a copy of the audited annual balance sheet for such fiscal year of the
Borrower, and so long as such audited annual balance sheet is on a consolidated basis and
includes the Borrower, those of the Predecessor Parent Pledgor or the Parent Pledgors, as at the
end of such fiscal year, together with the related audited statements of earnings, stockholders’
equity and cash flows for such fiscal year, certified by an officer or director of the Borrower, the
Predecessor Parent Pledgor or the Parent Pledgors (which certification shall state that the related
balance sheets and statements fairly present the financial condition and results of operations for
such fiscal year, subject to year-end audit adjustments and, if financial statements are publicly
filed by Imperial pursuant to applicable securities laws, such certification shall be in the same
form and scope as the relevant certification delivered in connection with such filing), delivery of
which balance sheets and statements shall be accompanied by a certificate of such officer to the
effect that no Event of Default or Unmatured Event of Default has occurred and is continuing or,
if an Event of Default or Unmatured Event of Default has occurred and is continuing, specifying
the details thereof and any action taken or proposed to be taken with respect thereto and (B) if
Imperial is no longer a Publicly Traded Company or if Imperial fails to timely make any
necessary filings with the Securities and Exchange Commission, (x) as soon as available and in
any event within forty-five (45) days after the end of each of the first three fiscal quarters of each
fiscal year of Imperial, a copy of the unaudited financial statements of Imperial, as of the end of
such month, certified by an officer or director of Imperial (which certification shall state that the
related balance sheets and statements fairly present the financial condition and results of
operations for such fiscal quarter and, if financial statements are publicly filed by Imperial
pursuant to applicable securities laws, such certification shall be in the same form and scope as
the relevant certification delivered in connection with such filing) and (y) as soon as available,
and in any event within two-hundred seventy (270) days after the end of each fiscal year of
Imperial, a copy of the audited annual balance sheet for such fiscal year of Imperial as at the end
of such fiscal year, together with the related audited statements of earnings, stockholders’ equity
and cash flows for such fiscal year, certified by an officer or director of Imperial (which
certification shall state that the related balance sheets and statements fairly present the financial
condition and results of operations for such fiscal year, subject to year-end audit adjustments
and, if financial statements are publicly filed by Imperial pursuant to applicable securities laws,

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such certification shall be in the same form and scope as the relevant certification delivered in
connection with such filing);

                               (ii)    as soon as possible and in any event within two (2)
Business Days after any officer of the Borrower, the Assignor, the Predecessor Parent Pledgor, a
Parent Pledgor, the Portfolio Manager, the Servicer, the Guarantor, the Initial Servicer or the
Initial Portfolio Manager or Imperial has actual knowledge of, (A) the occurrence of an Event of
Default or an Unmatured Event of Default, an officer’s certificate of the Borrower setting forth
details of such event and the action that the Borrower proposes to take with respect thereto and
(B) the downgrade, withdrawal or suspension of the financial strength rating of any Issuing
Insurance Company, notice to the Administrative Agent thereof;

                               (iii) a copy of the Servicer Report on each Servicer Report Date
and a copy of the Initial Servicer Report on each Initial Servicer Report Date;

                                (iv)    promptly, from time to time, such other information,
documents, records or reports respecting the Collateral, the Subject Policies or the condition or
operations, financial or otherwise, of the Borrower as the Administrative Agent may from time to
time reasonably request in order to protect the interests of the Administrative Agent or any
Lender under or as contemplated by this Loan Agreement and the other Transaction Documents,
including but not limited to, upon each sale of a Pledged Policy, a report that shall include such
information as the Administrative Agent shall reasonably request, calculated as of before such
sale and after such sale, taking into account the application of the proceeds of such sale;

                               (v)     as soon as possible upon learning of the death of any
Insured, an email notification to the Administrative Agent of (A) the identity of such Insured, (B)
the cost basis (purchase price paid by the first person that purchased such Pledged Policy that
was an Affiliate of the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor
or Imperial or, if such Pledged Policy was acquired by such Affiliate in a foreclosure process, the
amount of indebtedness allocated to such Pledged Policy by such Affiliate plus any additional
accrued and unpaid interest thereon as of the date of foreclosure and, in each case, plus
premiums paid thereon after the date of foreclosure or purchase, as applicable, and until the
Initial Closing Date) of the Pledged Policy relating to such Insured, (C) the Net Death Benefit of
the Pledged Policy relating to such Insured, (D) the two (2) Life Expectancy Reports delivered
with respect to such Insured relating to the applicable Advance and the names of the Pre-
Approved Medical Underwriters which provided such Life Expectancy Reports, (E) the date the
Pledged Policy was first acquired by an Affiliate of the Borrower, the Assignor, the Predecessor
Parent Pledgor, a Parent Pledgor or Imperial relating to such Insured and (F) the date of birth and
date of death of such Insured;

                              (vi)    no later than the Initial Closing Date, and thereafter on
December 1 of each calendar year (including the current calendar year), an annual budget
substantially in form of Exhibit E (each, an “Annual Budget”). Within five (5) Business Days of
delivery of the first such Annual Budget, and thereafter within twenty (20) Business Days of
delivery of each subsequent Annual Budget to the Administrative Agent and each Lender, the
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Required Lenders will specify to the Administrative Agent, and the Administrative Agent will
advise the Borrower the amount they have approved in their sole discretion for funding through
Advances and/or Collections in respect of Expenses and scheduled Premiums on the Pledged
Policies for (a) in the case of the first such Annual Budget, the current calendar year, and (b) in
the case of any subsequent Annual Budget the succeeding calendar year; provided that at any
time, in their sole discretion, the Required Lenders may notify the Administrative Agent and
Borrower that they approve increases in such amounts or direct decreases in such amounts; and

                              (vii) no later than five (5) Business Days following the Partial
Repayment Date, and within five (5) Business Days prior to the end of each calendar quarter
thereafter, a schedule of Premiums on the Pledged Policies for the immediately succeeding
calendar quarter. Within ten (10) Business Days of delivery of each such schedule of Premiums,
the Required Lenders will specify to the Administrative Agent, and the Administrative Agent
will advise the Borrower whether they have approved such schedule of Premiums in their
discretion, exercised in a commercially reasonable manner.

                    (e)     Use of Advances. The Borrower shall use the proceeds of
Advances in accordance with Section 2.8(a).

                        (f)     Separate Legal Entity. The Borrower hereby acknowledges that
each Lender and the Administrative Agent are entering into the transactions contemplated by this
Loan Agreement and the other Transaction Documents in reliance upon the Borrower’s identity
as a legal entity separate from its Affiliates and from Affiliates of Imperial. Therefore, from and
after the Initial Closing Date, the Borrower shall take all reasonable steps to continue the
Borrower’s identity as a separate legal entity and to make it apparent to third Persons that the
Borrower is an entity with assets and liabilities distinct from those of any other Person, and is not
a division of any other Person. Without limiting the generality of the foregoing and in addition
to and consistent with the covenant set forth in Section 9.1(b), the Borrower shall take such
actions as shall be required in order that:

                                 (i)   The Borrower will be a limited partnership whose primary
activities are restricted in the Borrower Organizational Documents to owning Policies and certain
related assets and financing the acquisition thereof and conducting such other activities as it
deems necessary or appropriate to carry out its primary activities;

                               (ii)    At least one manager of the GP Parent (the “Independent
Manager”) and at least one director of the LP Parent (the “Independent Director”) shall be an
individual who (i) is not a present or former director, manager, officer, employee, supplier,
customer or five percent (5%) beneficial owner of the outstanding equity interests of the
Borrower, Parent Pledgors, Guarantor, Imperial or any Affiliate of any of them and (ii) has at
least three years of employment experience with one or more entities with a national reputation
and presence that provide, in the ordinary course of their respective businesses, advisory,
management or placement services to issuers of securitization or structured finance instruments,
agreements or securities, and is currently employed by such an entity; provided, however, that an
individual shall not be deemed to be ineligible to be an Independent Manager or an Independent
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Director solely because such individual serves or has served in the capacity of an “independent
director” or similar capacity for special purpose entities formed by any Affiliate of the Borrower
or Imperial. The organizational documents of the GP Parent, the LP Parent and Borrower shall
provide that (i) in the case of the GP Parent, the approval of all managers, including the
Independent Manager, and in the case of the LP Parent, the approval of all directors, including
the Independent Director, and in the case of the Borrower, all managers of the GP Parent
including the Independent Manager, shall be required in order to approve of such partner of the
Borrower or the Borrower taking any action to cause the filing of, a voluntary bankruptcy
petition with respect to the Borrower, and shall indicate that no such action by such partner of the
Borrower or the Borrower is valid unless the Independent Manager or Independent Director, as
indicated above, shall approve the taking of such action in writing prior to the taking of such
action, and (ii) such provisions and such delegation cannot be rescinded or amended without the
prior written consent of the Independent Manager or Independent Director, as appropriate;

                            (iii) Any employee, consultant or agent of the Borrower will be
compensated from funds of the Borrower, as appropriate, for services provided to the Borrower;

                               (iv)   To the extent, if any, that the Borrower and any other
Person share items of expenses such as legal, auditing and other professional services, such
expenses will be allocated to each of them on a reasonable and fair basis;

                              (v)     The Borrower shall hold itself out as a separate entity;

                             (vi)    The Borrower will maintain books and records separately
from those of any other Person, including all of its partners;

                              (vii)   The Borrower shall pay its own material liabilities out of its
own funds;

                               (viii) The Borrower shall not acquire any obligations or securities
of its partners or shareholders;

                              (ix)    All audited financial statements of any Person that are
consolidated to include the Borrower will contain notes clearly and conspicuously indicating (in
appropriate notes or otherwise) that (A) all of the Borrower’s assets are owned by the Borrower,
and (B) the Borrower is a separate entity;

                                 (x)     The Borrower’s assets will be maintained in a manner that
facilitates their identification and segregation from those of any other Person;

                                (xi)    The Borrower will strictly observe appropriate formalities
in its dealings with all other Persons, and funds or other assets of the Borrower will not be
commingled with those of any other Person, other than temporary commingling in connection
with servicing the Pledged Policies to the extent explicitly permitted by the other Transaction
Documents;

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                              (xii) The Borrower shall not, directly or indirectly, be named or
enter into an agreement to be named, as a direct or contingent beneficiary or loss payee, under
any insurance policy with respect to any amounts payable due to occurrences or events related to
any other Person;

                               (xiii) The Borrower shall maintain an arm’s length relationship
with its partners and other Affiliates and Affiliates of Imperial;

                              (xiv)   The Borrower will not hold itself out to be responsible for
the debts of any other Person; and

                               (xv) The Borrower will not fail to maintain all policies and
procedures or take or continue to take all actions necessary or appropriate to ensure that all
factual assumptions set forth in opinions of counsel of the Borrower or its Affiliates delivered in
connection herewith or the other Transaction Documents remain true and accurate at all times.

                      (g)     Defense. The Borrower shall, in consultation with the
Administrative Agent and at its own expense, defend the Collateral against all lawsuits and
statutory claims and Liens of all Persons at any time claiming the same or any interest therein
through the Borrower or any Affiliate of Imperial adverse to the Administrative Agent or the
Secured Parties.

                       (h)     Perfection. The Borrower shall, at the Borrower's expense,
perform all acts and execute all documents requested in writing by the Administrative Agent at
any time to evidence, perfect, maintain and enforce the security interest of the Administrative
Agent in the Collateral and in the Pledged Interests and the priority thereof. The Borrower will,
at the reasonable request of the Administrative Agent, deliver financing statements relating to the
Collateral, and, where permitted by law, the Borrower hereby authorizes the Administrative
Agent to file one or more financing statements covering all of the Collateral and other assets of
the Borrower. The Borrower shall cause its primary electronic books and records relating to the
Collateral to be marked, with a legend stating that the Pledged Policies and the other Collateral
owned by the Borrower have been pledged to the Administrative Agent, for the benefit of the
Secured Parties.

                         (i)    Audit. The Borrower, the Portfolio Manager, the Initial Portfolio
Manager, the Initial Servicer and the Guarantor shall, and shall cause each of the Parent
Pledgors, the Assignor, the Predecessor Parent Pledgor and Servicer to permit each Lender, the
Administrative Agent or their duly authorized representatives, attorneys, accountants or auditors
during ordinary business hours and upon written notice given one (1) Business Day in advance,
to visit the offices thereof and to inspect their accounts, records and computer systems, software
and programs used or maintained by them in relation to the Collateral or their performance of
duties under or in relation to the Transaction Documents to which they are party as such Lender
or the Administrative Agent may reasonably request (a “Collateral Audit”) and the Borrower
shall enable the Insurance Consultant to seek and receive from the related Issuing Insurance
Companies any verifications of coverage related to the Pledged Policies as often as the
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Administrative Agent may request the Insurance Consultant to do so. The Borrower shall
promptly on demand reimburse the Administrative Agent and the Lenders for all costs and
expenses incurred by or on behalf of the Administrative Agent and the Lenders in connection
with any Collateral Audit and their ongoing review and the Insurance Consultant’s ongoing
review of the documents related to the Pledged Policies, including, without limitation, the
documents on the FTP Site; provided, however, if no Event of Default or Unmatured Event of
Default has occurred and is continuing, the total expenses incurred by or on behalf of Borrower,
the Portfolio Manager, the Initial Portfolio Manager, the Initial Servicer, the Guarantor, each of
the Parent Pledgors, the Assignor, the Predecessor Parent Pledgor and the Servicer related to
Collateral Audits, the ongoing review of the documents related to the Pledged Policies by the
Lenders, the Administrative Agent and the Insurance Consultant and delivering any verifications
of coverage related to the Pledged Policies (including any reimbursements actually made by the
Borrower, the Portfolio Manager, the Initial Portfolio Manager, the Initial Servicer, the
Guarantor, each of the Parent Pledgors, the Assignor, the Predecessor Parent Pledgor and the
Servicer to the Lenders and the Administrative Agent in connection therewith) shall be limited to
no more than $2,000 (as adjusted annually for inflation or such higher amount if such higher
amount is the Insurance Consultant’s reasonably determined prevailing market cost in the
industry for such Collateral Audits or ongoing reviews of the type in question as adjusted for
changes in audit standards) for each Pledged Policy during any twelve (12) month period. Upon
written instructions from the Administrative Agent, each of Borrower, the Portfolio Manager, the
Initial Portfolio Manager, the Initial Servicer and the Guarantor shall, and shall cause the
Servicer (and the Administrative Agent may cause the Custodian) to release any document
related to any Collateral to the Administrative Agent. The Administrative Agent may conduct a
Collateral Audit no more than once per calendar year at the Borrower’s expense and no more
frequently than once every two (2) calendar months at the Lenders’ expense; provided, however,
if an Event of Default or Unmatured Event of Default has occurred and is continuing, the
Administrative Agent, at the Borrower’s expense, shall have the right to conduct a Collateral
Audit at any time and as often the Administrative Agent determines is necessary or desirable.

                      (j)     Additional Assistance. The Borrower shall provide such
cooperation, information and assistance, and prepare and supply the Administrative Agent with
such data regarding the performance by the Issuing Insurance Companies of their obligations
under the Pledged Policies and the performance by the Borrower of its obligations under the
Transaction Documents, as may be reasonably requested by the Administrative Agent from time
to time.

                      (k)    Accounts. The Borrower shall not maintain any bank accounts
other than the Accounts. The Borrower shall not close any of the Accounts unless the Required
Lenders shall have consented thereto in their sole discretion.

                         (l)   Keeping of Records and Books of Account. The Borrower shall
maintain and implement administrative and operating procedures (including, without limitation,
an ability to recreate the documents relating to the Collateral in the event of the destruction


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thereof), and keep and maintain all records and other information, reasonably necessary or
reasonably advisable for the collection of proceeds of the Pledged Policies.

                       (m)     Deposit of the Collections. The Borrower shall deposit or cause to
be deposited all Collections into the Collection Account in accordance with Section 5.1.

                       (n)     Investment Company Act. The Borrower, the Assignor, the
Predecessor Parent Pledgor and Parent Pledgors shall not become an “investment company” or a
company “controlled” by an “investment company” within the meaning of the Investment
Company Act of 1940, as amended, by virtue of an exemption other than pursuant to Section
3(c)(1) or Section 3(c)(7) thereof. The Borrower shall take any and all actions to ensure that it is
not a “covered fund” under Section 13 of the Bank Holding Company Act of 1956, as amended.

                       (o)    [Reserved]

                        (p)     Borrower Residence. Each of the GP Parent, the LP Parent, the
Predecessor Parent Pledgor and the Assignor shall at all times maintain its registered office in the
jurisdiction indicated in the notice provisions of the Transaction Documents to which it is party.
The Borrower shall at all times maintain its principal place of business in the Commonwealth of
Bermuda.

                        (q)     Payment of Taxes. The Borrower shall pay and discharge, as they
become due, all Taxes lawfully imposed upon it or incurred by it or its properties and assets,
including, without limitation, lawful claims for labor, materials and supplies which, if unpaid
might become a Lien or a charge upon any of the assets of the Borrower, including, without
limitation, the Collateral, provided, however, that the Borrower shall have the right to contest
any such taxes, assessments, debts, claims and other charges in good faith so long as adequate
reserves are maintained in accordance with GAAP.

                        (r)    Errors and Omissions. The Borrower shall maintain or be named
as an additional insured under one or more errors and omissions policies maintained by an
Affiliate, each with insurance companies rated A-, VII or higher by A.M. Best on all officers,
employees or other Persons where the Borrower has the right to direct and control such
individuals in any capacity with regard to the Pledged Policies to handle documents and papers
related thereto. Each such policy shall insure against losses resulting from the errors, omissions
and negligent acts of such officers, employees and other persons and shall be maintained in an
aggregate amount of at least $10,000,000 or such lower amount as the Administrative Agent may
designate in writing to the Borrower from time to time, and in a form reasonably acceptable to
the Administrative Agent. No provision of this Section 9.1(r) requiring such errors and omissions
policy(ies) shall diminish or relieve the Borrower from its duties and obligations as set forth in
this Loan Agreement. Upon the request of the Administrative Agent at any time subsequent to
the Initial Closing Date, the Borrower shall cause to be delivered to the Administrative Agent a
certification evidencing the Borrower’s coverage under such errors and omissions policy(ies).
Any such insurance policy shall contain a provision or endorsement providing that such policy

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may not be canceled or modified in a materially adverse manner without ten (10) days’ prior
written notice to the Administrative Agent.

                        (s)     Pledged Policies. The Borrower shall maintain the Pledged
Policies in full force and effect and not in a state of grace; provided that failure to do so solely as
a result of (i) any uncured Lender Default, (ii) the failure by the Administrative Agent to apply
amounts on deposit in the Escrow Account in accordance with Section 5.2(d) to fund the same,
which amounts are sufficient to pay Premiums on the Pledged Policies or the election by the
Administrative Agent to deliver an Alternative Information Notice pursuant to Section 5.2(h) and
the amount of Premiums funded is less than the amount set forth in the Calculation Date Report
in respect of which such Alternative Information Notice was delivered, or (iii) the abandonment
of a Pledged Policy in accordance with Section 2.7(b), will not comprise a breach of this
covenant; provided further that with respect to any Pledged Policy set forth on the Initial
Advance Lexington Schedule, such Pledged Policy may have been in a state of grace on the
Initial Closing Date but the Borrower caused such Pledged Policy to no longer be in state of
grace by June 30, 2013.

                        (t)    Further Assurances. The Borrower shall procure and deliver to the
Administrative Agent and/or execute any security agreement, financing statement or other
writing necessary to evidence, preserve, protect or enforce the Lenders' rights and interests to or
in the Collateral or in any other collateral agreed to by the parties that is requested in writing by
the Administrative Agent or any Lender.

                       (u)     Litigation. The Borrower shall promptly notify the Administrative
Agent of:

                              (i)     any litigation, administrative proceedings, audits, actions,
proceedings, claims or investigations pending or threatened in writing, conducted or to be
conducted by any Person or Governmental Authority, actions, proceedings, claims or
investigations pending or threatened in writing against the Borrower or the entry of any judgment
against the Borrower, which in each case could reasonably be expected to involve or create a
liability of the Borrower which exceeds $50,000 per incident or $200,000 in the aggregate,
whether or not insured against;

                              (ii)    the entry of any judgment against the Borrower or the
creation of any Lien against any of the Collateral or the Pledged Interests; and

                                (iii) any actual or alleged violation by the Borrower of any
Applicable Law which could reasonably be expected to have an adverse effect on any of the
Pledged Policies, the business, assets, financial condition or operations of the Borrower or any of
the rights or interests of the Administrative Agent or any of the Lenders hereunder or under any
other Transaction Document.




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                        (v)     Insured Consent. The Borrower shall use commercially reasonable
efforts to cause each Insured with respect to a Pledged Policy to consent to the release and
delivery of its current and historical medical information and death certificate.

                        (w)     In-Force Policy Illustrations. The Borrower shall or shall cause the
Servicer to cause the applicable Issuing Insurance Companies to deliver to the Servicer an in-
force Policy Illustration in respect of each Pledged Policy within 30 days of the anniversary of
the issue date of each Policy, which the Portfolio Manager will upload to the FTP site as
described in the Portfolio Management Agreement.

                        (x)    Cooperation. The Borrower shall assist the Administrative Agent
with, and take all actions reasonably requested by the Administrative Agent in connection with,
the engagement of servicers, medical underwriters and tracking agents and the enabling of such
parties to perform the services for which they have been retained by the Administrative Agent
relating to the Pledged Policies.

                       (y)     Collateral Assignment. Prior to the Second Amended and Restated
Closing Date, in relation to each Policy comprising Collateral as of the Second Amended and
Restated Closing Date, the Borrower has caused and, prior to each Additional Policy Advance
Date, the Borrower shall cause, the Securities Intermediary or the Insurance Consultant to submit
each collateral assignment in respect of each Policy pledged on such Advance Date to the
applicable Issuing Insurance Company, naming the Administrative Agent, on behalf of the
Lenders, as the collateral assignee.

                       (z)     Other Information. The Borrower shall use commercially
reasonable efforts to obtain any other information reasonably requested by the Administrative
Agent with respect to the Pledged Policies and the Insureds.

                       (aa) Transaction Documents. The Borrower shall duly and timely
perform all of its covenants and obligations under all Transaction Documents, except with the
prior written consent of the Administrative Agent.

                        (bb) Mandatory Liquidation. After the earlier of the date on which (i)
the number of Pledged Policies is less than or equal to one hundred (100) or (ii) the aggregate
Net Death Benefit of the Pledged Policies is less than or equal to fifteen percent (15%) of the
aggregate Net Death Benefit of the Pledged Policies on the Initial Closing Date, the Borrower
shall, within 180 days of the Borrower’s receipt of written direction from the Required Lenders,
sell all of the Pledged Policies in accordance with Section 2.7(a).

                       (cc) Payment of Premiums. On and after the Partial Repayment Date,
subject to Section 2.7(b), the Borrower shall pay or cause to be paid all Premiums due on the
Pledged Policies and keep all the Pledged Policies in full force and effect and not in a state of
grace.



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                        (dd) LP Parent Contribution Agreement, Predecessor Parent Pledgor
Contribution Agreement and Assignor Contribution Agreement. The Borrower shall enforce the
Predecessor Parent Pledgor’s obligations under the Predecessor Parent Pledgor Contribution
Agreement, including, without limitation, the obligation of the Predecessor Parent Pledgor to
reacquire Pledged Policies in accordance with the terms thereof. The Borrower shall enforce the
LP Parent’s obligations under the LP Parent Contribution Agreement, including, without
limitation, the obligation of the LP Parent to acquire Pledged Policies in accordance with the
terms thereof. The Borrower shall cause the LP Parent to enforce its obligations under the
Predecessor Parent Pledgor LP Contribution Agreement, including, without limitation, the
obligation of the Predecessor Parent Pledgor to reacquire Pledged Policies in accordance with the
terms thereof. The Borrower shall cause the Predecessor Parent Pledgor to enforce its
obligations under the Assignor Contribution Agreement, including, without limitation, the
obligation of the Assignor to reacquire Pledged Policies in accordance with the terms thereof.

                        (ee) Servicing Agreements. The Borrower shall timely enforce its
rights and obligations under the Servicing Agreement, including, without limitation, upon the
Administrative Agent’s instruction after the occurrence of a Servicer Termination Event,
terminating the Servicer in accordance with the terms thereof. The Borrower shall not engage
the Servicer to perform any additional services under the Servicing Agreement without obtaining
the Administrative Agent’s prior written consent, which consent may be given or withheld in the
Required Lenders’ reasonable discretion. The Borrower shall timely enforce its rights and
obligations under the Initial Servicing Agreement, including, without limitation, upon the
Administrative Agent’s instruction after the occurrence of an Initial Servicer Termination Event,
terminating the Initial Servicer in accordance with the terms thereof. The Borrower shall not
engage the Initial Servicer to perform any additional services under the Initial Servicing
Agreement without obtaining the Administrative Agent’s prior written consent, which consent
may be given or withheld in the Required Lenders’ reasonable discretion.

                        (ff)   Classification Elections of Borrower, GP Parent. Borrower shall
cause the GP Parent to make such elections and take any other actions, or cause such elections to
be made or such actions to occur, to ensure or cause the Borrower to be treated as a disregarded
entity or partnership for United States federal income tax purposes. Borrower shall cause the GP
Parent to make such elections and take any other actions, or cause such elections to be made or
such actions to occur, to ensure or cause GP Parent to be classified as a disregarded entity for
United States federal income tax purposes at all times following twenty-four (24) months after
the Original Amended and Restated Closing Date.

                        (gg) Custodial Packages. Within fifteen (15) days of the Initial Closing
Date, the Borrower delivered or caused to be delivered all Custodial Packages (including all
originals thereof) related to the Subject Policies for the Initial Advance to the Custodian. Within
fifteen (15) days of the Initial Closing Date, the Borrower caused the Custodian to deliver to the
Administrative Agent a written confirmation identifying all such Subject Policies for which the
Custodian had accepted delivery of the related purported Custodial Packages pursuant to the
terms of the Account Control Agreement. On or before August 31, 2013, the Borrower caused

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the Custodian to verify to the Administrative Agent in writing its receipt of all documents
required to be contained in each of the Custodial Packages related to the Subject Policies for the
Initial Advance by delivering the required certification pursuant to the terms of the Account
Control Agreement. On or prior to each Advance Date, the Borrower has caused or shall cause,
as applicable, the Portfolio Manager to upload the related Collateral Packages (and with respect
to the Initial Advance, the Schedules relating thereto) to the FTP Site. With respect to each
Pledged Policy set forth on Schedule 7.1(f) on the Initial Closing Date, the Borrower delivered or
caused the delivery of such Pledged Policies to the Custodian. With respect to each other
Pledged Policy set forth on Schedule 7.1(f), the Borrower shall use commercially reasonable
efforts to deliver or cause the delivery of such Pledged Policies to the Custodian.

                        (hh) Delivery of Change Forms. Within two (2) Business Days of the
Initial Closing Date, the Borrower delivered or caused to be delivered to the Securities
Intermediary completed but unsigned Change Forms for the Subject Policies related to the Initial
Advance, to be executed by the Securities Intermediary in blank. Within seven (7) Business
Days of the Initial Closing Date, the Borrower caused the Securities Intermediary to confirm to
the Administrative Agent in writing in the form of Exhibit L-3 to the Account Control
Agreement that it is holding Change Forms with respect to the Subject Policies related to the
Initial Advance executed by the Securities Intermediary in blank and the Administrative Agent
received copies of such Change Forms.

                      (ii)     Portfolio Manager. The Borrower shall timely enforce its rights
and obligations under the Portfolio Management Agreement, including, without limitation, upon
the Administrative Agent’s instruction after the occurrence of a Portfolio Manager Termination
Event, terminating the Portfolio Manager in accordance with the terms thereof. The Borrower
shall not engage the Portfolio Manager to perform any additional services under the Portfolio
Management Agreement without obtaining the Administrative Agent’s prior written consent,
which consent may be given or withheld in the Required Lenders’ reasonable discretion.

                      (jj)    Opinions. Each of the Borrower, the Initial Servicer and the
Portfolio Manager will maintain all policies and procedures and take and continue to take all
actions necessary or appropriate to ensure that all factual assumptions set forth in opinions of
counsel of the Borrower or its Affiliates delivered in connection herewith or the other
Transaction Documents remain true and accurate at all times.

                        (kk) Listing. If a Lender assigns all or any portion of its Lender Notes,
Commitment and Advances hereunder pursuant to Section 13.4 hereof and the assignee thereof
resides in a jurisdiction that does not have a tax treaty with Ireland or if the assignment otherwise
gives rise to Irish withholding tax, the Borrower shall, (i) within sixty (60) days after the date of
such assignment, list the Lender Notes on the unregulated market of the Irish Stock Exchange plc
or other stock exchange if doing so would eliminate or reduce any withholding tax imposed by
applicable authorities in Ireland on any payments to be paid by the Borrower to or for the benefit
of such assignee or (ii) use reasonable commercial efforts to ascertain whether any adjustments
to the structure of the Borrower and its partners or otherwise can be implemented without cost or

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prejudice to any Lender that will eliminate the imposition of such withholding tax, and if such
adjustments are satisfactory to the Administrative Agent and the Lenders, as determined in their
sole and absolute discretion, within sixty (60) days following the date of such assignment, the
Borrower shall implement such adjustments.

                        (ll)    Manager. The Borrower shall ensure that all times the Manager,
any successor Manager and any other Person performing functions similar to the Manager is an
individual with at least three years of employment experience in the life settlement industry,
possessing sufficient skills and knowledge to fulfill his or her obligations under the Consulting
Agreement and any similar agreement.

                        (mm) Cash Interest Coverage Ratio Reporting Requirements. Within
five (5) Business Days after the end of each calendar month commencing with the calendar
month ending in December 2016, the Borrower shall furnish or cause to be furnished to the
Administrative Agent and each Lender a report, in form and substance satisfactory to the
Administrative Agent, which report shall include a calculation of the Cash Interest Coverage
Ratio for each day of the immediately preceding calendar month (which report shall include,
without limitation, all information necessary in order to enable the Administrative Agent to
independently make each such calculation) and include a statement as to whether the Cash
Interest Coverage Ratio has ever failed to meet the ratio for the Cash Interest Coverage Ratio
identified in each of Section 10.1(x) hereof and in the definition of "Cash Flow Sweep
Percentage", and if so, each date of such occurrence. Each such report shall be certified by an
officer or director of EMG that all information set forth in such report is true and accurate in all
respects (without omission of any information necessary to prevent such information from being
materially misleading).

               Section 9.2 Negative Covenants. Until the first day following the date on
which all of the Obligations (including, without limitation, the Aggregate Participation Interest)
are performed and paid in full and this Loan Agreement is terminated, the Borrower hereby
covenants and agrees that it shall not:

                        (a)    Assignment of Pledged Policies, Etc. Except as provided herein
and in the other Transaction Documents, sell, assign (by operation of law or otherwise) or
otherwise dispose of, or create or suffer to exist, any Adverse Claim upon or with respect to, any
of the Pledged Policies or any other Collateral, including, without limitation, any Adverse Claim
arising out of a Policy Loan.

                       (b)     Amendments to Transaction Documents, etc. Amend, otherwise
modify or waive any term or condition of: (i) this Loan Agreement, except with the prior written
consent of all of the Lenders or (ii) any other Transaction Document, the Borrower
Organizational Documents, any Pledged Policy or any other material contract, except in each
case with the prior written consent of the Required Lenders.

                       (c)    Deposit of Non-Collections. Deposit or otherwise credit, or cause
or permit to be so deposited or credited, to the Collection Account any cash or other assets other
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than Collections and other amounts allowed or required to be credited to the Collection Account
in accordance with Section 5.2.

                      (d)     Indebtedness. Contract, create, incur or assume any indebtedness
other than indebtedness incurred pursuant to this Loan Agreement and the other Transaction
Documents.

                      (e)   Change of Accounts. Change or cause to be changed any of the
Accounts or the Policy Account or amend the Account Control Agreement without prior written
consent of the Required Lenders.

                       (f)     Mergers, Acquisitions, Sales, Subsidiaries, etc.

                                 (i)    Be acquired directly or indirectly, or be a party to any
merger or consolidation, or directly or indirectly purchase or otherwise acquire all or
substantially all of the assets or any stock of any class of, or any partnership or joint venture
interest in, any other Person, except for Permitted Investments or sell, transfer, assign, convey or
lease any of its property and assets (or any interest therein) other than pursuant to, or as
contemplated by, this Loan Agreement or the other Transaction Documents;

                              (ii)     make, incur or suffer to exist an Investment in, equity
contribution to, loan or advance to, or payment obligation in respect of the deferred purchase
price of, or payment for, property from, any other Person, except for Permitted Investments,
pursuant to the Transaction Documents;

                               (iii) create any direct or indirect Subsidiary or otherwise acquire
direct or indirect ownership of any equity interests in any other Person other than pursuant to the
Transaction Documents; or

                               (iv)  enter into any transaction with any Affiliate of the
Borrower, Imperial, the Guarantor or the Portfolio Manager or any Affiliate of any of them
except for the transactions contemplated or permitted by the Transaction Documents and other
transactions upon fair and reasonable terms materially no less favorable to the Borrower or than
would be obtained in a comparable arm’s length transaction with a Person not an Affiliate of the
Borrower, Imperial, the Guarantor or the Portfolio Manager.

                       (g)     Change in Business Policy. Make any change in the character of its
business.

                       (h)     Chief Executive Office. Move its chief executive office or
jurisdiction of formation or permit the documents and books in its possession or under its control
evidencing the Collateral to be moved, unless (i) the Borrower shall have given to the
Administrative Agent not less than thirty (30) days’ prior written notice thereof, clearly
describing the new location, and (ii) the Borrower shall have taken such action, satisfactory to
the Administrative Agent, to maintain the title or ownership of the Borrower and any security

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interest of the Administrative Agent, in the Collateral at all times fully perfected and in full force
and effect. The Borrower shall not in any event become or seek to become organized under the
laws of more than one jurisdiction.

                        (i)    Business Restrictions. Engage in any business or transactions, or
be a party to any documents, agreements or instruments, other than the Transaction Documents
or those incidental to the purposes thereof, or make any expenditure for the purchase of any
assets if such expenditure is made by the Borrower through a withdrawal of funds from an
Account.

                      (j)     Sale of Assets. Sell, transfer or convey any assets, except as
expressly permitted by the Transaction Documents.

                        (k)     Ownership of Borrower, GP Parent. (i) During the twenty-four
(24) month period following the Original Amended and Restated Closing Date only, make any
elections, take any actions or fail to take any actions that would cause Borrower to be classified
as other than a disregarded entity or partnership for United States federal income tax purposes or
other than a fiscally transparent entity for Irish tax purposes, and at all times after such twenty-
four (24) month period, make any elections, take any actions or fail to take any actions that
would cause Borrower to be classified as other than a disregarded entity for United States federal
income tax purposes or other than a transparent entity for Irish tax purposes or (ii) fail to cause
the GP Parent to be classified as a disregarded entity for United States federal income tax
purposes at all times following twenty-four (24) months after the Original Amended and
Restated Closing Date.

                        (l)    Further Policy Acquisitions. Acquire at any time any additional
Policies that are not Pledged Policies without the prior written consent of the Administrative
Agent.

                     (m)     Use of Proceeds. Without the prior written consent of the
Administrative Agent, use any proceeds arising from a sale under Section 2.7 other than pursuant
to this Loan Agreement.

                      (n)     Accounting Changes. Change any accounting practices, policies or
treatment without the prior written consent of the Administrative Agent, except to the extent
required by Applicable Law, changes in GAAP or requirements of its independent accountants.

                         (o)   Foreign Assets Control Regulations, Etc. (i) Become or permit any
of its subsidiaries to become a Blocked Person, (ii) have or permit any of its subsidiaries to have
any investments in or engage in any dealings or transactions with any Blocked Person or (iii)
violate or permit any of its subsidiaries to violate any Anti-Money Laundering Law.




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                                       ARTICLE X
                              EVENTS OF DEFAULT; REMEDIES

                Section 10.1 Events of Default. Each of the following shall constitute an “Event
of Default” under this Loan Agreement upon the (i) expiration of the time period set forth below
or (ii) expiration of a Cure Notice delivered to the Borrower by the Required Lenders in their
sole discretion or (iii) earlier revocation of such Cure Notice by the Required Lenders in their
sole discretion:

                        (a)     Non-Payment. (A) The Borrower shall fail to make when due, any
payment to any Lender or the Administrative Agent under this Loan Agreement or any other
Transaction Document and such failure continues for one (1) Business Day, or (B) so long as
such failure is not solely due to an uncured Lender Default, the Borrower shall fail to make when
due, any payment to any other Person under this Loan Agreement or any other Transaction
Document, including, without limitation, the failure to pay any Premium, and such failure
continues for thirty (30) days or (C) any Advance is not paid in full on the Maturity Date. For
the avoidance of doubt, the Lenders making one or more Protective Advances to pay any
Premiums due during such thirty (30) day period shall not constitute a cure of the related Event
of Default.

                        (b)     Breach of Representations and Warranties. Any representation or
warranty made or deemed made by the Borrower, the Assignor, the Predecessor Parent Pledgor,
a Parent Pledgor, the Initial Portfolio Manager, the Portfolio Manager, the Initial Servicer, the
Guarantor, the Servicer or Imperial under or in connection with any Transaction Document to
which it is a party or any information or report delivered by or on behalf of any such Person to
the Administrative Agent or any Lender hereunder or under any other Transaction Document
shall prove to have been incorrect or untrue in any material respect when made or delivered (or
when such representation, warranty, information or report is deemed to have been made or
delivered) and, if curable, such breach is not cured within thirty (30) days.

                        (c)     Non-Compliance with Other Provisions. (i) The Borrower shall fail
to perform or observe any covenant or agreement set forth in Section 9.1(q), Section 9.1(y),
Section 9.1(dd), Section 9.1(ee), Section 9.1(ff), Section 9.1(gg), Section 9.1(ii), Section 9.1(jj),
Section 9.1(kk), Section 9.1(ll), Section 9.2 (other than Section 9.2(c)) or (ii) the Borrower, the
Assignor, the Predecessor Parent Pledgor, a Parent Pledgor, Imperial, the Initial Portfolio
Manager, the Portfolio Manager, the Initial Servicer, the Guarantor or the Servicer shall fail to
perform or observe any other term, covenant or agreement contained in any Transaction
Document to which it is party on its part to be performed or observed and any such failure
described in this clause (ii) shall remain unremedied for thirty (30) days (or, with respect to a
failure to deliver the Calculation Date Report or a failure to comply with any of Section 2.7,
Section 9.1(e), Section 9.1(h), Section 9.1(i), Section 9.1(m), Section 9.1(hh), Section 9.2(c),
such failure shall remain unremedied for five (5) Business Days) from the earlier of (i) the date
the Borrower receives notice of such failure and (ii) the date the Borrower has actual knowledge
thereof.

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                        (d)    Non-Compliance by Other Parties. Any party to any Transaction
Document other than the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent
Pledgor, Imperial, the Servicer, the Initial Servicer, the Guarantor, the Portfolio Manager, the
Initial Portfolio Manager, the Lenders or the Administrative Agent shall fail to perform or
observe any term, covenant or agreement contained in this Loan Agreement or in any other
Transaction Document on its part to be performed or observed and any such failure shall remain
unremedied for thirty (30) days (or, with respect to a failure by the Securities Intermediary to
make any deposit or withdrawal from any of the Accounts to be made by it under the Transaction
Documents, such failure shall remain unremedied for one (1) Business Day) from the earlier of
the (i) the date such Person receives notice of such failure and (ii) the date such Person has actual
knowledge thereof.

                        (e)      Validity of Transaction Documents. (i) This Loan Agreement or
any other Transaction Document shall (except in accordance with its terms), in whole or in part,
cease to be the legally valid, binding and enforceable obligation of the Borrower, the Assignor,
the Predecessor Parent Pledgor, a Parent Pledgor, Imperial, the Initial Servicer, the Guarantor,
the Servicer, the Initial Portfolio Manager or the Portfolio Manager or cease to be in full force
and effect, (ii) the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor,
Imperial, the Initial Servicer, the Guarantor, the Servicer, the Initial Portfolio Manager or the
Portfolio Manager shall directly or indirectly contest in any manner such effectiveness, validity,
binding nature or enforceability of such document, (iii) any other party (other than any of the
Lenders, the Administrative Agent or any other Affected Party) shall directly or indirectly
contest such effectiveness, validity, binding nature or enforceability of such document, (iv) this
Loan Agreement together with the Account Control Agreement shall cease to create a valid Lien
in favor of the Administrative Agent in the Collateral, or the Lien of the Administrative Agent in
the Collateral shall cease to be a valid and enforceable first priority perfected Lien, free and clear
of any Adverse Claim or (v) the Borrower Interest Pledge Agreement shall cease to create a valid
Lien in favor of the Administrative Agent in Pledged Interests, or the Lien of the Administrative
Agent in the Pledged Interests shall cease to be a valid and enforceable first priority perfected
Lien, free and clear of any Adverse Claim.

                      (f)     Bankruptcy. An Event of Bankruptcy shall have occurred with
respect to the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor or
Imperial.

                      (g)     Change in Control. A Change in Control shall have occurred with
respect to the Borrower, a Parent Pledgor, the Predecessor Parent Pledgor or the Assignor.

                       (h)      Certain Events with Respect to Imperial. Imperial ceases to be a
Publicly Traded Company or a Blocked Person shall become the owner, directly or indirectly,
beneficially or of record, of equity representing five percent (5.00%) or more of the aggregate
ordinary voting power represented by the issued and outstanding equity of Imperial.

                       (i)     Tax Liens; ERISA Liens. The Internal Revenue Service shall file
notice of a Lien pursuant to the Code with regard to any assets of the Borrower, the Assignor, the
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Predecessor Parent Pledgor, a Parent Pledgor or Imperial or the PBGC shall, or shall indicate its
intention to, file notice of a Lien pursuant to Section 4068 of ERISA with regard to any of the
assets of the Borrower, the Assignor, the Predecessor Parent Pledgor or a Parent Pledgor in
excess of $100,000 or with regard to Imperial in excess of $3,000,000; provided, however, that
in each case the filing of such a notice of Lien shall not be an Event of Default for so long as
such filing is being contested in good faith by appropriate proceedings and with respect to which
adequate reserves have been set aside. Notwithstanding anything provided in the preceding
sentence, no Adverse Claim shall be permitted with respect to any Collateral or Pledged
Interests.

                         (j)    Defaults. A default by the Borrower (after giving effect to the
applicable grace period) shall have occurred and be continuing under any instrument, agreement
or legal commitment evidencing, securing or providing for the issuance of indebtedness for
borrowed money or off balance sheet financing for which the Borrower (either individually or
collectively) is liable to pay an amount in excess of $50,000, following which the provider of
such borrowed money or off balance sheet financing has the right to accelerate the maturity
thereof.

                       (k)    Monetary Judgment. One or more judgments for the payment of
money shall be rendered against the Borrower in an aggregate amount in excess of $50,000 or
against Imperial in an aggregate amount in excess of $3,000,000, and, in each case, shall remain
unpaid or undischarged, or a stay of execution thereof shall not be obtained, within thirty (30)
days from the date of entry thereof.

                      (l)    Material Adverse Effect. An event has occurred that has had or
could reasonably be expected to have a Material Adverse Effect.

                         (m)    Servicer Termination Events. (i) A Servicer Termination Event
shall have occurred and be continuing, but only if the Servicer has not been replaced by a
Successor Servicer or if such Servicer Termination Event causes a Material Adverse Effect or (ii)
prior to the occurrence of the Set-Up Phase Completion Date (as defined in the Servicing
Agreement) with respect to all of the Pledged Policies or such earlier date as of which the
Servicer has commenced performing all of its obligations under the Servicing Agreement with
respect to all of the Pledged Policies, an Initial Servicer Termination Event shall have occurred
and be continuing, but only if the Initial Servicer has not been replaced by a Successor Initial
Servicer or if such Initial Servicer Termination Event causes a Material Adverse Effect.

                       (n)     Investment Company Act. (i) The Borrower, the Assignor, the
Predecessor Parent Pledgor or a Parent Pledgor shall become an “investment company” or a
company “controlled” by an “investment company” within the meaning of the Investment
Company Act of 1940, as amended, or any of the foregoing is at any time not an “investment
company” or a company “controlled” by an “investment company” within the meaning of the
Investment Company Act of 1940, as amended, solely by virtue of an exception pursuant to
Section 3(c)(1) or 3(c)(7) thereof or (ii) the Borrower shall become a “covered fund” under
Section 13 of the Bank Holding Company Act of 1956.
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                       (o)    Organizational Document Amendments. The Borrower shall make
any material amendment to any of its Borrower Organizational Documents without the prior
written consent of the Required Lenders.

                         (p)    Subject Policy Grace Period. Subject to Section 5.4 hereof, either
(i) more than one Pledged Policy in any calendar year (the “Annual Policy Limit”), (ii) Pledged
Policies the aggregate Net Death Benefit of which equals or exceeds $15,000,000 in any calendar
year (the “Annual NDB Limit”), (iii) more than five Pledged Policies (including Pledged Policies
treated as Lapsed/Grace Policies pursuant to Section 5.4 hereof) since the date of the Original
Loan Agreement (the “Aggregate Policy Limit”) or (iv) Pledged Policies (including Pledged
Policies treated as Lapsed/Grace Policies pursuant to Section 5.4 hereof) the aggregate Net Death
Benefit of which equals or exceeds $30,000,000 since the date of the Original Amended and
Restated Loan Agreement (the “Aggregate NDB Limit”), in the case of any of (i), (ii), (iii) or
(iv), lapse or enter a “grace period” not solely due to an uncured Lender Default and not solely
due to Lender’s delivery of an Alternative Information Notice reducing Premiums paid as
contemplated by Section 5.2(h), and are not restored to good standing within six (6) Business
Days after the Securities Intermediary receives written notice from the related Issuing Insurance
Company that such Pledged Policy has entered a “grace period” (any such Pledged Policy, a
“Lapsed/Grace Policy”); provided, however, that any Pledged Policy may be permitted to lapse
with the prior written consent of the Required Lenders, in their sole discretion, and no such
Pledged Policy permitted to lapse (nor the Net Death Benefits thereof) will be counted for
purposes of this clause (p); provided further that with respect to any Pledged Policy set forth on
the Initial Advance Lexington Schedule, such Pledged Policy shall not constitute a
Lapsed/Graced Policy solely because such Pledged Policy may have been in a state of grace on
the Initial Closing Date so long as the Borrower caused such Pledged Policy to no longer be in
state of grace by June 30, 2013.

                       (q)     Ongoing Maintenance Costs. The failure by the Borrower to pay
any Ongoing Maintenance Costs (other than Premiums) to the applicable Person when due that
the Borrower is responsible to pay, so long as such failure is not solely due to an uncured Lender
Default, and such failure shall remain unremedied for thirty (30) days from the earlier of (i) the
date the Borrower receives notice of such failure and (ii) the date the Borrower has actual
knowledge thereof.

                         (r)    Withholding. (i) Any Collections are subject to withholding tax
imposed by applicable authorities in Ireland or more than 0.1% of any Collections are subject to
United States withholding tax, in each case, prior to or upon being paid to or by the Borrower;
(ii) any amounts to be paid by the Borrower to the Administrative Agent or any Lender are
subject to United States withholding tax in the event of a Withholding Tax Change of
Circumstances or withholding tax imposed by applicable authorities in Ireland other than solely
as a result of the Initial Lender being in breach of its representation made on the Original
Amended and Restated Closing Date pursuant to Section 13.4 of the Original Amended and
Restated Loan Agreement; provided that no Event of Default shall occur with respect to such
event (A) so long as the Borrower is using reasonable commercial efforts to comply with the

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covenant set forth in Section 9.1(kk) hereof following an assignment by a Lender of all or any
portion of its Lender Notes, Commitment and Advances hereunder and compliance with such
covenant would eliminate any withholding tax imposed by the applicable authorities in Ireland
on any payments to be paid by the Borrower to or for the benefit of the related assignee and (B)
(x) the Borrower lists the Lender Notes related to such assignee on the unregulated market of the
Irish Stock Exchange plc or other stock exchange within sixty (60) days after the date of the
related assignment and doing so eliminates any withholding tax imposed by the applicable
authorities in Ireland on any payments to be paid by the Borrower to or for the benefit of such
assignee or (y) the Borrower, in consultation with the Administrative Agent, is using reasonable
commercial efforts to ascertain whether any adjustments to the structure of the Borrower and its
partners or otherwise can be implemented without cost or prejudice to any Lender that will
eliminate the imposition of such withholding tax, and if such adjustments are satisfactory to the
Administrative Agent and the Lenders, as determined in their sole and absolute discretion, within
sixty (60) days following the date of the related assignment, the Borrower implements such
adjustments; (iii) during the twenty-four (24) month period following the Original Amended and
Restated Closing Date only, Borrower is treated as other than a disregarded entity or a
partnership for United States federal income tax purposes, and at all times after such twenty-four
(24) month period, Borrower is treated as other than a disregarded entity for United States
federal income tax purposes, in either case, as a result of an election or any other action or
inaction taken by or on behalf of the Borrower or any of its Affiliates; (iv) GP Parent is treated as
other than a disregarded entity of LP Parent for United States federal income tax purposes at any
time after 24 months following the Original Amended and Restated Closing Date; or (v)
Borrower or LP Parent is engaged in a trade or business in the United States through a permanent
establishment in the United States within the meaning of the double tax treaty between Ireland
and the United States.

                      (s)    Portfolio Manager Termination Events. A Portfolio Manager
Termination Event shall have occurred and be continuing, but only if the Portfolio Manager has
not been replaced by a Successor Portfolio Manager in accordance with the terms and conditions
of the Portfolio Management Agreement or if such Portfolio Manager Termination Event causes
a Material Adverse Effect.

                        (t)   Independent Director. The LP Pledgor shall remove, replace or
seek to replace its Independent Director absent due cause, death or incapacity without the
express prior written consent of the Administrative Agent and the Required Lenders, provided,
however, that no such consent shall be required for the replacement of an Independent Director
in the event that such Independent Director ceases to meet the qualifications set forth in Section
9.1(f)(ii), and such Independent Director is replaced by another Person who possesses such
qualifications.

                        (u)   Independent Manager. The GP Pledgor shall remove, replace or
seek to replace its Independent Manager absent due cause, death or incapacity without the
express prior written consent of the Administrative Agent and the Required Lenders, provided,
however, that no such consent shall be required for the replacement of an Independent Manager

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in the event that such Independent Manager ceases to meet the qualifications set forth in Section
9.1(f)(ii), and such Independent Manager is replaced by another Person who possesses such
qualifications.

                        (v)     Treaty. The Borrower fails to qualify under the limitation of
benefits provision set forth in Article 23, section 2(e) of the Treaty.

                       (w)      Installment Note. On or after the Partial Repayment Date, the
Predecessor Parent Pledgor commences any actions or proceedings against the LP Parent in
respect of any amounts owed to it under that certain installment note made by the LP Parent in
favor of the Predecessor Parent Pledgor in connection with the Borrower Interest Purchase and
Sale Agreement, and such actions or proceedings have an adverse effect on any of the Pledged
Policies, any other Collateral, any of the Pledged Interests, or any of the rights or interests of the
Administrative Agent or any of the Lenders hereunder or under any other Transaction Document.

                       (x)    Cash Interest Coverage Ratio. Commencing after June 30, 2019,
EMG fails to maintain a Cash Interest Coverage Ratio of at least 1:75:1 and such failure
continues for sixty (60) consecutive days.

                  Section 10.2 Remedies.

                       (a)     Optional Termination. Upon the occurrence and during the
continuance of an Event of Default (other than an Event of Default described in Section 10.1(f))
that is not waived in writing by the Required Lenders and not cured within any applicable cure
period, the Administrative Agent may, and at the request of the Required Lenders shall, by notice
to the Borrower, declare the Advances and other Obligations to be due and payable and the
Lenders’ Commitments (if not theretofore terminated) to be terminated, whereupon the full
unpaid amount of all the Advances and other Obligations shall be and become immediately due
and payable (and the Maturity Date shall be deemed to have occurred), without further notice,
demand or presentment, and the Lenders’ Commitment shall terminate.

                       (b)     Automatic Termination. Upon the occurrence of an Event of
Default described in Section 10.1(f), (i) the Commitment Termination Date shall be deemed to
have occurred automatically, and (ii) all outstanding Advances and other Obligations shall
become immediately and automatically due and payable (and the Maturity Date shall be deemed
to have occurred for all of the Advances), all without presentment, demand, protest, or notice of
any kind.

                        (c)    Sale of the Collateral.

                               (i)    In addition to all rights and remedies under this Loan
Agreement or otherwise, the Lenders and the Administrative Agent shall have all other rights
and remedies provided under the relevant UCC and under other Applicable Laws, which rights
shall be cumulative. Without limiting the generality of the foregoing, on and after the occurrence
of an Event of Default that is not waived in writing by the Required Lenders, the Administrative

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Agent (on behalf of the Secured Parties and at the direction of the Required Lenders) may
without being required to give any notice (except as herein provided or as may be required by
mandatory provisions of law), sell the Collateral or any part thereof in any commercially
reasonable manner at public or private sale, for cash, upon credit or for future delivery, as
directed by the Required Lenders and at such price or prices as the Required Lenders may deem
satisfactory. Any Lender or the Administrative Agent may participate as a bidder in any such
sale and the Administrative Agent and/or the Lenders may credit bid in such sale. The Borrower
will execute and deliver such documents and take such other action as the Administrative Agent
reasonably deems necessary or advisable in order that any such sale may be made in compliance
with Applicable Law. Upon any such sale, the Administrative Agent shall have the right to
deliver, assign and transfer to the purchaser thereof the Collateral so sold.

                               (ii)   If any such sale is consummated prior to the Partial
Repayment Date, after deduction of payment for the outstanding principal balance of Advances
plus accrued but unpaid interest thereon plus all other Obligations owing by the Borrower
(excluding the Aggregate Participation Interest and including, for the avoidance of doubt, the
Amortization Shortfall Amounts for all of the Shortfall Pledged Policies that remain unpaid), the
Administrative Agent shall distribute the remaining proceeds of such sale as follows: (i) first,
deposit an amount equal to the product of (X) the Participation Interest Percentage and (Y) the
remaining amount of such proceeds, into the Participation Interest Account as payment by the
Borrower for the Participation Interest for the Pledged Policies subject to such sale, (ii) second,
deposit the aggregate unpaid Participation Interest Shortfall Amounts for all of the Shortfall
Pledged Policies into the Participation Interest Account and (iii) third, deposit any remaining
amount into the Borrower Account.

                                 (iii) If any such sale is consummated on or after the Partial
Repayment Date, after deduction of payment for the outstanding Obligations owing by the
Borrower (excluding the Aggregate Participation Interest and including, for the avoidance of
doubt, the Amortization Shortfall Amounts for all of the Shortfall Pledged Policies that remain
unpaid), the Administrative Agent shall distribute the remaining proceeds of such sale as
follows: (i) first, deposit an amount equal to the product of (X) the Participation Interest
Percentage and (Y) the remaining amount of such proceeds, into the Participation Interest
Account as payment by the Borrower for the Participation Interest for the Pledged Policies
subject to such sale, (ii) second, deposit the aggregate unpaid Participation Interest Shortfall
Amounts for all of the Shortfall Pledged Policies into the Participation Interest Account and (iii)
third, deposit any remaining amount into the Borrower Account.

                               (iv)    Any such sale under this Section 10.2(c), other than a sale
consummated pursuant to a credit bid made by the Administrative Agent or a Lender, shall be for
cash. Each purchaser at any such sale shall hold the Collateral so sold to it absolutely and free
from any claim or right of whatsoever kind, including any equity or right of redemption of the
Borrower which may be waived, and the Borrower, to the extent permitted by Applicable Law,
hereby specifically waives all rights of redemption, stay or appraisal which it has or may have
under any law now existing or hereafter adopted. The Administrative Agent at the direction of

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the Required Lenders, instead of exercising the power of sale herein conferred upon them, may
proceed by a suit or suits at law or in equity to foreclose the security interests in the Collateral
and sell the Collateral, or any portion thereof, under a judgment or decree of a court or courts of
competent jurisdiction.

                       (d)     Power of Attorney. In furtherance of the rights, powers and
remedies of the Administrative Agent and the Required Lenders on and after the occurrence of
an Event of Default that is not waived in writing by the Required Lenders, or cured within any
applicable cure period, the Borrower hereby irrevocably appoints the Administrative Agent its
true and lawful attorney, which appointment is coupled with an interest, with full power of
substitution, in the name of the Borrower, or otherwise, for the sole use and benefit of the
Administrative Agent (for the further benefit of the Secured Parties), but at the Borrower’s
expense, to the extent permitted by law and subject to the last sentence of the immediately
preceding subsection, to exercise, at any time and from time to time during the continuance of an
Event of Default, all or any of the following powers with respect to all or any of the Collateral:

                              (i)   to demand, sue for, collect, receive and give acquittance for
any and all monies due or to become due thereon or by virtue thereof,

                              (ii)    to settle, compromise, compound, prosecute or defend any
action or proceeding with respect thereto,

                               (iii) to sell, transfer, assign, seize or otherwise deal in or with
the Collateral or the proceeds or avails thereof, as fully and effectually as if the Administrative
Agent was the absolute owner thereof, and

                            (iv)   to extend the time of payment of any or all thereof and to
make any allowance and other adjustments with reference thereto;

provided that the Administrative Agent shall give the Borrower at least ten (10) days’ prior
written notice of the time and place of any public sale or the time after which any private sale or
other intended disposition of any of the Collateral is to be made. The Borrower agrees that such
notice constitutes “reasonable notification” within the meaning of Section 9-611 (or other section
of similar content) of the relevant UCC.

                        (e)      Conflict of Rights. Notwithstanding anything to the contrary
contained in this Loan Agreement, if at any time the rights, powers and privileges of the
Required Lenders or the Administrative Agent following the occurrence of an Event of Default
conflict (or are inconsistent) with the rights and obligations of the Initial Servicer, the Servicer,
the Initial Portfolio Manager or the Portfolio Manager, the rights, powers and privileges of the
Required Lenders or the Administrative Agent shall supersede the rights and obligations of the
Servicer, the Initial Servicer, the Initial Portfolio Manager and the Portfolio Manager to the
extent of such conflict (or inconsistency), with the express intent of maximizing the rights,
powers and privileges of the Required Lenders or the Administrative Agent following the
occurrence of an Event of Default.
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                      (f)   Contract to Extend Financial Accommodations. The parties hereto
acknowledge that this Loan Agreement is, and is intended to be, a contract to extend financial
accommodations to the Borrower within the meaning of Section 365(e)(2)(B) of the Federal
Bankruptcy Code (11 U.S.C. § 365(e)(2)(B)) (or any amended or successor provision thereof or
any amended or successor code).

                       (g)    Cumulative Rights. For the avoidance of doubt, the rights and
remedies granted to the Lenders or the Administrative Agent under this Loan Agreement, any
other Transaction Document, the relevant UCC or any other Applicable Law are cumulative and
not exclusive, and the exercise of any such rights and remedies will not be waived or deemed
waived by any such Person merely by the receipt of or acceptance by such Person of amounts on
deposit in the Collection Account that are distributed pursuant to Section 5.2(c) of this Loan
Agreement.

                Section 10.3 Lender Default. If a Lender Default has occurred and is
continuing, the Borrower shall have the right to prepay the outstanding principal amount of the
Advances plus accrued and unpaid interest thereon at par (provided that such prepayment shall
not reduce the amount of the Participation Interest with respect to any Pledged Policy) or sell its
assets (subject to the sale provisions of Section 2.7(a)); provided that the Borrower shall not have
the right to incur any other debt unless the Administrative Agent, at the direction of the Required
Lenders, approves such debt in their sole and absolute discretion. Notwithstanding the
foregoing, upon the occurrence and continuance of a Lender Default, all other rights and
remedies of the Administrative Agent and the Lenders under this Loan Agreement and the other
Transaction Documents shall remain in full force and effect. A Lender Default shall cease to
exist upon the earlier of the date such Lender Default is cured by a Lender or the Ongoing
Maintenance Costs Reimbursable Amount relating to such Lender Default is paid pursuant to
Sections 5.2(b) and/or (c) hereof.

                                         ARTICLE XI
                                      INDEMNIFICATION

                Section 11.1 General Indemnity of the Borrower. Without limiting any other
rights which any such Person may have hereunder or under Applicable Law, the Borrower
hereby agrees to indemnify each Lender and the Administrative Agent (on their own behalf and
on behalf of each of the Lenders’ and the Administrative Agent’s Affiliates and each of such
entities’ respective successors, transferees, participants and permitted assigns and all officers,
directors, shareholders, controlling persons, and employees of any of the foregoing) (each of the
foregoing Persons being individually called an “Indemnified Party”), forthwith on demand, from
and against any and all damages, losses, claims, liabilities and related and reasonable costs and
expenses actually incurred, including reasonable attorneys’ fees and disbursements actually
incurred (all of the foregoing being collectively called “Indemnified Amounts”) awarded against
or incurred by any of them arising out of or relating to any Transaction Document or the
transactions contemplated thereby, the acceptance and administration of this Loan Agreement by
such Person, any commingling of funds related to the transactions contemplated hereby (whether

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or not permitted hereunder), or the use of proceeds therefrom by the Borrower, including
(without limitation) in respect of the funding of any Advance or in respect of any Policy;
excluding, however, (i) Indemnified Amounts to the extent determined by a court of competent
jurisdiction to have resulted from gross negligence, fraud or willful misconduct on the part of
any Indemnified Party (BUT EXPRESSLY EXCLUDING FROM THIS CLAUSE (i), AND
EXPRESSLY INCLUDING IN THE INDEMNITY SET FORTH IN THIS SECTION 11.1,
INDEMNIFIED AMOUNTS ATTRIBUTABLE TO THE ORDINARY, SOLE OR
CONTRIBUTORY NEGLIGENCE OF SUCH INDEMNIFIED PARTY, IT BEING THE
INTENT OF THE PARTIES THAT, TO THE EXTENT PROVIDED IN THIS SECTION 11.1,
INDEMNIFIED PARTIES SHALL BE INDEMNIFIED FOR THEIR OWN ORDINARY,
SOLE OR CONTRIBUTORY NEGLIGENCE NOT CONSTITUTING GROSS NEGLIGENCE,
FRAUD OR WILLFUL MISCONDUCT), and (ii) any Indemnified Tax upon or measured by
net income (except those described in Section 6.1(a)) on any Indemnified Party; including
(without limitation), however, Indemnified Amounts resulting from or relating to:

                               (i)    any representation or warranty made by or on behalf of the
Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor, the Portfolio
Manager, the Guarantor, the Initial Portfolio Manager or Imperial in any Transaction Document
to which it is a party, which was incorrect in any respect when made;

                              (ii)    failure by the Borrower, the Assignor, the Predecessor
Parent Pledgor, a Parent Pledgor, the Portfolio Manager, the Initial Portfolio Manager, the
Guarantor or Imperial to comply with any covenant made by it, or perform any obligation to be
performed by it, in any Transaction Document to which it is a party;

                                (iii) except as expressly set forth in this Loan Agreement, the
failure by the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor, the
Portfolio Manager, the Initial Portfolio Manager, the Guarantor or Imperial to create and
maintain in favor of the Administrative Agent, for the benefit of the Secured Parties a valid
perfected first priority security interest in the Collateral, free and clear of any Adverse Claim;

                               (iv)    the failure by the Borrower to pay when due any Taxes
(including sales, excise or personal property taxes) payable in connection with the purchase and
sale of the Collateral;

                               (v)    the commingling of the Collections with other funds of the
Borrower;

                                (vi)   any legal action, judgment or garnishment affecting, or
with respect to, distributions on any Pledged Policy or the Transaction Documents; and

                              (vii) any failure to comply with any Applicable Law with
respect to any Pledged Policy or any other part of the Collateral.



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If and to the extent that the foregoing undertaking may be unenforceable for any reason, the
Borrower hereby agrees to make the maximum contribution to the payment of the amounts
indemnified against in this Section 11.1 that is permissible under Applicable Law.

                Section 11.2 General Indemnity of the Portfolio Manager. Without limiting any
other rights which any such Person may have hereunder or under Applicable Law, the Portfolio
Manager hereby agrees to indemnify each Indemnified Party, forthwith on demand, from and
against any and all damages, losses, claims, liabilities and related and reasonable costs and
expenses actually incurred, including reasonable attorneys’ fees and disbursements actually
incurred (all of the foregoing being collectively called “Portfolio Manager Indemnified
Amounts”) awarded against or incurred by any of them arising out of or relating to (i) any
representation or warranty made by or on behalf of the Portfolio Manager in any Transaction
Document to which it is a party, which was incorrect in any respect when made and (ii) failure
by the Portfolio Manager to comply with any covenant made by it, or perform any obligation to
be performed by it, in any Transaction Document to which it is a party; excluding, however, (A)
Portfolio Manager Indemnified Amounts to the extent determined by a court of competent
jurisdiction to have resulted from gross negligence, fraud or willful misconduct on the part of
any Indemnified Party (BUT EXPRESSLY EXCLUDING FROM THIS CLAUSE (A), AND
EXPRESSLY INCLUDING IN THE INDEMNITY SET FORTH IN THIS SECTION 11.2,
PORTFOLIO MANAGER INDEMNIFIED AMOUNTS ATTRIBUTABLE TO THE
ORDINARY, SOLE OR CONTRIBUTORY NEGLIGENCE OF SUCH INDEMNIFIED
PARTY, IT BEING THE INTENT OF THE PARTIES THAT, TO THE EXTENT PROVIDED
IN THIS SECTION 11.2, INDEMNIFIED PARTIES SHALL BE INDEMNIFIED FOR THEIR
OWN ORDINARY, SOLE OR CONTRIBUTORY NEGLIGENCE NOT CONSTITUTING
GROSS NEGLIGENCE, FRAUD OR WILLFUL MISCONDUCT). If and to the extent that the
foregoing undertaking may be unenforceable for any reason, the Portfolio Manager hereby
agrees to make the maximum contribution to the payment of the amounts indemnified against in
this Section 11.2 that is permissible under Applicable Law.

                 Section 11.3 General Indemnity of the Initial Portfolio Manager. Without
limiting any other rights which any such Person may have hereunder or under Applicable Law,
the Initial Portfolio Manager hereby agrees to indemnify each Indemnified Party, forthwith on
demand, from and against any and all damages, losses, claims, liabilities and related and
reasonable costs and expenses actually incurred, including reasonable attorneys’ fees and
disbursements actually incurred (all of the foregoing being collectively called “Initial Portfolio
Manager Indemnified Amounts”) awarded against or incurred by any of them arising out of or
relating to (i) any representation or warranty made by or on behalf of the Initial Portfolio
Manager in any Transaction Document to which it is a party, which was incorrect in any respect
when made and (ii) failure by the Initial Portfolio Manager to comply with any covenant made
by it, or perform any obligation to be performed by it, in any Transaction Document to which it
is a party; excluding, however, (A) Initial Portfolio Manager Indemnified Amounts to the extent
determined by a court of competent jurisdiction to have resulted from gross negligence, fraud or
willful misconduct on the part of any Indemnified Party (BUT EXPRESSLY EXCLUDING
FROM THIS CLAUSE (A), AND EXPRESSLY INCLUDING IN THE INDEMNITY SET

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FORTH IN THIS SECTION 11.3, INITIAL PORTFOLIO MANAGER INDEMNIFIED
AMOUNTS ATTRIBUTABLE TO THE ORDINARY, SOLE OR CONTRIBUTORY
NEGLIGENCE OF SUCH INDEMNIFIED PARTY, IT BEING THE INTENT OF THE
PARTIES THAT, TO THE EXTENT PROVIDED IN THIS SECTION 11.3, INDEMNIFIED
PARTIES SHALL BE INDEMNIFIED FOR THEIR OWN ORDINARY, SOLE OR
CONTRIBUTORY NEGLIGENCE NOT CONSTITUTING GROSS NEGLIGENCE, FRAUD
OR WILLFUL MISCONDUCT). If and to the extent that the foregoing undertaking may be
unenforceable for any reason, the Initial Portfolio Manager hereby agrees to make the maximum
contribution to the payment of the amounts indemnified against in this Section 11.3 that is
permissible under Applicable Law.

                                        ARTICLE XII
                                   ADMINISTRATIVE AGENT

               Section 12.1 Appointment. Each Lender hereby irrevocably designates and
appoints the Administrative Agent as the agent of such Lender under this Loan Agreement and
the other Transaction Documents, and each such Lender irrevocably authorizes the
Administrative Agent, in such capacity, to take such action on its behalf under the provisions of
this Loan Agreement and the other Transaction Documents and to exercise such powers and
perform such duties as are expressly delegated to the Administrative Agent by the terms of this
Loan Agreement and the other Transaction Documents, together with such other powers as are
reasonably incidental thereto. Notwithstanding any provision to the contrary elsewhere in this
Loan Agreement, the Administrative Agent shall not have any duties or responsibilities, except
those expressly set forth herein, or any fiduciary relationship with any Lender, and no implied
covenants, functions, responsibilities, duties, obligations or liabilities shall be read into this Loan
Agreement or any other Transaction Document or otherwise exist against the Administrative
Agent.

                Section 12.2 Delegation of Duties. The Administrative Agent may execute any
of its duties under this Loan Agreement and the other Transaction Documents by or through
agents or attorneys-in-fact and shall be entitled to advice of counsel concerning all matters
pertaining to such duties. The Administrative Agent shall not be responsible for the negligence
or misconduct of any agents or attorneys-in-fact selected by it with reasonable care.

                 Section 12.3 Exculpatory Provisions. Neither the Administrative Agent nor any
of its officers, directors, employees, agents, attorneys-in-fact or Affiliates shall be (a) liable for
any action lawfully taken or omitted to be taken by it or such Person under or in connection with
this Loan Agreement or any other Transaction Document (except for its or such Person’s own
gross negligence, fraud or willful misconduct) or (b) responsible in any manner to any of the
Lenders for any recitals, statements, representations or warranties made by the Borrower, the
Assignor, the Predecessor Parent Pledgor, a Parent Pledgor, Imperial, the Initial Servicer, the
Guarantor, the Servicer, the Initial Portfolio Manager, the Portfolio Manager, the Securities
Intermediary or the Custodian or any officer thereof contained in any Transaction Document to
which it is a party or in any certificate, report, statement or other document referred to or

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provided for in, or received by the Administrative Agent under or in connection with, this Loan
Agreement or any other Transaction Document or for the value, validity, effectiveness,
genuineness, enforceability or sufficiency of this Loan Agreement or any other Transaction
Document or for any failure of the Borrower, the Assignor, the Predecessor Parent Pledgor, a
Parent Pledgor, Imperial, the Initial Servicer, the Guarantor, the Servicer, the Initial Portfolio
Manager, the Portfolio Manager, the Securities Intermediary or the Custodian to perform its
obligations hereunder or thereunder. The Administrative Agent shall not be under any obligation
to any Lender to ascertain or to inquire as to the observance or performance of any of the
agreements contained in, or conditions of, this Loan Agreement or any other Transaction
Document, or to inspect the properties, books or records of the Borrower, the Assignor, the
Predecessor Parent Pledgor, a Parent Pledgor, Imperial, the Initial Servicer, the Guarantor, the
Servicer, the Initial Portfolio Manager, the Portfolio Manager, the Custodian or the Securities
Intermediary. The Administrative Agent shall not be required to take any action that, in its
opinion or the opinion of its counsel, may expose the Administrative Agent to liability or that is
contrary to this Loan Agreement or any other Transaction Document or Applicable Law,
including for the avoidance of doubt any action that may be in violation of the automatic stay
under any Debtor Relief Law or that may effect a forfeiture, modification or termination of
property of any Lender.

                 Section 12.4 Reliance by the Administrative Agent. The Administrative Agent
shall be entitled to rely, and shall be fully protected in relying, upon any note, writing, resolution,
notice, consent, certificate, affidavit, letter, telecopy, telex, e-mail or teletype message,
statement, order or other document or conversation believed by it to be genuine and correct and
to have been signed, sent or made by the proper Person or Persons and upon advice and
statements of legal counsel (including, without limitation, counsel to the Borrower, the Portfolio
Manager, the Initial Portfolio Manager, the Initial Servicer, the Guarantor or the Servicer),
independent accountants and other experts selected by the Administrative Agent. The
Administrative Agent may deem and treat each Lender as the owner of its pro rata share of the
Advances for all purposes unless a written notice of assignment, negotiation or transfer thereof
shall have been filed with the Administrative Agent. The Administrative Agent shall be fully
justified in failing or refusing to take any action under this Loan Agreement or any other
Transaction Document unless it shall first receive such advice or concurrence of the Required
Lenders as it deems appropriate or it shall first be indemnified to its satisfaction by the Lenders
against any and all liability and expense which may be incurred by it by reason of taking or
continuing to take any such action. Subject to the Transaction Documents, the Administrative
Agent shall in all cases be fully protected in acting, or in refraining from acting, under this Loan
Agreement and the other Transaction Documents in accordance with a request of the Required
Lenders, and such request and any action taken or failure to act pursuant thereto shall be binding
upon all the Lenders and all future holders of an interest in any of the Lender Notes.

                Section 12.5 Notice of Default. The Administrative Agent shall not be deemed
to have knowledge or notice of the occurrence of any Unmatured Event of Default or Event of
Default hereunder unless the Administrative Agent has received written notice from a Lender
referring to this Loan Agreement, describing such Unmatured Event of Default or Event of

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Default and stating that such notice is a “notice of default”. In the event that the Administrative
Agent receives such a notice, the Administrative Agent shall give notice thereof to the Lenders.
The Administrative Agent shall take such action, subject to the Transaction Documents with
respect to such Unmatured Event of Default or Event of Default as shall be directed by the
Required Lenders.

                 Section 12.6 Non-Reliance on the Administrative Agent and Other Lenders.
Each Lender expressly acknowledges that neither the Administrative Agent nor any of its
officers, directors, employees, agents, attorneys-in-fact or Affiliates has made any
representations or warranties to it and that no act by the Administrative Agent hereinafter taken,
including any review of the affairs of the Borrower, the Portfolio Manager, the Initial Servicer,
the Guarantor, the Initial Portfolio Manager or the Servicer, shall be deemed to constitute any
representation or warranty by the Administrative Agent to any Lender. Each Lender represents to
the Administrative Agent that it has, independently and without reliance upon the Administrative
Agent or any other Lender, and based on such documents and information as it has deemed
appropriate, made its own appraisal of, and investigation into, the business, operations, property,
financial and other condition and creditworthiness of the Borrower, the Portfolio Manager, the
Initial Servicer, the Guarantor, the Initial Portfolio Manager and the Servicer and made its own
decision to make its Advances hereunder and enter into this Loan Agreement. Each Lender also
represents that it will, independently and without reliance upon the Administrative Agent or any
other Lender, and based on such documents and information as it shall deem appropriate at the
time, continue to make its own credit analysis, appraisals and decisions in taking or not taking
action under this Loan Agreement and the other Transaction Documents, and to make such
investigation as it deems necessary to inform itself as to the business, operations, property,
financial and other condition and creditworthiness of the Borrower, the Portfolio Manager, the
Initial Servicer, the Guarantor, the Initial Portfolio Manager and the Servicer. Except for notices,
reports and other documents expressly required to be furnished to the Lenders by the
Administrative Agent hereunder, the Administrative Agent shall not have any duty or
responsibility to provide any Lender with any credit or other information concerning the
business, operations, property, condition (financial or otherwise), prospects or creditworthiness
of the Borrower, the Portfolio Manager, the Initial Servicer, the Guarantor, the Initial Portfolio
Manager or the Servicer which may come into the possession of the Administrative Agent or any
of its officers, directors, employees, agents, attorneys-in-fact or Affiliates.

                Section 12.7 Indemnification. The Lenders agree to indemnify the
Administrative Agent in its capacity as such (to the extent not reimbursed by the Borrower and
without limiting the obligation of the Borrower to do so), ratably according to their outstanding
Advances, from and against any and all liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses or disbursements of any kind whatsoever which may at
any time (including, without limitation, at any time following the payment of all of the Lender
Notes) be imposed on, incurred by or asserted against the Administrative Agent in any way
relating to or arising out of, the Commitments, this Loan Agreement, any of the other
Transaction Documents or any documents contemplated by or referred to herein or therein or the
transactions contemplated hereby or thereby or any action taken or omitted by the Administrative

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Agent under or in connection with any of the foregoing; provided that no Lender shall be liable
for the payment of any portion of such liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses or disbursements resulting solely from the Administrative
Agent’s gross negligence, fraud or willful misconduct. The agreements in this Section 12.7 shall
survive the payment of all of the Lender Notes and all other amounts payable hereunder and the
termination of this Loan Agreement.

                Section 12.8 The Administrative Agent in Its Individual Capacity. The
Administrative Agent and its Affiliates may make loans to, accept deposits from and generally
engage in any kind of business with the Borrower, the Servicer, Imperial, the Portfolio Manager,
the Guarantor, the Initial Servicer, the Initial Portfolio Manager or any of their Affiliates as
though the Administrative Agent were not the Administrative Agent hereunder and under the
other Transaction Documents. With respect to Advances made or renewed by it, the
Administrative Agent shall have the same rights and powers under this Loan Agreement and the
other Transaction Documents as any Lender and may exercise the same as though it were not the
Administrative Agent, and the terms “Lender” and “Lenders” shall include the Administrative
Agent in its individual capacity.

                 Section 12.9 Successor Administrative Agent. The Administrative Agent may
resign as the Administrative Agent upon twenty (20) days’ notice to the Lenders effective upon
the appointment of a successor agent. If the Administrative Agent shall resign as the
Administrative Agent under this Loan Agreement and the other Transaction Documents, then the
Required Lenders shall appoint a successor agent for the Lenders, which successor agent shall be
an Affiliate of the Administrative Agent or a commercial bank organized under the laws of the
United States of America or any State thereof or under the laws of another country which is
doing business in the United States of America and, if such successor agent is not an Affiliate of
the Administrative Agent, together with its Affiliates, having a combined capital, surplus and
undivided profits of at least $100,000,000, which, if such successor agent is not an Affiliate of
the Administrative Agent, shall be reasonably acceptable to the Borrower, whereupon such
successor agent shall succeed to the rights, powers and duties of the Administrative Agent, and
the term “Administrative Agent” shall mean such successor agent effective upon such
appointment and approval, and the former Administrative Agent’s rights, powers and duties as
the Administrative Agent shall be terminated, without any other or further act or deed on the part
of such former Administrative Agent or any of the parties to this Loan Agreement or any holders
of an interest in any of the Lender Notes. After any retiring Administrative Agent’s resignation
as the Administrative Agent, all of the provisions of this Article XII shall inure to its benefit as to
any actions taken or omitted to be taken by it while it was the Administrative Agent under this
Loan Agreement and the other Transaction Documents.

                                          ARTICLE XIII
                                        MISCELLANEOUS

             Section 13.1 Amendments, Etc. No amendment or waiver of, or consent to the
Borrower’s departure from, any provision of this Loan Agreement shall be effective unless it is

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in writing and signed by the Administrative Agent, with the written consent of the Required
Lenders (or, in the case of any amendment, waiver or consent that would result in a decrease in
the interest rate on any Advance, a reduction in the principal amount of any Advance, an
extension of time to make any payment of principal or interest on any Advance, the extension of
the Commitment Termination Date or a release of all or any substantial portion of the Collateral
(other than as expressly contemplated hereunder), by each Affected Party), and then such
amendment, waiver or consent shall be effective only in the specific instance and for the specific
purpose for which it was given. No amendment or waiver of, or consent to the departure of any
other party from, any provision of this Loan Agreement shall be effective unless it is in writing
and signed by an officer of the Borrower or the Portfolio Manager for itself and on behalf of the
Borrower. The Borrower hereby expressly authorizes the Portfolio Manager to execute any such
amendment, waiver or consent on behalf of the Borrower.

                 Section 13.2 Notices, Etc. All notices, directions, instructions, demands and
other communications provided for hereunder shall, unless otherwise stated herein, be in writing
(including electronic mail communication) and sent to each party entitled thereto, at its address
set forth on Schedule 13.2, or at such other address as shall be designated by such party in a
written notice to the other parties hereto. All such notices, directions, instructions, demands and
communications shall be effective: (a) if sent by overnight courier, on the Business Day after the
day sent, (b) if by U.S. mail, three (3) Business Days after being deposited in the mail, (c) if
delivered personally, when delivered, and (d) if sent by electronic mail, when the sender thereof
shall have received electronic confirmation of the transmission thereof (provided that should
such day not be a Business Day, on the next Business Day), except any such notice, direction,
demands or other communications to the Administrative Agent shall only be effective upon
actual receipt.

                Section 13.3 No Waiver; Remedies. No failure on the part of any party to
exercise, and no delay in exercising, any right hereunder or under any Transaction Document
shall operate as a waiver thereof; nor shall any single or partial exercise of any right hereunder
preclude any other or further exercise thereof or the exercise of any other right. The remedies
herein provided are cumulative and not exclusive of any remedies provided by law. For the
avoidance of doubt, the execution by the Lenders and the Administrative Agent of this Loan
Agreement shall not operate as a waiver of any breach by the Borrower, the Initial Portfolio
Manager or the Initial Servicer of any of their respective representations, warranties or
obligations under the Original Loan Agreement, the Original Amended and Restated Loan
Agreement or the other Transaction Documents.

                Section 13.4 Binding Effect; Assignability; Term. This Loan Agreement shall
be binding upon and inure to the benefit of the Borrower, each Lender, the Administrative Agent,
the Portfolio Manager, the Initial Portfolio Manager, the Initial Servicer and the Guarantor, and
their respective successors and assigns, except that no party shall have the right to assign any of
their respective rights, or to delegate any of their respective duties and obligations, hereunder
without the prior written consent of the other parties except as set forth below. The Initial Lender
may assign up to 49.9% of its Lender Notes, Commitment and Advances hereunder, and any

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other Lender may assign all or any portion of its Lender Notes, Commitment and Advances
hereunder, in each case pursuant to an assignment and assumption agreement in substantially the
form attached hereto as Exhibit C (each, an “Assignment and Assumption Agreement”), and in
each case to (1) any Affiliate; or (2) any financial institution or other Person with the approval of
the Required Lenders and, so long as no Event of Default has occurred and is continuing, the
Borrower; provided that (i) any such assignment shall be in an amount of not less than the lesser
of (A) $2,000,000 and (B) one-hundred percent (100%) of such Lender’s outstanding Advances
(provided, however, that in no event shall the Initial Lender fail to constitute at least fifty and
one-tenths percent (50.1%) of the Lenders), (ii) the assigning Lender shall promptly give written
notice of such assignment to the Administrative Agent and the Borrower and (iii) the assignee
agrees in writing to be bound by the provisions of this Loan Agreement. Any attempted
assignment or delegation in breach of this Section 13.4 shall be null and void. Notwithstanding
the foregoing, (i) the Initial Lender or any Affiliate of the Initial Lender that becomes a Lender
hereunder may, without the consent of the Borrower, assign all or any portion of its Lender
Notes, Commitment and Advances hereunder to an Affiliate of the Initial Lender or such
Affiliate or any Person that directly or indirectly owns any equity interest in the Initial Lender or
such Affiliate and (ii) any Lender may, without the consent of the Borrower, (a) assign all of its
Lenders Notes, Commitment and Advances hereunder to any Person if such Lender determines
in its sole and absolute discretion that remaining a Lender hereunder would have an adverse
regulatory impact on such Lender and (b) sell participation interests in its Advances and
obligations hereunder to any Person or pledge any of its rights hereunder to any federal reserve
bank, federal home loan bank or any federal depository institution. Any Lender which assigns
all or any portion of its Lender Notes, Commitment and Advances hereunder pursuant to this
Section 13.4 may retain or assign all or any portion of its interest in the Aggregate Participation
Interest. For the avoidance of doubt, any Person which does not hold any Lender Note, has no
Commitment hereunder and in respect of which no Advances are outstanding, but which has an
interest in the Aggregate Participation Interest, shall not be included in determining the Required
Lenders. Pursuant to Section 13.4 of the original Amended and Restated Loan Agreement, the
Initial Lender represented to the Borrower that, as of the Original Amended and Restated
Closing Date, it was an entity (x) that was a corporation formed under the laws of the United
States or a U.S. state; (y) whose equity owners, were individuals who were citizens or residents
of the United States for U.S. federal income tax purposes; and (z) did not carry on any trade or
business in Ireland through a local branch or agency; and it had no current intention to cease to
be such an entity. The Borrower hereby acknowledges that no Lender is making any
representation other than the representation that was made by the Initial Lender as of the Original
Amended and Restated Closing Date as identified in the immediately preceding sentence;
provided however, if the Initial Lender becomes aware that it ceases to be an entity of the type
described in the immediately preceding sentence or if any Lender that is not the Initial Lender or
an Affiliate thereof becomes aware that it ceases to be (i) an entity that (a) is formed as a
corporation or other body corporate under the laws of the United States or a U.S. state, (b) is
taxed as a corporation on its worldwide income for U.S. federal income tax purposes and (c)
does not carry on any trade or business in Ireland through a local branch or agency, (ii) an
individual who is a citizen or resident of the United States for United States federal income tax
purposes or (iii) an entity that (a) is formed under the laws of the United States or a U.S. state as

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a partnership (or other entity not qualifying under clause (i) above), (b) all of whose partners are
entities described in clause (i) or (ii) above or this clause (iii) or all of the ultimate recipients of
the interest payable under this Loan Agreement are entities described in clause (i) or (ii) above or
this clause (iii) or are Qualified Persons, (c) does not carry on any trade or business in Ireland
through a local branch or agency and (d) whose business is conducted through such entity for
market reasons and not for Irish tax avoidance purposes, within ten (10) Business Days of the
date on which the Initial Lender or such Lender, as applicable, becomes aware that it ceased to
be such an entity, the Initial Lender or such Lender, as applicable, shall provide written notice
thereof to the Borrower, the other Lenders and the Administrative Agent, and, if based on the
written advice from a nationally recognized tax advisor (which written advice the Borrower shall
simultaneously provide or cause to be provided to the Administrative Agent), solely as a result of
the Initial Lender or such Lender, as applicable ceasing to be such an entity, payments of interest
under this Loan Agreement result in the Borrower ceasing to qualify for benefits under the
Treaty, then within sixty (60) Business Days of the Borrower’s receipt of such written notice, the
Borrower may prepay all of the outstanding principal balance of Advances plus accrued but
unpaid interest thereon plus all other Obligations owing by the Borrower (excluding the
Aggregate Participation Interest and including, for the avoidance of doubt, the Amortization
Shortfall Amounts for all of the Shortfall Pledged Policies that remain unpaid). For the
avoidance of doubt, upon such prepayment, the Borrower shall remain obligated to repay the
Aggregate Participation Interest in accordance with the terms hereof. This Loan Agreement shall
create and constitute the continuing obligation of the parties hereto in accordance with its terms,
and shall remain in full force and effect until such time as the Commitments have terminated and
all the principal of and interest on the Advances and all other Obligations are paid in full,
including, without limitation, the Aggregate Participation Interest; provided that rights and
remedies of the Lenders and the Administrative Agent, as applicable, under Article XI and
Section 3.1, Section 3.3 and Section 13.8 shall survive any termination of this Loan Agreement.

           Section 13.5 Governing Law; Jury Trial. (a) THIS LOAN AGREEMENT
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS
OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO BE
PERFORMED IN SUCH STATE, EXCLUDING CHOICE OF LAW PRINCIPLES OF THE
LAW OF SUCH STATE THAT WOULD REQUIRE THE APPLICATION OF THE LAWS OF
A JURISDICTION OTHER THAN SUCH STATE.

                (b)   EACH OF THE PARTIES HERETO HEREBY WAIVES ANY
RIGHT TO HAVE A JURY PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER
SOUNDING IN CONTRACT, TORT OR OTHERWISE ARISING OUT OF, CONNECTED
WITH, RELATING TO OR INCIDENTAL TO THE TRANSACTIONS CONTEMPLATED
BY THIS LOAN AGREEMENT OR THE OTHER TRANSACTION DOCUMENTS.

                Section 13.6 Execution in Counterparts. This Loan Agreement may be executed
in any number of counterparts and by different parties hereto in separate counterparts, each of
which when so executed shall be deemed to be an original and all of which when taken together
shall constitute one and the same agreement. Delivery of an executed counterpart of this Loan

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Agreement by facsimile or transmitted electronically in either Tagged Image File Format
(“TIFF”) or Portable Document Format (“PDF”) shall be equally effective as delivery of a
manually executed counterpart hereof. Any party delivering an executed counterpart of this
Loan Agreement by facsimile, TIFF or PDF shall also deliver a manually executed counterpart
hereof, but failure to do so shall not affect the validity, enforceability, or binding effect of this
Loan Agreement.

                Section 13.7 Submission to Jurisdiction. Each party hereto hereby submits to
the exclusive jurisdiction of the courts of the State of New York and of any Federal court located
in the State of New York (or any appellate court from any thereof) in any action or proceeding
arising out of or relating to this Loan Agreement or the transactions contemplated hereby. Each
party hereto hereby irrevocably waives any objection that it may have to the laying of venue of
any such proceeding and any claim that any such proceeding has been brought in an
inconvenient forum.

               Section 13.8 Costs and Expenses. In addition to its obligations under Section
3.3 and Article XI, the Borrower agrees to pay on demand:

                       (a)     all reasonable and actual costs and expenses incurred by the
Administrative Agent and each Lender in connection with (i) the preparation, execution,
delivery, administration and enforcement of, or any actual or claimed breach of or any
amendments, waivers or consents under or with respect to, this Loan Agreement, the Lender
Notes and the other Transaction Documents (whether or not such amendment, waiver or consent
becomes effective), including, without limitation, the reasonable fees and expenses of counsel to
any of such Persons actually incurred in connection therewith, (ii) the perfection of
Administrative Agent’s security interest in the Collateral, (iii) the maintenance of the Accounts
and the Policy Account, and (iv) the audit of the books, records and procedures of the Portfolio
Manager, the Initial Servicer, the Initial Portfolio Manager, the Guarantor or the Borrower by the
Administrative Agent’s auditors (which may be employees of the Administrative Agent), and

                       (b)      all stamp and other Taxes and fees payable or determined to be
payable in connection with the execution, delivery, filing and recording of this Loan Agreement,
the Lender Notes or the other Transaction Documents, and agrees to indemnify each Indemnified
Party against any liabilities with respect to or resulting from any delay in paying or omission to
pay such Taxes and fees.

                Section 13.9 Severability of Provisions. If any one or more provisions of this
Loan Agreement shall for any reason be held invalid, then such provisions shall be deemed
severable from the remaining provisions of this Loan Agreement and shall in no way affect the
validity or enforceability of other provisions of this Loan Agreement.

          Section 13.10 Entire Agreement. THIS LOAN AGREEMENT AND THE
OTHER TRANSACTION DOCUMENTS EXECUTED AND DELIVERED HEREWITH
REPRESENT THE FINAL AGREEMENT BETWEEN THE PARTIES HERETO AND
THERETO AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR,
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CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.
THERE ARE NO UNWRITTEN ORAL AGREEMENTS AMONG THE PARTIES.

                Section 13.11 Conflicts. With respect to the matters set forth herein, in the event
of any conflict between the provisions of this Loan Agreement and the provisions of any
collateral assignment related to a Pledged Policy, the provisions of this Loan Agreement shall
govern and control.

                 Section 13.12 Confidentiality. No party to this Loan Agreement that receives
any Confidential Information (the “Receiving Party”) from any other party (the “Disclosing
Party”) under this Loan Agreement or any other Transaction Document shall disclose any
Confidential Information to any Person without the consent of the Disclosing Party, other than
(a) to the Servicer, Portfolio Manager, Securities Intermediary, Custodian, the Guarantor, the
Initial Servicer, the Initial Portfolio Manager and the Receiving Party’s Affiliates and its and
their respective officers, directors, employees, trustees, agents and advisors (collectively, its
“Representatives”) and to actual or prospective assignees under Section 13.4, and then only on a
confidential basis, (b) as required by any law, rule or regulation or judicial process, including any
requirements to make disclosures thereof pursuant to applicable securities laws, (c) as requested
or required by any state, Federal or foreign authority or examiner (including the National
Association of Insurance Commissioners or any similar organization or quasi-regulatory
authority) regulating the Receiving Party, the Servicer, Portfolio Manager, Securities
Intermediary, Custodian, the Guarantor, the Initial Portfolio Manager, the Initial Servicer and/or
their respective Affiliates (d) to any rating agency when required by it, provided that, prior to any
such disclosure, such rating agency shall undertake to preserve the confidentiality of any
Confidential Information relating to the Disclosing Party received by it from the Receiving Party,
(e) in connection with any litigation or proceeding to which the Receiving Party, the Servicer,
Portfolio Manager, Securities Intermediary, Custodian, the Guarantor, the Initial Servicer, the
Initial Portfolio Manager and/or their respective Affiliates may be a party, (f) in connection with
the exercise of any right or remedy under this Loan Agreement or any other Transaction
Document, and any related or subsequent sale or other transaction involving any of the Collateral
or other collateral or assets pledged pursuant to any Transaction Document to secure the
repayment of the Advances or (g) if any such Confidential Information becomes publicly
available so long as such availability is not caused by the Receiving Party or any of its Affiliates
or any of their respective officers, directors, employees, trustee, agents and advisors.
Notwithstanding the foregoing, it is expressly agreed that following the Initial Closing Date, the
Original Amended and Restated Closing Date and the date hereof, the Initial Lender may make
or cause to be made a press release, public announcement or publicity statement (including
placing a “tombstone” advertisement) relating to this Loan Agreement; provided that the parties
hereto will consult with each other regarding the content and timing of any such press release,
public announcement or publicity statement.

          Section 13.13 Limitation on Liability. TO THE EXTENT PERMITTED BY
APPLICABLE LAW, AND NOTWITHSTANDING ANY OTHER PROVISION OF THIS
LOAN AGREEMENT OR THE OTHER TRANSACTION DOCUMENTS, THE

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ADMINISTRATIVE AGENT, THE LENDERS OR ANY INDEMNIFIED PARTY SHALL
NOT BE LIABLE TO ANY PARTY FOR ANY INDIRECT, SPECIAL, PUNITIVE OR
CONSEQUENTIAL DAMAGES IN CONNECTION WITH THEIR RESPECTIVE
ACTIVITIES RELATED TO THIS LOAN AGREEMENT, THE OTHER TRANSACTION
DOCUMENTS, THE TRANSACTIONS CONTEMPLATED THEREBY, THE LENDER
NOTES, THE ADVANCES OR OTHERWISE IN CONNECTION WITH THE FOREGOING.
WITHOUT LIMITING THE FOREGOING, THE PARTIES AGREE THAT NEITHER THE
ADMINISTRATIVE AGENT, THE LENDERS NOR ANY INDEMNIFIED PARTY SHALL
BE SUBJECT TO ANY EQUITABLE REMEDY OR RELIEF, INCLUDING SPECIFIC
PERFORMANCE OR INJUNCTION RELATING TO ANY FAILURE BY ANY SUCH
PARTY TO MAKE ANY ADVANCE UNDER, OR SUCH PARTY DECLINING TO MAKE
ANY ADVANCE UNDER, THIS LOAN AGREEMENT. NOTWITHSTANDING
ANYTHING HEREIN TO THE CONTRARY, IN NO EVENT SHALL LENDERS'
LIABILITY FOR FAILURE TO FUND ANY ADVANCE EXCEED THE AMOUNT OF
SUCH ADVANCE AND $20,000,000 IN AGGREGATE FOR ALL ADVANCES.

                Section 13.14 Relationship of Parties. Notwithstanding the obligation of the
Borrower to pay the Aggregate Participation Interest to the Lenders in accordance with the terms
hereof and that Advances made from time to time hereunder may be used to pay Ongoing
Maintenance Costs, the relationship of each Secured Party and the Borrower is solely one of
lender and borrower and this Loan Agreement does not constitute a partnership, tenancy-in-
common, joint tenancy or joint venture between any of the Secured Parties and the Borrower, nor
does this Loan Agreement create an agency or fiduciary relationship between any of the Secured
Parties and the Borrowers. The Borrower is not the representative or agent of any of the Secured
Parties and no Secured Party is a representative or agent of the Borrower. The parties hereto
intend that the relationship among them shall be solely that of creditor and debtor. No Secured
Party shall in any way be responsible or liable for the debts, losses, obligations or duties of the
Borrower.

               Section 13.15 Acknowledgment. By their execution of this Agreement, each of
the Guarantor, the Initial Servicer, the Initial Portfolio Manager and the Portfolio Manager
acknowledge that on May 16, 2014, the Borrower converted from being a Delaware limited
liability company to a Delaware limited partnership and that the Borrower entered into the
Original Loan Agreement when it was previously known as White Eagle Asset Portfolio, LLC, a
Delaware limited liability company.

                Section 13.16 Release. By their execution of this Agreement, each of the
Borrower, the Initial Servicer, the Initial Portfolio Manager, the Portfolio Manager and the
Guarantor does hereby fully and unconditionally release, remise, acquit and forever discharge the
Administrative Agent, each Lender, their respective subsidiaries, divisions, Affiliates, assigns,
predecessor and successor companies, members, employees, officers, directors, shareholders,
independent contractors, agents, attorneys, principals, representatives, transferees, subrogees,
executors, administrators, trustees, fiduciaries, beneficiaries and assigns, and each of them,
including, in the case of natural persons, both in their individual and any corporate,

 SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
    WHITE EAGLE ASSET PORTFOLIO, LP, IMPERIAL FINANCE & TRADING, LLC,
    LAMINGTON ROAD BERMUDA LTD., LNV CORPORATION AND CLMG CORP.
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                              IMPERIAL FINANCE & TRADING, LLC,
                              as Initial Servicer, as Initial Portfolio Manager and
                              as Guarantor


                                        n_ fk--=-
                              Name: t'\l,l'-\<:.Jt4 ~f""rt",:.'L
                              Title:          C.."t= C



                              LAMlNGTON ROAD BERMUDA LTO.,
                              as Portfolio Manager



                              Name:
                              Title:




                              LNV CORPORATION, as Initial Lender



                              Name:
                              Title:


                                                as



                              Name:




SECOND AMENDED AND RESTATED LOAN AND SECURITY AGREEMENT, AMONG
   WHITE EAGLE ASSET PORTFOLIO,  L\1PERIAL FINANCE & TRADING, LLC,
              ROAD BERMUDA      LNV CORPORA TrON AND CLMG CORP.
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                             IMPERIAL FINANCE & TRADING, LLC,
                             as Initial Servicer. as Initial Portfolio Manager and
                             as Guarantor


                             By: _ _ _ _ _ _ _ _ _ _ __
                             Name:
                             Title:


                             LAMJNGTON ROAD BERMUDA LTD.,
                             as Portfolio Manager




                             LNV CORPORATION, as Initial Lender



                             Name:




                             Tide:




SECOND AMENDED AND RESTATED LOAN ANO SECURITY AGREEMENT, AMONG
   WHITE EAGLE ASSET PORTFOLIO, IMPERIAL FINANCE & TRADING, LLC,
Case 18-12808-KG   Doc 24-1   Filed 12/17/18       Page 106 of 251




                          IMPERIAL FINANCE & TRADING,
                          as Initial Servicer, as Initial Portfolio Manager and
                          as Guarantor



                          Name:
                          Title:


                          LAMINGTON ROAD BER.MUDA LTD.,
                          as Portfolio Manager



                          Name:
                          Title:




                          LNV CORPORATION, as Initial Lender




                                            b Cherner
                                        Executive Vice
                                          President

                                   CORP., as



                                        LAS _.;ll'"•~-
                          Title:   ~,.,,,.,VA!   WGL ~JJMNT'
              Case 18-12808-KG   Doc 24-1   Filed 12/17/18   Page 107 of 251



                                                                          Schedule 2.1(a)
                                     Lenders’ Commitments

                      Lender                                    Commitment

LNV Corporation                                                          $370,000,000




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                                                                              Schedule 7.1(a)(i)
                            Collateral Assignment Exception Policy

                                          [Attached]




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                  No   Collateral   Assignment   will   be   filed   for the   following      Retained   Death   Benefit   Policy

5725   Katersky         Harold          JJ7031503               8/15/2008      Lincoln     Natior        10000000.00                14.00%   86.00%
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                                                                                 Schedule 7.1(f)
                                 Policy Delivery Exception Policies

                                            [Attached]




DOC ID - 25503546.4
Schedule          7.1f Duplicate          Policies    Ordered              Not Yet Been              Received
   Last    Name                First   Name                                                  Carrier                         Policy         Type


Arvidson             Myrna                           Phoenix       Life     Insurance        Company                        97526658    Balance Sheet


Berger               Roberta                         Jefferson          Pilot   Life   Insurance     Company               JP5563884    Balance    Sheet

Cohen-Grant          Mignon                          Transamerica               Occioental    Life   Insurance   Company    65067611    Balance Sheet


Harris               Edward                          AXA    Equitable           Life   Insurance     Company                157215769   Balance Sheet


Harris               Edward                          AXA    Equitable           Life   Insurance     Company                157215768   Balance    Sheet


Hartis               Betty                           Jefferson          Pilot   Life   Insurance     Company               JP-5583209   Balance Sheet


Herman               Marvin                          Pacific     Life     Insurance       Company                          VF51657230   Balance Sheet


Laing                Ronald                          AXA    Equitable           Life   Insurance     Company                157223713   Balance    Sheet


Lenick               Thaddeus                        American           National       Insurance     Company                U0579186    Balance    Sheet

Paster                                               John   Hancock             Life   Insurance                            93059001    Balance Sheet
                                                                                                                                                           Case 18-12808-KG




                     Phillip                                                                         Company

Sager                Selma                           AXA    Equitable           Life   Insurance     Company                156231887   Balance Sheet


Miller               Milton                          Pacific     Life     Insurance       Company                          VF51690940   Balance    Sheet
                                                                                                                                                           Doc 24-1




As       of April   29   2013
                                                                                                                                                           Filed 12/17/18
                                                                                                                                                           Page 111 of 251
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                                                                                Schedule 8.1(i)
                            Attempted Rescission Exercise Policies

                                          [Attached]




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                                    Case 18-12808-KG                                                         Doc 24-1                                     Filed 12/17/18                                                               Page 113 of 251




                                                                                                                                                                                Schedule                           8.1i
                                                                                            Policy                 Policy

                                                                 Quote                  Owner         Last         Owner

                         Deal     lypa                                          ID          Name                         Name                                      Issue    Date                                                  Insurance                                                                                   Death        Benefit
                                                            Internal                                            First                     Policy                                                                                                             Company
Life   Settlement      Retained      Death   Benefit                     5725            Katersky               Harold               JJ7031        503              5/15/2008             Lincoln        National                 Life         lnsurancc               ompanj                                              DDDDODD.OD
Life   Settlement      Rotaineo      Death   Benetit

Le     Seltiemont      Retained      Death   Benefit       Too sLadares                            of Imps         iai
                                                                                                                         Holdings          inc       lwpsriai            Fremiam          Finance             LLL       iPF                    sea       imperial         Lite        bettlemente             LLC             ILS         and

Life   Settlement      Retained      Death   Benefit       together              with      1FF        the    Imperial        Parties             were       named          as       partiee        in   the        maBer           styled              Hal                        the Ineured                                  Lavine             as      the
                                                                                                                                                                                                                                                               Katereky                                            Barry

Life   Settlement      Retained      Death   Benefit       Individual                Trustee          of the     Amended            and     Reetated              Hal    Kateraky          Irrevocable               Life         Insurance                  Tract      DTD       8/29/2008             Katereky                   Trust               Hillary


Life   Settlement      Retained      Death   Benefit             Katersky                 Andrew            Katersky         Robin        Katereky           Jeffery       Katereky          and        Dylan         Zetman                   coltectlvely              with     the      Insured           Barry       Lavrne            and          the

                                                           Katersky               Trust         the     Katereky           Parties                 Impenat         Fremium          Finance             LLC          Imperial                  Life      Setttements                  LLC      Bask      of      Utah         and     the        Lincoln

                                                           National              Life      Insurance            Company          Lincoln                  filed    on     May     23       2012         in    the     United              States             District        Court      for    the     Central         District           of

Premium      Finance     Ratained        Death   Benefit   California                   The     Katersky           Parties      sought          equitable          remedies            attorneys              fees          and          monetary               damages


                                                           Dn September                       20       2012       the     Katersky         Parses         and      the     Impenal         Parties           reached                     settlement               to    resolve          all   claims            The    settlement

                                                           provided               that once            the    jointly      submitted            change        of ownership             and     beneficiary                   forms              were         mcorded             by    Lincoln         the    parties          would            file



                                                           stipulation                  of dismissal            with     prejudice         which         would        dismiss       the    case         against             all   defendants                           The    change           forms      that      were           submitted              to


                                                           and     recorded                by         Lincoln       pursuant         to   the      settlement            agreement           designated                 an        enfity              designated             by the       Imperial           Parses           as    the     owner
                                                           and     pnmery                beneficiary            of the      Policy        and      allowed         the     Katemky           Parties          to    dewgnate                      an     irrevocable             beneficiary            entitled         to    $1          mfition             of

                                                           the     $10      million            net     death      benefit        Pursuant            to       toint      motion      for    dismissal               filed         by     all      parties         the     case         was     dismissed            with       pretudice                on

                                                           November                     15 2012
              Case 18-12808-KG               Doc 24-1        Filed 12/17/18         Page 114 of 251



                                                                                                   Schedule 8.1(m)
                                                      Proceedings

On April 18, 2013, Sun Life Assurance Company of Canada ("Sun Life") filed a complaint against Emergent
Capital, Inc., f/k/a Imperial Holdings, Inc. (the “Company”) and several of its affiliates in the United States District
Court for the Southern District of Florida, entitled Sun Life Assurance Company of Canada v. Imperial Holdings,
Inc., et al. ("Sun Life Case"), asserting, among other things, that at least 28 life insurance policies issued by Sun Life
and owned by the Company through certain of its subsidiary companies were invalid. The Sun Life complaint, as
amended, asserted: (1) violations of the federal Racketeer Influenced and Corrupt Organizations ("RICO") Act,
(2) conspiracy to violate the RICO Act, (3) common law fraud, (4) aiding and abetting fraud, (5) civil conspiracy to
commit fraud, (6) tortious interference with contractual obligations, and (7) a declaration that the policies issued
were void. On December 9, 2014, counts (2), (4), (5), (6) and (7) of the Sun Life Case were dismissed with
prejudice. On February 4, 2015, the Court issued an order granting the Company’s motion for summary judgment on
counts (1) and (3), resulting in the Company prevailing on all counts in the Sun Life Case. On July 29, 2013, the
Company filed a separate complaint against Sun Life entitled Imperial Premium Finance, LLC v. Sun Life Assurance
Company of Canada ("Imperial Case"), which was subsequently consolidated with the Sun Life Case. The Imperial
complaint asserted claims against Sun Life for breach of contract, breach of the covenant of good faith and fair
dealing, and fraud. On February 3, 2016, the District Court set a trial date for the Imperial Case for October 31,
2016. On September 22, 2016, the Court granted summary judgment in favor of Sun Life on the entirety of the
Imperial complaint and subsequently entered final judgment to end the case. After denial of its motion to alter or
amend the judgment, the Company filed a Notice of Appeal on January 12, 2017.  Sun Life filed a Notice of Cross
Appeal on January 24, 2017.




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                                                                          Schedule 8.1(q)
                                 Material Adverse Changes

                                            None.




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                                                                                Schedule 8.1(s)
                                        Account Information

         Account Description                     Bank                            Account No.

       Collection Account        Wilmington Trust, National Association          104671-002

       Payment Account           Wilmington Trust, National Association          104671-004

       Borrower Account          Wilmington Trust, National Association          104671-001

       Escrow Account            Wilmington Trust, National Association          104671-003

       Policy Account            Wilmington Trust, National Association          104671-005




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                                                                               Schedule 8.1(u)
                        Unmatured Events of Default and Events of Default

                                             None.




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                                                                             Schedule 8.1(w)
                                 Retained Death Benefit Policies

                                           [Attached]




DOC ID - 25503546.4
                                             Schedule 8.1(w)
                                                                                         Face        Borrower
                                                                                        Amount       Net Death
      Name           Policy Number                      Carrier                                       Benefit
Gladstone, Roslyn    0700019725      William Penn Life Insurance Company of New York    $1,500,000     $690,000
Miller, Bernice      020043650       Sun Life Assurance Company of Canada               $1,600,000    $1,200,000
Cochrane, Marjorie   156-230-892     AXA Equitable Life Insurance Company               $3,000,000    $2,100,000
Cutler, Theodore     5-707-096       John Hancock Life Insurance Company               $15,000,000   $13,950,000
                                                                                                                   Case 18-12808-KG




Farber, Leon         59-395-947      The Manufacturers Life Insurance Company (USA)     $1,000,000     $750,000
Place, James         93845972        John Hancock Life Insurance Company               $10,000,000    $6,000,000
Lemasters, David     020107149       Sun Life Assurance Company of Canada               $1,000,000     $590,000
Lemasters, David     020107150       Sun Life Assurance Company of Canada               $1,000,000     $590,000
                                                                                                                   Doc 24-1




Lemasters, David     020107152       Sun Life Assurance Company of Canada               $2,000,000    $1,180,000
Lemasters, David     020107153       Sun Life Assurance Company of Canada                $500,000      $295,000
Williamson, Betty    55-500-186      John Hancock Life Insurance Company                $5,000,000    $2,400,000
Williamson, Betty    0600041488      Security Life of Denver Insurance Company          $1,500,000     $675,000
Shapiro, Shirley     95772331        John Hancock Life Insurance Company               $15,000,000   $10,950,000
Mashburn, Alice      60125274        Transamerica Financial Life Insurance Company     $10,000,000    $7,000,000
                                                                                                                   Filed 12/17/18




Ernst, James         JF5045650       Lincoln National Life Insurance Company             $500,000      $220,000
                                                                                                                   Page 119 of 251
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                                                                                                    Schedule 8.3(i)
                                       Imperial Finance Information Request

Investigation of Imperial Holdings, Inc.(the "Company") by the Internal Revenue Service Criminal Investigations
division as further described in the Current Report on Form 8-K filed on February 19, 2014 and in the Annual
Report on Form 10-K for the year ended December 31, 2013, filed on March 10, 2014. Holdings has confirmed that
the investigation relates to its former structured settlements business and believes that the investigation is focused on
excise tax obligations, if any. In May 2016, the Company was informed that the investigation had been closed.




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                                                                            Schedule 8.3(l)
                          Imperial Finance Material Adverse Changes

                                            None.




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                                                                         Schedule 13.2

                                   Notice Addresses

CLMG CORP.
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com

*****

LNV Corporation
c/o CLMG Corp.
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com

*****

WHITE EAGLE ASSET PORTFOLIO, LP
c/o AMS Limited
The Continental Building
25 Church Street
PO Box Hm265
Hamilton HMAX
Bermuda
Email: whiteeagle@lamington.ie

With a copy to: COReilly@emergentcapital.com


*****

WHITE EAGLE GENERAL PARTNER, LLC
c/o AMS Limited
The Continental Building
25 Church Street
PO Box Hm265
Hamilton HMAX
Bermuda
Email: whiteeagle@lamington.ie



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With a copy to: COReilly@emergentcapital.com


*****

LAMINGTON ROAD BERMUDA LTD.
c/o AMS Limited
The Continental Building
25 Church Street
PO Box Hm265
Hamilton HMAX
Bermuda
Email: lrbermuda@lamington.ie

With a copy to: COReilly@emergentcapital.com

*****

Lamington Road Designated Activity Company
Grand Canal House
2nd Floor Palmerston House
Fenian Street
Dublin 2
Ireland
Attention: The Directors
Phone: +353 1 905 8020
Email: whiteeagle@lamington.ie

With a copy to: COReilly@emergentcapital.com

*****

IMPERIAL FINANCE & TRADING, LLC
5355 Town Center Rd #701
Boca Raton, FL 33486
Attention: Office of General Counsel
Email: COReilly@emergentcapital.com

*****


MARKLEY ASSET PORTFOLIO, LLC
5355 Town Center Rd #701
Boca Raton, FL 33486
Attention: Office of General Counsel
Email: COReilly@emergentcapital.com


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*****

OLIPP IV, LLC
5355 Town Center Rd #701
Boca Raton, FL 33486
Attention: Office of General Counsel
Email: COReilly@emergentcapital.com



*****

EMERGENT CAPITAL, INC.
5355 Town Center Rd #701
Boca Raton, FL 33486
Attention: Office of General Counsel
Email: COReilly@emergentcapital.com

*****




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                                                         Eligibility Criteria Clause (a) Schedule
                         Eligibility Criteria Clause (a) Policy Exceptions

                                            [Attached]




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                                                                             Eligibility             Criteria      Clause             Exceptions



   Policy           Policy

  Owner             Owner
Last    Name    First   Name         Policy   SI   Issue   Date                                        Insurance          Company                            Death   Benefit              Current    Policy   Owner

panch                            UOSROO8R           8/11/2007     American                             Insurance                                             2000001           00   Imperial         Financing         IC
               Jriiin                                                            t2atinnal                                Cnmpany
Nasr           Adel              01N1401313         8/11/2008     Lincoln     Benefit         Life     Company                                               2500000.00             lmpcral    PFC   Fcaccng      LLC

Glickman       Joel              65083810             5/7/2008    Transamerica               Occidental            Life   Insurance       Company           10000000.00             Imperial   PFC   Financing    LLC

Aghaipour      Said              LB01524310        11/26/2009     North     Amencan            Company              for   Life   and   Health   Insurance    2000000.00             Impenal    PFC   Financing    II    LLC



               As   of April26     2013
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                                                         Eligibility Criteria Clause (c) Schedule
                         Eligibility Criteria Clause (c) Policy Exceptions

                                            [Attached]




DOC ID - 25503546.4
                    Eligibility Criteria Clause (C) Schedule
                  Policy
    Name         Number                      Carrier                  Net Death Benefit
Altro, Stephen   158-210-697   AXA Equitable Life Insurance Company       $5,000,000
                                                                                          Case 18-12808-KG
                                                                                          Doc 24-1
                                                                                          Filed 12/17/18
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                                                        Eligibility Criteria Clause (d) Schedule
                         Eligibility Criteria Clause (d) Policy Exceptions

                                            [Attached]




DOC ID - 25503546.4
                 Eligibility Criteria Clause (D) Schedule
               Policy
    Name      Number                     Carrier                 Net Death Benefit
Barr, Nedra   93-035-467   John Hancock Life Insurance Company       $2,000,000
                                                                                     Case 18-12808-KG
                                                                                     Doc 24-1
                                                                                     Filed 12/17/18
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                                                          Eligibility Criteria Clause (f) Schedule
                          Eligibility Criteria Clause (f) Policy Exceptions

                                             [Attached]




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Eligibility Criteria Clause (F) Schedule
                                           None
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                                                         Eligibility Criteria Clause (g) Schedule
                         Eligibility Criteria Clause (g) Policy Exceptions

                                            [Attached]




DOC ID - 25503546.4
                                                                                                Elibigility           Criteria Clause                                   Exceptions




 Quote                                                              Policy                                                                                                                                                                        21st       21st-                        AVS
                                                                                                                                                                                                                            21st   LE    In                             AVS   LE    in                AVS    Date      of
Internal                           Owner    Last   Name   Owner          First                                                                                  Insurance                               Oeath
                         Policy                                                       Policy                                                                                     Company                        Benefit                       Certificate    Mort                         Mon
                                                                                                                                                                                                                             Months                                      Months                      Underwriting
   ID                                                               Name                                                                                                                                                                         Date       Factor                        Factor




        105   Cohen                                       Alice                  JF5550081          Jefferson               Pilot           Life          Insurance                                                                      75    2/28/2010    46900%                 134   100   00%          2/25/2010
                                                                                                                                                                              Company                    1000000000
        108   Levine                                      Corrisne               JF5548388          Jefferson               Pilot           Life          Insurance                                                                     117                 18900%
                                                                                                                                                                              Company                    10000000.00                           9/30/2009

        113   Schreuders                                  Marten                 VF51474500         Pacific          Life          Insurance                                                                                             92                 234.00%                 78   150   00%
                                                                                                                                                                Company                                   1000000.00                            3/1/2010                                                     3/2/2010

        152   Birndorf                                    Simone                 01N1303673         Lincoln           Benefit                Life          Company                                        5000000.00                    201    6/17/2010    195   00%              211   110.00%         12/28/2011

        238   La                                          Donna                  JP5580951          Jefferson               Pilot           Life          Insurance                                                                     186                 165.00%                198   100.00%
                   Valley                                                                                                                                                     Company                    10000000.00                           6/24/2010                                                    6/30/2010

        437   Candebat                                    lnez                    97518494          Phoenix             Life         Insurance                                                            3000000.00                    118                 39600%                 174   125.00%            5/12/2010
                                                                                                                                                                  Company                                                                      5/11/2010

        935   Arvidson                                    Lounlla                 97526658          Phoenix             Life         Insurance                                                                                          190                 180.00%                177   150.00%
                                                                                                                                                                  Company                                 5000000.00                           4/15/2010                                                    4/20/2010

    1295      Adland                                      Marlene                 65086852          Transamerica                       Occidental                    Life     Insurance                                             213        6/11/2010    117   00%              207   100   00%          6/10/2010
                                                                                                                                                                                              Company     5900000.00
     1399     ToIler                                      William                156222349          AXA                                    Life           Insurance                                                                     191                 135.00%                191   100.00%
                                                                                                              Equitable                                                       Company                     6500000.00                           6/26/2009                                                    6/25/2009
                                                                                                                                                                                                                                                                                                                               Case 18-12808-KG




    2260      Mann         Anico    U0592159              Arnold                  U0592159          American                 National                     Insurance           Company                     7000000.00                     72     8/9/2010    333.00%                 72    90.00%            2/25/2013

    2420      Howard                                      Darlene                  8215592                      Mutual                Life
                                                                                                    Penn                                             Insurance               Company                     450000000                      210    7/28/2008    144   00%              216   100   00%          1/21/2013

    2428      Frumkes                                     Roberta                     1629395       INtl      Life      Insurance                         and                                                                           183                 212   00%              183   140   00%
                                                                                                                                                                  Annuity       Company                  10000000.00                           2/15/2010                                                    2/16/2010

    2852      Feinerman                                                          JJ   7030890       Lincoln           Nat          onal            Life         Insurance                                                               204                 149.00%                202    85   00%           3/8/2013
                                                          Myrna                                                                                                                 Company                  4000000.00                            4/12/2010

    3543      Shechter                                    yehuda                  93534683          John       Hancock                     Life       Insurance              Company                     15000000.00                    140    6/16/2010    433.00%                194   125.00%            6/17/2010

    3738      Jacknow                                     Burton                 JJ   7025422       Lincoln           Nat           onal           Life         Insurance                                                                77                 609.00%                114   200   00%
                                                                                                                                                                                Company                   3600000.00                           11/3/2010                                                    11/5/2010

    4056                                                                         JJ   7031836       Lincoln           National                     Life         Insurance                                 4000000.00                    196    7/12/2010    100.00%                173   100.00%            7/14/2010
              Petrey                                      tugene                                                                                                                Company
                                                                                                                                                                                                                                                                                                                               Doc 24-1




                                                          Anita                                                                                                       Life                                                               94                 230   00%               83   100   00%
    4247      Rothstein                                                           65081812          Transamerica                           Occidental                         Insurance       Company     2000000.00                          12/29/2010                                                    1/30/2013

    4396      Valentine                                   Patricia                65080003          Transamerica                           Occidental                 Life    Insurance                                                 206    5/21/2010    152.00%                192    8500%             2/21/2013
                                                                                                                                                                                              Company     2000000.00

    4459      Friedman                                    Robert                  JJ7047608         Lincoln           National                     Life         Insurance                                 500000000                     112    11/1/2010    368.00%                162   175.00%            11/3/2010
                                                                                                                                                                                Company
              Crandus                                     Robert                  65077275          Transamerica                       Occidental                     Life    Insurance                                                  57                 503.00%                 77   100.00%
    5093                                                                                                                                                                                      Company     1500000.00                           7/21/2010                                                    7/26/2010

    5131                                                  Arlene                  65077550          Transamerica                           Occidental                 Life    Insurance                   4000000.00                    250     5/3/2010     81.00%                226   100.00%              5/5/2010
              Sharkey                                                                                                                                                                         Company

    5293      Yoon                                        Helen                   65086865          Transamerica                           Occidental                 Life    Insurance       Company     2345000.00                    220    2/25/2010     81.00%                198   100   00%          2/25/2010

    5329                                                  David                   65085384          Transamerica                           Occidental                 Life    Insurance                                                 192                 106.00%                168   125   00%           5/5/2010
              Haugen                                                                                                                                                                          Company     4000000.00                           4/29/2010

    5362      Zelin                                       Rita                   JJ   7043718       Lincoln           National                     Life         Insurance                                 2500000.00                     95    9/14/2010    347.00%                130   125.00%            9/21/2010
                                                                                                                                                                                Company
                                                          Adelina                8500063390         Nationwide                      Life          Insurance                               of America                                    194                 108.00%                141   135.00%            3/14/2013
    5371      Gallego                                                                                                                                                   Company                           5000000.00                            5/3/2010

    5666                                                  Deanne                  97526483          Phoenix             Life         Insurance                                                            2000000      00           272        3/10/2010     81.00%                188   100.00%            2/15/2013
              Czapla                                                                                                                                              Company
                                                                                                                                                                                                                                                                                                                               Filed 12/17/18




    6237      Datoli                                      Amira                   65080809          Transamerica                           Occidental                 Life    Insurance       Company     3000000.00                     96   12/29/2010    311.00%                143   100   00%          1/13/2011

    6273                           NWL     0101182112     Richard                101182112          National                Western                   Life        Insurance                                                              93                 287.00%                 93   150   00%           4/9/2010
              Guengerich                                                                                                                                                          Company                 2500000.00                            4/5/2010

    6447      Jacknow                                     Burton                  93855252          John       Hancock                     Life       Insurance                                           2000000.00                     77    11/3/2010    609.00%                114   200   00%          11/5/2010
                                                                                                                                                                             Company
                                                          tlizabeth              01N1391727         Lincoln           Benefit                Life                                                                                       190                 149.00%                188   100.00%            1/12/2012
    6937      Kelly                                                                                                                                        Company                                        5000000.00                           6/24/2010

    7050      Licciardello                                trico                   JJ7028581         Lincoln           National                     Life         Insurance                                10000000.00                     97    3/21/2011    269.00%                100   115.00%            3/25/2013
                                                                                                                                                                                Company
                                                          Serafin                                                           Life                                                                                                        204                 110.00%                204   100   00%
    7320      Castro                                                               6088523          Principal                         Insurance                    Company                                5000000.00                           3/27/2008                                                    7/14/2008

    7806      LaBarbera                                   Lucille                01N1397539         Lincoln           Benefit                 Life                                                                                      154                 316.00%                216   100.00%            S/14/2t110
                                                                                                                                                           Company                                        1800000.00                           5/12/2010

    8194                                                  Adriene                 JJ7034870         Lincoln           National                     Life         Insurance                                 3000000.00                    159     8/3/2010      15.00%               156   125   00%            2/7/21     i13
              Josephson                                                                                                                                                         Company
                                                                                   6096773                                  Life                                                                                                        196                  90.00%                184   100   00%          7/15/2tIOB
    8527      Huntsman                                    Gary                                      Principal                         Insurance                    Company                                9500000.00                           7/17/2008

    8834      Anderson                                    Jean                   U000044574         Union            Central               Life           Insurance                                                                                                                147   125.00%            3/22/2013
                                                                                                                                                                             Company                      4000000.00

    9642      Neacato                                     Victor                   6097407          Principal               Life      Insurance                                                           5000000.00                     75    6/18/2010    620.00%                176   110.00%            2/28/2013
                                                                                                                                                                   Company
                                                          June                   JJ                 Lincoln           National                                  Insurance                                                               215                 135.00%                192   110.00%            1/22/2013
    9698      Kenzer                                                                  7057295                                                      Life                         Company                   9000000.00                           9/18/2007
                                                                                                                                                                                                                                                                                                                               Page 134 of 251




   10430      Sloan                                       Arthur                 8500066500         Nationwide                      Life          Insurance                               of America      4000000.00                     91    8/16/2010    370.00%                107   150.00%            8/20/2030
                                                                                                                                                                        Company

   10464                                                  Harriet                01N1401924         Lincoln           Benefit                 Life                                                        9000000.00                    233    7/19/2010    132.00%                236   100.00%            7/16/2010
              Ribotsky                                                                                                                                     Company

   10700      Aaron                                       Marilyn                 JJ7043346         Lincoln           National                     Life         Inuurance                                 2700000.00                    113    8/16/2010    497.00%                138   185.00%            2/15/2013
                                                                                                                                                                                Company

   10704      Daviu                                       David                   JJ7043741         Lincoln           National                     Life         Insurance                                 2000000.00                     87     9/8/2010    445.00%                108   170.00%            9/16/2010
                                                                                                                                                                                Company
   10769      Doten                                       Beverly                 JJ7020323         Lincoln           National                     Life         Insurance                                                               137                 2S5.00%                165   125.00%            4/12/2010
                                                                                                                                                                                Company                  15000000.00                            4/5/2010

   10864      Peel                                        Carolyn                JJ   7051204       Lincoln           National                     Life         Insurance                                10000000.00                    192    8/26/2008    131.00%                188   100.00%            1/31/2013
                                                                                                                                                                                Company

   10985      Haber                                       tleanor                JJ   7060127       Lincoln           National                     Life         Insurance       Company                   300000000                                                                226   100.00%            1/18/2011
11179   Zagha                                  Nissim               JR    5571708      Jefferson       Pi     ot      Life          Insurance                                                       00   143                 289   00%   145    17500/
                                                                                                                                                          Company                    5000000                    5/17/2010                                    5/11/2010

11196                                          Roberta               JPS563884         Jefferson         Pi           Life          Insurance
        Berger                                                                                                ot                                          Company                    2900000.00          160    6/11/2010    144.00%     170    100   00%    6/10/2010

11246                                          Ronald                     421947       US     fieancia         Life          Insurance                                                                    79
        Oakley                                                                                                                                          Company                      5000000.00                 7/19/2010    359   00%     66   200.00%      7/21/2010

11258                                          Joan                 JJ    7044457      Lincoln      National                 Life
        Hyman                                                                                                                          Insurance             Company                 8000000.00          243    8/26/2010    108   00%   232     85.00%        2/7/2013

11343                                          tdward              01N1273746          Lincoln      Benefit             Life                                                                              85
        Mayers                                                                                                                       Company                                         300000000                    7/6/2010   467.00%     119    125.00/        7/7/2010

11346   Mayers                                 Helaine              JR    5546153      Jefferson       RI     ot      Life          Insurance                                                            132                 165.00%     117    150.00%
                                                                                                                                                          Company                    2500000.00                   7/1/2010                                     7/7/2010

11451                                          Robert                JJ7043605         Lincoln      National                 Life      Insurance
        Haug                                                                                                                                                 Company                 2000000.00          109     8/4/2010    213.00%     100    150.00%        8/6/2010

11563   Mishan                                 Janec                 9354u243          John      Hancock              Life          Insurance                                                             93                                    100.00%
                                                                                                                                                         Company                    10000000.tJtJ               6/17/2010    383   00%   152                 5/26/2010

11603   Albright                               Inger                 97528955          Phoenis        Life      Insurance                                                                                272                 108   00%   216    100.00
                                                                                                                                          Company                                    5000000.00                 3/15/2010                                      3/7/2013

11644   Gustafson                              tlden              208277781MLU         Metropolitan                  Life       Insurance                Company                    1000000000                                           168    125.00%     12/30/2010

11681   Lack                                   Julia               01N1408137          Lincoln      Benefit             Ufe                                                                              140                 192.00%     156    125.00
                                                                                                                                     Company                                         8000000.00                10/11/2010                                   10/19/2010

11718   Peel                                   Carolyn              JJ    7041394      Lincoln      National                 Life      Insurance                                                         192                 131.00%     188    100.00/
                                                                                                                                                             Company                1000000000                  8/26/2008                                    1/31/21113

11719   Lewis                                  Charles                   6100329                      Life       Insurance                                                                                89
                                                                                       Principal                                          Company                                   10000000.00                  8/6/2010    390.00%       88   225.00       8/13/2010

11786   Gill                                                         93222222          John      Hancock              Life          Insurance                                                            158                 162.00%     179    100.00%
                                               Mary                                                                                                      Company                    10000000.00                   8/9/2010                                   8/13/2010

11788   Gill                                                                           John                           Life
                                               Mary                  93299071                    Hancock                            Insurance            Company                    10000000.00          158      8/9/2010   162.00%     179    100   00%    8/13/2010

12221                                          Arline                15641231          Massachusetts                    Mutual            Life                                                           181                       00%
        Young                                                                                                                                           Insurance      Company       5000000.00                 9/28/2010    117         179    100   00%    10/1/2010

12261   Kimmel                                 Lenore              01N1268527          Lincoln      Benefit             Life                                                         2000000.00          112                 171   00%     93   150.00/a
                                                                                                                                     Company                                                                   12/29/2010                                    1/17/2011

12265   Cohen                                  Moshe                6500065520         Nationwide             Life           Insurance                                of America     6000000.00          184    6/25/2010    235   00%   175    200.00/a     6/29/2010
                                                                                                                                                   Company
12288   Kantor        LBL    01N12S9324        Carmela             01N1259324          Lincoln      Benefit             Life                                                                             124                 230.00%     125    150.00%
                                                                                                                                     Company                                         7000000.00                 1/21/2010                                    1/19/2010

12506   Kerner                                 Ooris                U-7048203          Lincoln      National                 Life      Insurance                                     1400000.00          196   10/12/2010    126.00%     198    100   00/   10/18/2010
                                                                                                                                                                                                                                                                          Case 18-12808-KG




                                                                                                                                                             Company
12681   Grossman                               Barbara               65081734          Transamerica                  Occidental                  Life     Insurance                                       40                 104.00%     152    100.00/a
                                                                                                                                                                         Company     3000000.00                 2/10/2010                                    3/12/2010

12686   Namon                                  June                  65077586          Transamerica                  Occidental                  Life     Insurance                  1750000.00           83   12/29/2010    385   00%   110    US    00%    1/18/2013
                                                                                                                                                                         Company
12689   Turovitz                               Marlene               6S077166          Transamerica                  Occidental                  Life                                                    175                       00%
                                                                                                                                                          Insurance      Company     3000000.00                12/10/2009    117         188    100.007     12/11/2009

12690   Drolson                                Signe      Luise      6S079284          Transamerica                  Occidental                  Life     Insurance                  4000000.00          189    2/12/2010      99.00%    188    100.00%      7/12/2010
                                                                                                                                                                         Company
12696   Friedman                               Robert                65087433          Transamerica                  Occidental                  Life                                                    222
                                                                                                                                                          Insurance       Company    8000000.00                 5/11/2010      90.00%    200    10000/a        5/6/2010

12697   Klienbach                              Donald                65088543          Transamerica                  Occidental                  Life     Insurance                                      128                 330.00%     160    125   00%
                                                                                                                                                                          Company    200000000                  7/16/2010                                    7/27/2010

12698   Glickman                               Joel                  65083810          Transamerica                  Occidental                  Life     Insurance                 10000000.00          164     4/8/2010    145.00%     182    100.00%      4/15/2010
                                                                                                                                                                          Company
                                                                                                                                                                                                                                                                          Doc 24-1




1270S   Tomb                                                                                                         Occidental                  Life                                                    219                   81.00%
                                               Marilyn               6S073380          Transamerica                                                       Insurance      Company        826000.00               3/15/2010                207    100.00%      3/10/2010

12774   Schwab                                 Jackie               JJ    7056827      Lincoln      National                 Life      Insurance                                                         232                   81.00%    207    100   00%
                                                                                                                                                             Company                20000000.00                 6/23/2008                                   11/29/2010

12882   Thomas                                 Bernice              JJ    703SS81      Lincoln      National                 Life      Insurance                                     4000000.00          143      7/6/2010   149   00%   143    100.00/a     7/12/2010
                                                                                                                                                             Company
12888   Schwartz                               Gordon                97530830          Phoenix       Life      Insurance                                                                                 108                 548   00%   162    1S0.00/
                                                                                                                                          Company                                    5000000.00                 10/6/2008                                   12/17/2008

12912   Kratzer                                Janet                JJ    70S0328      Lincoln      National                 Life      Insurance                                                         208                   81.00%    188    100.00/      9/13/2010
                                                                                                                                                             Company                 2000000.00                   9/7/2010

12913   Persion                                Betty                LUA413140          West      Coast        Life           Insurance             Company                           4000000.00          139      7/9/2010   428.00%     226    100.007        7/9/2010

12952   Gill                                                         93299063          John      Hancock              Life          Insurance                                                            158                 162.00%     179    100   00/
                                               Mary                                                                                                      Company                     600000000                    8/9/2010                                   8/13/2010

13004                                          Carol                158    202   884   AXA                            Life          Insurance                                        700000000            00   10/11/2010    581.00%     192    125.00/a    10/18/7010
        Wright                                                                                 Equitable                                                  Company
13017                                                                6SOB1O3S          Transamerica                  Occidental                  Life     Insurance                                      131                 197.00%     130    125.00%
        Oroege                                 Shirley                                                                                                                   Company     2128000.00                 6/29/2010                                      7/1/2010

13018   Larkins                                Frank                 65085648          Transamerica                  Occidental                  Life     Insurance                                      166                 129   00%   156    100.00%      5/10/2010
                                                                                                                                                                         Company     1955000.00                 5/11/2010
                                                                                                                                                                                                                                                                          Filed 12/17/18




13020   Schneider                              James                 6S087341                                        Occidental                  Life     Insurance                                      201                 19S   00%   212    12S   00i
                                                                                       Transamerica                                                                      Company     700000000                   4/9/2010                                    4/15/2010

13182                                                                6S0847SS          Transamerica                  Occidental                  Life     Insurance                                      138                 189.00%     13S    115.00W      3/70/2013
        Deininger                              Mary                                                                                                                      Company    1000000000                 10/28/2010

13184   Gelber                                 Celia                 97524610          PHL     Variable          Insurance                Company                                    1500000.00          117     4/5/2010    269   00%   143    100.007       4/9/2010

13227   Nourian                                Krikor               0000044852         Union      Central             Life          Insurance                                                            164                 12S.00%     103    175.00/
                                                                                                                                                         Company                     37S0000.00                10/26/2010                                    1/14/2011

13420   LaTreill                               Rene                  JJ7021304         Lincoln      National                 Life      Insurance                                                         196                 100.00%     173    100.00%      6/29/2010
                                                                                                                                                             Company                 8000000.00                 6/24/2010

13640   Trager                                 Stanley                   6094913       Principal      Life       Insurance                                                           3125000.00           82     8/5/2010    433.00%       79   17S.001      3/19/2012
                                                                                                                                          Company
13641   Keiser                                                       65068250          Transamerica                  Occidental                  Life     Insurance                                       86                 292.00%      90    12S   00%
                                               tvelyn                                                                                                                    Company     9700000.00                 4/29/2010                                    4/30/2010

13642   Edwards                                                      6S073389          Transamerica                  Occidental                  Life     Insurance                  7784000.00          186    2/12/2010    100   00%   147    100.006      2/15/2013
                                               Gary                                                                                                                      Company
13645   Glazer                                 Barbara               65081741          Transamerica                  Occidental                  Life                                                    16S                 248   00%   174    12S.00%
                                                                                                                                                          Insurance      Company     2000000.00                   3/4/2010                                  12/15/2010

13646   Mastroianni                            Ronald                65063171          Transamerica                  Occidental                  Life     Insurance                  9800000.00          12S    3/26/2010    220.00%     147    100.00       3/31/2010
                                                                                                                                                                         Company
13649   Goldman                                Moishe                65074608          Trunsamerica                  Occidental                  Life     Insurance       Company    8412000.00          107    5/11/2010    206.00%       98   100.00/      2/1S/2013

13650   GolIub                                 Enid                  6S08230S          Transamerica                  Occidental                  Life     Insurance                                      182                 138.00%     198    100.00         4/9/2010
                                                                                                                                                                          Company    2000000.00                  4/5/2010
                                                                                                                                                                                                                                                                          Page 135 of 251




136S3                       Trans   6S07B496   Gerald                65078496          Transamerica                  Occidental                  Life     Insurance      Company     2500000.00           63   11/23/2009    212.00%     177     8S.00/      3/1S/2013
        Rosenberg

13656   Wolf                                   Dolores               65089270          Transamerica                  Occidental                  Life     Insurance                 10000000.00          uS     3/18/2010    104   00%   216    100.00/      3/18/2010
                                                                                                                                                                         Company
13661                                                                6S069863          Transamerica                  Occidental                  Life                                                    134
        Heimburger                             Jorgen                                                                                                     Insurance      Company     5000000.00                   1/4/2010   190.00%     13S    125.00%     12/10/2009

13662                                          Sherman               6S077728                                        Occidental                  Life                                                    125                 227.00%     135    12S.00%
        Rothberg                                                                       Transamerica                                                       Insurance      Company     3000000.00                10/28/2010                                    11/3/2010

13730   Cho                                    Robert                6S080B3S          Transamerica                  Occidental                  Life     Insurance                                      206                 100.00%     156    100.C        2/21/2013
                                                                                                                                                                         Company     1100000.00                 5/11/2010

13731                                          Nga      Kinh         65082987          Transamerica                  Occidental                  Life     Insurance                  1000000.00          224    2/23/2010    130   00%   188    100   00%    1/31/2013
        Cong       Huyen                                                                                                                                                 Company
13733                                          Bradford              6S067896          Transamerica                  Occidental                  Life     Insurance                                      137                 240.00%     1S9     BS   00%
        Kruger                                                                                                                                                           Company     3000000.00                 2/13/2010                                    1/28/2013
13734   Lewis                           60146444             Transamerica                        Dccidental                 Life    Insurance
                          Roy                                                                                                                       Company                10000000.00            191     6/1//2010     90D0/      164    100.00%      6/17/2010

        Mills
13737                     Mary          65077093             Transamerica                        Occidental                 Life    Insurance                                                00   192                 181   007    159
                                                                                                                                                    Company                 1172500                        7/1/2010                       135.00%      1/30/2013

13745   Wong              Cynthia       65074126             Transamerica                        Occidental                 Life    Insurance                               5200000.00            230                       00/    202     85.00%
                                                                                                                                                    Company                                               5/28/2010                                     2/7/2013

13751   Morrow            Dennis      VPS1778430             Pacific      Life           Insurance                                                                                                144
                                                                                                                   Company                                                  3000000.00                     8/6/2008   100.00%      104    125.00%      1/18/2013

13757   Fiore             Patricia     JJ7035607             Lincoln        National                     Life      Insurance                                                                      195                 149.00%      159
                                                                                                                                      Company                               5000000.00                   10/13/2010                       13S.DD%      1/29/2013

13778   Kelly             James         6S076428             Transamerica                        Occidental                 Life    Insurance       Company                 8000000.00            224                  90   00%    182    100.00%      5128/2010
                                                                                                                                                                                                          5/25/2010

13781   Rothbard          Morton        6507169S             Transamerica                        Occidental                 Life    Insurance                                                     111
                                                                                                                                                    Company                10000000.00                     8/9/2010   200   00%    127    125.00%      8/10/2010

13814   Connors           William      1S9204969             AXA                                  Life          Insurance                                                                                                          168    110.00%
                                                                       Equitable                                                   Company                                  3000000.00                                                                 2/27/2013

13875   Mathewson         Jeremiah     JJ   7052445          Lincoln        National                     Life      Insurance                                                500000000                                              200    100   00%   12/20/2010
                                                                                                                                      Company
13942   Bascow            Glen          65075931             Transamerica                        Occidental                 Life    Insurance                                                     27S                  90   00%    247
                                                                                                                                                    Company                10000000.00                    2/13/2010                       100.00%      2/16/2010

13945   Reif              Jocelan       65074934                                                                            Life
                                                             Transamerica                        Occidental                         Insurance       Company                 2025000.00            166     4/29/2010    81.00%      1S2    10000%        5/3/2010

13958   Cowden            Ann           65085465             Transamers                          Occidental                 Life    Insurance                                                     102                 384.007
                                                                                                                                                    Company                 4200000.00                    4/14/2010                156    12S.OD%      4/22/2010

13959   Watson            Howard        6S076S86             Transamers                          Occidental                 Life    Insurance                               3000000.00            123     3/10/2010   324   00%    143    125.00%      1/12/2011
                                                                                                                                                    Company
13988   Rehner            Ruth         JJ   7044472          Lincoln        National                     Life      Insurance          Company                               1800000.00            110     9/21/2010   343   00%    147    12S.OD%      10/5/2010

14009   Drr               Abe          1S8224779             AXA                                  Life          Insurance                                                                           89                42S.00%      100    115.00%
                                                                       Equitable                                                   Company                                  300000000                     1/13/2010                                    1/30/2013

14160   Frojwovits        Rose         JJ   7046873          Lincoln        National                     Life      Insurance                                                                      132    11/12/2008   135.00%        96   125.00%     12/14/2010
                                                                                                                                      Company                               S000000.D0
14464                     Eleanor        4501434             ReliaStar            Life                                                     of          York
        Stengel                                                                                  Insurance             Company                   New                        S000000          DO   128     3/19/2008   168.00%      107    12000%       1/23/2013

14726   Kerns             Lee          JJ   7026404          Lincoln       National                      Life      Insurance                                                                 00   159                 117.00%      161    100   00%
                                                                                                                                      Company                               4500000                       8/14/2008                                     6/6/2011

15107   Guglielmi         Rosalie      V2022973              Pruco       Life          Insurance                                                                           10000000.00             90     4/15/2010   464   00/    132    150.00%      4/21/2010
                                                                                                                  Company
15384   Yurowitz                       94   143    377       John       Hancock                  Life           Insurance                                                                         1SB                 200   00%    107    200.00%
                          Andy                                                                                                     Company                                 10000000.00                    7/14/2010                                    2/12/21113
                                                                                                                                                                                                                                                                    Case 18-12808-KG




16403   Studnik           Haviva       JJ   7057430          Lincoln        National                     Life      Insurance                                                                      129                 340.00%      125    200.00%      2/1S/2Iii3
                                                                                                                                      Company                               250000000                     9/28/2010

16418                MD   Mohsen       JJ7037094             Lincoln        National                     Life
        Dlamali                                                                                                    Insurance          Company                               7000000          00   760    11/21/2008    90   110%   200    115   00%     6/1/2011

17380                     Harold         4010236             ReliaStar            Life       Insurance                                                                                            133                 192.007      122    100   00%
        Spink                                                                                                          Company                                              2000000.00                    3/11/2009                                    2/13/2013

17566   Rerne             Jack           6110804                                  Life       Insurance                                                                      4000000.00                                             177     BS.00%      2/26/2013
                                                             Principal                                                Company
17861                     Leonard      1S8223944             AXA                                  Life          Insurance                                                                                                          195     85   00%
        Levy                                                           Equitable                                                   Company                                  5000000.00                                                                 3/21/2013

18504   Much              Hubert       JJ   7090029          Lincoln        National                     Life      Insurance                                                3000000.00            108     3/17/2008   31100%         86   41S.00%      1/31/2011
                                                                                                                                      Company
19345   Rozin                         01N1446026             Lincoln        Benefit                Life                                                                                      00                                    138     9000%
                          Joseph                                                                                 Company                                                   10000000                                                                    2/22/2013
                                                                                                                                                                                                                                                                    Doc 24-1




19808   Reppas            Katherine   DiN    1426651         Lincoln        Benefit                Life                                                                     6500000.00            141     5/19/2010   213.00%      112    165.00%      2/14/2013
                                                                                                                 Company
19809                     Katherine   01N1426288             Lincoln        Benefit                Life                                                                                           141                 213.00%      112    16S   00%
        Reppas                                                                                                   Company                                                    6500000.00                    5/19/2010                                    2/14/2013

19810                     Katherine   DiN 1426901            Lincoln       Benefit                 Life                                                                     6S0000000             141     5/19/2010   213   00/    112    16S.00%      2/14/2013
        Reppas                                                                                                   Company

19856   Fernandez         Benito         4010545             ReliaStar            Life       Insurance                                                                      S000000.OD                                             188    135   00%     2/7/2013
                                                                                                                       Company
20145   Rozin                          JJ   7090709          Lincoln        National                     Life      Insurance                                                                                                       138     90.00%
                          Joseph                                                                                                      Company                              10000000.00                                                                 2/22/2013

20209   Weinsaft          Leonard     8S00133340             Nationwide                   Life           Insurance                               of America                                       157                 260.00%      112    27500%
                                                                                                                              Company                                       7000000.00                    3/14/2009                                    7/18/2012

        Dale                                                                      Life                                                                                                                                             161    100.00%
20296                     Nancy          4010819             ReliaStar                           Insurance             Company                                              3000000.00                                                                10/11/2011

20398   Nusiw             Marcia         6116121                                  Life       Insurance                                                                                                                             222     85   00%
                                                             Principal                                                Company                                               4000000.00                                                                  3/8/2013

20447   Wolis             Janet         65069730             Transamerica                        Occidental                 Life    Insurance       Company                 400000000             152     S/13/2010   212   00/    183    125.00%      S/26/2009

21655   Neuss                          JJ   7097975          Lincoln       National                      Life                                                                                                                      210    12S.D0%
                          Helga                                                                                    Insurance          Company                               800000000                                                                  7/29/2011
                                                                                                                                                                                                                                                                    Filed 12/17/18




22236   Brunetti          Estelle        6112214                                  Life       Insurance                                                                                                                             147    125.00%      7/21/2011
                                                             Principal                                                Company                                               5000000.00
                          Lawrence     159208685             AXA                                  Life                                                                                                                             159    110.00%
22337   Eiglarsh                                                       Equitable                                Insurance          Company                                  6000000.00                                                                  3/4/2013

23852   Rubinstein        Martin       JJ   7119891          Lincoln        National                     Life      Insurance                                                                      123                 150.00%        96   12S.00%      9/29/7011
                                                                                                                                      Company                               2000000.00                   12/29/2008

                                                                           Life                                                            of           York                                       3D                 268.00%      164    100.00%
24614   ltzkowitz         Joseph            7004389          Lincoln                     And            Annuity         Company                  New                        1500000.00                     8/6/2010                                    8/16/2010

25038   Sarnacki          Carl           6118S27                                  Life       Insurance                                                                                            164                 145   007    164    100.00%     11/23/2008
                                                             Principal                                                Company                                               5000000.00                    2/16/2009

25248                     Joan           4010998             ReliaStar            Life       Insurance                                                                      3000000.00            160     2/22/2008   176   00%    179    100.00%       1/4/2010
        Schepps                                                                                                        Company
                          Lillian        6110977                                  Life       Insurance                                                                                                                             216    100.00%        2/8/2013
25986   Berger                                               Principal                                                Company                                              1000000000

26030   Nurik                          JJ7029621             Lincoln        National                     Life      Insurance                                                                        69                379.00%      108    100.00%      9/30/2010
                          Marilyn                                                                                                     Company                               2500000.00                   12/10/2010

26144   Howard            Sheila      01N1308807             Lincoln        Benefit                Life          Company                                                    3000000.00            172      6/7/2010   163.00%      184     85.00%       2/7/2013

26246   Ehrlich           Marcia         4S015S6             ReliaStar            Life           Insurance                                                                                                                         188    100.00%      1/1S/2013
                                                                                                                       Company                                              200000000

26668                     Said        LB01524310             North       American                                             for   Life   and     Health      Insurance    200000000                                              237    100.00%      1/12/2010
        Aghaipour                                                                                        Company

27205   Richwan           Michael     DiN 1455059            Lincoln       Benefit                 Life          Company                                                    100000000                                                96   190.00%      1/28/2013
                                                                                                                                                                                                                                                                    Page 136 of 251




27287   Holt              Jo             4011026             ReliaStar            Life           Insurance                                                                                        250                  9000        198    100.00%      6/22/2011
                                                                                                                       Company                                              5000000.00                   10/29/2008

2/430   Buchanan          William      94   5b7    as        John       Hancock                  Life         Insurance                                                                                                            2012   100.00%
                                                                                                                                   Company                                  BDIJU1JotI.tJu                                                             1/12/2010

27973   Heister                       1S9    219       085   AXA                                  Life          Insurance                                                                                                          200    100.00%
                          Henry                                        Equitable                                                   Company                                  1000000.00                                                                 2/11/2013

28102   Harber            Walter      9500227350             Nationwide                   Life          and                        Insurance                                                                                       191    100   00%    1/17/2013
                                                                                                                  Annuity                          Company                 10000000.00

28991   Arlen             Myron          1650365             Security           Life       of Denver                  Insurance                                             5000000.00                                             13S    12S   00%     3/5/2010
                                                                                                                                           Company
29156   Holt              Jo             6120222                                  Life                                                                                                            250                  90   00%    198    100.00%      6/22/2011
                                                             Principal                       Insurance                Company                                               5000000.00                   10/29/2008

30808   Politis           Alice        JJ   7105S14          Lincoln        National                     Life      Insurance                                                                      187                 180.00       183    12500%      10/18/2010
                                                                                                                                      Company                               3000000.00                   11/30/2009
31622   Josephs                            Florence         4011644        ReliaStar          Life           Insurance                     Company                               3000000       00                                     192    10000%       5/22/2010

31805   Harber                             WaIter           4011233        ReliaStar          Life           Insurance                                                                                                                191
                                                                                                                                           Company                              10000000.00                                                  100.00%      1/17/2013

31854   Lenick                             Thaddeus     00579186           American             National                         Insurance            Company                    2250000.00         142    4/14/2010       90   00%   119    125.00%      5/13/2010

32028   Marnhel                            Arnold      JJ    7083796                    Nat
                                                                           Lincoln                    onal               Life          Insurance        Company                 10000000.00          86     8/2/2011     350    00/    85    175   00%     8/1/2011

32446                                      Robert           6097203                          Life           Insurance                                                                          00   155                  150.00%      156
        MacGregor                                                          Principal                                                       Company                               8000000                   5/26/2010                         100.00%      7/27/2010

32631   Salomon                            Joan             4011502        ReliaStar          Life           Insurance                                                                                                                170    115   00%
                                                                                                                                           Company                              10000000.00                                                               4/20/2011

33418   Katz                               Alan        II    7134225       Lincoln      National                         Life          Insurance        Company                  6000000.00         127   11/20/2009     253.00%      123    150.00%     10/20/2010

33592   Furman                             Richard          u120972                          Life           Insurance                                                                                                                 209    100.00%
                                                                           Principal                                                       t.ompany                             10OtRJIJ1JIJ   00                                                           6/9/2011

33794   Hackett                            Malcolm      97526660           Phoenie          Life          Insurance                                                              5000000.00         132    3/25/2010     370    009   145    175.00%       4/5/2010
                                                                                                                                          Company
34084   Damone                                        160     212    680   AXA                                   Life
                                           Joseph                                    tquitable                                  Insurance            Company                     3200000.00         189    7/19/2010     165    00/   194    125   00%   10/15/2010

34141   Cornelius                          Bernice     7UA417228           West       Coast           Life          Insurance                                                                       185                    81   00%   134    100.00%
                                                                                                                                                 Company                         100000000                  9/2/2009                                      7/20/2010

34415   Hamilton                           Cornelia         4010111        ReliaStar          Life           Insurance                                                           7000000.00         151    5/17/2011     180.00%      179    100.00%        6/9/2011
                                                                                                                                           Company
34543   Johnston                           Betsy            4010479        ReliaStar          Life           Insurance                                                                              205                    95.00%     198    100.00%
                                                                                                                                           Company                               200000000                   5/5/2008                                    11/15/2010

34678   Gora                               Paula       61    089    585    New       York          Life          Insurance                  and                                                      98                  26400/a      108    100.00%      1/31/2011
                                                                                                                                                    Annuity       Corporation    5000000.00                6/17/2010

35079                                      Howard       M743197                                    Life
        Spink                                                              Genworth                               Insurance                  Company                             2000000.00                                           156    100.00%       4/2/2013

35646   AlIen                                           97522952           Phoenis          Life          Insurance                                                                                 147                  189    00%    84    400.00%
                                           Peggie                                                                                         Company                                500000000                 5/29/2010                                        7/2/2010

35672   Lucchi                             Sesto        65073386           Transameriia                          Occidental                  Life     Insurance                  220000000           52   10/11/2010     302.00%       50    150.00%      11/8/2010
                                                                                                                                                                     Company
35758                                                 03NC026834           Allstate      Life             Insurance                                                                                 102                  445.00%      120    215.00%
        Shapiro                            Joyce                                                                                          Company                                300000000                10/25/2010                                      1/21/2011

36116   Marrone                            Veneice     JF    5555795       Jefferson          Pilot               Life          Insurance                                                            34                 291600/        75    90000%       11/5/2010
                                                                                                                                                      Company                    2100000.00                11/8/2010

        Cohen         Grant                             65067611                                                                             Life                                                                        248           90
36467                                      Mignon                          Transamere                            Occidental                           Insurance      Company     1000000.00          95     4/9/2010            00/          125.00%        1/5/2011
                                                                                                                                                                                                                                                                       Case 18-12808-KG




36993   Lake                               Bruce       157220591           AXA                                   Life           Insurance                                                           125                  200.00/      135    125   00%
                                                                                     tquitable                                                       Company                     5000000.00                3/25/2010                                      3/30/2010

359Q4 Marks                                Barry        97523690           Phoenix          Life          Insurance                                                              5000000.00         147     4/8/2010     311.00%      156    155.00%      4/13/2010
                                                                                                                                          Company
37097   Ministrelli                        Florine     JJ    7045049       Lincoln      National                         Life          Insurance                                                    201                  151.00%      198    115.00%
                                                                                                                                                        Company                 10000000.00                 5/6/2011                                      2/10/2011

37937   Reach                              Carrie     160     220 668      AXA       fquitable                   Life           Insurance                                        2000000.00                                           256    100.00%      3/21/2011
                                                                                                                                                     Company
38231   Sasoni                             Michael    UMOOSBS3OL           American             General                         Life      Insurance       Company                7000000.00         133     8/5/2010     399.00%      131    22500%       2/22/2011

38438   Oristano                           Jane        JP5555866           Jefferson          Pilot               Life          Insurance                                                           119                  319.00/      150    150.00%     11/30/2010
                                                                                                                                                      Company                   1000000000                 11/1/2010

38439   Ye                                 Zhi        8500086250           Nationwide                     Life          and            Annuity      Insurance        Company    10000000.00         132     3/5/2010     493.00%       98    525.00%     11/11/2010
                                                                                                                                                                                                                                                                       Doc 24-1




38442                                      Oavid       JJ    7041286       Lincoln      National                         Life          Insurance                                                     94                  835.00%      130    325.00%
        Shepard                                                                                                                                         Company                  5000000.00                10/7/2010                                     10/11/2010

38451   Matz          LBL     01N1343229   Ruben      01N1343229           Lincoln      Benefit                    Life                                                         10000000.00         172     7/7/2010     259.00%      196    150.00%       7/8/2010
                                                                                                                                 Company
                                           Helen       JJ    7059912       Lincoln      National                                                                                                    103                  173.009       95    100.00%
39277   DeWitty                                                                                                          Life          Insurance        Company                  9000000.00                 2/3/2011                                      7/14/2011

39658   Gonsalves                          Bennie      JJ7060894           Lincoln      National                         Life          Insurance                                                     81   12/28/2010     378009        70    215.00%      5/23/21111
                                                                                                                                                        Company                  1000000.00

39815   Moerler                            Richard          6138891        Principal         National                       Life         Insurance                               4000000.00          75    8/30/2010     42400%        88    125.00%      5/17/2011
                                                                                                                                                          Company
39912   Weberman                                      ML      5573658      Jefferson          Pilot               Life          Insurance                                                            47                  449.00%        72   115.00%
                                           Abigail                                                                                                    Company                    600000000                 4/18/2012                                      7/26/2012

39920   Zafir         Trans    65064484    Anna         65064484           Transamerica                          Occidental                  Life     Insurance                  400000000           96    9/25/2011     340    00%    96    225   00%    5/17/2011
                                                                                                                                                                     Company

42513   Hamilton                           Cornelia         4009801        ReliaStar          Life           Insurance                     Company                              10000000.00         151    S/17/2011     180    00%   179    10000%         6/9/2011
                                                                                                                                                                                                                                                                       Filed 12/17/18
                                                                                                                                                                                                                                                                       Page 137 of 251
                                 Eligibility Criteria Clause G Schedule
                                                                                               Net Death
          Name               Policy Number                         Carrier                      Benefit
Aaron, Gertrude              JJ-7045538      Lincoln National Life Insurance Company            $2,000,000
Alexander-Tosi, Jacqueline   01N1359767      Lincoln Benefit Life Company                      $11,400,000
Alterman, Paul               65074685        Transamerica Occidental Life Insurance Company     $3,000,000
Altro, Stephen               158-210-697     AXA Equitable Life Insurance Company               $5,000,000
Bauman, Caroline             NY2046472R      ReliaStar Life Insurance Company of New York      $10,000,000
Beam, Dorothy                65070468        Transamerica Occidental Life Insurance Company     $3,000,000
Beigel, Bonny                65075830        Transamerica Occidental Life Insurance Company     $3,000,000
Berger, Albert               30016978        Sun Life Assurance Company of Canada               $8,000,000
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Berner, Sandra               30026302        Sun Life Assurance Company of Canada               $1,800,000
Bernstein, Sheila            30027864        Sun Life Assurance Company of Canada               $3,000,000
Blakeslee, Evelyn            30019434        Sun Life Assurance Company of Canada               $8,000,000
Blitshtein, Polya            30025891        Sun Life Assurance Company of Canada               $8,500,000
                                                                                                             Doc 24-1




Blumenfeld, Arlene           65076721        Transamerica Occidental Life Insurance Company     $3,000,000
Bogat, Nelli                 JJ-7061249      Lincoln National Life Insurance Company            $5,000,000
Borenstein, Sondra           65079471        Transamerica Occidental Life Insurance Company     $4,800,000
Brown, William               65074753        Transamerica Occidental Life Insurance Company     $4,300,000
Buchanan, Robert             VL9238813       Hartford Life and Annuity Insurance Company        $9,000,000
Candiotte, Jennie            65074391        Transamerica Occidental Life Insurance Company     $1,700,000
                                                                                                             Filed 12/17/18




Carrado, Grace               JJ-7010695      Lincoln National Life Insurance Company            $2,000,000
Ching, Frances               01N1517416      Lincoln Benefit Life Company                      $10,000,000
Clark, Stanley               65073968        Transamerica Occidental Life Insurance Company     $2,500,000
Coakley, Jacqueline          65083532        Transamerica Occidental Life Insurance Company     $4,000,000
Cochrane, Marjorie           156-230-892     AXA Equitable Life Insurance Company               $2,100,000
Colantonio, Anthony          U000045137      Union Central Life Insurance Company               $1,500,000
                                                                                                             Page 138 of 251




Colasurdo, Robert            65080277        Transamerica Occidental Life Insurance Company      $959,700
Coppini, Thomas              65081971        Transamerica Occidental Life Insurance Company     $1,257,000
Cralle, John                 160219685       AXA Equitable Life Insurance Company               $4,000,000
Crosby, Jack                 62769532        New York Life Insurance and Annuity Corporation    $5,000,000
Cutler, Theodore             5-707-096       John Hancock Life Insurance Company               $13,950,000
Dankoff, Joyce               93184190        John Hancock Life Insurance Company                $2,500,000
Davis, Thomas          65087210     Transamerica Occidental Life Insurance Company     $1,589,000
deGraffenreid, James   65141656     Transamerica Life Insurance Company                 $750,000
Dickler, Dale          30021781     Sun Life Assurance Company of Canada               $6,000,000
Dolchin, Martha        65079054     Transamerica Occidental Life Insurance Company     $3,000,000
Dole, Robert           7201914      Lincoln National Life Insurance Company            $5,997,090
Dopler-Levy, Rhoda     65079201     Transamerica Occidental Life Insurance Company     $3,000,000
Dougher, Dorothy       VF50000080   Pacific Life Insurance Company                     $3,039,615
Doughman, Sherlee      97305140     Phoenix Life Insurance Company                     $6,000,000
Dunn, Emanuel          65078428     Transamerica Occidental Life Insurance Company      $735,000
Dunoff, Marvin         65073077     Transamerica Occidental Life Insurance Company     $5,000,000
Elliott, Eugenia       65076359     Transamerica Occidental Life Insurance Company     $3,000,000
Ellis, Deane           157215087    AXA Equitable Life Insurance Company              $10,000,000
                                                                                                    Case 18-12808-KG




Ernst, James           JF5045650    Lincoln National Life Insurance Company             $220,000
Farber, Leon           59-395-947   The Manufacturers Life Insurance Company (USA)      $750,000
Feinblatt, Barry       446252       US Financial Life Insurance Company                $5,000,000
Feinstein, Robert      65079246     Transamerica Occidental Life Insurance Company     $3,000,000
                                                                                                    Doc 24-1




Feldman, Robert        161202286    AXA Equitable Life Insurance Company               $5,000,000
Fineberg, Beverly      JJ7042424    Lincoln National Life Insurance Company            $3,000,000
Fox, Carole            30027598     Sun Life Assurance Company of Canada               $4,000,000
Franco, James          6112414      Principal Life Insurance Company                  $10,000,000
Frankel, Adele         01N1337900   Lincoln Benefit Life Company                      $17,700,000
Freedman, Kay          97523271     Phoenix Life Insurance Company                    $10,000,000
                                                                                                    Filed 12/17/18




Freedman, Kay          JP-5585798   Jefferson Pilot Life Insurance Company            $10,000,000
Fuhrman, June          30021304     Sun Life Assurance Company of Canada               $5,000,000
Furman, Richard        161209931    AXA Equitable Life Insurance Company              $10,000,000
Geller, Elizabeth      30030997     Sun Life Assurance Company of Canada               $5,000,000
Gibbons, Ruth          65072825     Transamerica Occidental Life Insurance Company     $1,000,000
Gladstone, Roslyn      0700019725   William Penn Life Insurance Company of New York     $690,000
                                                                                                    Page 139 of 251




Good, Robert           30025817     Sun Life Assurance Company of Canada               $4,000,000
Graf, Helen            65065035     Transamerica Occidental Life Insurance Company     $3,000,000
Habib, Eli             97524854     Phoenix Life Insurance Company                     $2,000,000
Haby, Sharon           65073609     Transamerica Occidental Life Insurance Company     $5,000,000
Hall, Ernestine        65087237     Transamerica Occidental Life Insurance Company     $2,000,000
Harlan, Gail           65071735     Transamerica Occidental Life Insurance Company     $3,000,000
Hopkins, Robert     30026491     Sun Life Assurance Company of Canada              $3,000,000
Ilagan, Serafin     65074340     Transamerica Occidental Life Insurance Company    $5,548,000
Johnson, Mary       65081114     Transamerica Occidental Life Insurance Company    $1,800,000
Kaplan, Barbara     65073334     Transamerica Occidental Life Insurance Company    $3,399,000
Kelegian, Haig      JJ7186822    Lincoln National Life Insurance Company          $10,000,000
Korn, Joan          30020848     Sun Life Assurance Company of Canada              $8,000,000
Krueger, Jerome     1201876      John Hancock Life Insurance Company               $4,000,000
Lapciuc, Tania      30028625     Sun Life Assurance Company of Canada             $10,000,000
Lapciuc, Tania      30021860     Sun Life Assurance Company of Canada             $10,000,000
Lemasters, David    020107149    Sun Life Assurance Company of Canada               $590,000
Lemasters, David    020107150    Sun Life Assurance Company of Canada               $590,000
Lemasters, David    020107152    Sun Life Assurance Company of Canada              $1,180,000
                                                                                                Case 18-12808-KG




Lemasters, David    020107153    Sun Life Assurance Company of Canada               $295,000
Lemmon, Hal         65089836     Transamerica Occidental Life Insurance Company    $4,000,000
Leyton, Evelyn      65074513     Transamerica Occidental Life Insurance Company    $3,000,000
Li, Lisa            6097828      Principal Life Insurance Company                 $10,000,000
                                                                                                Doc 24-1




Lipschultz, Gail    65072979     Transamerica Occidental Life Insurance Company    $3,300,000
Liss, Rochelle      65074351     Transamerica Occidental Life Insurance Company    $1,150,000
Malton, Donald      65073286     Transamerica Occidental Life Insurance Company    $1,000,000
Martens, Eunice     65065863     Transamerica Occidental Life Insurance Company     $630,000
McMillen, Cynthia   65082148     Transamerica Occidental Life Insurance Company    $3,450,000
Meeirovici, Adela   01N1497848   Lincoln Benefit Life Company                      $2,000,000
                                                                                                Filed 12/17/18




Menkes, Howard      65080062     Transamerica Occidental Life Insurance Company    $1,850,000
Miller, Bernice     020043650    Sun Life Assurance Company of Canada              $1,200,000
Mintz, Barbara      65071673     Transamerica Occidental Life Insurance Company    $2,500,000
Murphy, Margaret    01N1363294   Lincoln Benefit Life Company                      $5,800,000
Neihouser, Sally    65080993     Transamerica Occidental Life Insurance Company    $1,600,000
O'Connor, Una       JP-5583298   Jefferson Pilot Life Insurance Company            $5,000,000
                                                                                                Page 140 of 251




Paek, Jung          65074276     Transamerica Occidental Life Insurance Company    $1,140,000
Parnes, Hannah      30027019     Sun Life Assurance Company of Canada              $8,000,000
Passero, Dolores    UM0030514L   AIG Life Insurance Company                        $5,000,000
Pastore, Diane      30008864     Sun Life Assurance Company of Canada              $1,500,000
Pelton, Virginia    65078626     Transamerica Occidental Life Insurance Company     $863,000
Pethes, Theodore    157214777    AXA Equitable Life Insurance Company              $1,000,000
Place, James          93845972     John Hancock Life Insurance Company               $6,000,000
Potter, Arlene        65074670     Transamerica Occidental Life Insurance Company    $3,000,000
Press, Lita           65073111     Transamerica Occidental Life Insurance Company    $8,990,000
Raven, Rose           94-819-919   John Hancock Life Insurance Company               $5,000,000
Rich, Veronica        65076992     Transamerica Occidental Life Insurance Company    $1,000,000
Robson, Edward        94-816-964   John Hancock Life Insurance Company               $7,339,026
Rochell, Rochelle     65081845     Transamerica Occidental Life Insurance Company    $5,000,000
Rohatynsky, Ruth      6108886      Principal Life Insurance Company                 $10,000,000
Schreiber, David      BC7006436    Companion Life Insurance Company                   $500,000
Shapiro, Shirley      95772331     John Hancock Life Insurance Company              $10,950,000
Shelowitz, Sheldon    160202218    AXA Equitable Life Insurance Company              $2,000,000
Sikora, William       60120388     Transamerica Life Insurance Company               $6,650,000
                                                                                                  Case 18-12808-KG




Silverman, Harlean    JJ-7008660   Lincoln National Life Insurance Company          $10,000,000
Skyler, Nola          65076764     Transamerica Occidental Life Insurance Company    $1,585,000
Sofer, Itzhak         65065900     Transamerica Occidental Life Insurance Company    $4,000,000
Solk, Donna           30028237     Sun Life Assurance Company of Canada             $10,000,000
                                                                                                  Doc 24-1




Sparber, Carol        65072864     Transamerica Occidental Life Insurance Company    $8,000,000
Spohn, Ronald         30027988     Sun Life Assurance Company of Canada              $3,000,000
Stravitz, Paul        65070201     Transamerica Occidental Life Insurance Company    $5,000,000
Sunshine, Rachelle    J103,032     Genworth Life and Annuity Insurance Company       $2,250,000
Terzian, Berj         01N1385402   Lincoln Benefit Life Company                     $10,000,000
Terzian, Berj         01N1337956   Lincoln Benefit Life Company                     $10,000,000
                                                                                                  Filed 12/17/18




Thet, Anelia          4011513      ReliaStar Life Insurance Company                  $3,000,000
Todeschi, Carol       65074149     Transamerica Occidental Life Insurance Company    $1,600,000
Tromsness, Florence   BU1077658    United of Omaha Life Insurance Company            $2,000,000
Veytsman, Mariya      JJ7077893    Lincoln National Life Insurance Company           $5,000,000
Victor, George        30023575     Sun Life Assurance Company of Canada              $1,000,000
Walters, William      01N1541912   Lincoln Benefit Life Company                      $3,000,000
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Wasser, Martin        30023427     Sun Life Assurance Company of Canada              $5,000,000
Werden, John          60086805     Transamerica Occidental Life Insurance Company    $3,180,826
Wilde, Forrest        65074123     Transamerica Occidental Life Insurance Company    $1,478,000
Willett, Roy          160219796    AXA Equitable Life Insurance Company              $1,500,000
Woody, Marilyn        65082734     Transamerica Occidental Life Insurance Company    $1,000,000
Wright, Laurel        65069709     Transamerica Occidental Life Insurance Company    $3,100,000
Yanuck, Bernard   U000045451   Union Central Life Insurance Company             $1,000,000
Yoon, Paul        65081504     Transamerica Occidental Life Insurance Company   $2,345,000
Young, Charles    ZUA351298    West Coast Life Insurance Company                $1,030,179
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                                                        Eligibility Criteria Clause (h) Schedule
                         Eligibility Criteria Clause (h) Policy Exceptions

                                            [Attached]




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                                                                                                                 Eligibility   Criteria    Clause   Exceptions

           Quote                                             Policy                                                                                                                                   21st       21st-                     AVS
Internal                                                                                                                                                                        21st   LE    In                          AVS   LE    in             AVS    Date    of   Average
           Internal    Policy   Owner   Last   Name   Owner           First   Policy                        Insurance       Company                          Death    Benefit                     Certificate    Mort                      Mon
    ID                                                                                                                                                                          Months                                   Months                                            LE
                                                                                                                                                                                                                                                    Underwriting
               ID                                            Name                                                                                                                                     Date      Factor                    Factor

   13697      13942   Bascom                          Glen                    65075931   Transamerica   Occidental   Life   Insurance     Company                10000000.00                275   2/13/2010     90.00%              247   100.00%         2/16/2010        261
                                                                                                                                                                                                                                                                                  Case 18-12808-KG
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                                                          Eligibility Criteria Clause (i) Schedule
                          Eligibility Criteria Clause (i) Policy Exceptions

                                             [Attached]




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                                            Eligibility    Criteria   Clause        Exceptions

                        Policy     Policy
           Quote
Internal                Owner     Owner
           Internal                               Policy                          Insurance Company
                          Last      First


                        Name       Name
  12493      12774    Schwab     Jackie      JJ   7056827     Lincoln    National      Life   Insurance     Company
   3291       3543    Shechter   Yehuda       93534683        John Hancock         Life    Insurance      Company
  10508      10769    Doten      Beverly     JJ7020323        Lincoln    National      Life   Insurance     Company
  12849      35667    Laing      Ronald      157223713        AXA     Equitable     Life   Insurance      Company
                                    Eligibility Criteria Clause I Schedule
                               Policy
             Name             Number                     Carrier                Net Death Benefit
Alexander-Tosi, Jacqueline   01N1359767   Lincoln Benefit Life Company             $11,400,000
Cutler, Theodore              5-707-096   John Hancock Life Insurance Company      $13,950,000
Frankel, Adele               01N1337900   Lincoln Benefit Life Company             $17,700,000
Shapiro, Shirley              95772331    John Hancock Life Insurance Company      $10,950,000
Wineberg, Hannah             01N1358348   Lincoln Benefit Life Company             $15,000,000
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                                                          Eligibility Criteria Clause (l) Schedule
                          Eligibility Criteria Clause (l) Policy Exceptions

                                             [Attached]




DOC ID - 25503546.4
                          Eligibility Criteria Clause L Schedule
                                                                                      Net Death
           Name       Policy Number                         Carrier                    Benefit
Baker, Jerry          20116779        Sun Life Assurance Company of Canada            $1,700,000
Dole, Robert          7201914         Lincoln National Life Insurance Company         $5,997,090
Herbert, Lawrence     59936542        John Hancock Life Insurance Company             $5,000,000
Herbert, Lawrence     93130219        John Hancock Life Insurance Company             $3,125,000
Littlejohn, Chester   CM5010449U      Columbus Life Insurance                         $1,000,000
Mashburn, Alice       60125274        Transamerica Financial Life Insurance Company   $7,000,000
Simpson, Janet        JP-5066445      Jefferson Pilot Life Insurance Company          $4,000,000
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                                                        Eligibility Criteria Clause (m) Schedule
                         Eligibility Criteria Clause (m) Policy Exceptions

                                            [Attached]




DOC ID - 25503546.4
                                                                       Eligibility   Criteria      Clause        Schedule                 Exceptions

              Quote                                               Policy
Internal
              Internal       Policy     Owner   Last   Name   Owner       First           Policy                                              Insurance                                    Death   Benefit
                                                                                                                                                           Company
   ID
                 ID                                               Name
  10723         10985       Haber                             Eleanor                JJ-7060127        Lincoln     National           Life    Insurance Company                             3000000.00
  12493         12774       Schwab                            Jackie                 JJ   7056827      Lincoln     National           Life    Insurance Company                            20000000.00
  12631         12912       Kratzer                           Janet                  JJ-7050328        Lincoln     National           Life    Insurance Company                             2000000.00
  14864         15107       Guglielmi                         Rosalie                 V2022973         Pruco     Life     Insurance Company                                                10000000.00
  13589         13875       Mathewson                         Jeremiah               JJ-7052445        Lincoln     National           Life    Insurance Company                             5000000.00
  13912         14160                                         Rose                   JJ-7046873        Lincoln     National           Life
                            Frojmovits                                                                                                        Insurance Company                             5000000.00
  16175         16418       Djamali     MD                    Mohsen                 JJ7037094         Lincoln     National           Life    Insurance Company                             7000000.00
  18266         18504       Much                              Hubert                 JJ-7090029        Lincoln     National           Life    Insurance Company                             3000000.00
                                                                                                                                                                                                             Case 18-12808-KG




  21436         21655       Neuss                                                    JJ-7097975        Lincoln     National           Life
                                                              Helga                                                                           Insurance Company                             8000000.00
  23634         23852       Rubinstein                        Martin                 JJ-7118891        Lincoln     National           Life    Insurance Company                             2000000.00
    3880        38442       Shepard                           David                  JJ-7041286        Lincoln     National           Life    Insurance Company                             5000000.00
  33206         33418       Katz                              Alan                   JJ-7134225        Lincoln     National           Life    Insurance Company                             6000000.00
                                                                                                                                                                                                             Doc 24-1




        228           238   La Valley                         Donna                  JP5580951         Jefferson         Pilot     Life    Insurance Company                               10000000.00
  36909         37091       Szakacs                           George                 VF51747240        Pacific    Life    Insurance Company                                                 5000000.00
    5077         5293       Voon                              Helen                   65086865         Transamerica              Occidental       Life   Insurance Company                  2345000.00
        110           113   Schreuders                        Marten                 VF51474500        Pacific    Life     Insurance Company                                                 1000000.00
        146           151                                     Frances                JP5556753         Jefferson         Pilot     Life    Insurance Company                                6000000.00
                            Perry

    2671        35672       Lucchi                            Sesto                   65073386         Transamerica              Occidental       Life   Insurance Company                  2200000.00
    5113         5329                                         David                   65085384         Transamerica              Occidental       Life                                      4000000.00
                            Haugen                                                                                                                       Insurance Company
                                                                                                                                                                                                             Filed 12/17/18




    6696         6937                                         Elizabeth              01N1391727        Lincoln     Benefit          Life                                                    5000000.00
                            Kelly                                                                                                            Company
  12010         12288       Kantor       LBL 01N1259324       Carmela                01N1259324        Lincoln     Benefit          Life                                                    7000000.00
                                                                                                                                             Company
  13492         13778       Kelly                             James                   65076428         Transamerica              Occidental       Life   Insurance Company                  8000000.00

  13495         13781       Rothbard                          Morton                  65071695         Transamerica              Occidental       Life   Insurance Company                 10000000.00
  33875         34084 Damone                                  Joseph                 160-212-680       AXA    Equitable            Life    Insurance Company                                3200000.00
  33932         34141       Cornelius                         Bernice                ZUA417228         West      Coast      Life     Insurance Company                                      1000000.00

  31830         32044 Derkatch                                Karla                  V2-093-725        Pruco     Life     Insurance Company                                                 5000000.00
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  26454         26668       Aghaipour                         Said                   LB01524310        North American                Company       for   Life   and   Health   Insurance    2000000.00
        901           935   Arvidson                          Louella                 97526658         Phoenix      Life     Insurance Company                                              5000000.00

    1131          1295      Adland                            Marlene                 65086852         Transamerica              Occidental       Life   Insurance Company                  5900000.00
    2719        36467 Cohen Grant                             Mignon                  65067611         Transamerica              Occidental       Life   Insurance Company                  1000000.00
 3842     3948    Daubert     Grace       60146898            Transamerica              Occidental        Life   Insurance Company        10000000.00
 4875     5093    Crandus     Robert      65077275            Transamerica              Occidental        Life   Insurance Company         1500000.00
 5992     6237    Datoli      Amira       65080809            Transamerica              Occidental        Life   Insurance Company         3000000.00
 7080     7320    Castro      Serafin         6088523         Principal       Life     Insurance Company                                   5000000.00
 7171    35646    AlIen                   97522952            Phoenix        Life
                              Peggie                                                  Insurance Company                                    5000000.00
 8590     8834 Anderson       Jean       U000044574           Union      Central        Life       Insurance Company                       4000000.00
10444    10704    Davis       David       JJ7043741           Lincoln       National           Life   Insurance Company                    2000000.00
10508    10769    Doten                   JJ7020323           Lincoln       National           Life
                              Beverly                                                                 Insurance Company                   15000000.00
11987    12265    Cohen       Moshe      B500065520           Nationwide             Life     Insurance Company            of   America    6000000.00
12206    12486                Bruce      JJ    7050393        Lincoln       National           Life
                  Armstrong                                                                           Insurance Company                   10000000.00
12736    13017    Droege      Shirley     65081035            Transamerica              Occidental        Life   Insurance Company         2128000.00
13697    13942    Bascom      Glen        65075931            Transamerica              Occidental        Life   Insurance Company        10000000.00
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13709    13958    Cowden      Ann         65085465            Transamerica              Occidental        Life   Insurance Company         4200000.00
20060    20296 Dale           Nancy           4010819         ReliaStar       Life     Insurance Company                                   3000000.00
22017    22236    Brunetti    Estelle         6112214         Principal       Life     Insurance Company                                   5000000.00
27216    27430 Buchanan       William    94-567-138           John    Hancock           Life       Insurance Company                       8000000.00
                                                                                                                                                        Doc 24-1




31405    31622    Josephs     Florence        4011644         ReliaStar       Life     Insurance Company                                   3000000.00
32234    32446 MacGregor      Robert          6097203         Principal       Life     Insurance Company                                   8000000.00
33380    33592    Furman      Richard         6120972         Principal       Life     Insurance Company                                  10000000.00
30585    30808    Politis     Alice      JJ-7105514           Lincoln       National           Life   Insurance Company                    3000000.00
32163    32375    Simons      June       159    219     204   AXA                           Life   Insurance Company                       2000000.00
                                                                     Equitable

33351    33563    Mersola     Carl            4010714         ReliaStar       Life     Insurance Company                                  10000000.00
35160    35367    Farias      John       94-684-S03           John    Hancock           Life       Insurance Company                       5000000.00
                                                                                                                                                        Filed 12/17/18




35561    35758 Shapiro                   03NC026834           Allstate      Life                                                           3000000.00
                              Joyce                                                  Insurance Company

35843    36038    Moskowitz   Norma      U-7042242            Lincoln       Life    And Annuity Company               of   New     York    5000000.00

37660    37842    Musumeci    Lillian         4011866         ReliaStar       Life     Insurance Company                                   5000000.00

12601    12882    Thomas      Bernice    JJ-7035581           Lincoln       National           Life   Insurance Company                    4000000.00

12632    12913    Persion     Betty      ZUA413140            West Coast             Life     Insurance Company                            4000000.00
13364    13650    GoIlub      Enid        65082305            Transamerica              Occidental        Life   Insurance Company         2000000.00
   105      108   Levine      Corrinne    JF5548388           Jefferson        Pilot        Life   Insurance Company                      10000000.00
                                                                                                                                                        Page 152 of 251




   134      138   LaVine      Judith      U0569144            American         National            Insurance Company                        835000.00
   171     177                           ML-5557554           Jefferson       Pilot         Life
                  Steinberg   Eudyce                                                               Insurance Company                       3000000.00
 1231     1399    ToIler      William    156222349            AXA                           Life                                           6500000.00
                                                                     Equitable                     Insurance Company

 2165     2428    Frumkes     Roberta         162939S         ING    Life    Insurance and             Annuity    Company                 10000000.00
 2926    3022   Mousseau    James     JJ-7017047        Lincoln     National         Life    Insurance Company               1200000.00
 3291    3543   Shechter    Yehuda     93534683         John    Hancock       Life        Insurance Company                 15000000.00
 3449    3684   Padula      Philip     97528057         Phoenix      Life   Insurance Company                                8000000.00
 3985    4226 Kohan         Doris      65081896         Transamerica          Occidental         Life   Insurance Company    300000000
 4227    4459 Friedman      Robert     JJ7047608        Lincoln     National         Life    Insurance Company               5000000.00
 4764   38448 Spangler      Robert    157216429         AXA    Equitable       Life       Insurance Company                  3500000.00
 5143    5362   Zelin       Rita      JJ-7043718        Lincoln     National         Life    Insurance Company               2500000.00
 5281    5503   Lobosco     Joseph     65073319         Transamerica          Occidental         Life   Insurance Company    6000000.00
 7564    7806   LaBarbera   Lucille   01N1397539        Lincoln     Benefit        Life                                      1800000.00
                                                                                            Company
 8285    8527 Huntsman      Gary        6096773         Principal    Life     Insurance Company                              9500000.00
10208   10464   Ribotsky    Harriet   01N1401924        Lincoln     Benefit        Life     Company                          9000000.00
10984   11246   Oakley      Ronald      421947          US Financial        Life     Insurance Company                       S000000.00
                                                                                                                                          Case 18-12808-KG




11081   11343   Mayers      Edward    01N1273746        Lincoln     Benefit        Life                                      3000000.00
                                                                                            Company
11084   11346   Mayers      Helaine   JP-5S46153        Jefferson     Pilot    Life       Insurance Company                  2500000.00
11299   11563   Mishan      Janet      93540243         John Hancock          Life        Insurance Company                 10000000.00
11413   11681   Zack        Julia     01N1408137        Lincoln     Benefit        Life     Company                          8000000.00
                                                                                                                                          Doc 24-1




11451   11719   Lewis       Charles     6100329         Principal    Life     Insurance Company                             10000000.00
11518   11786   Gill                   93222222         John Hancock          Life
                            Mary                                                          Insurance Company                 10000000.00
11520   11788   Gill                   93299071         John    Hancock       Life
                            Mary                                                          Insurance Company                 10000000.00
11983   12261   Kimmel      Lenore    01N1268527        Lincoln     Benefit        Life     Company                          2000000.00
12226   12506   Kerner      Doris     U-7048203         Lincoln     National        Life     Insurance Company               1400000.00
12401   12681   Grossman    Barbara    65081734         Transamerica          Occidental         Life   Insurance Company    3000000.00
12409   12689   Turovitz    Marlene    65077166         Transamerica Occidental                  Life   Insurance Company    3000000.00
                                                                                                                                          Filed 12/17/18




12416   12696   Friedman    Robert     65087433         Transamerica          Occidental         Life   Insurance Company    8000000.00
12417   12697   Klienbach   Donald     65088543         Transamerica          Occidental         Life   Insurance Company    2000000.00
12425   12705   Tomb        Marilyn    65073380         Transamerica          Occidental         Life   Insurance Company     826000.00
12607   12888   Schwartz    Gordon     97530830         Phoenix      Life   Insurance Company                                5000000.00
12671   12952   Gill        Mary       93299063         John    Hancock       Life        Insurance Company                  6000000.00
12723   13004   Wright      Carol     158   202   884   AXA    Equitable       Life       Insurance Company                  7000000.00
12739   13020   Schneider   James      65087341         Transamerica          Occidental         Life   Insurance Company    7000000.00
                                                                                                                                          Page 153 of 251




12849   35667               Ronald    157223713         AXA                    Life
                Laing                                          Equitable                  Insurance Company                 14000000.00
12902   13184   Gelber      Celia      97524610         PHL    Variable     Insurance Company                                1500000.00
13101   36993   Lake        Bruce     157220S91         AXA                    Life                                         5000000.00
                                                               Equitable                  Insurance Company

13136   13420   LaTreill    Rene      JJ7021304         Lincoln     National        Life     Insurance Company               8000000.00
13317   38439   Ye                         Zhi       B500086250   Nationwide           Life    and    Annuity      Insurance Company         10000000.00
13355   13641   Keiser                     Evelyn     65068250    Transamerica            Occidental        Life   Insurance Company          9700000.00
13359   13645   Glazer                     Barbara    65081741    Transamerica            Occidental        Life   Insurance Company          2000000.00
13370   13656   Wolf                       Dolores    65089270    Transamerica Occidental                   Life   Insurance Company         10000000.00
13448   13734   Lewis                      Roy        60146444    Transamerica            Occidental        Life   Insurance Company         10000000.00
13493   38451   Matz      LBL 01N1343229   Ruben     01N1343229   Lincoln     Benefit         Life                                           10000000.00
                                                                                                      Company
13550   13836   Lobosco                    Dora      158223399    AXA   Equitable         Life       Insurance Company                        6000000.00
13640   12221   Young                      Arline     15641231    Massachusetts               Mutual     Life   Insurance Company             5000000.00
13695   13945   Reif                       Jocelan    65074934    Transamerica            Occidental        Life   Insurance Company          2025000.00
13710   13959   Watson                     Howard     65076586    Transamerica            Occidental        Life   Insurance Company          3000000.00
19973   20209   Weinsaft                   Leonard   B500133340   Nationwide           Life    Insurance Company              of   America    7000000.00
20231   20447   Wolis                      Janet      65069730    Transamerica            Occidental        Life   Insurance Company          4000000.00
                                                                                                                                                           Case 18-12808-KG




23721   23939   Mersola                    Carl       4010704     ReliaStar     Life     Insurance Company                                   10000000.00
24397   24614   Itzkowitz                  Joseph    U-7004389    Lincoln     Life   And Annuity Company                 of    New    York    1500000.00
25033   25248   Schepps                    Joan       4010998     ReliaStar     Life     Insurance Company                                    3000000.00
25816   26030   Nurik                      Marilyn   JJ7029621    Lincoln     National         Life    Insurance Company                      2S00000.00
                                                                                                                                                           Doc 24-1




34471   34678   Gora                       Paula     61-089-585   New   York     Life     Insurance and            Annuity    Corporation     5000000.00
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                         Eligibility Criteria Clause (M- HIPAA) Schedule
     Name            Policy Number                        Carrier                      Net Death Benefit
Alterman, Paul          65074685     Transamerica Occidental Life Insurance Company        $3,000,000
Baker, Jerry            20116779     Sun Life Assurance Company of Canada                  $1,700,000
Berner, Sandra          30026302     Sun Life Assurance Company of Canada                  $1,800,000
Borenstein, Sondra      65079471     Transamerica Occidental Life Insurance Company        $4,800,000
Crosby, Jack            62769532     New York Life Insurance and Annuity Corporation       $5,000,000
Dickler, Dale           30021781     Sun Life Assurance Company of Canada                  $6,000,000
Feinblatt, Barry          446252     US Financial Life Insurance Company                   $5,000,000
Feldman, Robert        161202286     AXA Equitable Life Insurance Company                  $5,000,000
Furman, Richard        161209931     AXA Equitable Life Insurance Company                 $10,000,000
                                                                                                           Case 18-12808-KG




Graf, Helen             65065035     Transamerica Occidental Life Insurance Company        $3,000,000
Herbert, Lawrence       59936542     John Hancock Life Insurance Company                   $5,000,000
Herbert, Lawrence       93130219     John Hancock Life Insurance Company                   $3,125,000
Ilagan, Serafin         65074340     Transamerica Occidental Life Insurance Company        $5,548,000
                                                                                                           Doc 24-1




Korn, Joan              30020848     Sun Life Assurance Company of Canada                  $8,000,000
Krueger, Jerome          1201876     John Hancock Life Insurance Company                   $4,000,000
Lapciuc, Tania          30028625     Sun Life Assurance Company of Canada                 $10,000,000
Lapciuc, Tania          30021860     Sun Life Assurance Company of Canada                 $10,000,000
Leyton, Evelyn          65074513     Transamerica Occidental Life Insurance Company        $3,000,000
Li, Lisa                 6097828     Principal Life Insurance Company                     $10,000,000
                                                                                                           Filed 12/17/18




Mintz, Barbara          65071673     Transamerica Occidental Life Insurance Company        $2,500,000
Murphy, Margaret      01N1363294     Lincoln Benefit Life Company                          $5,800,000
Paek, Jung              65074276     Transamerica Occidental Life Insurance Company        $1,140,000
Paz, Arie              JJ-7099342    Lincoln National Life Insurance Company              $10,000,000
Pethes, Theodore       157214777     AXA Equitable Life Insurance Company                  $1,000,000
Potter, Arlene          65074670     Transamerica Occidental Life Insurance Company        $3,000,000
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Raven, Rose            94-819-919    John Hancock Life Insurance Company                   $5,000,000
Silverman,
Harlean                JJ-7008660    Lincoln National Life Insurance Company              $10,000,000
Wilde, Forrest          65074123     Transamerica Occidental Life Insurance Company        $1,478,000
Willett, Roy           160219796     AXA Equitable Life Insurance Company                  $1,500,000
Wineberg, Hannah      01N1358348     Lincoln Benefit Life Company                         $15,000,000
Yoon, Paul              65081504     Transamerica Occidental Life Insurance Company        $2,345,000
                  Eligibility Criteria Clause (M- Death Certificate Authorization) Schedule
       Name            Policy Number                           Carrier                           Net Death Benefit
Baker, Jerry              20116779     Sun Life Assurance Company of Canada                          $1,700,000
Barr, Nedra              93-035-467    John Hancock Life Insurance Company                           $2,000,000
Berner, Sandra            30026302     Sun Life Assurance Company of Canada                          $1,800,000
Buchanan, Robert         VL9238813     Hartford Life and Annuity Insurance Company                   $9,000,000
Crosby, Jack              62769532     New York Life Insurance and Annuity Corporation               $5,000,000
Cutler, Theodore          5-707-096    John Hancock Life Insurance Company                          $13,950,000
Davis, Marthalene          1570548     Security Life of Denver Insurance Company                     $5,000,000
deGraffenreid, James      65141656     Transamerica Life Insurance Company                            $750,000
Deutch, Martin            93108143     John Hancock Life Insurance Company                           $1,000,000
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Dickler, Dale             30021781     Sun Life Assurance Company of Canada                          $6,000,000
Dole, Robert               7201914     Lincoln National Life Insurance Company                       $5,997,090
Dougher, Dorothy        VF50000080     Pacific Life Insurance Company                                $3,039,615
Ettinger, Bernard       LN00305150     Wilton Reassurance Life Company of NY                         $1,500,000
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Ettinger, Bernard       UY002157NL     United States Life Insurance Company in the City of New       $1,000,000
                                       York
Fee, Mary Jane          00065172417    Transamerica Life Insurance Company                           $4,000,000
Feinblatt, Barry            446252     US Financial Life Insurance Company                           $5,000,000
Herbert, Lawrence         59936542     John Hancock Life Insurance Company                           $5,000,000
Herbert, Lawrence         93130219     John Hancock Life Insurance Company                           $3,125,000
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Joyner, Max               V1202976     Pruco Life Insurance Company                                  $6,000,000
Korn, Joan                30020848     Sun Life Assurance Company of Canada                          $8,000,000
Krueger, Jerome            1201876     John Hancock Life Insurance Company                           $4,000,000
Lapciuc, Tania            30028625     Sun Life Assurance Company of Canada                         $10,000,000
Lapciuc, Tania            30021860     Sun Life Assurance Company of Canada                         $10,000,000
Lemmon, Hal               65089836     Transamerica Occidental Life Insurance Company                $4,000,000
Littlejohn, Chester     CM5010449U     Columbus Life Insurance                                       $1,000,000
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Mashburn, Alice           60125274     Transamerica Financial Life Insurance Company                 $7,000,000
Passero, Dolores        UM0030514L     AIG Life Insurance Company                                    $5,000,000
Place, James              93845972     John Hancock Life Insurance Company                           $6,000,000
Simpson, Janet           JP-5066445    Jefferson Pilot Life Insurance Company                        $4,000,000
Tromsness, Florence      BU1077658     United of Omaha Life Insurance Company                        $2,000,000
Weinstein, Gerado     1201864   John Hancock Life Insurance Company              $5,000,000
Werden, John         60086805   Transamerica Occidental Life Insurance Company   $3,180,826
Young, Charles      ZUA351298   West Coast Life Insurance Company                $1,030,179
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                       Eligibility Criteria Clause (M- Power of Attorney) Schedule
         Name          Policy Number                           Carrier                           Net Death Benefit
Baker, Jerry             20116779      Sun Life Assurance Company of Canada                          $1,700,000
Berner, Sandra           30026302      Sun Life Assurance Company of Canada                          $1,800,000
Crosby, Jack             62769532      New York Life Insurance and Annuity Corporation               $5,000,000
deGraffenreid, James     65141656      Transamerica Life Insurance Company                            $750,000
Dickler, Dale            30021781      Sun Life Assurance Company of Canada                          $6,000,000
Dole, Robert              7201914      Lincoln National Life Insurance Company                       $5,997,090
Dougher, Dorothy        VF50000080     Pacific Life Insurance Company                                $3,039,615
Ettinger, Bernard       LN00305150     Wilton Reassurance Life Company of NY                         $1,500,000
Ettinger, Bernard       UY002157NL     United States Life Insurance Company in the City of New       $1,000,000
                                                                                                                     Case 18-12808-KG




                                       York
Feinblatt, Barry            446252     US Financial Life Insurance Company                           $5,000,000
Herbert, Lawrence         59936542     John Hancock Life Insurance Company                           $5,000,000
Herbert, Lawrence         93130219     John Hancock Life Insurance Company                           $3,125,000
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Joyner, Max              V1202976      Pruco Life Insurance Company                                  $6,000,000
Korn, Joan                30020848     Sun Life Assurance Company of Canada                          $8,000,000
Krueger, Jerome            1201876     John Hancock Life Insurance Company                           $4,000,000
Lapciuc, Tania            30028625     Sun Life Assurance Company of Canada                         $10,000,000
Lapciuc, Tania            30021860     Sun Life Assurance Company of Canada                         $10,000,000
Littlejohn, Chester     CM5010449U     Columbus Life Insurance                                       $1,000,000
                                                                                                                     Filed 12/17/18




Place, James              93845972     John Hancock Life Insurance Company                           $6,000,000
Weinstein, Gerado          1201864     John Hancock Life Insurance Company                           $5,000,000
Werden, John              60086805     Transamerica Occidental Life Insurance Company                $3,180,826
Aaron, Gertrude          JJ-7045538    Lincoln National Life Insurance Company                       $2,000,000
Alexander-Tosi,         01N1359767     Lincoln Benefit Life Company                                 $11,400,000
Jacqueline
Alrod, Robert            15,514,829    Massachusetts Mutual Life Insurance Company                   $1,000,000
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Alterman, Paul            65074685     Transamerica Occidental Life Insurance Company                $3,000,000
Anliker, Ronald           65073113     Transamerica Occidental Life Insurance Company                $2,770,000
Baker, John               65082475     Transamerica Occidental Life Insurance Company                $1,000,000
Bauman, Caroline        NY2046472R     ReliaStar Life Insurance Company of New York                 $10,000,000
Beam, Dorothy             65070468     Transamerica Occidental Life Insurance Company                $3,000,000
Beigel, Bonny             65075830     Transamerica Occidental Life Insurance Company                $3,000,000
Berger, Albert          30016978    Sun Life Assurance Company of Canada              $8,000,000
Bernstein, Sheila       30027864    Sun Life Assurance Company of Canada              $3,000,000
Blakeslee, Evelyn       30019434    Sun Life Assurance Company of Canada              $8,000,000
Blitshtein, Polya       30025891    Sun Life Assurance Company of Canada              $8,500,000
Blumenfeld, Arlene      65076721    Transamerica Occidental Life Insurance Company    $3,000,000
Bogat, Nelli           JJ-7061249   Lincoln National Life Insurance Company           $5,000,000
Borenstein, Sondra      65079471    Transamerica Occidental Life Insurance Company    $4,800,000
Brown, William          65074753    Transamerica Occidental Life Insurance Company    $4,300,000
Candiotte, Jennie       65074391    Transamerica Occidental Life Insurance Company    $1,700,000
Cardi, Stephen         157225568    AXA Equitable Life Insurance Company             $10,000,000
Carrado, Grace         JJ-7010695   Lincoln National Life Insurance Company           $2,000,000
Ching, Frances        01N1517416    Lincoln Benefit Life Company                     $10,000,000
                                                                                                   Case 18-12808-KG




Clark, Stanley          65073968    Transamerica Occidental Life Insurance Company    $2,500,000
Coakley, Jacqueline     65083532    Transamerica Occidental Life Insurance Company    $4,000,000
Cochrane, Marjorie    156-230-892   AXA Equitable Life Insurance Company              $2,100,000
Cofield, Maxine         65075046    Transamerica Occidental Life Insurance Company     $945,000
                                                                                                   Doc 24-1




Colasurdo, Robert       65080277    Transamerica Occidental Life Insurance Company     $959,700
Coppini, Thomas         65081971    Transamerica Occidental Life Insurance Company    $1,257,000
Cralle, John           160219685    AXA Equitable Life Insurance Company              $4,000,000
Dankoff, Joyce          93184190    John Hancock Life Insurance Company               $2,500,000
Davis, Thomas           65087210    Transamerica Occidental Life Insurance Company    $1,589,000
DeGraw, Terry           30006941    Sun Life Assurance Company of Canada              $3,000,000
                                                                                                   Filed 12/17/18




Dolchin, Martha         65079054    Transamerica Occidental Life Insurance Company    $3,000,000
Dopler-Levy, Rhoda      65079201    Transamerica Occidental Life Insurance Company    $3,000,000
Doughman, Sherlee       97305140    Phoenix Life Insurance Company                    $6,000,000
Dunn, Emanuel           65078428    Transamerica Occidental Life Insurance Company     $735,000
Dunoff, Marvin          65073077    Transamerica Occidental Life Insurance Company    $5,000,000
Eckstein, Lucy          20127596    Sun Life Assurance Company of Canada               $900,000
                                                                                                   Page 159 of 251




Elliott, Eugenia        65076359    Transamerica Occidental Life Insurance Company    $3,000,000
Ellis, Deane           157215087    AXA Equitable Life Insurance Company             $10,000,000
Ernst, James           JF5045650    Lincoln National Life Insurance Company            $220,000
Farber, Leon           59-395-947   The Manufacturers Life Insurance Company (USA)     $750,000
Feinstein, Robert       65079246    Transamerica Occidental Life Insurance Company    $3,000,000
Feldman, Robert        161202286    AXA Equitable Life Insurance Company              $5,000,000
Fineberg, Beverly     JJ7042424    Lincoln National Life Insurance Company           $3,000,000
Fox, Carole           30027598     Sun Life Assurance Company of Canada              $4,000,000
Franco, James          6112414     Principal Life Insurance Company                 $10,000,000
Frankel, Adele      01N1337900     Lincoln Benefit Life Company                     $17,700,000
Freedman, Kay         97523271     Phoenix Life Insurance Company                   $10,000,000
Freedman, Kay        JP-5585798    Jefferson Pilot Life Insurance Company           $10,000,000
Fuhrman, June         30021304     Sun Life Assurance Company of Canada              $5,000,000
Furman, Richard      161209931     AXA Equitable Life Insurance Company             $10,000,000
Geller, Elizabeth     30030997     Sun Life Assurance Company of Canada              $5,000,000
Gibbons, Ruth         65072825     Transamerica Occidental Life Insurance Company    $1,000,000
Good, Robert          30025817     Sun Life Assurance Company of Canada              $4,000,000
Graf, Helen           65065035     Transamerica Occidental Life Insurance Company    $3,000,000
                                                                                                  Case 18-12808-KG




Granby, Gary          30018935     Sun Life Assurance Company of Canada              $4,000,000
Gudeman, Helen        65070844     Transamerica Occidental Life Insurance Company    $2,100,000
Habib, Eli            97524854     Phoenix Life Insurance Company                    $2,000,000
Haby, Sharon          65073609     Transamerica Occidental Life Insurance Company    $5,000,000
                                                                                                  Doc 24-1




Hall, Ernestine       65087237     Transamerica Occidental Life Insurance Company    $2,000,000
Harlan, Gail          65071735     Transamerica Occidental Life Insurance Company    $3,000,000
Harris, Edward       157215775     AXA Equitable Life Insurance Company              $5,000,000
Hawkins, Rosemary   210-370-667-   MetLife Investors USA Insurance Company           $2,300,000
                         USU
Hopkins, Robert       30026491     Sun Life Assurance Company of Canada              $3,000,000
                                                                                                  Filed 12/17/18




Ilagan, Serafin       65074340     Transamerica Occidental Life Insurance Company    $5,548,000
Johnson, Mary         65081114     Transamerica Occidental Life Insurance Company    $1,800,000
Kaplan, Barbara       65073334     Transamerica Occidental Life Insurance Company    $3,399,000
Kelegian, Haig        JJ7186822    Lincoln National Life Insurance Company          $10,000,000
King, Iris            65073451     Transamerica Occidental Life Insurance Company    $1,034,000
Lentz, Ann            65076726     Transamerica Occidental Life Insurance Company    $3,000,000
Leyton, Evelyn        65074513     Transamerica Occidental Life Insurance Company    $3,000,000
                                                                                                  Page 160 of 251




Li, Lisa               6097828     Principal Life Insurance Company                 $10,000,000
Lipschultz, Gail      65072979     Transamerica Occidental Life Insurance Company    $3,300,000
Liss, Rochelle        65074351     Transamerica Occidental Life Insurance Company    $1,150,000
Mallia, Joseph      U10016482L     American General Life Insurance Company           $1,250,000
Malton, Donald        65073286     Transamerica Occidental Life Insurance Company    $1,000,000
Marks, Robert         65074551    Transamerica Occidental Life Insurance Company    $4,505,000
Marquez, Louis      01N1363272    Lincoln Benefit Life Company                       $630,700
Martens, Eunice       65065863    Transamerica Occidental Life Insurance Company     $630,000
McGibbons, Paul       65073844    Transamerica Occidental Life Insurance Company    $7,140,000
McMillen, Cynthia     65082148    Transamerica Occidental Life Insurance Company    $3,450,000
Meeirovici, Adela   01N1497848    Lincoln Benefit Life Company                      $2,000,000
Menkes, Howard        65080062    Transamerica Occidental Life Insurance Company    $1,850,000
Miller, Bernice      020043650    Sun Life Assurance Company of Canada              $1,200,000
Miller, Beverly       65080994    Transamerica Occidental Life Insurance Company    $1,100,000
Miller, Helene        30028404    Sun Life Assurance Company of Canada              $3,500,000
Mintz, Barbara        65071673    Transamerica Occidental Life Insurance Company    $2,500,000
Mitchel, Evelyn       30027091    Sun Life Assurance Company of Canada              $2,600,000
                                                                                                 Case 18-12808-KG




Moss, David           65074307    Transamerica Occidental Life Insurance Company    $1,255,000
Murphy, Margaret    01N1363294    Lincoln Benefit Life Company                      $5,800,000
Neihouser, Sally      65080993    Transamerica Occidental Life Insurance Company    $1,600,000
O'Connor, Una       JP-5583298    Jefferson Pilot Life Insurance Company            $5,000,000
                                                                                                 Doc 24-1




Paek, Jung            65074276    Transamerica Occidental Life Insurance Company    $1,140,000
Pancer, Sarah         65072320    Transamerica Occidental Life Insurance Company    $4,000,000
Parnes, Hannah        30027019    Sun Life Assurance Company of Canada              $8,000,000
Pashman, Harriet      65071304    Transamerica Occidental Life Insurance Company    $1,000,000
Pastore, Diane        30008864    Sun Life Assurance Company of Canada              $1,500,000
Paz, Arie            JJ-7099342   Lincoln National Life Insurance Company          $10,000,000
                                                                                                 Filed 12/17/18




Pelton, Virginia      65078626    Transamerica Occidental Life Insurance Company     $863,000
Peterson, Walter      65076261    Transamerica Occidental Life Insurance Company     $892,000
Pethes, Theodore     157214777    AXA Equitable Life Insurance Company              $1,000,000
Pieper, Raymond      020097034    Sun Life Assurance Company of Canada              $5,000,000
Portillo, Sharon     B00665674    Protective Life Insurance Company                 $3,000,000
Potter, Arlene        65074670    Transamerica Occidental Life Insurance Company    $3,000,000
                                                                                                 Page 161 of 251




Press, Lita           65073111    Transamerica Occidental Life Insurance Company    $8,990,000
Raven, Rose          94-819-919   John Hancock Life Insurance Company               $5,000,000
Rich, Veronica        65076992    Transamerica Occidental Life Insurance Company    $1,000,000
Rochell, Rochelle     65081845    Transamerica Occidental Life Insurance Company    $5,000,000
Rohatynsky, Ruth       6108886    Principal Life Insurance Company                 $10,000,000
Roncelli, Gary      BU1579389     United of Omaha Life Insurance Company             $850,000
Sachs, Irene              30002853    Sun Life Assurance Company of Canada              $2,500,000
Schooss, Elizabeth        65076424    Transamerica Occidental Life Insurance Company     $840,000
Shapiro, Shirley          95772331    John Hancock Life Insurance Company              $10,950,000
Shelowitz, Sheldon       160202218    AXA Equitable Life Insurance Company              $2,000,000
Sikora, William           60120388    Transamerica Life Insurance Company               $6,650,000
Silverman, Harlean       JJ-7008660   Lincoln National Life Insurance Company          $10,000,000
Skyler, Nola              65076764    Transamerica Occidental Life Insurance Company    $1,585,000
Sofer, Itzhak             65065900    Transamerica Occidental Life Insurance Company    $4,000,000
Solk, Donna               30028237    Sun Life Assurance Company of Canada             $10,000,000
Sparber, Carol            65072864    Transamerica Occidental Life Insurance Company    $8,000,000
Spohn, Ronald             30027988    Sun Life Assurance Company of Canada              $3,000,000
Storm, Paula              65073003    Transamerica Occidental Life Insurance Company    $2,538,000
                                                                                                     Case 18-12808-KG




Stravitz, Paul            65070201    Transamerica Occidental Life Insurance Company    $5,000,000
Sunshine, Rachelle        J103,032    Genworth Life and Annuity Insurance Company       $2,250,000
Talansky, Kalman          20144710    Sun Life Assurance Company of Canada              $2,500,000
Terzian, Berj           01N1385402    Lincoln Benefit Life Company                     $10,000,000
                                                                                                     Doc 24-1




Terzian, Berj           01N1337956    Lincoln Benefit Life Company                     $10,000,000
Thet, Anelia               4011513    ReliaStar Life Insurance Company                  $3,000,000
Todeschi, Carol           65074149    Transamerica Occidental Life Insurance Company    $1,600,000
Toyota, Yasuo             65083245    Transamerica Occidental Life Insurance Company    $1,000,000
Veytsman, Mariya         JJ7077893    Lincoln National Life Insurance Company           $5,000,000
Victor, George            30023575    Sun Life Assurance Company of Canada              $1,000,000
                                                                                                     Filed 12/17/18




Von Nordheim, Manfred     20158522    Sun Life Assurance Company of Canada              $3,000,000
Walters, William        01N1541912    Lincoln Benefit Life Company                      $3,000,000
Wasser, Martin            30023427    Sun Life Assurance Company of Canada              $5,000,000
Wilde, Forrest            65074123    Transamerica Occidental Life Insurance Company    $1,478,000
Willett, Roy             160219796    AXA Equitable Life Insurance Company              $1,500,000
Williamson, Betty        55-500-186   John Hancock Life Insurance Company               $2,400,000
                                                                                                     Page 162 of 251




Williamson, Betty       0600041488    Security Life of Denver Insurance Company          $675,000
Wineberg, Hannah        01N1358348    Lincoln Benefit Life Company                     $15,000,000
Wood, Lynn                65075260    Transamerica Occidental Life Insurance Company    $2,855,000
Woody, Marilyn            65082734    Transamerica Occidental Life Insurance Company    $1,000,000
Wright, Laurel            65069709    Transamerica Occidental Life Insurance Company    $3,100,000
Yoon, Paul                65081504    Transamerica Occidental Life Insurance Company    $2,345,000
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                                                        Initial Advance Lexington Schedule
                                  AIG Subrogated Policies

                                        [Attached]




DOC ID - 25503546.4
                Quote                                                            Policy                 Person-
Internal
                Internal                           Owner   Last   Name    Owner           First          Social                         ft                                                    Insurance                           Death   Benefit
                                          Policy                                                                              Policy                                                                         Company                                                       Current      Owner
   ID
                    ID                                                           Name                   Security


           88              91   Wagner                                   Arthur                   XXX-XX-XXXX            JP    5560836       Jefferson           Pilot       Life          Insurance                                                                     NA
                                                                                                                                                                                                          Company                  1000000000       Wilmington   Trust         as   Securities   Intermediary

        102              105    Cohen                                    Alice                    XXX-XX-XXXX             JF5550081          Jefferson           Pilot       Life          Insurance      Company                  10000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

        105              108    Levine                                   Corrinne                 XXX-XX-XXXX             JFSS48388          Jefferson           Pilot       Life          Insurance      Company                  10000000.00      Wilmington   Trust   N.A   as   Securities   Intermediary

        147              152    Birndorf                                 Simone                   353     34      1171   01N1303673          Lincoln          Benefit            Life                                                                                    N.A
                                                                                                                                                                                            Company                                 500000000       Wilmington   Trust         as   Securities   Intermediary

        160              166    Ganong                                   Violet                   112     20      0289   O1N12BSB18          Lincoln          Benefit            Life                                                                                    NA    as   Securities
                                                                                                                                                                                            Company                                 120000000       Wilmington   Trust                           Intermediary

        167              173    Malchiodi                                Ann                      040     22      9965    156219834                                          Life
                                                                                                                                             AXA       Equitable                           Insurance      Company                   1000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

     1131            1295       Adland                                   Marlene                  39B     30-7070         65086852           Transamerica                  Occidental             Life    Insurance     Company     5900000.00      Wilmington   Trust   NA    as   Securities   Intermediary

     1701            1908       Greenspan                                Howard                   347     30      9890    6S079661           Transamenca                   Occidental             Life    Insurance                                                      NA    as   Securities
                                                                                                                                                                                                                        Company     2000000.00      Wilmington   Trust                           Intermediary

    2027             2291       Pearlstein                               Ronald                   180     24      9601    97527514           Phoenix           Life      Insurance             Company                              4000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    2153             2420       Howard                                   Oarlerie                 520     38      5487        8215592        Penn       Mutual            Life          Insurance                                                                        NA    as   Securities
                                                                                                                                                                                                         Company                    4500000.00      Wilmington   Trust                           Intermediary

    2165            2428        Frumkes                                  Roberta                  XXX-XX-XXXX                 162939S        ING       Life    Insurance and                   Annuity      Company                10000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    2458             2744       Grand                                    Barbara                  112     28      1398    6S08S718           Transamerica                  Occidental             Ufe     Insurance     Company     3000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    2568             2852       Feinerman                                                         014                    JJ    7030890       Lincoln          National              Life
                                                                         Myrna                            28-6334                                                                            Insurance     Company                  4000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    2885             2260       Mann         Anico   U0S92159            Arnold                   026     18 3878         U0592159           American                 National             Insurance      Company                   7000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    2909             3170       Drees                                    Robert                   564     30      5038    93669265           John       Hancock             Life           Insurance                                                                                Securities
                                                                                                                                                                                                                                                                                                                Case 18-12808-KG




                                                                                                                                                                                                         Company                    2000000.00      Wilmington   Trust   NA    as                Intermediary

    2946             1934       Nichols                                  Joanne                   534     32      6610    93655025           John       Hancock             Life           Insurance     Company                    2300000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    3291            3543        Shechter                                 fehuda                   267                                                   Hancock             Life
                                                                                                          9S-7850         93534683           John                                          Insurance     Company                   1SUOU000.tJO     Wilmington    rust   NA    as   Securities   Intermediary

    3449            3684        Padula                                   Philip                   022     30      5374    97528057           Phoenix           Life      Insurance             Company                              8000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    3822            4056                                                                          579     48-4115        JJ    7031836       Lincoln          National              Life     Insurance                                                                   NA    as   Securities
                                Petrey                                   Eugene                                                                                                                            Company                  4000000.00      Wilmington   Trust                           Intermediary

    3984            4225        Koffler                                  Joan                     XXX-XX-XXXX             65080815           Transamerica                  Occidental             Life    Insurance                 3000000.00                   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                                        Company                     Wilmington

    4004            4247        Rothstein                                Anita                    070     18 5684         65081812           Transamerica                  Occidental             Life    Insurance     Company     2000000.00      Wilmington   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                                                                                                                                Doc 24-1




    4227            4459        Friedman                                 Robert                   094     30      3329    JJ7047608          Lincoln          National              Life     Insurance                                                                   NA    as   Securities
                                                                                                                                                                                                           Company                  5000000.00      Wilmington   Trust                           Intermediary

    4263            4492        McMillan                                 Agnes                    142     60      7115   01N1397260          Lincoln          Benefit            Life                                               3000000.00      Wilmington   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                            Company
    4875            5093        Crandus                                  Robert                   XXX-XX-XXXX             65077275           Transamerica                  Occidental             Life    Insurance                                                      NA         Securities
                                                                                                                                                                                                                        Company     1S00000.00      Wilmington   Trust         as                Intermediary

    4910            5131        Sharkey                                  Arlene                   051     32      7767    650775S0           Transamerica                  Occidental            Life     Insurance     Company     4000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    4980             5011       Rothberg                                 Sandra                   088     28      7081    65082019           Transamerica                  Occidental             Life    Insurance     Company     3000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    S077             S293       yoon                                     Helen                    570     94      1392    65086865           Transamerica                  Occidental             Life    Insurance     Company     2345000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    5143             5362       Zelin                                    Rita                     109     20-071S        JJ    7043718       Lincoln          National              Life     Insurance                              2500000.00                   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                           Company                                  Wilmington

    51S2            5371        Gallego                                  Adelina                  XXX-XX-XXXX            B500063390          Nationwide                 Life        Insurance       Company        of   America     5000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    5311            5533        Sumner                                   Iris                     XXX-XX-XXXX             JJ7023572          Lincoln          National              Life     Insurance                                                           Trust   NA    as   Securities
                                                                                                                                                                                                           Company                 10000000.00      Wilmington                                   Intermediary
                                                                                                                                                                                                                                                                                                                Filed 12/17/18




    5424            5631        Lavernia                                 Nidia                    XXX-XX-XXXX             65082723           Transamerica                  Occidental            Life     Insurance     Company    10000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    S440            5666                                                 Deanne                   XXX-XX-XXXX             97526483           Phoenix           Life      Insurance                                                                                       NA    as   Securities
                                Czapla                                                                                                                                                         Company                              2000000.00      Wilmington   Trust                           Intermediary

    5459             S685       Dennis                                   Pauline                  167     26      7S42   01N1383511          Lincoln          Benefit            Life                                                                            Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                            Company                                 5000000.00      Wilmington

                                                                                                                                             Lincoln          National              Life                                                                                 NA         Securities
    5512             57S4       Sobon                                    Michael                  024     26      7937    JJ7032907                                                          Insurance     Company                 10000000.00      Wilmington   Trust         as                Intermediary

    SS13            5755        Sobon                                    Michael                  024     26      7937    JJ7032988          Lincoln          National              Life     Insurance     Company                 10000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    S659            5901        ThaI                                     Theresa                  121-28-9S20             97S26048           Phoenix           Life      Insurance             Company                              5600000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    S803            6046        Oash                                                              420     46      2321    6S086678           Transamerica                  Occidental            Life     Insurance     Company     217300000       Wilmington   Trust   NA    as   Securities   Intermediary
                                                                         Joyce

    5863            4396        Valentine                                Patricia                 050     30      7S17    65080003           Transamerica                  Occidental            Life     Insurance     Company     2000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    5963            6207        Cramer                                   Lois                     476     42      5382   01N1397185          Lincoln          Benefit            Life                                               1500000.00      Wilmington   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                            Company
    5992             6237       Datoli                                   Amira                    109     44-1468         6S080809           Transamerica                  Occidental             Life    Insurance     Company     3000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    6173             6228       Gabay                                    Ida                      121     44-1007         6S0834S4           Transamerica                  Occidental             Life    Insurance     Company     3500000.00      Wilmington   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                                                                                                                                Page 164 of 251




    6696             6937       Kelly                                    Elizabeth                330     32      7608   01N1391727          Lincoln          Benefit            Life       Company                                 5.000000.00     Wilmington   Trust   NA    as   Securities   Intermediary

    6810            7050        Licciardello                             Erico                    149     24      8798    JJ7028581          Lincoln          National              Life     Insurance                                                                   NA    as   Securities
                                                                                                                                                                                                           Company                 10000000.00      Wilmington   Trust                           Intermediary

    6875            711S        Meyerowitz                               Pauline                  121     26      1792   U000043608          Union        Central           Life           Insurance                                1200000.00                   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                         Company                                    Wilmington

    7309            7550        Gilbert                                  Marianne                 XXX-XX-XXXX             158213073          AXA       Equitable             Ufe           Insurance     Company                    5000000.00      Wilmington   Trust   NA    as   Securities   Intermediary

    7564            7806        LaBarbera                                Lucille                  XXX-XX-XXXX            01N1397539          Lincoln          Benefit            Ufe                                                1800000.00      Wilmington   Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                            Company
    79S3            8194        Josephson                                Adriene                  267     48      8942    JJ7034870          Lincoln          National              Ufe      Insurance     Company                  3000000.00      Wilmington   Trust   NA    as   Securities   Intermediary
 7982    8223   Bullock                                    Earl              366   28   7283     93650900       John       Hancock              Life          Insurance      Company                400000000                               N.A   as   Securities
                                                                                                                                                                                                                       Wilmington   Trust                           Intermediary

 8022    8263   King        LBL   01N1388103               James             342   26   5152   01N138B103       Lincoln       Benefit            Life          Company                             10000000.00                              NA    as   Securities
                                                                                                                                                                                                                       wilmington   Trust                           Intermediary
 8478    8722   Kent      Leff                             Marjorie          101   30   1760         6096232    Principal        Life     Insurance                                                                                         NA         Securities
                                                                                                                                                                   Company                          soooooo.oo         wilmington   Trust         as                Intermediary

 8574    8818   Dennis                                     Pauline           167-26     7542     JJ7032340      Lincoln       National                 Life     Insurance      Company             10000000.00         wilmington   Trust   NA    as   Securities   Intermediary
 8S90    8834   Anderson                                   Jean              264-75     9966   U000044574       Union        Central            Life          Insurance      Company                4000000.00         wilmington   Trust   NA    as   Securities   Intermediary
 9391    9642   Neacato                                    Victor            565-53     4503         5097407    Principal        Life     Insurance                                                                                         N.A        Securities
                                                                                                                                                                   Company                          s000ooo.oo         wilmington   Trust         as                Intermediary

10057   10313   Anderson                                   Gloria            501   28   6260   B500072110       Nationwide              Life       and                       Insurance                                                      N.A   as   Securities
                                                                                                                                                                Annuity                  Company    2000000.00         Wilmington   Trust                           Intermediary

10208   10454   Ribotsky                                   Harriet           1S3   30   6316   01N1401924       Lincoln       Benefit            Life          Company                              9000000.00                      Trust   N.A   as   Securities
                                                                                                                                                                                                                       Wilmington                                   Intermediary

10440   10700   Aaron                                      Marilyn           087   28   9703     JJ7043345      Lincoln       National                 Life     Insurance                                                                   N.A        Securities
                                                                                                                                                                               Company              2700000.00         Wilmington   Trust         as                Intermediary

10444   10704   Davis                                      David             095   24   1382     JJ7043741      Uncoln        National                 Life     Insurance                                                                   N.A   as   Securities
                                                                                                                                                                               Company              2000000.00         Wilmington   Trust                           Intermediary

10S08   10759   Doten                                      Beverly           549   42   3389    JJ7020323       Lincoln       National                 Life     Insurance      Company             15000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

10602   10854   Peel                                                         S2B   44   7620    JJ    7051204   Lincoln       National                 Life     Insurance                                                                   N.A
                                                           Carolyn                                                                                                             Company             10000000.00         Wilmington   Trust         as   Securities   Intermediary

10723   1O9BS   Haber                                      Eleanor           054   30   1887    JJ    7060127   Lincoln       National                 Life     Insurance                                                                   N.A   as   Securities
                                                                                                                                                                               Company              3000000.00         Wilmington   Trust                           Intermediary

10824   11086   Elkins                                     Adele             151-28     4042    1S82240S6       AXA                             Life          Insurance                                                                     N.A
                                                                                                                          Equitable                                          Company                2S00000.D0         Wilmington   Trust         as   Securities   Intermediary

10984   11245   oakley                                     Ronald            380   40   8055         421947     US   Financial           Life          Insurance                                                                            N.A        Securities
                                                                                                                                                                            Company                 5000000.00         Wilmington   Trust         as                Intermediary

10991   112S3   Cocciardi            Trans   00060133414   Giovanna          502   50   8657     50133414       Transamerica                Occidental               Life    Insurance                                                      N.A   as   Securities
                                                                                                                                                                                         Company    4S00000.00         Wilmington   Trust                           Intermediary

10996   11258                                              Joan              XXX-XX-XXXX        JJ    7044457   Lincoln       National                 Life
                Hyman                                                                                                                                           Insurance      Company              8000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11002           Schaefer
                                                                                                                                                                                                                                                                                   Case 18-12808-KG




        11264                                              Peggy             573-32     9535    1S6227227       AXA       Equitable             Life          Insurance      Company               10000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11081   11343                                              Edward            119-20     5756   01N1273746       Lincoln       Benefit            Life
                Mayers                                                                                                                                         Company                              3000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11299   11563   Mishan                                     Janet             XXX-XX-XXXX         93540243       John       Hancock              Ufe           Insurance      Company               10000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11338   11603   Albright                                   Inger             538   38   3404     97S289SS       Phoenix         Life     Insurance                                                                                  Trust   N.A   as   Securities
                                                                                                                                                                  Company                           S000000.00         Wilmington                                   Intermediary

11413   11581   Zack                                       Julia             122   24   S226   01N1408137       Lincoln       Benefit            Life          Company                              8000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11450   11718   Peel                                                         S2B-44-7520        JJ-7041394      Lincoln       National                 Life     Insurance                                                                   N.A   as   Securities
                                                           Carolyn                                                                                                             Company             10000000.00         Wilmington   Trust                           Intermediary

11514   11782   Bruchmiller                                Charles           463   38   2578    JJ7035211       Lincoln       National                 Ufe      Insurance      Company             10000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                                                   Doc 24-1




11S1B   11786   Gill                                                         3BS   28 0524       93222222       John       Hancock              Life                                                                                        N.A        Securities
                                                           Mary                                                                                               Insurance      Company               10000000.00         Wilmington   Trust         as                Intermediary

                Gill
11S20   11788                                              Mary              385   28 0524       93299071       John       Hancock              Ufe           Insurance      Company               10000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11823   12099   McGinlay                                   Dorothy           328   24 0368     01N1391909       Uncoln        Benefit            Life          Company                              22S0000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

11983   12261   Kimmel                                     Lenore            053   20 0057     01N125B527       Uncoln        Benefit            Life          Company                              2000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12225   12506   Kerner                                     Doris             OS1   28   2540          7048203   Lincoln       National                 Life     Insurance      Company              1400000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12395   1267S   Vogel                                      Carole            185   25   6324   01N1387372       Lincoln       Benefit            Ufe           Company                              1000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12401   12581   Grossman                                   Barbara           280   25   8S33     65081734       Transamerica                Occidental              Life     Insurance   Company    3000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12403   12583   Jean      Philippe                         Lucina            XXX-XX-XXXX         55083195       Transamerica                Occidental              Life     Insurance   Company    7S00000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12404   12684   Morelli                                                      079   26 0464       SSO7SB3S       Transamerica                Occidental              Ufe      Insurance              2000000.00                      Trust   N.A   as   Securities   Intermediary
                                                           Dorothy                                                                                                                       Company                       Wilmington
                                                                                                                                                                                                                                                                                   Filed 12/17/18




12405   12585   Klausman                                   Ruth              208   25 8422       5S075151       Transamerica                Occidental              Ufe      Insurance   Company    4000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12405   12585   Namon                                      June              127   20 3974       55077SB5       Transamerica                Occidental              Life     Insurance   Company    1750000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12407   12587   Landsberger                                Irma              088   28   8856     6S0734S4       Transamerica                Occidental              Life     Insurance   Company    1300000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12408   12588   Pizzo                                      Vito              100-20     7087     65051818       Transamerica                Occidental              Life     Insurance   Company    2000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12409   12589   Turovitz                                   Marlene           325-25     3546     55077156       Transamerica                Occidental              Life     Insurance   Company    3000000.00         Wilmington   Trust         as   Securities   Intermediary

12410   12590   Drolson                                    Signe     Luise   397   30   5297     6S0792B4       Transamerica                Occidental              Life     Insurance   Company    4000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12412   12692   Samuels                                    Judith            264   42 8633       550B2041       Transamerica                Occidental              Life     Insurance   Company    1379000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12414   12694   Schmeyer                                   Felice            123   24   1439     65077172       Transamerica                Occidental              Ufe      Insurance   Company   10000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12416   12695   Friedman                                   Robert            113   28 9749       55087433       Transamerica                Occidental              Life     Insurance   Company    B000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12417   12597   Klienbach                                  Donald            1S4   24 4373       6S0B8S43       Transamerica                Occidental               Life    Insurance                                                      N.A   as   Securities
                                                                                                                                                                                         Company    2000000.00         Wilmington   Trust                           Intermediary

1242S   12705   Tomb                                       Marilyn           210-25     0005     65073380       Transamerica                Occidental              Life     Insurance                825000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                                                   Page 165 of 251




                                                                                                                                                                                         Company
12426   12706   Cushner                                    reona             083-30     8229     65076792       Trancamerica                Occidental              life     Insurance   Company    qoo0000       00   Wilmington   Trust         as   Securities   Intermediary

12427   12707   Meyer                                      Louis             509-34     2095     6S079476       Transamerica                Occidental              Ufe      Insurance              2000000.00                      Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                         Company                       Wilmington

124SS   12735   Gordon                                     Ronald            527   S6   90S3     97533105       Phoenix         Life     Insurance                Company                           4000000.00                      Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                       Wilmington

12493   12774   Schwab                                     Jackie            14S-28             JJ    7055827   Lincoln       National                 Life                                                                                 N.A        Securities
                                                                                        SSBB                                                                    Insurance      Company             20000000.00         Wilmington   Trust         as                Intermediary

12S43   12824   Daniel                                     Charlotte         465   28-5S03      157208959       AXA       Equitable             Ufe           Insurance      Company                1000000.00         Wilmington   Trust   N.A   as   Securities   Intermediary

12SB1                                                      Edward                                                                Life                                                                                                       N.A        Securities
        12862   Karayan                                                      O1S   46 3282           6103530    Principal                 Insurance                Company                         10000000.00         Wilmington   Trust         as                Intermediary
12592   12873   Moss                                     Valerie     XXX-XX-XXXX       01N1363280        Lincoln       Benefit        Life       Company                                777350      00                 Trust   NA    as   Securities
                                                                                                                                                                                                         Wilmington                                    Intermediary
12601   12882   Thomas                                                                  JJ
                                                          Bernice    422-28     7424          703SS81    Lincoln       National          Life     Insurance     Company               4000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

12607   12888   Schwartz                                 Gordon      146-24     6409     97530830        Phoenix        Life      Insurance         Company                           5000000.00                               NA    as   Securities
                                                                                                                                                                                                         Wilmington    Trust                           Intermediary

12620   12901   Silverstein                               Norman     104   28   5706    JJ70S3989        Lincoln       National          Life     Insurance    Company                3000000.00         Wilmington    Trust   NA    as   Securities   Intermediary
12631   12912   Kratzer                                  Janet       300                JJ               Lincoln       National          Life                                                                                             Securities
                                                                           30 4344            7050328                                             Insurance                                                                    NA
                                                                                                                                                               Company                2000000.00         Wilmington    Trust         as                Intermediary

12632   12913   Persion                                  Betty       564 48     2462   ZUA413140         West       Coast      Life    Insurance        Company                                                                NA    as   Securities
                                                                                                                                                                                      4000000.00         Wilmington    Trust                           Intermediary

12639   12920   Freeman                                              03S   20-5370      JJ    7004466    Lincoln       National          Life     Insurance                                                                    NA         Securities
                                                         Nancy                                                                                                 Company                  830000.00        Wilmington    Trust         as                Intermediary

12642   12923   Rosentha            LBL     01N1365478   Evelyn      162   32 9691     O1N     1365478   Lincoln       Benefit        Life                                                                                     NA         Securities
                                                                                                                                                 Company                              4000000.00         Wilmington    Trust         as                Intermediary

12645   12926   Weber                                    Carolyn     537   32 4781     O1N 1363360       Lincoln       Benefit        Life                                                                                     NA    as   Securities
                                                                                                                                                 Company                              2405000.00         Wilmington    Trust                           Intermediary

12671   12952   Gill                                                 38S   28 0524       93299063        John       Hancock         Life
                                                          Mary                                                                                  Insurance     Company                 6000000.00         Wilmington    Trust   NA    as   Secunties    Intermediary

12721   13002                                            Tomiko      524-46     9480   01N1363581        Lincoln       Benefit        Life
                Bengtson                                                                                                                         Company                                775000.00        Wilmington    Trust   NA    as   Securities   Intermediary

12736   13017   Droege                                   Shirley     297   24   8982     6S08103S        Transamerics              Occidental         Life    Insurance                                                        NA    as   Securities
                                                                                                                                                                           Company    212800000          Wilmington    Trust                           Intermediary

12737   13018   Larkins                                  Frank       2S0 46-9739         6S08S648        Transamerica              Occidental         Life    Insurance    Company    1955000.00                       Trust   NA    as   Securities
                                                                                                                                                                                                         Wilmington                                    Intermediary

12739   13020   Schneider                                James       XXX-XX-XXXX         6S087341        Transamerica              Occidental         Life    Insurance    Company    7000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

12898   13180   Goldstein                                Frederick   43742      1031    V123S732         Prudential           Insurance                         of   America                                                   NA    as   Securities
                                                                                                                                                  Company                             4000000.00         Wilmington    Trust                           Intermediary

12900   13182                                                        565   38                                                                          Life
                Deininger                                 Mary                  14SS     6S0847SS        Transamerica              Occidental                 Insurance    Company   10000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

12901   13183   Dunoff                                   Barbara     173   28   8649     97S26470        PHL       Variable       Insurance          Company                          5000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

12902   13184   Gelber                                   Celia       057   22 4685       97S24610        PHL       Variable       Insurance                                                                            Trust   NA    as   Securities
                                                                                                                                                     Company                          1500000.00         Wilmington                                    Intermediary
                                                                                                                                                                                                                                                                      Case 18-12808-KG




12948   13230   Karayan                                  Edward      O1S-46-3    282         6103S29     Principal       Life     Insurance                                          10000000.00                       Trust   NA    as   Securities
                                                                                                                                                     Company                                             Wilmington                                    Intermediary

13136   13420   LaTreill                                 Rene        121   26-3827      JJ7021304        Liiicoln      Ndtional         Life      Insurance    Company                8000000.00         Wilmiiigton   Trust   N.A   as   Securities   Intermediary

13255   13541   McAden                                   John        226   32 6660      JJ    7052400    Lincoln       National         Life      Insurance    Company                5000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13343   13629   Owen                                     James       XXX-XX-XXXX        JJ    7064012    Lincoln       National          Ufe                                                                                   NA
                                                                                                                                                  Insurance    Company               10000000.00         Wilmington    Trust         as   Securities   Intermediary

133SS   13641   Keiser                                   Evelyn      205   14   7423     650682S0        Transamerica              Occidental         Life    Insurance    Company    970000000          Wilmington    Trust   NA    as   Securities   Intermediary

133S6   13642   tdwards                                              104   28   6368     65073389        Transamerica              Occidental         Life    Insurance               7784000.00                               NA    as   Securities
                                                         Gary                                                                                                              Company                       Wilmington    Trust                           Intermediary
                                                                                                                                                                                                                                                                      Doc 24-1




13357   13643   Richman                                  Elaine      364   34-5S71       6S08226S        Transamerica              Occidental         Life    Insurance                                                        NA         Securities
                                                                                                                                                                           Company    8000000.00         Wilmington    Trust         as                Intermediary

13358   13644   Murad                                    Arline      058   24 3174       6S08S344        Transamerica              Occidental         Life    Insurance                                                Trust   NA    as   Securities
                                                                                                                                                                           Company    3000000.00         Wilmington                                    Intermediary

13359   13645   Glazer                                   Barbara     XXX-XX-XXXX         65081741        Transamerica              Occidental         Life    Insurance               2000000.00                       Trust   NA    as   Securities
                                                                                                                                                                           Company                       Wilmington                                    Intermediary

13360   13646   Mastroianni                              Ronald      104   24   1334     6S063171        Transamerica              Occidental         Life    Insurance    Company    9800000.00         Wilmington    Trust   N.A   as   Secunties    Intermediary

13361   13647   Posner                                   Howard      0S4   28-2618       65079334        Transamerica              Occidental         Life    Insurance    Company   10000000.00         Wilmington    Trust   N.A   as   Securities   Intermediary

13363   13649   Goldman                                  Moishe      131-30     8222     65074608        Transamerica              Occidental         Life    Insurance               8412000.00         Wilmington    Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                           Company
13365   13651   King        Trans    65080168            James       342   26-5152       6S080168        Transamerica              Occidental         Life    Insurance    Company   10000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13367   13653   Rosenberg           Trans     65078496   Gerald      130-28-76S7         6S078496        Transamerica              Occidental         Life    Insurance    Company    2500000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13370   13656   Wolf                                     Dolores     264   52 3087       65089270        Transamenca               Occidental         Life    Insurance                                                        N.A        Securities
                                                                                                                                                                           Company   10000000.00         Wilmington    Trust         as                Intermediary
                                                                                                                                                                                                                                                                      Filed 12/17/18




13374   13660   Cohen                                    Corinne     019   28 6184       6S083507        Transamerica              Occidental         Life    Insurance    Company    5000000.00         Wilmington    Trust   N.A   as   Securities   Intermediary

13375   13661   Heimburger                               Jorgen      549   74-1454       6S069863        Transamerica              Occidental         Life    Insurance    Company    5000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13376   13662   Rothberg                                 Sherman     0S8-24-2341         6S077728        Transamerica              Occidental         Life    Insurance    Company    3000000.00         Wilmington    Trust   N.A   as   Securities   Intermediary

13401   13667   Williams                                 Teresa      342   30-S773     01N1402888        Lincoln       Benefit        Life       Company                              2000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13443   13729   Bray                                     John        423   34 8559       6S076990        Transamerica              Occidental         Life    Insurance    Company   10000000.00         Wilmington    Trust   N.A   as   Securities   Intermediary

13444   13730   Cho                                      Robert      556   76-4377       6S080835        Transamerica              Occidental         Life    Insurance    Company    1100000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13445   13731   Cong        Huyen                        Nga-Kinh    586   54 5963       65082987        Transamenca               Occidental         Life    Insurance    Company    1000000.00         Wilmington    Trust   N.A   as   Securities   Intermediary

13447   13733   Kruger                                   Bradford    546   46   3443     65067896        Transamerica              Occidental         Life    Insurance    Company    3000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13448   13734   Lewis                                    Roy         27 1-28-1050        60146444        Transamerica              Occidental         Life    Insurance    Company   10000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13451   13737   Mills                                    Mary        391   32-3697       65077093        Transamerica              Occidental         Life    Insurance    Company    117250000          Wilmington    Trust   NA    as   Securities   Intermediary

13459   1374S   Wong                                     Cynthia     S66-S0-0S73         65074126        Transamerica              Occidental         Life    Insurance    Company    5200000.00         Wilmington    Trust   NA    as   Securities   Intermediary
                                                                                                                                                                                                                                                                      Page 166 of 251




13465   137S1   Morrow                                   Dennis      S70-24     81SS   VFS1778430        Pacific      Life    Insurance            Company                            3000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13492   13778   Kelly                                    James       353-26-2 136        65076428        Transamerica              Occidental         Life    Insurance    Company    8000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13495   13781   Rothbard                                 Morton      143   24   0643     6S071695        Transamerica              Occidental         Life    Insurance    Company   10000000.00         Wilmington    Trust   NA    as   Securities   Intermediary

13608   13894   Clodfelter          Trans     6S0780SS   Norman      237-S4-42S3        650780SS         Transamerica              Occidental         Life    Insurance                                                        NA    as   Securities
                                                                                                                                                                           Company    2000000.00         Wilmington    Trust                           Intermediary

13695   1394S   Reif                                     Jocelan     570   38-4105      6S074934         Transamerica              Occidental         Life    Insurance                                                Trust   NA    as   Securities   Intermediary
                                                                                                                                                                           Company    2025000.00         Wilmington

13697   13942   Bascom                                   Glen        570-58-2 166        6S07S931        Transamerica              Occidental         Life    Insurance              1000000000          Wilmington    Trust   NA    as   Securities   Intermediary
                                                                                                                                                                           Company
13709   13958   Cowden                  Ann         417   42-3465      65085465          Transamerica                       Occidental            Life   Insurance   Company     4200000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
13710   139S9   Watson                  Howard      522   42   2428    65076586          Transamerica                       Occidental            Life   Insurance                                                      NA         Securities
                                                                                                                                                                     Company     3000000.00        Wilmington   Trust         as                Intermediary

13779   14027   Fotheringham            Stephen     529-40     0923   01N1392196         Lincoln       Benefit                Life          Company                              4000000.00                             N.A   as   Securities
                                                                                                                                                                                                   Wilmington   Trust                           Intermediary

13841   14090   Porter                  Lorna       529   44-5024     O1N    1392008     Lincoln       Benefit                Life          Company                              4000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
13844   14093   PohI                    Phyllis     089   28   5919   O1N    1364514     Lincoln       Benefit                Life                                                                                      N.A        Securities
                                                                                                                                            Company                              9000000.00        Wilmington   Trust         as                Intermediary

14071   14319                           Jane        514   32          JJ                 Lincoln       National                     Life
                Hopkins                                        5345         7047594                                                          Insurance     Company               5000000.00        Wilmington   Trust   NA    as   Securities   Intermediary
 9406    9657   Tendler                 Beatrice    109   7R   B76         SB   20908    AXA                                 Life          Insurance
                                                                                                   Equitable                                             Company                10000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
11188   11451   Haug                    Robert      510   24   1338    JJ7043605         Lincoln       National                     Life     Insurance                                                                  N.A        Securities
                                                                                                                                                           Company               2000000.00        Wilmington   Trust         as                Intermediary

13761   14009   Orr                     Abe         561   39   4322    158224779         AXA       Equitable                 Life          Insurance                                                                          as   Securities
                                                                                                                                                         Company                 3000000.00        Wilmington   Trust                           Intermediary

14478   14726   Kerns                   Lee         559   36   9987   JJ    7026404      Lincoln       National                     Life     Insurance                                                                  N.A
                                                                                                                                                           Company               4500000.00        Wilmington   Trust         as   Securities   Intermediary

15308   15551   Adler                   Bernyce     XXX-XX-XXXX        158219837         AXA       Equitable                 Life          Insurance                                                                    N.A   as   Securities
                                                                                                                                                         Company                 5000000.00        Wilmington   Trust                           Intermediary

16931   17173   Ceppos                  Neal        134   30   4879        6110717       Principal            Life      Insurance                                                                               Trust   N.A   as   Securities
                                                                                                                                                Company                          9000000.00        Wilmington                                   Intermediary

17325   17566   Berne                   Jack        262   52   1296        6110804       Principal            Life      Insurance               Company                          4000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

17621   17861   Levy                    Leonard     XXX-XX-XXXX        158223944         AXA                                 Life          Insurance                                                                    N.A   as   Securities
                                                                                                   Equitable                                             Company                 5000000.00        Wilmington   Trust                           Intermediary

18703   18941   Young                   Gilbert     524   50-4763     8500132760         Nationwide                  Life           and Annuity          Insurance               5000000.00                     Trust   N.A   as Securities
                                                                                                                                                                     Company                       Wilmington                                   Intermediary

19570   19808   Reppas                  Katherine   556   42-7632     01N1426651         Lincoln       Benefit                Life          Company                              6500000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

19571   19809   Reppas                  Katherine   556   42-7632     O1N    1426288     Lincoln       Benefit                Life          Company                              6500000.00        Wilmington   Trust   N.A   as Securities     Intermediary

19572   19810                           Katherine   XXX-XX-XXXX       DiN    1426901     Lincoln       Benefit                Life
                Reppas                                                                                                                      Company                              6500000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                               Case 18-12808-KG




19618   19856   Fernandez               Benito      127   32   5250        4010545       ReliaStar            Life      Insurance                                                                                       N.A
                                                                                                                                                Company                          5000000.00        Wilmington   Trust         as   Securities   Intermediary

20060   20296   Dale                                137   28   1824        4010819       ReliaStar            Life      Insurance                                                                                       N.A   as   Securities
                                        Nancy                                                                                                   Company                          3000000.00        Wilmington   Trust                           Intermediary

20162   20398   Nusim                   Marcia      107   30   7409        6116121                            Life      Insurance                                                                                       N.A        Securities
                                                                                         Principal                                              Company                          4000000.00        Wilmington   Trust         as                Intermediary

21141   21360   Clifton                 Clara       452   52   2974        4010004       ReliaStar            Life          Insurance           Company                          1500000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

21436   21655   Neuss                               569               JJ                 Lincoln       National                     Life
                                        Helga             66-3119           7097975                                                          Insurance     Company               8000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

21716   21935   Posner       Goldberg   Sandra      106   26   2617        6117420       Principal            Life      Insurance               Company                          3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
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22017   22236   Brunetti                Estelle     573   38   8721        6112214       Principal            Life      Insurance               Company                          5000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

22118   22337                                       090   30           159208685                                             Life
                Eiglarsh                Lawrence               7661                      AXA       Equitable                               Insurance     Company                 6000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

22129   22348   Wood                    Sarah       XXX-XX-XXXX            4010113       ReliaStar            Life      Insurance               Company                          3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

23253   23471   Thomas                  Virgil      266   52   7282        6115178       Principal        Life          Insurance               Company                          5000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

23634   23852   Rubinstein              Martin      148   18-2044     JJ    7118891      Lincoln       National                     Life     Insurance     Company               2000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

23721   23939   Mersola                 Carl        552   38   5839        4010704       ReliaStar            Life                                                                                                      N.A
                                                                                                                            Insurance           Company                         10000000.00        Wilmington   Trust         as Securities     Intermediary

23966   24184   Peterson                Janice      394   34   2284   8500161900         Nationwide                  Life           and Annuity          Insurance                                                      N.A   as   Securities
                                                                                                                                                                     Company     3500000.00        Wilmington   Trust                           Intermediary

24397   24614   ltzkowitz               Joseph      131   28-0296           7004389      Lincoln       Life          And                                      of   New   York                                   Trust   N.A   as   Securities
                                                                                                                                   Annuity       Company                         1500000.00        Wilmington                                   Intermediary

24822   25038   Sarnacki                Carl        382   30-8916          6118527       Principal            Life      Insurance               Company                          S000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                               Filed 12/17/18




25033   25248   Schepps                 Joan        114-28     5767        4010998       ReliaStar            Life      Insurance               Company                          3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

25772   25986   Berger                  Lillian     051   32   8311        6110977       Principal        Life          Insurance                                               10000000.00                     Trust   N.A   as   Securities   Intermediary
                                                                                                                                                Company                                            Wilmington

25816   26030   Nunk                                112   18 8175      JJ7029621         Lincoln       National                     Life     Insurance                                                                  N.A   as   Securities
                                        Marilyn                                                                                                            Company               2500000.00        Wilmington   Trust                           Intermediary

25930   26144   Howard                  Sheila      XXX-XX-XXXX       01N1308807         Lincoln       Benefit                Life                                                            00                        N.A   as   Securities
                                                                                                                                            Company                              3000000           Wilmington   Trust                           Intermediary

26032   26246   Ehrlich                 Marcia      129   28-0472          4501556       ReliaStar            Life      Insurance               Company                          2000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

26289   26503   Stubenrauch             Edward      XXX-XX-XXXX            6117597       Principal            Life      Insurance               Company                          3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

26332   26546   Weiss                   Isadora     108   28   8681        4010997                       Life         of      Denver           Insurance                                                        Trust   N.A   as   Securities   Intermediary
                                                                                         Security                                                            Company             250000000         Wilmington

26501   26715   Koch                    Joan        156-24     8202        4011025       ReliaStar            Life      Insurance                                                                                       N.A   as   Securities
                                                                                                                                                Company                          2000000.00        Wilmington   Trust                           Intermediary

26940   27154   Ellis                   Charles     569   54   1873    159217699         AXA                                 Life          Insurance                                                                    N.A   as   Secunties
                                                                                                   Equitable                                             Company                10000000.00        Wilmington   Trust                           Intermediary

26991   27205   Richman                 Michael     124   24   7499   01N1455059         Lincoln       Benefit                Life                                               1000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                            Company
27073   27287   Holt                    Jo          XXX-XX-XXXX            4011026       ReliaStar            Life      Insurance               Company                          500000000         Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                               Page 167 of 251




27216   27430   Buchanan                William     143   28   9774   94     567   138   John       Hancock                 Life           Insurance                                                            Trust   N.A   as   Securities   Intermediary
                                                                                                                                                         Company                 800000000         Wilmington

27759   27973   Heister                 Henry       XXX-XX-XXXX       159    219-085     AXA       Equitable                 Life          Insurance     Company                 1000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

27888   28102   Harber                  Walter      413   66   2686   8500227350         Nationwide                  Life          and                   Insurance                                                      N.A   as   Securities
                                                                                                                                             Annuity                 Company    10000000.00        Wilmington   Trust                           Intermediary

28661   28875   Henry                   Joan        210   26   6351        4011131       ReliaStar            Life      Insurance               Company                          487S000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

28777   28991   Arlen                   Myron       XXX-XX-XXXX            1650365       Security        Life         of      Denver           Insurance     Company             5000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

28942   29156   Holt                    Jo          416   48               6120222                            Life      Insurance                                                                                       N.A   as   Securities
                                                               0752                      Principal                                              Company                          5000000.00        Wilmington   Trust                           Intermediary
29126   29340   Brakke       James      563   54   7BB2   V2     0B4     664    Pruco        Life        Insurance                   Company                            2000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
29127   29341   Brakke       James      563-S4     7BB2   V2     084-609        Pruco        Life        Insurance                                                                                             NA
                                                                                                                                     Company                            2000000.00        Wilmington   Trust         as   Securities   Intermediary
2912B   29342   Brakke       James      563   54   7BB2   V2     084     634    Pruco        Life        Insurance                   Company                                                                   NA    as   Securities
                                                                                                                                                                        S000000.D0        Wilmington   Trust                           Intermediary
29129   29343   Brakke       James      563   54   7BB2   V2-0B4-579            Pruco        Life        Insurance                   Company                            1000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
29130   29344   Cavalier     Joel       122   26 5196      159217499            AXA       Equitable                  Life          Insurance                                                                   NA
                                                                                                                                               Company                  2SD0000.D0        Wilmington   Trust         as   Securities   Intermediary

29455   2967B   Walters      William    117   30   OBBB   160     204     137   AXA       Equitable                  Life          Insurance   Company                 10000000.00                     Trust   N.A   as   Securities
                                                                                                                                                                                          Wilmington                                   Intermediary
29571   29794   Miller       William    199   26   9651        401122B          ReliaStar             Life          Insurance           Company                         2000000.00        Wilmington   Trust   N.A   as   Secunties Intermediary

29591   29814   Johansson    Henry      054   26-B202          611B505          Principal             Life      Insurance                                                                                            as   Securities
                                                                                                                                        Company                         3000000.00        Wilmington   Trust                           Intermediary

29858   300B1   Lofaro       Annette    052   2B   0545   01N145S891            Lincoln        Benefit                Life          Company                             4000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
30070   30293   Kundel       Svetlana   107   76 6010          4011528          ReliaStar             Life          Insurance                                                                                  N.A        Securities
                                                                                                                                        Company                         5000000.00        Wilmington   Trust         as                Intermediary

30149   30372                Gerald     199-28     9713   160     204                                                Life
                Ginsberg                                                 967    AXA       Equitable                                Insurance   Company                 10000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

30244   30467   Tom          Stephen    550   54   1230   01N1493620            Lincoln        Benefit                Life          Company                             7000000.00                     Trust   N.A   as   Securities
                                                                                                                                                                                          Wilmington                                   Intermediary
30440   30663   Rubin        Alan       098   30   5170        6123250                                Life      Insurance                                                                                      N.A        Securities
                                                                                Principal                                               Company                         3000000.00        Wilmington   Trust         as                Intermediary

31185   31405   Italiano     Carmela    067   26   1149        4011399          ReliaStar             Life      Insurance                                                                                      N.A   as   Securities
                                                                                                                                        Company                         3000000.00        Wilmington   Trust                           Intermediary

31336   31S55   GeIb         Janet      212   30 1165     61-OB1         384    New        York         Life        Insurance            and Annuity    Corporation     3500000.00                             N.A   as   Securities
                                                                                                                                                                                          Wilmington   Trust                           Intermediary

31405   31622   Josephs      Florence   OBB   30-S1SB          4011644          ReliaStar             Life          Insurance           Company                         3000000.00        Wilmington   Trust         as   Securities   Intermediary

31596   31B12   Hanna                   161   26   3459        4011540          ReliaStar             Life          Insurance                                                                                  N.A        Securities
                             Nancy                                                                                                      Company                         3000000.00        Wilmington   Trust         as                Intermediary

32234   32446                Robert     548   40   8418        6097203                                Life
                                                                                                                                                                                                                                                      Case 18-12808-KG




                MacGregor                                                       Principal                       Insurance               Company                         8000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

32BB3   33095   Phillips     JoAnn      528   42-944B          4011593          ReliaStar             Life          Insurance           Company                         4000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

33156   33368   Henry        Joan       flu   LI   6351        4011/68          Reliastar             Life          Insurance                                                                                  NA    as   Securities
                                                                                                                                        Company                         4815000.00        Wilmington   Trust                           Intermediary

33380   33592   Furman       Richard    253   SB-7709          6120972          Principal             Life      Insurance               Company                        10000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

33875   34084   Damone       Joseph     088   32   3047   160     212-6B0       AXA                                  Life          Insurance                                                                   N.A   as   Securities
                                                                                          Equitable                                            Company                  3200000.00        Wilmington   Trust                           Intermediary

33932   34141   Cornelius    Bernice    416   74-6040     ZUA417228             West       Coast             Life       Insurance          Company                      1000000.00        Wilmington   Trust   N.A   as Securities     Intermediary

34B72   35079   Spink        Howard     102   26-9753       M743197             Genworth                 Life        Insurance           Company                        2000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                                                                                                                                      Doc 24-1




 528B    SS1O   Kagan        Avihu      145   40   7200   01N1391796            Lincoln        Benefit                Life                                                                             Trust   N.A   as   Securities
                                                                                                                                    Company                             2500000.00        Wilmington                                   Intermediary

 8875    9120   Kessler      Debra      086   22   5099    U7041526             Lincoln        Life          And                                   of   New     York                                                      Securities
                                                                                                                            Annuity      Company                       10000000.00        Wilmington   Trust   N.A   as                Intermediary

 9447    9698   Kenzer       June       105-28     1410   JJ-7057295            Lincoln        National                     Life     Insurance   Company                9000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

12200   12480   Urban        Charles    3SS   26   5539   01N1392557            Lincoln        Benefit                Life                                                                                     N.A   as   Securities
                                                                                                                                    Company                             7850000.00        Wilmington   Trust                           Intermediary

12723   13004                Carol            34          158                                                        Life
                Wright                  531        2039           202    884    AXA       Equitable                                Insurance   Company                  7000000.00        Wilmington   Trust   N.A   as Securities     Intermediary

12945   13227   Nourian      Krikor     566   89-2023     0000044852            Union        Central                Ufe            Insurance   Company                  3750000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

13021   13305   Iorn         Gloria     135   24   4189   01N1423015            Lincoln        Benefit                Life                                                                                     N.A   as   Securities
                                                                                                                                    Company                             2000000.00        Wilmington   Trust                           Intermediary

13354   13640   Trager       Stanley    055-20     4996        6094913          Principal             Life      Insurance               Company                         3125000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

13471   13757   Fiore        Patncia    137   28   7285    JJ7035607            Uncoln         National                     Life     Insurance                                                                 N.A        Securities
                                                                                                                                                 Company                5000000.00        Wilmington   Trust         as                Intermediary
                                                                                                                                                                                                                                                      Filed 12/17/18




13S28   13814   Connors      William    046   28   9666    159204969            AXA       Equitable                  Life          Insurance   Company                  3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

13589   13875   Mathewson    Jeremiah   229   50   0742   JJ-7052445            Lincoln        National                     Life     Insurance   Company                5000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

13626   13911   Giannico     Hazel      130   28   6234   01N1405058            Lincoln        Benefit                Life                                                                             Trust   N.A   as   Securities
                                                                                                                                    Company                             3000000.00        Wilmington                                   Intermediary

13795   14043   Woods        Jonathan   S70   48   7221   JJ    7046680         Lincoln        National                     Life     Insurance   Company                S000000.D0        Wilmington   Trust   N.A   as   Securities   Intermediary

13912   14160   Frojmovits   Rose       731   07   7150   JJ-7046873            Lincoln        National                     Life     Insurance   Company                5000000      00   Wilmington   Trust   N.A   as   Securities   Intermediary

13978   14226   Pomerantz    Rochelle   073   30   9606   001796353             Nartford            Life        Insurance                                                                              Trust   N.A   as   Securities   Intermediary
                                                                                                                                        Company                         S000000.0D        Wilmington

14013   14261   Esau         Daniel     385   20   1772   ZUA414336             West       Coast             Ufe        Insurance                                       4000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                           Company
14082   14330   Micheli      Elio       128   24   5345        6104556          Principal           Life        Insurance               Company                         5000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

14117   14365   Harshman     Evelyn     171   28   9363   158     224 406       AXA       Equitable                  Ufe           Insurance   Company                  3000000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

14216   14464   Stengel      Eleanor    122   20   7591        4501434          ReliaStar             Ufe           Insurance                      of   New    York     500000000         Wilmington   Trust   N.A   as   Securities   Intermediary
                                                                                                                                        Company
14218   14466   Korn         Gloria     135-24     4189   01N1391895            Lincoln        Benefit                Life                                                                                     N.A   as   Securities
                                                                                                                                    Company                             1500000.00        Wilmington   Trust                           Intermediary
                                                                                                                                                                                                                                                      Page 168 of 251




14219   14467   Korn         Gloria     135   24   4189   01N1423016            Lincoln        Benefit                Life          Company                             1500000.00        Wilmington   Trust   N.A   as   Securities   Intermediary

14500   13929   Curtis       James      426-68     2S98   8500093950            Nationwide                   Ufe            Insurance                   of   America                                           N.A        Securities
                                                                                                                                           Company                      2000000.00        Wilmington   Trust         as                Intermediary

14873   15116   Watson                  492-40     3115        6105441                              Life        Insurance                                                                                      N.A   as   Securities
                             Jerry                                              Principal                                               Company                         S000000.D0        Wilmington   Trust                           Intermediary

15001   15244   Wilson       Dolores    SSD-40-0576        JJ7063431            Uncoln         National                     Life     Insurance                                                                 N.A   as   Securities
                                                                                                                                                 Company               10000000.00        Wilmington   Trust                           Intermediary

15141   15384   Yurowitz     Andy       083   28   9137    94 143 377           John       Hancock                  Ufe            Insurance                           10000000.00                     Trust   NA    as   Securities   Intermediary
                                                                                                                                               Company                                    Wilmington

15370   15613   Beth         Barbara    094   26   7362    158220901            AXA       Equitable                  Ufe           Insurance   Company                  1800000.00        Wilmington   Trust   NA    as   Securities   Intermediary
16102   16345   Karp                 Donald     039   24   1047    159202340      AXA       Equitable               Life         Insurance     Company                                1500000.00   Wilmington        Trust       N.A    as    Securities   Intermediary

16160   16403   Studnik              Haviva     142   54   6538   JJ    7057430   Lincoln       National                  Life     Insurance                                                                                     NA
                                                                                                                                                 Company                              2500000.00   Wilmington        Trust              as Securities      Intermediary

        16418               MD       Mohsen                38S6                                                           Life
16175           Diamali                         S78   80           JJ7037094      Lincoln       National                           Insurance     Company                              7000000.00   Wilmington        Trust    N.A      as     Securities   Intermediary

16176   16419   Estes                Edwin            32-4243                     John       Hancock               Life
                                                263                94 i85 832                                                    Insurance     Company                                5000000.00   Wilmington        Trust    N.A      as     Securities   Intermediary

17138   17380   Spink                Harold     386   28   4276        4010236    ReliaStar          Life     Insurance               Company                                         2000000.00   Wilmington        Trust    NA       as     Securities   Intermediary

18266   18504   Much                 Hubert     548   44   7526   JJ    7090029   Lincoln       National                  Life     Insurance                                                                                  N.A      as     Securities
                                                                                                                                                Company                               3000000.00   Wilmington        Trust                                 Intermediary

                                                                                                  Life
18631   18869   Biederman            Charles    131-26     9957        1642563    Security                  of       Denver           Insurance        Company                       10000000.00   Wilmington        Trust       N.A    as    Securities   Intermediary

19107   19345   Rozin                           093   28-4583     01N1446026      Lincoln       Benefit              Life
                                     Joseph                                                                                       Company                                            10000000.00   Wilmington        Trust             as     Securities   Intermediary

19333   19571   Minkoff              Merle      162   32   7795    JJ7080831      Lincoln       National                  Life     Insurance                                                                                  N.A      as     Securities
                            Singer                                                                                                               Company                              3000000.00   Wilmington        Trust                                 Intermediary

19909   20145   Rozin                Joseph     093-28     4583   JJ    7090709   Lincoln       National                  Life     Insurance     Company                             10000000.00   Wilmington        Trust    N.A      as     Securities   Intermediary

19973   20209   Woinsaft             Leonard    561   44   0964   8500133340      Nationwide                Life          Insurance                      of    America                                                        NA       as     Securities
                                                                                                                                         Company                                      7000000.00   Wilmington        Trust                                 Intermediary

21490   21709   Cottrell             Patricia   XXX-XX-XXXX       01N1448S44      Lincoln       Benefit              Life                                                             1758713.00   Wilmington        Trust    NA        as    Securities
                                                                                                                                  Company                                                                                                                  Intermediary

 4119    4196   Frankel              Franrine   XXX-XX-XXXX       01N1397944      Lincoln       Benefit              Life                                                                                     PFC                      LLC
                                                                                                                                  Company                                             3500000.00   Imperial           Financing


 4534    4756   Parish               John       XXX-XX-XXXX        1J05B0956      American           National                    Insurance     Company                                2000000.00   Imperial   PFC     Financing        LLC

 9542    9795   Nasr                 Adel       XXX-XX-XXXX       01N1401313      Lincoln       Benefit              Life                                                             2500000.00   Imperial   PFC     Financing        LLC
                                                                                                                                  Company
10479   10739                        Nita       250-42-46S2       Dm11399097      Lincoln       Benefit              Life                                                                                     PFC                      LLC
                Berry                                                                                                             Company                                             7500000.00   Imperial           Financing


12418   12698   Glickman             Joel       XXX-XX-XXXX        65083810       Transamerica                     Dccidental           Life   Insurance        Company              10000000.00   Imperial   PFC     Financing        LLC


13364   13650   GoIlub               Enid       XXX-XX-XXXX        65082305       Transamerica                     Occidental           Life   Insurance                              2000000.00   Imperial   PFC     Financing        LLC
                                                                                                                                                                                                                                                                          Case 18-12808-KG




                                                                                                                                                                Company
26454   26668   Aghaipour            Said       XXX-XX-XXXX       LB01524310      North American                          Company        for    Life   and    Health     Insurance    2000000.00   Imperial   PFC     Financing        II    LLC


14864   15507                        Rosalie    132   22-0724      V2022973       Pruco       Life       Insurance                                                                                 Imperial   Life                     II    LLC
                Guglielmi                                                                                                          Company                                           10000000.00                     Financing
                                                                                                                                                                                                                                                                          Doc 24-1
                                                                                                                                                                                                                                                                          Filed 12/17/18
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                                                                                         EXHIBIT A

                                 FORM OF BORROWING REQUEST

                                                    [DATE]

CLMG Corp.,
  as Administrative Agent
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com

Ladies and Gentlemen:

        Reference is made to the Second Amended and Restated Loan and Security Agreement,
dated as of January 31, 2017 (as amended, supplemented or otherwise modified from time to
time, the “Loan Agreement”), by and among White Eagle Asset Portfolio, LP, as Borrower, the
financial institutions party thereto, as Lenders, Imperial Finance & Trading, LLC, as Initial
Servicer, Initial Portfolio Manager and Guarantor, Lamington Road Bermuda Ltd., as Portfolio
Manager, and CLMG Corp., as Administrative Agent. All capitalized terms used but not defined
herein shall have the meanings assigned to them in Annex I to the Loan Agreement.

        The undersigned hereby gives you irrevocable notice, pursuant to Section 2.2 of the Loan
Agreement, that it requests an Advance under the Loan Agreement and in connection therewith
sets forth the following information related to such Advance:

          (i)       The Advance is [an Additional Policy Advance]1 [an Ongoing Maintenance
                    Advance]2;

          (ii)      The principal amount of the proposed Advance is $[         ]; [and]

          (iii)     [The Additional Policies to be pledged in connection with such Advance are
                    identified on Exhibit A;]1 [The proceeds of such Advance shall be used for the
                    purposes set forth on Schedule I; and]2

          [(iv)] The Borrowing Base Certificate is attached hereto as Exhibit [A]2 [B]1.

       [The undersigned hereby confirms that the related Collateral Packages have been
uploaded to the FTP Site.] 1




1
    To be included if Advance is an Additional Policy Advance.
2
    To be included if Advance is an Ongoing Maintenance Advance.


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        The undersigned hereby certifies that as of the date hereof, and as of the date of the
requested Advance, all conditions precedent to the making of the Advance as set forth in Section
[7.2][7.3][7.4]3[7.5]4 of the Loan Agreement have been met.

      In accordance with the Loan Agreement, the undersigned hereby irrevocable requests the
Administrative Agent to process this request.

                                                      Very truly yours,

                                                      WHITE EAGLE ASSET PORTFOLIO, LP


                                                      By White Eagle General Partner, LLC, a Delaware
                                                      limited liability company, its General Partner


                                                      By:__________________________________
                                                      Name:
                                                      Title:




3
    To be included if Advance is first Advance following the Original Amended and Restated Closing Date.
4
    To be included if Advance is first Advance following the Second Amended and Restated Closing Date.


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[EXHIBIT A TO THE BORROWING REQUEST]

                                        [ADDITIONAL] POLICIES

[Attach a spreadsheet containing the following data points for each Policy included in the
Borrowing Request:
    1.    Case Number
    2.    Insured #1
               a. Age
               b. Date of Birth
               c. Date of Death
               d. Gender
               e. Smoking Status
    3.    Insured #2 (if applicable)
               a. Age
               b. Date of Birth
               c. Date of Death
               d. Gender
               e. Smoking Status
    4.    Number of Insured Lives
    5.    Owner State of Residence
    6.    Domicile of Trust (if applicable)
    7.    Policy Issue Date
    8.    Policy State of Issuance
    9.    Policy Number
    10.   Issuing Insurance Company
    11.   Issuing Insurance Company Credit Rating
    12.   Initial Face Amount
    13.   Current Face Amount
    14.   [Current Policy Account Balance][ Not required until after Imperial receives the policy’s next account
          statement, which will be after the policy anniversary date.]
    15.   Type of Death Benefit (A, B, C)
    16.   Policy Rating
    17.   Policy Type (Term, Whole life, Variable Universal, Universal)
    18.   Premium Finance (yes/no)
    19.   Premium Finance Program (if applicable)
    20.   Beneficial Interest Transfer (yes/no)
    21.   Beneficial Interest Program (if applicable)
    22.   Policy Purchase Price (first related entity to acquire policy)
    23.   Policy Cost Basis
    24.   Premiums Paid to Date (since policy origination)
    25.   Medical Underwriting/reports
               a. Insured #1
                          i. AVS, EMSI or Fasano – (LE / Mortality Multiplier / Date)
                         ii. 21st Services (Median LE / Mean LE / Mortality Multiplier / Date)
               b. Insured #2 (if applicable)
                          i. AVS, EMSI or Fasano – (LE / Mortality Multiplier / Date)
                         ii. 21st Services (Median LE / Mean LE / Mortality Multiplier / Date)
    26.   Death Benefit Payable Monthly or Quarterly out through Age 120
    27.   [Level Premiums Payable Monthly or Quarterly through Age 120][ Not required until next illustrations are
          received following the Closing Date.]
    28.   Optimized Premiums Payable Monthly or Quarterly through Age 120 with confirmation computed from
          policy illustration or Policy (disclosing whether shadow account or no lapse guarantee exists)
    29.   Authorizations for Annuities or Annuities currently in place]



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EXHIBIT [A][B] TO THE BORROWING REQUEST

                          BORROWING BASE CERTIFICATE




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[SCHEDULE I TO THE BORROWING REQUEST]

                      USES OF ONGOING MAINTENANCE ADVANCE




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                                                                                      EXHIBIT B


                                  FORM OF LENDER NOTE

                                                                           [New York, New York]
Up to $[370,000,000]                                                               [__], 20[___]

       FOR VALUE RECEIVED, the undersigned, White Eagle Asset Portfolio, LP, a
Delaware limited partnership (the “Borrower”) promises to pay to the order of [___], a [___]
(together with its successors and permitted assigns, the “Lender”), in its capacity as a Lender, the
aggregate unpaid principal amount of all Advances made by the Lender to, or for the benefit of,
the Borrower, as recorded either on the grid attached to this Note or in the records of the Lender
(and such recordation shall constitute prima facie evidence of the information so recorded;
provided, however, that the failure to make any such recordation shall not in any way affect the
Borrower’s obligation to repay this Note). The principal amount of each Advance evidenced
hereby shall be payable on or prior to the Maturity Date as provided in the Loan Agreement.
Borrower also promises to pay to the Lender all other Obligations (which, for the avoidance of
doubt, may exceed $[370,000,000]).

        The Borrower further promises to pay interest on the unpaid principal amount of this
Note from time to time outstanding, payable as provided in the Loan Agreement, at the rates per
annum provided in the Loan Agreement; provided, however, that such interest rate shall not at
any time exceed the maximum rate permitted by Applicable Law. All payments of principal of
and interest on this Note shall be payable in lawful currency of the United States of America at
the office of the Lender as provided in the Loan Agreement, in immediately available funds.

       This Note is one of the Lender Notes referred to in that certain Second Amended and
Restated Loan and Security Agreement, dated as of January 31, 2017 (as amended, supplemented
or otherwise modified from time to time, the “Loan Agreement”), by and among the Borrower,
the financial institutions party thereto, as Lenders, [CLMG Corp.], as Administrative Agent,
Imperial Finance & Trading, LLC, as Initial Servicer, Initial Portfolio Manager and Guarantor,
and Lamington Road Bermuda Ltd., as Portfolio Manager. Capitalized terms used herein and not
otherwise defined herein shall have the meanings assigned to such terms in Annex I to the Loan
Agreement. In the event of any conflict between any term or provision of this Note and the Loan
Agreement, the terms and provisions of the Loan Agreement shall govern and control. This Note
is secured pursuant to the security interests granted in the Loan Agreement and the other
Transaction Documents and reference is hereby made to the Loan Agreement and the other
Transaction Documents for a statement of the terms and provisions of such security interests.

       All parties now or hereafter liable with respect to this Note, whether as makers,
endorsers, or otherwise, severally waive presentment for payment, demand, protest, and notice of
dishonor and notice of the existence or nonpayment of all or any of the Advances.

       Upon the occurrence of any Event of Default, all amounts then remaining unpaid on this
Note shall become, or may be declared to be, immediately due and payable, all as provided in the
Loan Agreement.



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        This Note shall be governed by and construed in accordance with the laws of the State of
New York applicable to contracts made and to be performed in such State, excluding choice of
law principles of the laws of such State that would require the application of the laws of a
jurisdiction other than such State.

       IN WITNESS WHEREOF, the undersigned has caused this Note to be executed by its
duly authorized officer as of the day and year first above written.

                                            WHITE EAGLE ASSET PORTFOLIO, LP


                                            By: White Eagle General Partner, LLC, a Delaware
                                            limited liability company, its General Partner


                                            By:__________________________________
                                            Name:
                                            Title:




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                                 GRID ATTACHED TO NOTE
                                   DATED [_____], 20[___]
                      WHITE EAGLE ASSET PORTFOLIO, LLC, AS BORROWER
                                PAYABLE TO THE ORDER OF
                                          [____]

                                  Outstanding
                      Amount of    Principal                                        Notation Made
      Date             Advance     Balance        Interest Rate   Interest Period         By




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                                                                                      EXHIBIT C


                 FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT

       ASSIGNMENT AND ASSUMPTION AGREEMENT, dated as of [                                    ], 20[ ]
(“Agreement”), by and between [ ], a [ ] (“Assignor”), and [                          ], a [        ]
(“Assignee”).

       1.      Reference to Loan Agreement. Reference is made to that certain Second
Amended and Restated Loan and Security Agreement, dated as of January 31, 2017 (as
amended, supplemented or otherwise modified from time to time, the “Loan Agreement”), by
and among White Eagle Asset Portfolio, LP, as Borrower, the financial institutions party thereto,
as Lenders, Imperial Finance & Trading, LLC, as Initial Servicer, Initial Portfolio Manager and
Guarantor, Lamington Road Bermuda Ltd., as Portfolio Manager, and CLMG Corp., as
Administrative Agent. Capitalized terms used but not defined herein have the meanings ascribed
to them in the Loan Agreement.

       2.      Assignment. The Assignor hereby sells and assigns to the Assignee without
recourse and without representation or warranty (other than as expressly provided herein), and
the Assignee hereby purchases and assumes from the Assignor, that interest in and to all of the
Assignor’s rights and obligations under the Loan Agreement as of the date hereof which
represents the percentage interest specified in Item 2 of Annex I attached hereto (the “Assigned
Share”) of all of its outstanding rights and obligations under the Loan Agreement, including,
without limitation, all rights and obligations with respect to the Assigned Share of the
Commitment and all outstanding Advances.

        3.     Representations and Warranties of Assignor. The Assignor (i) represents and
warrants that it is the legal and beneficial owner of the interest being assigned by it hereunder
and that such interest is free and clear of any liens or security interests; (ii) makes no
representation or warranty and assumes no responsibility with respect to any statements,
representations or warranties made in or in connection with the Loan Agreement or the other
Transaction Documents or the execution, legality, validity, enforceability, genuineness,
sufficiency or value of the Loan Agreement or the other Transaction Documents or any other
instrument or document furnished pursuant thereto; and (iii) makes no representation or warranty
and assumes no responsibility with respect to the financial condition of the Borrower or the
performance or observance by the Borrower of any of their obligations under the Loan
Agreement or the other Transaction Documents or any other instrument or document furnished
pursuant thereto.

        4.       Representations and Warranties of Assignee. The Assignee (i) represents and
warrants that it is authorized to enter into and perform the terms of this Agreement, the Loan
Agreement and the other Transaction Documents to which it will become a party pursuant to this
Agreement; (ii) confirms that it has received a copy of the Loan Agreement and the other
Transaction Documents, together with such other documents and information as it has deemed
appropriate to make its own credit analysis and decision to enter into this Agreement; (iii) agrees
that it will, independently and without reliance upon the Administrative Agent, the Assignor or



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any other Lender and based on such documents and information as it shall deem appropriate at
the time, continue to make its own credit decisions in taking or not taking action under the Loan
Agreement; (iv) appoints and authorizes the Administrative Agent to take such action as agent on
its behalf and to exercise such powers under the Loan Agreement and the other Transaction
Documents as are delegated to the Administrative Agent by the terms thereof, together with such
powers as are reasonably incidental thereto; and (v) agrees that it shall be bound by the
provisions of the Loan Agreement.

        5.      Settlement Date. Following the execution of this Agreement by the Assignor and
the Assignee, an executed original hereof (together with all attachments) will be delivered to the
Administrative Agent. The effective date of this Assignment Agreement shall be the later of (x)
the date upon which the following conditions have been satisfied: (i) the execution hereof by the
Assignor and the Assignee and (ii) to the extent required the Loan Agreement, the consent hereto
by the Required Lenders and/or the Borrower has been obtained or (y) such date as is otherwise
specified in Item 3 of Annex I hereto (the “Settlement Date”).

        6.    Joinder. Upon the delivery of a fully executed original hereof to the
Administrative Agent, as of the Settlement Date, (i) the Assignee shall be a party to the Loan
Agreement and, to the extent provided in this Agreement, have the rights and obligations of a
Lender thereunder and under the other Transaction Documents and (ii) the Assignor shall, to the
extent provided in this Agreement, relinquish its rights and be released from its obligations under
the Loan Agreement and the other Transaction Documents with respect to the Assigned Share.

        7.      Payments. Upon the effectiveness of this Agreement, the Assignee shall be
entitled to all interest on the Assigned Share of the Advances at the rates determined in
accordance with the Loan Agreement attached hereto which accrue on and after the Settlement
Date, such interest to be paid to the Assignee pursuant to the provisions of Sections 5.2(b) and
5.2(c) of the Loan Agreement. It is further agreed that all payments of principal [and the
Participation Interest Percentage] made on the Assigned Share of the Advances which occur on
and after the Settlement Date will be paid to the Assignee pursuant to the provisions of Sections
5.2(b), 5.2(c) and 5.2(e) of the Loan Agreement, as applicable. Upon the Settlement Date, the
Assignee shall pay to the Assignor an amount specified by the Assignor in writing which
represents the Assigned Share of the principal amount of the respective Advances made by the
Assignor pursuant to the Loan Agreement which are outstanding on the Settlement Date, net of
any closing costs. The Assignor and the Assignee shall make all appropriate adjustments in
payments under the Loan Agreement for periods prior to the Settlement Date directly between
themselves.

     8.   Governing Law. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE,
EXCLUDING CHOICE OF LAW PRINCIPLES OF THE LAW OF SUCH STATE THAT
WOULD REQUIRE THE APPLICATION OF THE LAWS OF A JURISDICTION OTHER
THAN SUCH STATE.


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        IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
and delivered by their respective officers thereunto duly authorized as of the date first above
written.

                                           [NAME OF ASSIGNOR],
                                           as Assignor


                                           By:
                                           Name:
                                           Title:


                                           [NAME OF ASSIGNEE],
                                           as Assignee


                                           By:
                                           Name:
                                           Title:




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[Acknowledged and Agreed:

[        ],
as a Lender

By:
Name:
Title:

By:
Name:
Title:


[        ],
as a Lender

By:
Name:
Title:

By:
Name:
Title:


[       ],
as Borrower

By:
Name:
Title:




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                 ANNEX I TO ASSIGNMENT AND ASSUMPTION AGREEMENT

1        Date of Assignment Agreement:

         _____________ ____, 20__

2.       Amounts (as of date of Assignment Agreement):

         (a)      Aggregate principal amount of outstanding Advances of all Lenders:

                  $______________

         (b)      Assigned Share of (a) above:

                  ______________%

         (c)      Amount of assigned principal of outstanding Advances:

                  $______________

3.       Settlement Date:

         _____________ ____,20__




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                                                                                                           EXHIBIT D

                                FORM OF CALCULATION DATE REPORT

                                       Calculation Date Report
                                             Dated as of __________
                               For the Distribution Date occurring on              ________
   I.    Account Balances as of the dated of this Calculation Date Report are as follows:
          Collection Account                                                                               $_______________
          Payment Account                                                                                  $_______________
          Borrower Account                                                                                 $_______________
          Escrow Account                                                                                   $_______________


  II.    Prior to the Partial Repayment Date, so long as an Unmatured Event of Default or an Event of Default has not
         occurred and is not continuing, funds on deposit in the Collection Account shall be distributed as provided in the
         following stages of the Priority of Payment pursuant to Section 5.2(b) of the Second Amended and Restated
         Loan and Security Agreement:
First:         $_______________
Second:        $_______________
Third:         $_______________
Fourth:        $_______________
Fifth:         $_______________
Sixth:         $_______________
Seventh:       $_______________
Eighth:        $_______________
Ninth:         $0
Tenth:         $_______________
Eleventh:      $_______________
Twelfth:       $_______________
Thirteenth:    $_______________


 III.    Prior to the Partial Repayment Date, if an Unmatured Event of Default or Event of Default has occurred and is
         continuing and is not waived in writing by the Required Lenders, funds on deposit in the Collection Account
         shall be distributed as provided in the following stages of the Priority of Payments pursuant to Section 5.2(c) of
         the Second Amended and Restated Loan and Security Agreement:
First:          $_______________
Second:         $_______________
Third:          $_______________
Fourth:         $_______________
Fifth:          $_______________
Sixth:          $_______________
Seventh:        $_______________
Eighth:         $_______________
Ninth:          $_______________
Tenth:          $_______________
Eleventh:       $_______________
Twelfth:        $_______________
Thirteenth:     $0
Fourteenth:     $_______________
Fifteenth:      $_______________
Sixteenth:      $_______________
Seventeenth:    $_______________




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 IV.     Following the Partial Repayment Date, funds on deposit in the Collection Account shall be distributed in the
         following stages of the Priority of Payments pursuant to Section 5.2(e) of the Second Amended and Restated
         Loan and Security Agreement:
First:        $_______________
Second:       $_______________
Third:        $_______________
Fourth:       $_______________
Fifth:        $_______________
Sixth:        $_______________
Seventh:      $_______________
Eighth:       $0
Ninth:        $_______________
Tenth:        $_______________
Eleventh:     $_______________
Twelfth:      $_______________




The undersigned hereby certifies that the information set forth in this Calculation Date Report is
true and correct.
                                                                                      White Eagle Asset Portfolio, LP, as Borrower
                                                                                      By:__________________________________
                                                                                      Name:
                                                                                      Title:




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                                                                           EXHIBIT E

                            FORM OF ANNUAL BUDGET

                                     ATTACHED




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                     Operational   Plan        18   Months   May     2013   to    October 2014

 Draw     Period   Premiums        Servicing         Management         Audit             Other          Total




5-2013-Draw            5375216            26833              23000               38333            7667     5471050
5-2013    Draw         7708544            26833              23000               38333            7667     7804377
     2013-Draw         4639475            26833              23000               38333            7667     4735308
6-2013-Draw            3595435            26833              23000               38333            7667     3691268
7-2013-Draw            1992676            26833              23000               38333            7667     2088510
7-2013-Draw            2347083            26833              23000               38333            7667     2442917
     2013-Draw         1454226            26833              23000               38333            7667     1550059
     2013-Draw                            26833              23000               38333            7667
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                       1985760                                                                             2081594
     2013-Draw         2257950            26833              23000               38333            7667     2353784
9-2013-Draw            2600266            26833              23000               38333            7667     2696100
10-2013    Draw        1900982            26833              23000               38333            7667     1996815
10-2013    Draw        2128289            26833              23000               38333            7667     2224123
                                                                                                                     Doc 24-1




11-2013-Draw           2418190            26833              23000               38333            7667     2514023
11   2013-Draw         1968729            26833              23000               38333            7667     2064562
12-2013    Draw        2259052            26833              23000               38333            7667     2354885
12-2013    Draw        2485083            26833              23000               38333            7667     2580916
1-2014    Draw         1769882            26833              23000               38333            7667     1865716
1-2014-Draw            2144041            26833              23000               38333            7667     2239875
2-2014-Draw            1568031            26833              23000               38333            7667     1663865
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2-2014-Draw            2024696            26833              23000               38333            7667     2120529
3-2014    Draw         2401738            26833              23000               38333            7667     2497571
3-2014-Draw            2528910            26833              23000               38333            7667     2624743
     2014-Draw         1596128            26833              23000               38333            7667     1691962
4-2014-Draw            2151946            26833              23000               38333            7667     2247779
5-2014-Draw            1438173            26833              23000               38333            7667     1534006
5-2014-Draw            2067419            26833              23000               38333            7667     2163252
6-2014-Draw            2496554            26833              23000               38333            7667     2592387
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6-2014-Draw            2783792            26833              23000               38333            7667     2879625
7-2014-Draw            1593082            26833              23000               38333            7667     1688916
7-2014-Draw            2170004            26833              23000               38333            7667     2265837
8-2014-Draw            1455138            26833              23000               38333            7667     1550971
8-2014-Draw            2049940            26833              23000               38333            7667     2145773
9-2014   Draw   2531982     26833    23000     38333     7667   2627816
9-2014-Draw     2486659     26833    23000     38333     7667   2582492
10-2014-Draw     1715413    26833    23000     38333     7667   1811246
10-2014-Draw    2293333     26833    23000     38333     7667   2389167


    Totals      88383819   966000   828000   1380000   276000   91833819
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                                                                                                  EXHIBIT F

                            FORM OF BORROWING BASE CERTIFICATE

                                                       [DATE]

CLMG Corp.,
  as Administrative Agent
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com


Ladies and Gentlemen:

       This Borrowing Base Certificate is delivered to you pursuant to Section 2.2 of that certain
Second Amended and Restated Loan and Security Agreement, dated as of January 31, 2017 (as
amended, supplemented or otherwise modified from time to time, the “Loan Agreement”), by
and among White Eagle Asset Portfolio, LP, as Borrower, the financial institutions party thereto,
as Lenders, Imperial Finance & Trading, LLC, as Initial Servicer, Initial Portfolio Manager and
Guarantor, Lamington Road Bermuda Ltd., as Portfolio Manager, and CLMG Corp., as
Administrative Agent. All capitalized terms used but not defined herein shall have the meanings
assigned to them in Annex I to the Loan Agreement.

           [The Borrower]1[The Portfolio Manager, on behalf of the Borrower,]2 hereby:

          certifies that as of the date hereof, the Borrowing Base is $_________;

          certifies that as of the date hereof, the aggregate amount of outstanding Advances,
           together with accrued but unpaid interest thereon is $_________;

          certifies that after giving effect to the proposed Advance, the aggregate principal amount
           of all the outstanding Advances, together with accrued but unpaid interest thereon, will
           not exceed the Borrowing Base.

       [The Borrower’s]1[The Portfolio Manager’s]2 delivery [on behalf of the Borrower]2 of
this Borrowing Base Certificate and acceptance of the Advance requested hereunder constitutes a
representation and warranty by the Borrower that, as of the date of such Advance (and after
giving effect thereto) all conditions precedent have been satisfied.

      [The Borrower]1[The Portfolio Manager]2 further agrees that if, prior to the time of the
Advance requested hereby, any matter certified to herein by it will not be true and correct at such

1
    To be included if the Borrower signs the Borrowing Base Certificate.
2
    To be included if the Portfolio Manager signs the Borrowing Base Certificate.


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time as if then made, it will immediately so notify the Administrative Agent. Except to the
extent, if any, that prior to the time of the Advance requested hereby, the Administrative Agent
shall receive written notice to the contrary from the [Borrower]1[Portfolio Manager]2, each
matter certified to herein shall be deemed once again to be certified as true and correct at the date
of such Advance as if then made.




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        The undersigned has caused this Borrowing Base Certificate to be executed and delivered
as of the date first set forth above in his or her capacity an officer of [the Borrower]1[the
Portfolio Manager]2.

                                           [WHITE EAGLE ASSET PORTFOLIO, LP, as
                                           Borrower


                                           By White Eagle General Partner, LLC, a Delaware
                                           limited liability company, its General Partner


                                           By:__________________________________
                                           Name:
                                           Title:]1


                                           [LAMINGTON ROAD BERMUDA LTD.,
                                           as Portfolio Manager on behalf of the Borrower


                                           By:__________________________________
                                           Name:
                                           Title:]2




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                                                                                             EXHIBIT G

                                  FORM OF ABANDONMENT NOTICE

[CLMG Corp.,
  as Administrative Agent
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com]1

[Lamington Road Bermuda Ltd.,
  as Portfolio Manager
c/o AMS Limited
The Continental Building
25 Church Street
PO Box Hm265
Hamilton HMAX
Bermuda
Email: lrbermuda@lamington.ie

with a copy to: COReilly@emergentcapital.com]2


Ladies and Gentlemen:

Reference is made to the Second Amended and Restated Loan and Security Agreement, dated as
of January 31, 2017 (as amended, supplemented or otherwise modified from time to time, the
“Loan Agreement”), by and among White Eagle Asset Portfolio, LP, as Borrower, the financial
institutions party thereto, as Lenders, Imperial Finance & Trading, LLC, as Initial Servicer,
Initial Portfolio Manager and Guarantor, and CLMG Corp., as Administrative Agent. All
capitalized terms used but not defined herein shall have the meanings assigned to them in Annex
I to the Loan Agreement.

The undersigned hereby gives you notice, pursuant to Section 2.7(b) of the Loan Agreement, that
the undersigned has determined that [the Premiums on the Pledged Policies listed on Schedule I
attached hereto should no longer be paid]1 [Advances should no longer be made in order to pay
Premiums on the Pledged Policies listed on Schedule I attached hereto]2.

[The undersigned also hereby gives you notice that it wishes to permit the Required Lenders or
their designee the right to assume ownership of the Pledged Policies listed on Schedule I


1
    To be included if the Portfolio Manager is the Determining Party.
2
    To be included if the Required Lenders constitute the Determining Party.


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attached hereto pursuant to Section 2.7(b) of the Loan Agreement without engaging in the
Abandonment Sale Process.]3

                                                       Very truly yours,

                                                       [LAMINGTON ROAD BERMUDA LTD., as
                                                       Portfolio Manager on behalf of the Borrower]1
                                                       [CLMG CORP., as Administrative Agent on behalf
                                                       of the Required Lenders]2



                                                       By:__________________________________
                                                       Name:
                                                       Title:




3
    May be included if the Portfolio Manager is the Determining Party.


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                       SCHEDULE I TO ABANDONMENT NOTICE

                                      POLICIES




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                                           ANNEX I

                                 LIST OF DEFINED TERMS

       “21st Services” means 21st Holdings, LLC and its Affiliates and their respective
successors.

      “Abandonment Notice” has the meaning set forth in Section 2.7(b) of the Loan
Agreement.

         “Abandonment Price” has the meaning set forth in Section 2.7(b) of the Loan Agreement.

      “Abandonment Sale Process” has the meaning set forth in Section 2.7(b) of the Loan
Agreement.

       “Account Control Agreement” means the Second Amended and Restated Securities
Account Control and Custodian Agreement, dated as of January 31, 2017, by and among the
Borrower, the Administrative Agent, the Securities Intermediary and the Custodian, and as the
same may be amended, supplemented or otherwise modified from time to time in accordance
with the Transaction Documents.

       “Accounts” means the Collection Account, the Payment Account, the Escrow Account
and the Borrower Account, collectively.

        “Acknowledgement” means, with respect to any Policy, a written acknowledgement from
the related Issuing Insurance Company confirming that the records of the Issuing Insurance
Company name the Securities Intermediary as the owner and beneficiary of the applicable
Policy.

       “Additional Policies” means Policies to be acquired by the Borrower with the proceeds of
an Additional Policy Advance and/or to be pledged to the Administrative Agent for the benefit of
the Lenders in connection with an Additional Policy Advance.

       “Additional Policy Advance” shall mean an Advance other than the Initial Advance
pursuant to which Additional Policies are pledged to the Administrative Agent under the Loan
Agreement.

       “Additional Policy Advance Amount” with respect to any Additional Policy Advance,
shall mean the amount specified in the related Additional Policy Advance Acceptance.

       “Additional Policy Advance Acceptance” has the meaning set forth in Section 2.3(c) of
the Loan Agreement.

      “Administrative Agent” means CLMG Corp., as Administrative Agent under the Loan
Agreement.

      “Administrative Agent’s Account” has the meaning set forth in Section 4.3 of the Loan
Agreement.


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      “Administrative Agent Fee” shall mean, with respect to any Distribution Date, a fee in an
amount equal to $6,250.

       “Administrative Services Agreement” means the Administrative Services Agreement,
dated as of May 16, 2014, among the Borrower, the Portfolio Manager and Imperial Finance, and
as the same may be amended, supplemented or otherwise modified from time to time in
accordance with the Transaction Documents.

      “Advance” means the Initial Advance, an Additional Policy Advance, a Protective
Advance or an Ongoing Maintenance Advance, as applicable, and collectively, the “Advances”.

        “Advance Date” shall mean any date on which an Advance is funded by the Lenders
pursuant to the terms of the Loan Agreement, which shall be the Initial Closing Date, any
Subsequent Advance Date or the date the Lenders fund any Protective Advance in their sole
discretion.

        “Adverse Claim” means a Lien, security interest, pledge, charge or encumbrance, or
similar right or claim of any Person, other than any Permitted Liens.

       “Affected Party” means each Lender, any permitted assignee of any Lender, and any
holder of a participation interest in the rights and obligations of any Lender, the Administrative
Agent and any Affiliate of any of the foregoing.

        “Affiliate” means, with respect to any Person, any other Person that (i) directly or
indirectly controls, is controlled by or is under common control with such Person or (ii) is an
officer or director of such Person. A Person shall be deemed to be “controlled by” another
Person if such other Person possesses, directly or indirectly, power (a) to vote twenty percent
(20%) or more of the securities (on a fully diluted basis) having ordinary voting power for the
election of directors or managing partners of such Person, or (b) to direct or cause the direction
of the management and policies of such Person whether by contract or otherwise. The word
“Affiliated” has a correlative meaning.

      “Aggregate NDB Limit” has the meaning set forth in Section 10.1(p) of the Loan
Agreement.

      “Aggregate Policy Limit” has the meaning set forth in Section 10.1(p) of the Loan
Agreement.

       “Aggregate Shortfall Amount Limit” shall mean an amount equal to twenty-five percent
(25%) of the aggregate Initial Face Amount of all of the Policies that are or have at any time
been Pledged Policies.

        “Aggregate Participation Interest” shall mean the aggregate of all of the Participation
Interests for all of the Pledged Policies.

      “Alternative Information Notice” has the meaning set forth in Section 5.2(a) of the Loan
Agreement.


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         “A.M. Best” means A.M. Best Company, Inc. and any successor or successors thereto.

        “Amortization Shortfall Amount” shall mean, with respect to a Pledged Policy that has
become a Shortfall Pledged Policy, the excess of (x) the aggregate of the amounts that would
have been distributed to the Administrative Agent for the account of the Lenders on the next
Distribution Date occurring after the date on which such Pledged Policy became a Shortfall
Pledged Policy had such Pledged Policy matured and had the related death benefit been timely
paid in full by the related Issuing Insurance Company by deposit thereof into the Collection
Account prior to the related Calculation Date, pursuant to clauses “Third”, “Fifth” and “Sixth” of
Section 5.2(b) of the Loan Agreement or clauses “Third”, “Ninth” and “Eleventh” of Section
5.2(c) of the Loan Agreement, as applicable, as determined by the Administrative Agent on such
Calculation Date, over (y) the aggregate of the amounts that will actually be distributed to the
Administrative Agent for the account of the Lenders on such Distribution Date pursuant to such
clauses “Third”, “Fifth” and “Sixth” of Section 5.2(b) of the Loan Agreement or clauses “Third”,
“Ninth” and “Eleventh” of Section 5.2(c) of the Loan Agreement, as applicable, as determined
by the Administrative Agent on the related Calculation Date.

         “Annual Budget” has the meaning specified in Section 9.1(d)(vi) of the Loan Agreement.

      “Annual NDB Limit” has the meaning set forth in Section 10.1(p) of the Loan
Agreement.

      “Annual Policy Limit” has the meaning set forth in Section 10.1(p) of the Loan
Agreement.

      “Anti-Money Laundering Laws” has the meaning set forth in Section 8.1(v) of the Loan
Agreement.

        “Applicable Law” means, as to any Person or any matter, any law (statutory or common),
treaty, rule or regulation or determination of an arbitrator or of any nation or government, any
state or other political subdivision thereof, any central bank (or similar monetary or regulatory
authority) thereof, any entity exercising executive, legislative, judicial, regulatory or
administrative functions of or pertaining to government, and any corporation or other entity
owned or controlled, through stock or capital ownership or otherwise, by any of the foregoing, in
each case applicable to or binding upon such Person (or any of its property) or such matter, or to
which such Person (or any of its property) or such matter is subject, including, without
limitation, any laws relating to assignments of contracts, life settlements, viatical settlements,
insurance, consumers and consumer protection, usury, truth-in-lending, fair credit reporting,
equal credit opportunity, federal and state securities or “blue sky” laws, the Federal Trade
Commission Act and ERISA, and in the case of Section 6.3 of the Loan Agreement, FATCA.

         “Applicable Margin” means four and one-half percent (4.50%).

       “Assignment and Assumption Agreement” has the meaning set forth in Section 13.4 of
the Loan Agreement.

       “Assignment of Interest in Limited Partnership” means the Bill of Sale and Assignment
of Limited Partnership Interests, dated as of May 16, 2014, among the Borrower, the Predecessor

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Parent Pledgor and the LP Parent, as the same may be amended, supplemented or otherwise
modified from time to time in accordance with the Transaction Documents.

         “Assignor” means OLIPP IV, LLC, a Delaware limited liability company.

       “Assignor Contribution Agreement” means the Contribution Agreement, dated as of
April 29, 2013, by and between the Assignor, as the transferor, and the Predecessor Parent
Pledgor, as the transferee, as the same may be amended, supplemented or otherwise modified
from time to time in accordance with the Transaction Documents.

        “Available Amount” means, with respect to any Distribution Date, the amount on deposit
in the Collection Account.

         “AVS” means AVS Underwriting, LLC and its successors.

       “Base Rate” means, for any date of determination, the sum of (i) the Federal Funds Rate
on such date plus (ii) one half of one percent (0.5%).

         “Blocked Person” has the meaning set forth in Section 8.1(v) of the Loan Agreement.

         “Borrower” has the meaning set forth in the recitals to the Loan Agreement.

         “Borrower Account” has the meaning set forth in Section 5.1(c) of the Loan Agreement.

      “Borrower Failure Procedures” has the meaning set forth in Section 5.2(a) of the Loan
Agreement.

       “Borrower Interest Pledge Agreement” means the Partnership Interest Pledge Agreement,
dated as of May 16, 2014, made by the Parent Pledgors in favor of the Administrative Agent on
behalf of itself and the Lenders, as the same may be amended, supplemented or otherwise
modified from time to time in accordance with the Transaction Documents.

        “Borrower Interest Purchase and Sale Agreement” means the Purchase and Sale
Agreement, dated as of May 16, 2014, by and between the Predecessor Parent Pledgor, as seller
of the limited partnership interests in the Borrower, and the LP Parent as purchaser of the limited
partnership interests in the Borrower, as the same may be amended, supplemented or otherwise
modified from time to time in accordance with the Transaction Documents.

        “Borrower Organizational Documents” means the certificate of limited partnership and
the limited partnership agreement of the Borrower, as amended by that certain first amendment
to limited partnership agreement, dated as of May 16, 2014, by and between the GP Partner and
the LP Parent.

         “Borrower Valuation” has the meaning set forth in Section 6.5 of the Loan Agreement.

        “Borrowing Base” means, on any date of determination, the lesser of (A) the sum of all of
the following amounts that have been funded or are to be funded through the succeeding
Distribution Date (i) the Initial Advance and all Additional Policy Advances, plus (ii) one-


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hundred percent (100%) of the sum of the Ongoing Maintenance Costs, plus (iii) prior to
November 9, 2015 only, one hundred percent (100%) of the Debt Service, plus (iv) one-hundred
percent (100%) of any other Fees and Expense Deposits and other fees and expenses funded and
to be funded as approved by the Required Lenders in their sole discretion, less (v) any Required
Amortization previously distributed and to be distributed pursuant to the Priority of Payments on
the immediately succeeding Distribution Date; (B) seventy-five percent (75%) of the Lender
Valuation of the Pledged Policies; (C) fifty percent (50%) of the aggregate face amount of the
Pledged Policies (other than the Excluded Policies); and (D) the Facility Limit.

      “Borrowing Base Certificate” means a certificate in the form of Exhibit F to the Loan
Agreement.

         “Borrowing Request” has the meaning set forth in Section 2.2(a) of the Loan Agreement.

         “Broker” has the meaning set forth in Section 2.7(b) of the Loan Agreement.

       “Business Day” means any day on which commercial banks in Las Vegas, Nevada,
Wilmington, Delaware, Dublin, Ireland, Hamilton, Bermuda and Birmingham, Michigan, are not
authorized or required to be closed.

        “Calculation Date” means (i) the tenth (10th) day following March 31, June 30,
September 30 or December 30 of each year, as applicable, beginning in July 2013, or if such day
is not a Business Day, then the succeeding Business Day, but (ii) from and after the occurrence
and during the continuance of an uncured and unwaived Event of Default, the tenth (10th) of
each calendar month that commences thereafter, but (iii) from and after any cure or waiver of
any Event of Default, the meaning in clause (i).

      “Calculation Date Report” has the meaning set forth in Section 5.2(b) of the Loan
Agreement.

       “Cash Flow Sweep Percentage” means, with respect to any Distribution Date, (i) if such
Distribution Date occurs prior to December 28, 2025, and (w) the LTV is greater than sixty-five
percent (65%), one-hundred percent (100%), (x) the LTV is less than or equal to sixty-five
percent (65%) but greater than fifty percent (50%), seventy percent (70%), (y) the LTV is less
than or equal to fifty percent (50%) but greater than thirty-five percent (35%), fifty-five percent
(55%) or (z) the LTV is less than or equal to thirty-five percent (35%), forty-five percent (45%);
provided that if (a) EMG failed to maintain a Cash Interest Coverage Ratio of at least 2.0:1 at
any time during the immediately preceding calendar quarter or (b) EMG fails to take steps to
improve its solvency in a manner acceptable to the Required Lenders (as determined in their sole
and absolute discretion), then the Cash Flow Sweep Percentage shall equal one-hundred percent
(100%) and (ii) if such Distribution Date occurs on or after December 28, 2025, one-hundred
percent (100%).

        "Cash Interest Coverage Ratio" means with respect to Emergent Capital Group, Inc., a
Florida corporation f/k/a Imperial Holdings, Inc. ("EMG"), as of any date of determination, the
ratio of (i) consolidated cash and cash equivalents maintained by EMG to (ii) the aggregate
interest amounts that will be due and payable in cash on (x) the $30,000,000 15% senior secured
notes due September 14, 2018 (and any notes issued by EMG or any of its Affiliates in

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connection with refinancing, replacing, substituting or any similar action with respect to any
such notes) and the $70,743,000 8.50% senior unsecured convertible notes due February 15,
2019 (and any notes issued by EMG or any of its Affiliates in connection with refinancing,
replacing, substituting or any similar action with respect to any such notes) and (y) any
additional indebtedness issued by EMG after December 27, 2016, in each case, during the twelve
month period following such date of determination.

        “Change in Control” means a change resulting when (i) the Borrower or a Parent Pledgor,
as applicable, merges or consolidates with any other Person or permits any other Person to
become the successor to its business, and the Borrower or a Parent Pledgor, as applicable, is not
the surviving entity after such merger, consolidation or succession, other than as expressly
permitted by the Transaction Documents, (ii) the Borrower or a Parent Pledgor, as applicable,
conveys, transfers or leases substantially all of its assets as an entirety to another Person, other
than as expressly permitted by the Transaction Documents or (iii) any Person shall become the
owner, directly or indirectly, beneficially or of record, of equity representing more than fifty
percent (50%) of the aggregate ordinary voting power represented by the issued and outstanding
equity of the Borrower, the Predecessor Parent Pledgor or a Parent Pledgor.

       “Change Forms” means, with respect to any Policy, all documents required by the
applicable Issuing Insurance Company to be executed by the Borrower (or the Securities
Intermediary, as owner thereof for the benefit of the Borrower or the Administrative Agent as
secured party pursuant to the Account Control Agreement) to effect change of ownership of and
designation of a new owner and beneficiary under such Policy.

         “Claims” has the meaning set forth in the Account Control Agreement.

         “Code” means the Internal Revenue Code of 1986, as amended, or any successor statute.

         “Collateral” has the meaning set forth in Section 2.6(a) of the Loan Agreement.

         “Collateral Audit” has the meaning set forth in Section 9.1(i) in the Loan Agreement.

        “Collateral Package” means all documents and information in the possession or under the
control of the Borrower, the Assignor, the Predecessor Parent Pledgor, a Parent Pledgor, Imperial
or any Affiliate of any of them, related to the Pledged Policies, including but not limited to, all
Policy files related to the purchase or acquisition thereof by any Affiliate of Imperial and the
transfer thereof to the Borrower (which shall include the most recent Policy Illustrations, Life
Expectancy estimates, the Physician Competency Statement and medical records available to the
Borrower) and all documents set forth on Exhibit M to the Account Control Agreement.

         “Collection Account” has the meaning set forth in Section 5.1(a) of the Loan Agreement.

        “Collections” means, collectively, all payments made from and after the Initial Closing
Date to or for the account of or the benefit of the Borrower, Imperial, the Servicer, the Assignor,
the Predecessor Parent Pledgor, a Parent Pledgor or any Affiliate of any of them or their agents
(including the Securities Intermediary) by or on behalf of the Issuing Insurance Companies or
any other Person in respect of the Policies, including without limitation, all Liquidation
Proceeds, all proceeds of Policy Loans or withdrawals of cash surrender value made or taken

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from and after the Initial Closing Date and any proceeds of any other Collateral and sale of
Pledged Policies (including Net Proceeds), whether in the form of cash, checks, wire transfers,
electronic transfers or any other form of cash payment.

      “Commitment” means, with respect to any Lender, the maximum amount that may be
advanced by such Lender under the Loan Agreement as specified in Schedule 2.1(a) to the Loan
Agreement as the same is amended pursuant to any Assignment and Assumption Agreement.

        “Commitment Termination Date” means the earliest to occur of: (i) the Scheduled
Commitment Termination Date, and (ii) the effective date on which the Lenders’ Commitment is
terminated following the occurrence of an Event of Default not cured within any applicable cure
period, as described in Section 10.2 of the Loan Agreement.

        “Confidential Information” means (i) the terms and conditions of the Loan Agreement
and the other Transaction Documents and the transactions contemplated hereby and thereby,
including (a) any term sheets, loan applications or other documents related to the Loan
Agreement or the Transaction Documents and (b) any copies of such documents or any portions
thereof and (ii) any Non-Public Information.

       “Consultancy Agreement” means the Consultancy Agreement, dated as of May 16, 2014,
by and between the LP Pledgor and Jason R. Sutherland, and as the same may be amended,
supplemented or otherwise modified from time to time in accordance with the Transaction
Documents.

        “Cure Notice” means a written notice from the Required Lenders to the Borrower
indicating that the Required Lenders are granting the Borrower a cure period not exceeding
ninety (90) days in order to cure an occurrence that would otherwise constitute an Event of
Default.

       “Custodian” means Wilmington Trust, National Association, in its capacity as custodian
under the Account Control Agreement.

      “Custodial Package” shall mean with respect to a Policy, each of the documents set forth
on Exhibit M to the Account Control Agreement.

       “Debtor Relief Laws” means the Bankruptcy Code of the United States of America, and
all other liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors,
moratorium, rearrangement, receivership, insolvency, reorganization, or similar debtor relief
laws of the United States or other applicable jurisdictions from time to time in effect.

        “Debt Service” means, on any date of determination, the sum of the accrued interest due
on all outstanding Advances that does not equal the Rate Floor.

         “Default Rate” means, in the event that an Event of Default has occurred and is
continuing, the interest rate per annum at which each Loan shall bear interest, equal to the sum of
(i) the greater of (A) (1) LIBOR or, if LIBOR is unavailable, (2) the Base Rate and (B) one and a
half percent (1.5%) plus (ii) six and one-half percent (6.50%).


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         “Determining Party” has the meaning set forth in Section 2.7(b) of the Loan Agreement.

      “Direct Assumption Policies” has the meaning set forth in Section 2.7(b) of the Loan
Agreement.

         “Disclosing Party” has the meaning set forth in Section 13.12 of the Loan Agreement.

       “Distribution Date” means the fifth day after each Calculation Date (or if such day is not
a Business Day, the next succeeding Business Day), beginning in July, 2013.

         “Dollar” and the sign “$” shall mean lawful money of the United States of America.

        “Eligibility Criteria” with respect to any Policy, means the following criteria, which are
to be satisfied or have been waived in writing by the Required Lenders in their sole and absolute
discretion as of the Advance Date as of which such Policy becomes a Pledged Policy:

               (a)      Except if such Policy is set forth on Eligibility Criteria Clause (a)
         Schedule to the Loan Agreement, the Securities Intermediary is designated as the
         “owner” and “beneficiary” under the Policy by the Issuing Insurance Company.

                (b)      The Policy is (i) a single life or survivorship policy, (ii) a fixed or variable
         universal life, whole life, or convertible term (provided such Policy is converted to a
         “permanent” life insurance policy prior to becoming a Pledged Policy), (iii) denominated
         and payable in U.S. Dollars and (iv) issued by a U.S. domiciled insurance company.

                (c)      Except if such Policy is set forth on Eligibility Criteria Clause (c)
         Schedule to the Loan Agreement, the Insured is a United States citizen or permanent
         resident alien currently residing in the United States as of the date the Policy was
         acquired by the Borrower, and has documented social security information and
         photographic identification.

                 (d)    Except if such Policy is set forth on Eligibility Criteria Clause (d)
         Schedule to the Loan Agreement, the Insured shall be an individual sixty (60) years old
         or older.

                  (e)    The Policy shall be in full force.

                 (f)     Except if such Policy is set forth on Eligibility Criteria Clause (f) Schedule
         to the Loan Agreement, the Issuing Insurance Company shall (x) have at least one of, but
         no lower than any one of (i) a financial strength rating of “A-” from A.M. Best or (ii) a
         financial strength rating of less than “A-” from A.M. Best that is approved by the
         Required Lenders in their sole discretion or (y) be the Phoenix Life Insurance Company
         or the Conseco Life Insurance Company, or one of their respective affiliates.

               (g)      Except if such Policy is set forth on Eligibility Criteria Clause (g)
         Schedule to the Loan Agreement, medical underwriting as to Life Expectancy shall be
         conducted with respect to the Policy by at least two Pre-Approved Medical Underwriters
         whose LE Reports must not be dated more than twelve (12) months prior to the related

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         Advance Date with respect to Policies to be pledged on such Advance Date, and in each
         case, must be based on medical records obtained from the Insured that are not older than
         twenty-four (24) months as of such Advance Date.

               (h)      Except if such Policy is set forth on Eligibility Criteria Clause (h)
         Schedule to the Loan Agreement, the Insured must have an average Life Expectancy of
         no more than two-hundred fifty-two (252) months.

                 (i)   Except if such Policy is set forth on Eligibility Criteria Clause (i) Schedule
         to the Loan Agreement, the Policy covering the life of an individual Insured shall not
         have a face amount of less than $70,000 or greater than $10.0 million, except as
         otherwise approved in writing by the Required Lenders.

                 (j)    The Policy is beyond any relevant policy or statutory contestability and
         suicide periods.

                 (k)     There must not be any outstanding Policy Loans or Liens outstanding in
         respect of the Policy, except for Permitted Liens that will be fully reflected in the pricing
         analysis and calculation, nor any other pledge or assignment outstanding on the Policy.

                 (l)   Except if such Policy is set forth on Eligibility Criteria Clause (l) Schedule
         to the Loan Agreement, the life expectancy reflected in the LE Report used to determine
         the Lender Valuation with respect to the related Advance is not less than twenty-four (24)
         months from the date of such Advance.

                 (m)     The Policy and the legal and beneficial interests in the death benefit
         (taking into account the portion of the death benefit payable to a Person other than the
         Securities Intermediary who is designated as the “beneficiary” under a Retained Death
         Benefit Policy and previously disclosed in writing to the Administrative Agent) shall be
         capable of being sold, transferred and conveyed to the Borrower and its successors,
         assigns and designees, and the seller thereof to the Borrower shall have the right to do so.
         Any tracking/servicing (subject to any statutory prohibition applicable to life settlement
         providers) and custodial rights shall be fully assignable and transferable to the Borrower
         and its successors, assigns and designees or as otherwise directed by the Borrower.
         Except with respect to HIPAA Authorizations relating to the Policies set forth on
         Eligibility Criteria Clause (m) Schedule to the Loan Agreement, the documents and
         agreements contained in the related Collateral Package and listed on Exhibit M to the
         Account Control Agreement do not contain language purporting to limit their
         assignability, and none of the Borrower, the Parent Pledgors, the Predecessor Parent
         Pledgor, any Affiliate of any of them, or any Affiliate of Imperial is a party to any
         agreement that limits their assignability, and all such documents are fully assignable and
         transferable to the Borrower and its successors, assigns and designees or as otherwise
         directed by the Borrower; provided that Borrower makes no representation or warrant
         concerning whether applicable state law or public policy limit the assignability of any
         HIPAA Authorization or power of attorney or the enforceability thereof upon assignment.




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                (n)     The Insured’s primary diagnosis leading to the Life Expectancy
         evaluation(s) must not be HIV or AIDS.

                 (o)    The Policy shall not be purchased from a seller to which applicable state
         laws prohibiting the purchase or the transfer of ownership from such seller apply at the
         time of such purchase or transfer of ownership.

                (p)      The Borrower shall reasonably believe based on its review of the related
         Collateral Package and the other information available to or known by the Borrower or
         any Affiliate thereof, that the original owner/beneficiary under the Policy shall have had
         an insurable interest at the time of the initial issuance of the Policy.

                 (q)    The Policy shall not have a death benefit that, by the terms of the Policy,
         will decrease over time or from time to time, unless such decrease is scheduled and can
         be incorporated and fully reflected in the pricing of the Policy, and where the Policy shall
         contain no provisions limiting the future realization of the net death benefit, other than
         non-payment of premiums or the Insured reaching a certain age.

                 (r)     The sale of the Policy from the Original Owner thereof and all subsequent
         transfers of the Policy complied with all Applicable Law.

                 (s)     The transfer of the Policy is not subject to the payment of United States
         state sales taxes or any other taxes payable by the Borrower.

                (t)     The face amount of the Policy does not exceed five percent (5%) of the
         aggregate face amount of all Pledged Policies.

                  (u)   The Rescission Period with respect to such Policy shall have expired.

                  (v)    The Policy is not subject to any Applicable Law that makes unlawful the
         sale, transfer or assignment of such Policy.

                 (w)    With respect to such Policy, the Borrower is not aware of any agreements,
         documents, assignments or instruments related to such Policy except for those
         agreements, documents, assignments and instruments that constitute and were included in
         the related Collateral Package that was delivered to the Administrative Agent.

                (x)     The related Collateral Package delivered to the Administrative Agent by
         or on behalf of the Borrower contain, at the very least, the documents set forth in Exhibit
         M to the Account Control Agreement.

                 (y)     Unless such Policy is a Retained Death Benefit Policy that has been
         previously disclosed in writing to and approved by the Administrative Agent, such Policy
         is not a retained death benefit policy or similar policy in which any Person other than the
         Borrower has any direct or indirect interest of any kind in the death benefit payable under
         such Policy.



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        “Eligible Account” means either (a) a segregated account with an Eligible Institution or
(b) a segregated trust account with the corporate trust department of a depository institution
organized under the laws of the United States or any of the states thereof, including the District
of Columbia (or any domestic branch of a foreign bank), and acting as a trustee for funds
deposited in such account, so long as the senior securities of such depository institution shall
have a credit rating from each of Moody’s and S&P in one of its generic credit rating categories
no lower than “A-” or “A3”, as the case may be.

        “Eligible Institution” means a depositary institution organized under the laws of the
United States of America or any one of the states thereof or the District of Columbia (or any
domestic branch of a foreign bank), (a) which has both (x) a long-term unsecured senior debt
rating of not less than “A” by S&P and “A2” by Moody’s, and (y) a short-term unsecured senior
debt rating rated in the highest rating category by S&P and Moody’s and (b) whose deposits are
insured by the Federal Deposit Insurance Corporation.

        “Eligible Policy” means a Policy that, as of the Advance Date as of which such Policy
first becomes a Pledged Policy, satisfies all of the Eligibility Criteria that have not been waived
in writing by the Required Lenders.

          “EMG” has the meaning set forth in the definition of Cash Interest Coverage Ratio.

       “ERISA” means the U.S. Employee Retirement Income Security Act of 1974, 29 U.S.C.
§1001 et seq., as amended from time to time and the regulations promulgated thereunder.

          “Escrow Account” has the meaning set forth in Section 5.1(d) of the Loan Agreement.

          “Event of Bankruptcy” shall be deemed to have occurred with respect to a Person if
either:

                  (a)     a case or other proceeding shall be commenced, without the application or
          consent of such Person, in any court, seeking the liquidation, reorganization, debt
          arrangement, dissolution, winding up, examinership or composition or readjustment of
          debts of such Person, the appointment of a trustee, receiver, custodian, liquidator,
          examiner, assignee, sequestrator or the like for such Person or all or substantially all of its
          assets, or any similar action with respect to such Person under any law relating to
          bankruptcy, insolvency, reorganization, winding up, examinership or composition or
          adjustment of debts and such case or proceeding shall remain undismissed or unstayed
          for a period of sixty (60) days; or an order for relief in respect of such Person shall be
          entered in an involuntary case under the federal bankruptcy laws or other similar laws
          now or hereafter in effect; or

                  (b)     such Person shall commence a voluntary case or other proceeding under
          any applicable bankruptcy, insolvency, reorganization, debt arrangement, dissolution or
          other similar law now or hereafter in effect, or shall consent to the appointment of or
          taking possession by a receiver, liquidator, assignee, trustee, custodian, sequestrator (or
          other similar official) for such Person or for any substantial part of its property, or shall
          make any general assignment for the benefit of creditors, or shall fail to, or admit in


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         writing its inability to, pay its debts generally as they become due, or, if a corporation or
         similar entity, its board of directors shall vote to implement any of the foregoing.

         “Event of Default” has the meaning set forth in Section 10.1 of the Loan Agreement.

        “Excluded Policy” means (i) any Policy pledged under the Loan Agreement for which no
written acknowledgement of a collateral assignment was received by the Administrative Agent
or the Securities Intermediary from the related Issuing Insurance Company within sixty (60)
calendar days of the Advance Date as of which such Policy became a Pledged Policy, (ii) any
Policy set forth on Eligibility Criteria Clause (a) Schedule to the Loan Agreement, (iii) any
Policy pledged under the Loan Agreement in respect of which the Insurance Consultant is not
authorized to, or is not accepted by the related Issuing Insurance Company to, communicate and
receive verifications of coverage and obtain other information from such Issuing Insurance
Company and (iv) any Policy set forth on Schedule 7.1(f) to the Loan Agreement. With respect
to any Policy described in clause (i) of the immediately preceding sentence, if such written
acknowledgement of a collateral assignment is received by the Administrative Agent or the
Securities Intermediary after such date, such Policy shall cease to be an Excluded Policy on the
date of such receipt. With respect to any Policy described in clause (ii) of the first sentence of
this definition, such Policy shall cease to be an Excluded Policy on the date the Administrative
Agent receives written confirmation from the Securities Intermediary that the Securities
Intermediary is designated as the “owner” and “beneficiary” under such Policy by the related
Issuing Insurance Company. With respect to any Policy described in clause (iii) of the first
sentence of this definition, if the Insurance Consultant becomes authorized to, or becomes
accepted by the related Issuing Insurance Company to, communicate and receive verifications of
coverage and obtain other information from such Issuing Insurance Company, such Policy shall
cease to be an Excluded Policy on the date of such authorization or acceptance. With respect to
any Policy described in clause (iv) of the first sentence of this definition, such Policy shall cease
to be an Excluded Policy on the date the Custodian receives an original or a copy from the
related Issuing Insurance Company of such Policy.

        “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Lender or required to be withheld or deducted from a payment to a Lender, (a) Taxes imposed on
or measured by net income (however denominated), franchise Taxes, and branch profits Taxes,
in each case, (i) imposed as a result of such Lender being organized under the laws of, or having
its principal office or, in the case of any Lender, its applicable lending office located in, the
jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are Other
Connection Taxes, (b) in the case of a Lender (other than the Initial Lender), U.S. federal
withholding Taxes imposed on amounts payable to or for the account of such Lender with
respect to an applicable interest in Lender Notes issued pursuant to the Loan Agreement pursuant
to a law in effect on the date on which (i) such Lender acquires such interest in such Lender
Notes (other than pursuant to an assignment request by the Borrower under Section 6.4 of the
Loan Agreement) or (ii) such Lender changes its lending office, except in each case to the extent
that (A) pursuant to Section 6.4 of the Loan Agreement, amounts with respect to such Taxes
were payable either to such Lender's assignor immediately before such Lender became a party to
the Loan Agreement or to such Lender immediately before it changed its lending office or (B)
such Taxes would not have been imposed if the Borrower were a publicly traded U.S.


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corporation, (c) Taxes attributable to such Lender’s failure to comply with Section 6.3 of the
Loan Agreement, and (d) any U.S. federal withholding Taxes imposed under FATCA.

       “Expense Deposit” means, with respect to each Borrowing Request related to a proposed
Additional Policy Advance, an amount required to reimburse the Administrative Agent and the
Lenders for third-party out-of-pocket expenses incurred in connection with the review and
evaluation of the Additional Policies identified in such Borrowing Request, as determined by the
Administrative Agent in its reasonable discretion.

        “Expenses” means (i) Servicing Fees and costs and other amounts reimbursable to the
Servicer pursuant to the Servicing Agreement, (ii) payments to the Custodian and Securities
Intermediary, as applicable, of their accrued fees and reimbursable expenses related to the
Pledged Policies or the Accounts, (iii) Expense Deposits, (iv) the reasonable administrative
expenses of the Borrower related to the Pledged Policies or general operations of the Borrower
including Collateral Audits and maintenance of the Collateral, in an amount not to exceed
$15,000 per annum or a greater amount approved by the Required Lenders in their sole
discretion, (v) Portfolio Manager Fees and (vi) Administrative Agent Fees. The Expenses to be
funded during 2013 were approved by the Required Lenders as of the Initial Closing Date. The
Expenses to be funded during any succeeding calendar year shall be approved by the Required
Lenders in their sole and absolute discretion upon review of the Annual Budget for such
succeeding calendar year as contemplated by Section 9.1(d)(vi) of the Loan Agreement, which
amounts, if comprising amounts described in the preceding clauses (iii) and (v) may be less than
(or greater than) such amounts approved, in any preceding calendar year, in the Required
Lenders’ sole and absolute discretion.

       “Facility Limit” means $370,000,000; provided, however, that on April 29, 2019 and on
each anniversary thereafter, such amount shall be reduced by an amount up to the lesser of (i) the
sum of (a) $25,000,000 plus (b) the aggregate of the Facility Limit Shortfall Amounts not
previously applied to reduce the Facility Limit, if any and (ii) an amount which would cause the
then Facility Limit to equal the product of (A) 1.3 and (B) the highest aggregate principal
balance of Advances (excluding Protective Advances) that were outstanding during the twelve
month period immediately preceding such anniversary.

        “Facility Limit Shortfall Amount” shall mean with respect to each date on which the
Facility Limit is required to be reduced pursuant to the definition thereof, the excess, if any, of
the $25,000,000 that constitutes the additional reduction to be applied on such date pursuant to
clause (i)(a) of the definition thereof, over the amount of the actual reduction applied to such
additional reduction.

         “Fasano” means Fasano Associates, Inc. and its successors.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of the Loan
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Code.



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       “Fee Letter” means that certain Amended and Restated Fee and Indemnification
Agreement, dated as of the Original Amended and Restated Closing Date, among the Borrower,
Imperial Holdings Inc. and Wilmington Trust, N.A., setting forth, among other things, the fees of
the Securities Intermediary and the Custodian.

         “Fees” means, (i) in relation to the Initial Advance, the Up-Front Fee and, (ii) in relation
to any Advance other than the Initial Advance, any fee payable to a broker or other third party in
relation to the acquisition of an Additional Policy or other transaction contemplated by the Loan
Agreement, and in each case, the payment of which has been approved by the Required Lenders
in their sole discretion.

         “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted
average of the interest rates on overnight federal funds transactions with members of the Federal
Reserve System arranged by federal funds brokers, as published on the next succeeding Business
Day by the Federal Reserve Bank of New York, or, if such rate is not so published for any day
which is a Business Day, the average of the quotations for the day of such transactions received
by the Administrative Agent from three federal funds brokers of recognized standing selected by
it plus 0.75%.

         “Foreign Lender” means a Lender that is not a U.S. Person.

      “FTP Site” shall have the meaning set forth in Annex 1 to the Portfolio Management
Agreement.

         “GAAP” means United States generally accepted accounting principles.

        “Governmental Authority” means the government of the United States of America or any
other nation, or of any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government (including any supra-national bodies such as the European Union or
the European Central Bank).

      “GP Parent” means White Eagle General Partner, LLC, a Delaware limited liability
company.

       “Guarantor” means Imperial Finance & Trading, LLC, in its capacity as guarantor under
the Guaranty.

       “Guaranty” means the Guaranty, dated as of the Original Amended and Restated Closing
Date, made by the Guarantor in favor of the Borrower, the Administrative Agent and the Lenders
as the same may be amended, supplemented or otherwise modified from time to time in
accordance with the Transaction Documents.

         “Imperial” means Imperial Holdings Inc., a Florida corporation, and its successors.

      “Imperial Finance” means Imperial Finance & Trading, LLC, a Florida limited liability
company, and its successors.

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      “Indemnified Amounts” has the meaning set forth in Section 11.1 of the Loan
Agreement.

         “Indemnified Bank Person” has the meaning set forth in the Account Control Agreement.

         “Indemnified Party” has the meaning set forth in Section 11.1 of the Loan Agreement.

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of the Borrower and (b) to the
extent not otherwise described in (a), Other Taxes.

      “Independent Director” has the meaning set forth in Section 9.1(f)(ii) of the Loan
Agreement.

      “Independent Manager” has the meaning set forth in Section 9.1(f)(ii) of the Loan
Agreement.

        “Initial Advance” means an Advance in an amount equal to the sum of (i) for any Subject
Policies set forth on the Initial Advance Lexington Schedule to the Loan Agreement, the lesser of
(A) fifty percent (50%) of the Purchase Price and (B) fifty percent (50%) of the market value of
such Subject Policies as determined by the Required Lenders in their sole discretion, plus (ii) for
any Subject Policies not set forth on the Initial Advance Lexington Schedule to the Loan
Agreement, fifty percent (50%) of the market value for such Subject Policies as determined by
the Required Lenders in their sole discretion, plus (iii) the Up-Front Fee, plus (iv) the Initial
Expense Deposit plus (v) certain fees and expenses of the Borrower, including reasonable
attorneys’ fees, as approved by the Required Lenders in their sole discretion.

      “Initial Advance Acceptance” has the meaning set forth in Section 2.3(a) of the Loan
Agreement.

         “Initial Closing Date” means April 29, 2013.

         “Initial Expense Deposit” means $3,000,000.

        “Initial Face Amount” shall mean, with respect to each Policy that is or has ever been a
Pledged Policy, the face amount of such Policy as of the date such Policy became a Pledged
Policy.

         “Initial Lender” has the meaning set forth in the recitals to the Loan Agreement.

        “Initial Policy Purchaser” means, with respect to any Policy, any Person who purchased
the Policy from the Original Owner.

      “Initial Portfolio Manager” has the meaning set forth in the recitals to the Loan
Agreement.

        “Initial Portfolio Manager Indemnified Amounts” has the meaning set forth in Section
11.3 of the Loan Agreement.


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         “Initial Servicer” has the meaning set forth in the recitals to the Loan Agreement.

      “Initial Servicer Report” means the “Servicer Report” as defined in the Initial Servicing
Agreement.

       “Initial Servicer Report Date” means the date the Initial Servicer Report is to be delivered
pursuant to the terms of the Initial Servicing Agreement.

        “Initial Servicer Termination Event” means “Servicer Termination Event” as defined in
the Initial Servicing Agreement.

       “Initial Servicing Agreement” means the Servicing Agreement dated as of the Initial
Closing Date, by and between the Initial Servicer and the Borrower, as the same was amended,
supplemented or otherwise modified prior to the Second Amended and Restated Closing Date in
accordance with the Transaction Documents.

      “Insurance Consultant” means D3G Capital Management, LLC, a Texas limited liability
company.

         “Insured” means a natural person who is named as the insured on a Policy.

        “Interest Payment Date” with respect to any Advance, means the first Distribution Date
occurring after the initial funding of such Advance, and each subsequent Distribution Date
thereafter.

        “Interest Period” means with respect to each Advance and each Interest Payment Date, (i)
the period from and including the date such Advance is funded, to but excluding the immediately
succeeding Distribution Date, and, thereafter, (ii) the period from and including the most recent
preceding Distribution Date to but excluding the succeeding Distribution Date; provided,
however, that for the last Interest Period that commences before the Maturity Date and so would
otherwise end on a date occurring after the Maturity Date, such Interest Period shall end on and
include the Maturity Date.

        “Investment” means any investment in any Person, whether by means of share purchase,
capital contribution, loan, time deposit or otherwise.

        “Issuing Insurance Company” means with respect to any Policy, the insurance company
that is obligated to pay the related benefit upon the death of the related Insured by the terms of
such Policy (or the successor to such obligation).

        “Joint Policy” means a Policy with more than one Insured that pays upon the death of the
last Insured to die. Unless the context otherwise requires, joint Insureds of a Joint Policy shall
collectively count, as applicable, as a “separate individual,” as a “single insured” or as an
“insured person”.

      “Lapsed/Grace Policy” has the meaning set forth in Section 10.1(p) of the Loan
Agreement.


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       “Lender” means each of the financial institutions party to the Loan Agreement as lender
thereunder.

      “Lender’s Commitment” means, with respect to a Lender, the Commitment for such
Lender as set forth on Schedule 2.1(a) of the Loan Agreement or in the Assignment and
Assumption Agreement pursuant to which such Lender becomes a party to the Loan Agreement.

       “Lender Default” means with respect to a Lender, the failure of such Lender to make any
Advance it is obligated to make under the Loan Agreement, which failure continues for thirty
(30) Business Days after the date on which such Lender receives written notice of such failure
from the Borrower.

      “Lender Note” and “Lender Notes” each has the meaning set forth in Section 2.5 of the
Loan Agreement.

         “Lender Releasees” has the meaning set forth in Section 13.16 of the Loan Agreement.

         “Lender Valuation” means, on any date of determination, the value of the Pledged
Policies (other than the Excluded Policies) as determined by the Required Lenders in their
reasonable discretion. For purposes of this definition, but without limitation as to what other
methodology and assumptions might be reasonable, similar methodology and assumptions
utilized by the Required Lenders in valuing the Pledged Policies related to the Initial Advance
shall be deemed to be reasonable. In valuing each such Pledged Policy, the Required Lenders:
(i) utilized reasonable actuarial practices on a probabilistic basis and took into consideration
other means of valuing life insurance policies including available market comparisons, (ii)
determined which Select Composite Valuation Basic Table to use for the related Insured, (iii)
used their reasonable judgment to optimize premiums, (iv) generally utilized at least two (2) LE
Reports to determine the life expectancy of the related Insured, however, depending on such
Pledged Policy, the Required Lenders could have utilized only one of the two LE Reports
supplied by the Borrower, the Required Lenders could have combined the two supplied LE
Reports in a manner determined in the Required Lenders’ sole and absolute discretion or the
Required Lenders could have adjusted an individual LE Report based upon the Required
Lenders’ review of such LE Reports or a review conducted by a third-party approved by the
Required Lenders of such LE Reports and (v) based the discount rate of such Pledged Policy on
market based conditions, with upward and downward adjustments in such discount rate to
account for such Pledged Policy’s individual characteristics, including, without limitation,
whether such Pledged Policy had a return of premium rider, the applicable maturity date, the face
value of such Pledged Policy, the life expectancy of the related Insured, any information related
to the origination of such Pledged Policy (such as whether such Pledged Policy was premium
financed or originated pursuant to a “beneficial interest” program), the completeness of the
related Collateral Package, the shape of the COI curve, the identity of the related Issuing
Insurance Company and other factors identified and weighed by the Required Lenders in their
reasonable judgment. The Borrower hereby acknowledges that the foregoing methodology is
likely to change over time to account for market conditions and the Required Lenders’
experience in the life settlement marketplace and that any such changes to the methodology shall
be in the Required Lenders’ reasonable judgment.



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        “LIBOR” means, for any Interest Period, an interest rate per annum (rounded upwards, if
necessary, to the nearest 1/100 of 1%) equal to the British Bankers Association LIBOR Rate
(“BBA LIBOR”) by Bloomberg, Reuters or other commercially available source providing
quotations of BBA LIBOR, as designated by the Administrative Agent from time to time, at
approximately 11:00 A.M. (London time) on the Rate Calculation Date for such Interest Period,
as the London interbank offered rate for deposits in Dollars for a 12-month period.

        “Lien” shall mean any mortgage, pledge, assignment, lien, security interest or other
charge or encumbrance of any kind, including the retained security title of a conditional vendor
or a lessor.

        “Life Expectancy” means (A) with respect to any Policy, the average of two separate life
expectancies of the related Insured, stated in months, provided by two separate Pre-Approved
Medical Underwriters to achieve fifty (50%) percentile cumulative mortalities for such Insured
and, if not provided, by applying the provided life expectancy in months to the mortality table
selected by the Required Lenders to calculate a 50th percentile cumulative mortality schedule for
such Insured; and (B) with respect to any Policy that is a Joint Policy means the joint life
expectancy of the related Insureds in months provided by two (2) Pre-Approved Medical
Underwriters to achieve a 50th percentile cumulative mortality for such Insureds and calculated
in the Pricing Model by applying the weighted average of the cumulative mortality schedules
provided for the two (2) joint life expectancies by the Pre-Approved Medical Underwriters and,
if not provided, by applying the provided life expectancy in months to the mortality table
selected by the Required Lenders to calculate a 50th percentile cumulative mortality for such
Insureds.

        “Life Expectancy Date” means, with respect to any Policy, the last day of the last month
of the Life Expectancy for such Policy.

       “Life Expectancy Report” or “LE Report” means, with respect to a Policy, an assessment
by a Pre-Approved Medical Underwriter in a written statement dated within one-hundred eighty
(180) days prior to the Advance Date on which such Policy became or is proposed to become a
Pledged Policy, with respect to the Life Expectancy of the related Insured.

       “Liquidated Policy” means any Pledged Policy that has been liquidated as a result of the
death of the related Insured.

         “Liquidation Proceeds” means any and all proceeds realized from Liquidated Policies.

        “Loan Agreement” means the Second Amended and Restated Loan and Security
Agreement, dated as of the Second Amended and Restated Closing Date among the Borrower,
the Guarantor, the Initial Servicer, the Portfolio Manager, the Portfolio Manager, the Lenders
party thereto and the Administrative Agent, as the same may be amended, restated, supplemented
or otherwise modified from time to time.

      “LP Parent” means Lamington Road Designated Activity Company (f/k/a Lamington
Road Limited), an Irish designated activity company.



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        “LP Parent Contribution Agreement” means the Contribution Agreement, dated as of
May 16, 2014, by and between the LP Parent, as the transferor of certain assets from time to
time, and the Borrower, as the transferee thereof, as the same may be amended, supplemented or
otherwise modified from time to time in accordance with the Transaction Documents.

       “LTV” means, on any date of determination, the fraction, expressed as a percentage, the
numerator of which is the aggregate outstanding principal balance of all outstanding Advances,
and the denominator of which is the Lender Valuation of the Pledged Policies (other than any
Excluded Policies), as determined by the Required Lenders in their sole discretion.

        “Manager” has the meaning set forth in the guidelines attached as Exhibit B to that
certain opinion of tax counsel to the LP Parent dated the Original Amended and Restated Closing
Date.

       “Material Adverse Effect” means, with respect to any event or circumstance, a material
adverse effect on:

               (a)      the business, assets, financial condition or operations of the Borrower, the
         Assignor, the Predecessor Parent Pledgor or a Parent Pledgor or any of the Collateral;

                 (b)    the ability of the Borrower, the Assignor, the Predecessor Parent Pledgor
         or a Parent Pledgor to perform its respective obligations under any Transaction Document
         to which such Person is a party;

                (c)     the validity or enforceability against the Borrower, the Assignor, the
         Predecessor Parent Pledgor or a Parent Pledgor of any Transaction Document to which
         such Person is a party;

                 (d)     the status, existence, perfection or priority of the Administrative Agent’s
         (for the benefit of the Secured Parties) security interest in any of the Collateral or in any
         of the Pledged Interests; or

                (e)    the Lender Valuation or the aggregate amount of Net Death Benefits of the
         Pledged Policies or the validity, enforceability or collectability of a material number of
         Pledged Policies.

         Solely for the purposes of Section 7.2(e) and Section 10.1(l) of the Loan Agreement, a
material adverse effect on the Assignor’s equity interest in OLIPP I, LLC resulting from the
litigation filed by Sun Life Assurance Company of Canada in the District Court for the Southern
District of Florida (Case No. 13-CV-80385) shall not, in and of itself, constitute a “Material
Adverse Effect” under clause (a) of the definition thereof, but shall not preclude the occurrence
of a “Material Adverse Effect” under any other clause of the definition thereof.

         “Maturity Date” means December 31, 2031.

         “Moody’s” means Moody’s Investors Service, Inc. and its successors.



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        “Net Death Benefit” means, with respect to a Policy, the amount projected to be paid by
the Issuing Insurance Company to the Borrower or the Securities Intermediary on its behalf as a
result of the death of the related Insured.

       “Net Proceeds” shall mean, with respect to a sale of the Collateral pursuant to Section 2.7
of the Loan Agreement, all proceeds of such sale net of the lesser of (x) reasonable third-party
out-of-pocket expenses incurred by the Borrower in relation to such sale which have been
approved by the Administrative Agent in its sole and absolute discretion and (y) the greater of (i)
$20,000 and (ii) one percent (1.00%) of the face amount of the Pledged Policies sold in such
sale.

      “Non-Determining Party” has the meaning set forth in Section 2.7(b) of the Loan
Agreement.

        “Non-Public Information” means any and all medical, health, financial and personally
identifiable information about an Insured, a Policy seller, a Policy Beneficiary or any spouse or
other individual closely related by blood or law to any such Person, including name, street or
mailing address, e-mail address, telephone or other contact information, employer, social
security or tax identification number, date of birth, driver’s license number, photograph or
documentation of identity or residency (whether independently disclosed or contained in any
disclosed document such as a Policy, life expectancy evaluation, life insurance application or
viatical or life settlement application or agreement).

        “Obligations” means all obligations (monetary or otherwise) of the Borrower to the
Lenders or the Administrative Agent and their respective successors, permitted transferees and
assigns arising under or in connection with the Loan Agreement, the Lender Notes and each
other Transaction Document, in each case however created, arising or evidenced, whether direct
or indirect, absolute or contingent, now or hereafter existing, or due or to become due, including,
without limitation, the obligation of the Borrower to pay the Aggregate Participation Interest.

         “Original Agreement” has the meaning set forth in the recitals to the Loan Agreement.

         “OFAC” has the meaning set forth in Section 8.1(v) of the Loan Agreement.

      “OFAC Listed Person” has the meaning set forth in Section 8.1(v) of the Loan
Agreement.

         “OFAC Sanctions Program” means any economic or trade sanction that OFAC is
responsible for administering and enforcing. A list of OFAC Sanctions Programs may be found
at http://www.ustreas.gov/offices/enforcement/ofac/programs/.

       “Ongoing Maintenance Advance” shall mean an Advance made after the date of the
making of the Initial Advance, the proceeds of which are used solely to pay amounts permitted
pursuant to Section 2.8(a)(ii) of the Loan Agreement.

        “Ongoing Maintenance Costs” means (i) the scheduled Premiums on the Pledged Policies
(other than Excluded Policies) as set forth on the related Premium Payment Schedule and set
forth in the related Annual Budget which has been approved by the Required Lenders pursuant to

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Section 9.1(d)(vi) of the Loan Agreement, as adjusted by the Administrative Agent to reflect any
maturities or sales of Pledged Policies and any Advances and (ii) the Expenses of the Borrower.

       “Ongoing Maintenance Costs Reimbursable Amount” shall mean as of any date of
determination after the occurrence of a Lender Default, the aggregate amount of Ongoing
Maintenance Costs the Borrower has actually paid after the occurrence of such Lender Default
and would not have otherwise had to pay had such Lender Default not occurred, plus interest
thereon at a rate equal to the Default Rate.

         “Original Amended and Restated Closing Date” shall mean May 16, 2014.

        “Original Amended and Restated Loan Agreement” has the meaning set forth in the
recitals to the Loan Agreement.

         “Original Owner” means, with respect to a Policy, the Person to which the Policy was
initially issued and who was listed as owner on the initial declarations page of such Policy or the
policy application, as applicable.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered,
become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Transaction Document, or sold or assigned or received by way of sale or assignment an interest
in any Advance or Transaction Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, the Loan Agreement (or the Original Agreement or
the Original Amended and Restated Loan Agreement).

       “Parent Pledgor” means each of the GP Parent and LP Parent and collectively, the
“Parent Pledgors”.

         “Partial Repayment Date” shall mean the date on which all Obligations have been paid in
full in cash by the Borrower (other than the Aggregate Participation Interest, any Administrative
Agent Fees due and payable after such date and any Protective Advances made after such date,
and including, for the avoidance of doubt, the Amortization Shortfall Amounts for all of the
Shortfall Pledged Policies that remain unpaid) and all Commitments have been terminated.

        “Participation Interest Account” means an account to be designated in writing from time
to time by the Initial Lender to the Borrower.

        “Participation Interest” shall mean with respect to each Pledged Policy, the right of the
Lenders to receive the Participation Interest Percentage of the portion of Collections (including
Available Amounts), prior to the deduction of any Amortization Shortfall Amounts and
Participation Interest Shortfall Amounts, distributable pursuant to (i) clause “Eighth” of Section

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5.2(b) of the Loan Agreement, (ii) clause “Tenth” of Section 5.2(b) of the Loan Agreement, (iii)
clause “Eleventh” of Section 5.2(b) of the Loan Agreement, (iv) clause “Eleventh” of Section
5.2(c) of the Loan Agreement, (v) clause “Fourteenth” of Section 5.2(c) of the Loan Agreement,
(vi) clause “Fifteenth” of Section 5.2(c) of the Loan Agreement, (vii) Clause “Ninth” of Section
5.2(e) of the Loan Agreement, (viii) Clause “Tenth” of Section 5.2(e) of the Loan Agreement
and/or (ix) Section 10.2(c) of the Loan Agreement, as applicable.

        “Participation Interest Percentage” shall initially equal fifty percent (50%) and on or after
December 28, 2016, such percentage shall equal forty-five percent (45%). Such percentage shall
be reduced once by three percent (3.00%) for each calendar quarter which is one of the first
sixteen (16) calendar quarters occurring after the Initial Closing Date in which one or more
Lender Defaults has initially occurred and no other Lender made the Advances that the
applicable Lenders which caused such Lender Default(s) were obligated to make; provided that
such percentage shall not be reduced with respect to any such calendar quarter if any Lender or
Lenders make additional Advances within twelve (12) months of the end of such calendar
quarter, in an amount which equals or exceeds the amount of the Advances that the Lenders that
caused the related Lender Default(s) to initially occur in such calendar quarter failed to advance.

        “Participation Interest Shortfall Amount” shall mean, with respect to a Pledged Policy
that has become a Shortfall Pledged Policy, the excess of (x) the aggregate of the amounts that
would have been distributed to the Participation Interest Account on the next Distribution Date
occurring after the date on which such Pledged Policy became a Shortfall Pledged Policy, had
such Pledged Policy matured and had the related death benefit been paid in full by the related
Issuing Insurance Company, by deposit thereof into the Collection Account prior to the related
Calculation Date pursuant to clause “Eleventh” of Section 5.2(b) of the Loan Agreement, clause
“Fifteenth” of Section 5.2(c) of the Loan Agreement or clause “Tenth” of Section 5.2(e) of the
Loan Agreement, as applicable, as determined by the Administrative Agent on such Calculation
Date, over (y) the aggregate of the amounts that will actually be distributed to the Participation
Interest Account on such Distribution Date pursuant to clause “Eleventh” of Section 5.2(b) of the
Loan Agreement, clause “Fifteenth” of Section 5.2(c) of the Loan Agreement or clause “Tenth”
of Section 5.2(e) of the Loan Agreement, as applicable, but not taking into account any amounts
that will actually be distributed pursuant to clause (ii) thereof which relate to such Shortfall
Pledged Policy, as determined by the Administrative Agent on the related Calculation Date.

         “Payment Account” has the meaning set forth in Section 5.1(b) of the Loan Agreement.

      “Payment Instructions” has the meaning set forth in Section 5.2(b) of the Loan
Agreement.

         “Payoff Notice” has the meaning set forth in Section 6.5 of the Loan Agreement.

        “PBGC” means the Pension Benefit Guaranty Corporation or any entity succeeding to
any or all of its functions under ERISA.

       “Permitted Sale Cashflow Date” shall mean the date on which (i) the sum of (a) the
aggregate face amount of all Pledged Policies which were sold pursuant to Section 2.7(a) of the
Loan Agreement (other than Pledged Policies sold pursuant to clause (iv) of the first sentence of


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Section 2.7(a) of the Loan Agreement) and (b) the aggregate face amount of all Pledged Policies
which were sold pursuant to Section 2.7(b) of the Loan Agreement and in respect of which the
Determining Party was the Borrower or the Portfolio Manager (other than Direct Assumption
Policies) exceeds ten percent (10%) of the aggregate face amount of all the Pledged Policies as
of the Initial Closing Date, or (ii) the sum of (a) the Lender Valuation of all Pledged Policies
which were sold pursuant to Section 2.7(a) of the Loan Agreement (other than Pledged Policies
sold pursuant to clause (iv) of the first sentence of Section 2.7(a) of the Loan Agreement) as of
their respective sale dates and (b) the Lender Valuation of all Pledged Policies which were sold
pursuant to Section 2.7(b) of the Loan Agreement and in respect of which the Determining Party
was the Borrower or the Portfolio Manager (other than Direct Assumption Policies) exceeds ten
percent (10%) of the Lender Valuation as of the Initial Closing Date or (iii) the sum of (a) the
aggregate number of all Pledged Policies which were sold pursuant to Section 2.7(a) of the Loan
Agreement (other than Pledged Policies sold pursuant to clause (iv) of the first sentence of
Section 2.7(a) of the Loan Agreement) and (b) the aggregate number of all Pledged Policies
which were sold pursuant to Section 2.7(b) of the Loan Agreement and in respect of which the
Determining Party was the Borrower or the Portfolio Manager (other than Direct Assumption
Policies) exceeds ten percent (10%) of the aggregate number of all Pledged Policies as of the
Initial Closing Date.

         “Permitted Investment” means, at any time:

                 (a)     marketable obligations issued by or the full and timely payment of which
         is directly and fully guaranteed or insured by the United States government or any other
         government with an equivalent rating, or any agency or instrumentality thereof when
         such marketable obligations are backed by the full faith and credit of the United States
         government or such other equivalently rated government, as the case may be, but
         excluding any securities which are derivatives of such obligations; and

                (b)      time deposits, bankers’ acceptances and certificates of deposit of any
         domestic commercial bank or any United States branch or agency of a foreign
         commercial bank which (i) has capital, surplus and undivided profits in excess of
         $100,000,000 and which has a commercial paper or certificate of deposit rating in the
         highest rating category by Moody’s and in one of the two highest rating categories by
         S&P or (ii) is set forth in a list (which may be updated from time to time) approved in
         writing by the Required Lenders.

        “Permitted Lien” with respect to any Pledged Policy or Subject Policy means a Lien,
security interest, pledge, charge or encumbrance, or similar right or claim (i) in favor of the
Administrative Agent pursuant to the Transaction Documents, or (ii) in the case of a Retained
Death Benefit Policy, in favor of an original owner, insured or seller or any family member of
any of the foregoing of a Pledged Policy or Subject Policy but only to the extent of the portion of
the death benefit thereof retained by or in favor of such Person.

       “Person” means an individual, partnership, corporation (including a business trust),
limited liability company, joint stock company, trust, unincorporated association, joint venture,
government or any agency or political subdivision thereof or any other entity.



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        “Physician’s Competency Statement” means, with respect to an Insured, a letter issued by
such Insured’s attending physician confirming that such Insured is mentally competent as of the
date of such letter.

       “Pledged Interests” means, collectively, the ownership interests in the Borrower pledged
to the Administrative Agent by the Parent Pledgors pursuant to the Borrower Interest Pledge
Agreement.

       “Pledged Policy” means each Policy pledged to secure Advances under the Loan
Agreement that is not a Policy that has been sold or abandoned as contemplated by Section 2.7 of
the Loan Agreement or been released from the Lien of the Administrative Agent pursuant to
Section 2.6 of the Loan Agreement.

         “Policy” means any life insurance policy.

         “Policy Account” shall have the meaning set forth in the Account Control Agreement.

        “Policy Illustration” means, with respect to any Policy, a level premium, policy values
and Net Death Benefit projection produced by the Issuing Insurance Company or an agent of the
Issuing Insurance Company, using the Issuing Insurance Company’s current/non-guaranteed
values (with a non-guaranteed interest crediting rate not to exceed two-hundred (200) basis
points over the guaranteed rate) sufficient to carry such Policy to its Policy Maturity Date, which
Policy Illustration is not dated more than three hundred sixty-five (365) days prior to the
applicable Advance Date.

        “Policy Loan” means with respect to a Policy, an outstanding loan secured thereby or that
has setoff rights with respect thereto.

       “Policy Maturity Date” means, with respect to a Policy, the date specified in the Policy,
including any extensions thereto available and exercised under the terms of the Policy, on which
coverage offered under the Policy terminates.

        “Portfolio Management Agreement” means the Portfolio Management Agreement, dated
as of the Original Amended and Restated Closing Date, by and between the Portfolio Manager
and the Borrower, as the same may be amended, supplemented or otherwise modified from time
to time in accordance with the Transaction Documents.

        “Portfolio Manager” means Lamington Road Bermuda Ltd., acting as Portfolio Manager,
or any successor Portfolio Manager.

       “Portfolio Manager Fee” shall mean, with respect to each Distribution Date, a fee in an
amount equal to $300 for each Policy that was a Pledged Policy during the immediately
preceding calendar quarter.

       “Portfolio Manager Indemnified Amounts” has the meaning set forth in Section 11.2 of
the Loan Agreement.



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     “Portfolio Manager Termination Event” has the meaning set forth in the Portfolio
Management Agreement.

       “Pre-Approved Medical Underwriters” means any two (2) of Fasano, AVS or 21st
Services.

         “Predecessor Parent Pledgor” means Markley Asset Portfolio, LLC, a Delaware limited
liability company.

        “Predecessor Parent Pledgor Contribution Agreement” means the Contribution
Agreement, dated as of April 29, 2013, by and between the Predecessor Parent Pledgor, as the
transferor, and the Borrower, as the transferee, as the same may be amended, supplemented or
otherwise modified from time to time in accordance with the Transaction Documents.

        “Predecessor Parent Pledgor Contribution Agreement Side Letter” means that certain side
letter, dated as of May 16, 2014, by and between the Predecessor Parent Pledgor, as the
transferor, and the Borrower, as the transferee, as the same may be amended, supplemented or
otherwise modified from time to time in accordance with the Transaction Documents.

        “Predecessor Parent Pledgor LP Contribution Agreement” means the Contribution
Agreement, dated as of May 16, 2014, by and between the Predecessor Parent Pledgor, as the
transferor of certain assets from time to time, and the LP Parent, as the transferee thereof, as the
same may be amended, supplemented or otherwise modified from time to time in accordance
with the Transaction Documents.

       “Premium” means, with respect to any Pledged Policy, as indicated by the context, any
past due premium with respect thereto, or any scheduled premium.

         “Premium Payment Schedule” has the meaning set forth in the Servicing Agreement.

      “Priority of Payments” means the priority of payments set forth in Section 5.2 of the
Loan Agreement.

      “Proposed Additional Policy Advance” has the meaning set forth in Section 2.3(c) of the
Loan Agreement.

        “Proposed Additional Policy Advance Notice” has the meaning set forth in Section 2.3(c)
of the Loan Agreement.

      “Proposed Initial Advance” has the meaning set forth in Section 2.3(a) of the Loan
Agreement.

      “Proposed Initial Advance Notice” has the meaning set forth in Section 2.3(a) of the
Loan Agreement.

      “Proposed Sale Agreement” has the meaning set forth in Section 2.7(a)(ii) of the Loan
Agreement.



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      “Protective Advances” has the meaning set forth in Section 2.1(e) of the Loan
Agreement.

        “Publicly Traded Company” means a Person whose securities are listed on a national
securities exchange or quoted on an automated quotation system in the United States of America
and any wholly-owned subsidiary of such a Person.

         “Purchase Price” means $37,260,895.

       “Qualified Person” means either (i) an individual resident or citizen of the United States
of America or any other resident of the United States of America or Ireland which is a “qualified
person” under the Treaty or (ii) a bank (within the meaning of the Treaty) which funds its
Advances through a branch located in either the United States or Ireland.

       “Rate Calculation Date” for any Interest Period, means the last Business Day of the
preceding calendar year.

         “Rate Floor” has the meaning set forth in Section 3.1 of the Loan Agreement.

         “Receiving Party” has the meaning set forth in Section 13.12 of the Loan Agreement.

      “Recovered Pledged Policy” has the meaning set forth in Section 5.2(f) of the Loan
Agreement.

         “Recipient” means the Administrative Agent or a Lender, as applicable.

      “Red Falcon Credit Facility” that certain credit facility originally entered into on July 16,
2015 pursuant to which CLMG Corp. served as administrative agent and Red Falcon Trust, a
Delaware statutory trust and an Affiliate of the Borrower, acted as borrower.

         “Regulatory Change” means, relative to any Affected Party:

                 (a)    any change in (or the adoption, implementation, change in the phase-in or
         commencement of effectiveness of) any: (i) United States Federal or state law or foreign
         law applicable to such Affected Party, (ii) regulation, interpretation, directive,
         requirement or request (whether or not having the force of law) applicable to such
         Affected Party of (A) any court or government authority charged with the interpretation
         or administration of any law referred to in clause (a)(i), or of (B) any fiscal, monetary or
         other authority having jurisdiction over such Affected Party, or (iii) GAAP or regulatory
         accounting principles applicable to such Affected Party and affecting the application to
         such Affected Party of any law, regulation, interpretation, directive, requirement or
         request referred to in clause (a)(i) or (a)(ii) above;

                  (b)    any change in the application to such Affected Party of any existing law,
         regulation, interpretation, directive, requirement, request or accounting principles referred
         to in clause (a)(i), (a)(ii) or (a)(iii) above; or




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                 (c)     the issuance, publication or release of any regulation, interpretation,
         directive, requirement or request of a type described in clause (a)(ii) above to the effect
         that the obligations of any Lender hereunder are not entitled to be included in the zero
         percent category of off-balance sheet assets for purposes of any risk-weighted capital
         guidelines applicable to such Lender or any related Affected Party.

                 For the avoidance of doubt, any interpretation of Accounting Research Bulletin
         No. 51 by the Financial Accounting Standards Board (including, without limitation,
         Interpretation No. 46: Consolidation of Variable Interest Entities) shall constitute a
         Regulatory Change, regardless of whether it occurred before or after the date hereof.

         “Representatives” has the meaning set forth in Section 13.12 of the Loan Agreement.

         “Required Amortization” means, with respect to any Distribution Date, the product of (i)
the Cash Flow Sweep Percentage and (ii) the remaining Available Amount after giving effect to
all distributions on such Distribution Date pursuant to clauses “First” through “Fifth” of Section
5.2(b) of the Loan Agreement (if no Lender Default is continuing) or clause “First” through sub-
clause (b)(iii) of clause “Sixth” of Section 5.2(b) of the Loan Agreement (if a Lender Default has
occurred and is continuing), as applicable.

       “Required Lenders” means Lenders holding more than fifty percent (50%) of the
aggregate Commitments.

        “Rescission Period” means, with respect to any Policy, the contractual or statutory period
during which the related Original Owner or any other Person can rescind the sale of such Policy
to the Initial Purchaser.

        “Retained Death Benefit Policy” means a Policy in which a Person in addition to the
Securities Intermediary is designated as the “beneficiary” under the Policy by the related Issuing
Insurance Company.

     “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw-Hill
Companies, Inc. and its successors.

         “Sale Price” has the meaning set forth in Section 2.7(a)(ii) of the Loan Agreement.

      “Scheduled Commitment Termination Date” means December 31, 2031, as such date
may be extended pursuant to the written consent of the Borrower and the Lenders.

         “Second Amended and Restated Closing Date” means January 31, 2017.

        “Second Amendment” means that certain Second Amendment to Amended and Restated
Loan and Security Agreement, dated as of December 29, 2016, by and among the Borrower, the
Initial Portfolio Manager, the Initial Servicer, the Guarantor, the Initial Lender and the
Administrative Agent.

         “Secured Parties” means each Lender, the Administrative Agent and the Affected Parties.


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       “Securities Intermediary” means Wilmington Trust, National Association, in its capacity
as securities intermediary under the Account Control Agreement.

         “Servicer” means MLF LexServ LP, acting as Servicer, or any Successor Servicer.

       “Servicer Report” means, collectively, the reports required to be delivered by the Servicer
under the Servicing Agreement.

        “Servicer Report Date” means the date the Servicer Report is to be delivered pursuant to
the terms of the Servicing Agreement.

        “Servicer Termination Event” means an event or circumstance with respect to the
Servicer, which would cause the termination of the Servicing Agreement, in accordance with the
terms thereof.

       “Servicing Agreement” means the Servicing Agreement, dated as of the Original
Amended and Restated Closing Date, among the Servicer, the Portfolio Manager, the Initial
Servicer and the Borrower, as the same may be amended, supplemented or otherwise modified
from time to time in accordance with the Transaction Documents.

         “Servicing Fee” has the meaning set forth in the Servicing Agreement.

      “Shortfall Exclusion Election” has the meaning set forth in Section 5.4 of the Loan
Agreement.

        “Shortfall Pledged Policy” means, subject to Section 5.4 of the Loan Agreement, a
Pledged Policy in respect of which the related Issuing Insurance Company has successfully
challenged or rescinded (or prevailed in any similar action or arbitration or a settlement of any
such action was consummated) such Pledged Policy and the result of such challenge or rescission
(or such similar action, arbitration or settlement) was that such Issuing Insurance Company either
(a) paid an amount less than the face amount of such Pledged Policy plus any applicable
statutory interest or (b) did not pay any portion of the related death benefit to the Securities
Intermediary for deposit into the Collection Account. For avoidance of doubt, any Pledged
Policy in respect of which an Issuing Insurance Company obtains a favorable judgment or
verdict in a challenge or rescission action (or any similar action, including, without limitation, in
an arbitration proceeding), shall be deemed to be a Shortfall Pledged Policy regardless of
whether any appeal is pending, possible or planned. For purposes of clarity, and not by way of
limitation, if a Pledged Policy becomes a Shortfall Pledged Policy as a result of a legal
proceeding or arbitration proceeding, such Pledged Policy shall be deemed to become a Shortfall
Pledged Policy on the date a judgment, verdict or ruling is rendered, or in the case of a settlement
of any challenge or rescission action, on the date of execution of any settlement agreement or
similar agreement, and otherwise, on the date designated by the Required Lenders in their
discretion exercised in a commercially reasonable manner.

         “Solvent” means with respect to any Person, that as of the date of determination (A)(i)
the then fair saleable value of the property of such Person is (y) greater than the total amount of
liabilities (including contingent liabilities that, in light of all of the facts and circumstances
existing at such time, represents the amount that can reasonably be expected to become an actual

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or matured liability) of such Person and (z) not less than the amount that will be required to pay
the reasonably projected liabilities on such Person’s then existing debts as they become absolute
and matured considering all financing alternatives and potential asset sales reasonably available
to such Person; (ii) such Person’s capital is not unreasonably small in relation to its business or
any contemplated or undertaken transaction; and (iii) such Person does not intend to incur, or
believe (nor should it reasonably believe) that it will incur, debts beyond its ability to pay such
debts as they become due; and (B) such Person is “solvent” within the meaning given that term
and similar terms under Applicable Laws relating to fraudulent transfers and conveyances.

       “Subject Policy” means, with respect to an Advance, a Policy proposed to be pledged by
the Borrower in connection with such Advance.

       “Subsequent Advance Acceptance” shall have the meaning specified in Section 2.3(b) of
the Loan Agreement.

       “Subsequent Advance Date” with respect to any Advance other than the Initial Advance,
shall mean the date that such Advance is made pursuant to and in accordance with the Loan
Agreement.

        “Subsidiary” means, with respect to any Person, any corporation or other entity of which
securities or other ownership interests having ordinary voting power (other than securities or
other ownership interests having such power only by reason of the happening of a contingency
which has not occurred) to elect a majority of the Board of Directors or other Persons performing
similar functions are at the time directly or indirectly owned by such Person.

      “Successor Portfolio Manager” has the meaning set forth in the Portfolio Management
Agreement.

       “Successor Initial Servicer” means “Successor Servicer” as defined in the Initial
Servicing Agreement.

       “Successor Servicer” means a successor servicer appointed pursuant to and in accordance
with the terms of the Servicing Agreement.

        “Tax” or “Taxes” means any and all fees (including documentation, recording, license
and registration fees), taxes (including net income, gross income, franchise, value added, ad
valorem, sales, use, property (personal and real, tangible and intangible) and stamp taxes), levies,
imposts, duties, charges, assessments or withholdings of any nature whatsoever, general or
special, ordinary or extraordinary, together with any and all penalties, fines, additions to tax and
interest thereon, imposed by any Governmental Authority.

       “Transaction Documents” means the Loan Agreement, the Initial Servicing Agreement,
the Servicing Agreement, the Assignor Contribution Agreement, the Predecessor Parent Pledgor
Contribution Agreement, the Predecessor Parent Pledgor Contribution Agreement Side Letter,
the Borrower Interest Purchase and Sale Agreement, the Assignment of Interest in Limited
Partnership, the Predecessor Parent Pledgor LP Contribution Agreement, the LP Parent
Contribution Agreement, the Consultancy Agreement, the Administrative Services Agreement,
the Portfolio Management Agreement, the Guaranty, the Borrower Interest Pledge Agreement,

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the Account Control Agreement, the Fee Letter, the Lender Notes, the UCC financing statements
filed in connection with any of the foregoing, and in each case any other agreements,
instruments, certificates or documents delivered or contemplated to be delivered thereunder or in
connection therewith, as any of the foregoing may be amended, supplemented, amended and
restated, or otherwise modified from time to time in accordance with the Loan Agreement.

       “Treaty” means the Convention Between the Government of the United States of
America and the Government of Ireland for the Avoidance of Double Taxation and the
Prevention of Fiscal Evasion With Respect To Taxes on Income and Capital Gains.

       “UCC” means the Uniform Commercial Code as from time to time in effect in the
applicable jurisdiction or jurisdictions.

       “Unmatured Event of Default” shall mean any event that, if it continues uncured, will,
with lapse of time or notice or both, constitute an Event of Default.

         “Up-Front Fee” means $4,000,000.

       “U.S. Person” means any Person that is a “United States Person” as defined in Section
7701(a)(30) of the Code.

        “U.S. Tax Compliance Certificate” has the meaning set forth in Section 6.3(e)(ii)(B)(iii)
of the Loan Agreement.

         “Withholding Agent” means the Securities Intermediary.

       “Withholding Amount” means the aggregate amount of United States withholding taxes
with respect to Collections relating to the GP Parent’s general partnership interest in the
Borrower.

        “Withholding Tax Change of Circumstance” means a situation where United States
withholding taxes (a) would not have been due with respect to any payment by or on account of
any obligation of the Borrower under the Borrower’s ownership and entity structure existing
prior to the Original Amended and Restated Closing Date by reason of an income tax treaty
between the United States and the country of the Lender’s residence or other applicable lending
office and (b) will be due with respect to any payment by or on account of any obligation of the
Borrower under the Borrower’s ownership and entity structure existing after the Original
Amended and Restated Closing Date by reason of the inability due to such structure changes to
qualify under that income tax treaty after the Original Amended and Restated Closing Date and
the inability to qualify, or benefit under a substantially equivalent exemption, under any other
applicable income tax treaty.




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                                         Exhibit 2

                               Borrowing Request from White
                          Eagle to CLMG dated November 28, 2018




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                                             BORROWING REQUEST

                                                  November 28, 2018

CLMGCorp.,
 as Administrative Agent
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone: 469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcmp.com


Ladies and Gentlemen:

        Reference is made to the Amended and Restated Loan and Security Agreement, dated as of May 16, 2014
(as amended, supplemented or otherwise modified from time to time, the "Loan Agreement"), by and among White
Eagle Asset Portfolio, LP, as Borrower, the financial institutions party thereto, as Lenders, Imperial Finance &
Trading, LLC, as Initial Servicer, Initial Portfolio Manager and Guarantor, Lamington Road Bermuda Ltd, as
Portfolio Manager, and CLMG Corp., as Administrative Agent. All capitalized terms used but not defined herein
shall have the meanings assigned to them in Annex I to the Loan Agreement.

        The undersigned hereby gives you irrevocable notice, pursuant to Section 2.2 of the Loan Agreement, that
it requests an Advance under the Loan Agreement and in connection therewith sets forth the following information
related to such Advance:

        (i}        The Advance is an Ongoing Maintenance Advance;

        (ii)       The principal amount of the proposed Advance is $4,220,929.72 to be received on December 5,
                   2018;

        (iii)      The proceeds of such Advance shall be used for the purposes set forth on Schedule I; and

        (iv)       The Borrowing Base Certificate is attached hereto as Exhibit A

         The undersigned hereby certifies that as of the date hereof, and as of the date of the requested Advance,
 after updating Schedule 8.1 G) and Schedule 8.1 (m), as attached, and qualifying Section 8.1 (h) to the Loan
               One Lane Hill, East Broadway, Box Hm265, Hamilton HMAX, Bermuda • ( 441} 295-1078                     ~
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Agreement by such updated schedules, all conditions precedent to the making of the Advance as set forth in
Section 7.2 of the Loan Agreement have been met.




        In accordance with the Loan Agreement, the undersigned hereby irrevocable requests the Administrative
Agent to process this request.

                                                Very truly yours,

                                                WHITE EAGLE ASSET PORTFOLIO, LP




                                                By: White Eagle General Partner, LLC, a Delaware limited
                                                liability company; its General Partner




                                                By :.~---1-~~~~~~~~~~
                                                Name: David Thompson
                                                Title:   Vice-President




            One Lane Hill, East Broadway, Box Hm265, Hamilton HMAX, Bermuda• (441) 295-1078
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WIiing Instruction For Borrower:


RECEIVING BANK:                Wilmington Trust, subsidiary of Manufacturers & Traders Trust Co. (M&T Bank
                               Corp.)


ABA#:                          031100092

ACCOUNT NAME:                  White Eagle Asset Portfolio, LP
                               Payment Account for the benefit ofCLMG Corp.,
                               as Administrative Agent


ACCOUNT NUMBER:                104671-004


AMOUNT:                        $4,220,929.72




           One Lane Hill, East Broadway, Box Hrn265, Hamilton HMAX, Bermuda • (441) 295-1078
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SCHEDULE I TO THE BORROWlNG REQUEST

                        USES OF ONGOING MAINTENANCE ADVANCE


 Scheduled Premium Payments Due                          December 6, 2018- Decembers   4,220,929.72
                                                                  13, 2018
 Borrower Reimbursement of Premium Payments Due
 TOTAL ONGOING MAINTENANCE ADVANCE                                                 G   4,220.929. 72




         One Lane Hill, East Broadway, Box Hm265, Hamilton HMAX, Bermuda• (441) 295-1078
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                                        BORROWING BASE CERTIFICATE

                                                    December 5, 2018

CLMGCorp.,
    as Administrative Agent
7195 Dallas Parkway
Plano, TX 75024
Attention: James Erwin
Telephone:469-467-5414
Facsimile: 469-467-3433
Email: jerwin@clmgcorp.com


Ladies and Gentlemen:

            This Borrowing Base Certificate is delivered to you pursuant to Section 2.2 of that certain Amended and
    Restated Loan and Security Agreement, dated as of May 16, 2014 (as amended, supplemented or otherwise
    modified from time to time, the "Loan Agreement"), by and among White Eagle Asset Portfolio, LP, as Borrower,
    the financial institutions party thereto, as Lenders, Imperial Finance & Trading, LLC, as Initial Servicer, Initial
    Portfolio Manager and Guarantor, Lamington Road Bermuda Ltd., as Portfolio Manager, and CLMG Corp., as
    Administrative Agent. All capitalized terms used but not defined herein shall have the meanings assigned to them
    in Annex I to the Loan Agreement.

          The Borrower hereby:

•         certifies that as of the date hereof, the Borrowing Base is $369,423,698.89;

•         certifies that as of the date hereof, the aggregate amount of outstanding Advances is $363,763,602.64;

•         certifies that after giving effect to the proposed Advance and the aggregate principal amount of all the
          outstanding Advances, will not exceed the Borrowing Base.

        The Borrower's delivery of this Borrowing Base Certificate and acceptance of the Advance requested
hereunder constitutes a representation and warranty by the Borrower that, as of the date of such Advance (and after
giving effect thereto) all conditions precedent have been satisfied.

        The Borrower further agrees that if, prior to the time of the Advance requested hereby, any matter certified
to herein by it will not be true and correct at such time as if then made, it will immediately so notify the
Administrative Agent. Except to the extent, if any, that prior to the time of the Advance requested hereby, the           ~
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EXHIBIT A TO THE BORROWING REQUEST

                             BORROWING BASE CERTIFICATE




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                                                                                   Schedule 8.l(j)

                                                Perfection
                                                [Attached]




                                           Schedule 8.10)


1. On September 15, 2017, Wilmington Trust was served with a Complaint filed in the Superior Court

for the State of Delaware: Lincoln National Life Company v Wilmington Trust, N.A, as Securities

Intermediary, Case No. N17C-08-301. The Complaint seeks an order declaring the Adele Frankel policy

(Policy No. 01N1337900} void ab initio due to Lincoln Nation alleging that the underlying policy is

stranger originated life insurance (STOLi) and as such lacked insurable interest at the time of the

issuance of the underlying policy. The Complaint further seeks to retain any premium paid on the

underlying policy to Lincoln National. The Borrower initially engaged Holland & Knight to represent

Wilmington Trust and authorized the filing of an Answer and/or a Motion to Dismiss in the underlying

case. On September 22, 2017, Wilmington Trust filed a Complaint in The United States District Court

for the Northern District of Mississippi: Wilmington Trust, N.A., as Securities Intermediary v. Lincoln

National Life Company, Case No. 3:17-CV-185-SA-RP. Wilmington Trust's Complaint is based on a

breach of contract claim and fraud on the part of Lincoln National and further seeks punitive damages

against Lincoln National due to its willful and/or wanton misconduct. The Borrower has now engaged

Reed Smith LLP to represent them in court. We understand that a recent filing was made in Brooklyn

where the Frankel Estate has submitted a claim for the insurance policy proceeds. Mississippi Federal

Court agree the case should be tried in Mississippi.



2. On October 6, 2017, Wilmington Trust filed a Complaint in The United States District Court for the

Southern District of Florida: Wilmington Trust, N.A., as Securities Intermediary v. Lincoln National life

Company, Case No. 1:17· CV·23699. The Complaint seeks an order restraining Lincoln Nation from

contesting the Ruben Matz policy (Policy No. 01Nl343229} and forcing Lincoln National to immediately


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Administrative Agent shall receive written notice to the contrary from the Borrower, each matter certified to herein
shall be deemed once again to be certified as true and correct at the date of such Advance as if then made.



          The undersigned has caused this Borrowing Base Certificate to be executed and delivered as of the date
first set forth above in his or her capacity as an officer of the Borrower.




                                                  WHITE EAGLE ASSET PORTFOLIO. LP, as Borrower




                                                  By: White Eagle General Partner, LLC, a Delaware limited




                                                  Name: David Thompson
                                                  Title:   Vice-President




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turn over the net death benefit and agree to honor all other terms of the policy. Lincoln National has

been granted a 30 day extension for the filing of its Answer to the Complaint. Lincoln National had

filed a Motion to Dismiss the FL case based on lack of personal jurisdiction. Wilmington Trust's

response to the Motion to Dismiss is due next week. Holland Knight represent the Complainant.

District court has awarded Wilmington summary judgement. Lincoln Benefit are deciding if they wish

to appeal this decision.



3. On 8th March 2018 Wilmington Trust was served with a suit by Lincoln Benefit Life Company

contesting a policy the Phyllis Pohl policy (Policy 01Nl364514). The Borrower has engaged Curtis Mallet

of New York to represent them in court and is determining the merits of this action. No material

changes as of 11/11/2018.

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contesting the Ruben Matz policy (Policy No. 01Nl343229} and forcing Lincoln National to immediately

turn over the net death benefit and agree to honor all other terms of the policy. Lincoln National has

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                                                                                         • Schedule 8.l(m)

                                               Proceedings
                                                {Attached]




                                          Schedule 8.1 (m)


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                                          Exhibit 3

                           Email from William M. Issac to Jacob
                        Cherner and Brian Bailey dated April 10, 2018




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Webb, Jeramy

To:                                Green, Jesse
Subject:                           RE: Scheduling Visit


From: Isaac, Bill [mailto:Bill.Isaac@fticonsulting.com]
Sent: Tuesday, April 10, 2018 11:48 AM
To: Jacob Cherner <jcherner@csginvestments.com>; Brian Bailey <bbailey@csginvestments.com>
Cc: Pat Curry PJC (pcurry@pjcinvestments.net) <pcurry@pjcinvestments.net>; Harvey Werblowsky
(HWerblowsky@emergentcapital.com) <HWerblowsky@emergentcapital.com>
Subject: Scheduling Visit
Importance: High


Jacob & Brian – See below the agenda items Pat has suggested for discussion at our meeting next week. We
are open to discussing any issues you would like to discuss next week. If you could give us advance
notice of the issues from your viewpoint, that would give us an opportunity to think about them before we
meet. I need the time and date for our meeting next week ASAP, so we can make transportation plans.

                                          Beal Meeting Agenda

                                           Priority Action Points

           1.    Wilmington Trust change to Bank of Utah or other appropriate bank with no connection
                to Delaware.
           2.   Facility cap – Change from $370mm to $410mm
           3.   Inclusion of full A/R of Matured Funds in FMV
                Calculation
           4.    Redefine profit split
                regarding settled legal
                cases on policies. Sun
                Life/Lincoln
           5.   Define mechanism for facility
                draws for new taxation on
                phantom income in facility.
           6.   Release of 2x Coverage Ratio and $4.6mm restricted funds as agreed upon in 2017
           7.   Revise Agreement to release the $76mm preference payments
           8.   Define maturities as only those which have a certified death certificate in hand.
           9.   Define mechanism and parameters for substituting policies w/ Bank approval.
           10. Discuss redundancies and other potential cost savings that are currently required by the
               facility.
           11. Discuss the possible elimination of Irish Trust if not useful under new Tax Code changes
           12. Discuss a potential servicing company change – possibly in house
           13. Discuss potential tax implications due to new tax code changes.

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            14. Discuss ways to change the 45% participation – perhaps designed to encourage more
                prompt collection.
            15. Discuss other issues of possible interest to Beal.


Best regards, Bill


William M. Isaac
Senior Managing Director
FTI Consulting
1209 Westway Drive
Sarasota, Florida 34236
941.388.0088




From: Isaac, Bill
Sent: Tuesday, April 10, 2018 10:36 AM
To: jcherner@csginvestments.com
Subject: Scheduling Visit
Importance: High

Jacob – I was able to visit by telephone last evening with Pat Curry and his general counsel, Harvey
Werblowsky, whom I have known for years in a different context. Pat is working up a bullet point list of the
issues he would like to discuss with you, and I hope to send it along later today. The three of us would like
to come to Dallas next Monday or Tuesday to meet with you (and whatever colleagues you would like
present) to resolve any and all outstanding issues on your end and on Pat’s end. My objective in attending
the meeting will be to try to help bring the two parties together – I am clearly representing Emergent but I
will be endeavoring to keep an open mind with the goal ironing out any differences.

Which day and what time next week will work at your end?

All the best, Bill

William M. Isaac
Senior Managing Director
FTI Consulting
1209 Westway Drive
Sarasota, Florida 34236
941.388.0088




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                                          Exhibit 4

                                Email from Thomas E Lauria
                              to Eric Taube dated July 26, 2018




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Webb, Jeramy

To:                                Green, Jesse
Subject:                           RE: Revised White Eagle Term Sheet


> From: Lauria, Thomas E
> Sent: Thursday, July 26, 2018 08:22 PM
> To: 'erict@hts-law.com<mailto:erict@hts-law.com>'
> <erict@hts-law.com<mailto:erict@hts-law.com>>
> Subject: Revised White Eagle Term Sheet
>
> Eric,
>
> Attached hereto please find a clean copy of the Lender's revised Summary of Indicative Terms together with a
blackline showing changes from the prior version.
>
> You will note that Lender is not interested in (1) renegotiating the magnitude and terms of the Participation Interest,
which was a critical component of Lender's decision to lend, or (2) making changes to the waterfall to restore things that
were negotiated away by Borrower for consideration in connection with a prior amendment to the credit documents.
>
> Lender, however, remains willing to consider increasing the amount of the Facility to address Borrower's liquidity
issues.
>
> We look forward to discussing this with you at a mutually convenient time.
>
> Thanks
>
> Tom
>
>
> --------------------------
> Sent from my BlackBerry Wireless Handheld




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                                          Exhibit 5

                                Email from Thomas E Lauria
                              to Eric Taube dated July 30, 2018




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Webb, Jeramy

To:                                 Green, Jesse
Subject:                            RE: Revised White Eagle Term Sheet


From: Lauria, Thomas E
Sent: Monday, July 30, 2018 06:59 PM
To: 'Eric.Taube@wallerlaw.com' <Eric.Taube@wallerlaw.com>
Subject: Re: Revised White Eagle Term Sheet

Eric,

Since April, the Lender has been more than willing to discuss potential modifications that could address the Borrower's
liquidity and related matters. Rather than doing so, the Borrower's parent, Emergent, has tried to use this as an opening
to retrade issues relating to the Lender's Participation Interest rights and the waterfall under the credit documents. Your
mark-up reflected the Borrower's efforts to open those issues and I believe our response made clear that the Lender is
unwilling to do so.

As we have told Emergent and the Borrower repeatedly, the Lender has no interest in discussing a retrade of issues
relating to the Lender's Participation Interest rights and the waterfall under the credit documents. While we are happy
to meet with the Borrower and its representatives, we are requesting advance confirmation that the Participation
Interest and the waterfall will not be on the agenda.

Assuming you are able to provide the requested confirmation, we can turn to finding a mutually convenient time and
place to meet. In that regard, given your unavailability until Friday, and scheduling on our side (I will not be available
next week or Monday of the following week), it appears the earliest we will be able to meet will be August 14 or 15.

Please let me know how you would like to proceed.
Thanks

Tom



--------------------------
Sent from my BlackBerry Wireless Handheld


----- Original Message -----
From: Eric Taube [mailto:Eric.Taube@wallerlaw.com]
Sent: Monday, July 30, 2018 06:36 PM
To: Lauria, Thomas E
Subject: Re: Revised White Eagle Term Sheet

Tom,
The Borrower would really like to sit down with it’s Lenders to get things resolved as early as possible. Unfortunately,
Friday was the only day this week where I could get to Plano. If that is not workable, I am going to be in Houston in
mediation on EXCO Monday and Tuesday, but can check on my folks for the balance of the week.
Thanks.


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Eric J. Taube
512 685 6401 - office


> On Jul 30, 2018, at 9:02 AM, Lauria, Thomas E <tlauria@whitecase.com> wrote:
>
> Eric,
>
> I will check with the client to find out availability this week. However, my guess is that it would have to be tomorrow or
Wednesday.
>
> That said, I am not optimistic that we will want to meet absent some assurance that the purpose of the meeting will
not be to try to engage in a discussion regarding a retrade of the participation interest or the waterfall.
>
> Tom
>
>
> --------------------------
> Sent from my BlackBerry Wireless Handheld
>
>
> ----- Original Message -----
> From: Eric Taube [mailto:Eric.Taube@wallerlaw.com]
> Sent: Monday, July 30, 2018 09:55 AM
> To: Lauria, Thomas E
> Subject: Re: Revised White Eagle Term Sheet
>
> Tom,
>
> We have reviewed the response. We would like to set up a meeting to discuss it with Beal. Can we meet in Plano on
Friday?
>
> Eric J. Taube
> 512 685 6401 - office




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                                         Exhibit 6

                                  Email from Boris Ziser to
                             Eric Taube dated September 2, 2018




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Webb, Jeramy

To:                                  Green, Jesse
Subject:                             RE: White Eagle


From: Ziser, Boris
Sent: Sunday, September 2, 2018 7:29 AM
To: 'Eric.Taube@wallerlaw.com' <Eric.Taube@wallerlaw.com>
Cc: 'Lauria, Thomas E' <tlauria@whitecase.com>
Subject: White Eagle

Eric,
Attached please find a revised draft of the term sheet you sent to Tom Lauria, with our responses below yours, in blue.

Regards.
Boris

Boris Ziser
Partner and Co-Head of
Structured Finance & Derivatives
Office: 212.756.2140
Mobile: 917.940.1947
boris.ziser@srz.com

Schulte Roth & Zabel LLP
919 Third Avenue, New York, NY 10022
212.756.2000 | 212.593.5955 fax

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                                         Exhibit 7

                                Email from Thomas E Lauria
                            to Eric Taube dated November 2, 2018




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Webb, Jeramy

To:                                 Green, Jesse
Subject:                            RE: White Eagle/Emergent


From: Lauria, Thomas E
Sent: Friday, November 02, 2018 04:19 PM
To: 'Eric.Taube@wallerlaw.com' <Eric.Taube@wallerlaw.com>
Subject: White Eagle/Emergent

Dear Eric,

Following up on your email/term sheet sent to me earlier today, this letter responds to your letter to me dated October
11. At the outset, I would like to address the statement in your letter that the Lender is “contending” that it has a 45
percent “cash flow” interest in White Eagle’s policy portfolio that survives repayment of the debt. This is patently
incorrect in at least two material respects. First, the White Eagle Loan Agreement makes it clear that the Participation
Interest is included within the definition of "Obligations," the payment of which is secured by the Collateral. As such, it is
debt, not a cash flow interest or an equity kicker or anything else. Second, the White Eagle Loan Agreement makes it
equally clear that White Eagle's obligation to pay the Participation Interest survives the repayment of the other
Obligations (the "Partial Repayment Date"), and the termination of the Lender's commitments, under the White Eagle
Credit Agreement.

Any plain reading of the White Eagle Loan Agreement would confirm the foregoing. Please see, among many other
provisions of the White Eagle Loan Agreement, the definitions of “Aggregate Participation Interest”, “Participation
Interest”, “Participation Percentage” and “Obligations” (which expressly includes a reference to repayment of the
Aggregate Participation Interest), along with Sections 2.6(a), 2.6(c) and 3.4 of the Loan Agreement. In addition, the
definition of “Partial Repayment Date” makes it clear that the repayment of the Aggregate Participation Interest survives
repayment in full of other Obligations under the White Eagle Loan Agreement and the termination of the lenders’
commitments. In fact, there is an entire waterfall in the White Eagle Loan Agreement (Section 5.2(e)) that dictates how
policy proceeds are distributed after such Obligations are repaid stating that the Lenders continue to receive their
Participation Interest.

In addition, as I have previously noted (see my email to you dated October 11, sent at 7:05pm ET), your statement that
the Lender is unwilling to consider moving forward on prior discussed issues is inaccurate. Indeed, my email dated
October 11 (and sent at 1:40pm ET) to which your letter responds, specifically invites White Eagle to engage in
negotiations regarding a set of potential amendments to the White Eagle Loan Agreement (as set forth on Exhibit A
thereto). Until we received your email/term sheet mark-up earlier today, I do not believe we had received any
substantive response. My client remains ready, willing and able to move forward promptly in that regard; I will revert re:
next steps after we review your mark-up internally.

Your request that the Lender review and recalculate the September 30, 2018 Lender Valuation in advance of the
October 15, 2018 Distribution Date is now obviously moot. In any event, please note that at this time, the calculation of
the Lender Valuation is irrelevant for purposes of determining what percentage of collections White Eagle is permitted
to retain under the waterfall set forth in Section 5.2(b) of the White Eagle Loan Agreement. This is because the definition
of “Cash Flow Sweep Percentage” contains a proviso that states the following: “provided that if… EMG [i.e. Emergent
Capital Group, Inc.] fails to take steps to improve its solvency in a manner acceptable to the Required Lenders (as
determined in their sole and absolute discretion), then the Cash Flow Sweep Percentage shall equal one-hundred
percent (100%)…”. By the direct and unequivocal admission of Emergent and its representatives, Emergent faces
imminent insolvency and does not currently have access to new equity capital or debt service relief that would relieve


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such insolvency. Those statements alone reflect the weakness of Emergent's solvency position and its inability to make
improvements thereto. As a result, the Cash Flow Sweep Percentage is one-hundred percent (100%).

Although any discussion about the Lender Valuation is irrelevant in light of the foregoing, please note that your
characterization of the determination of the Lender Valuation in your letter is based on false assumptions and
pretenses, including your contention that all Sun Life policies have been excluded from the Lender Valuation or given a
$0 value. This is simply not true; they have, in fact, been included.

My client is frustrated that it took three weeks for White Eagle to formulate a response to proposal regarding potential
amendments to the White Eagle Credit Agreement that we believe will ensure that White Eagle has sufficient liquidity to
operate its business and to improve its efficiency in doing so. We are prepared to promptly re-engage with White Eagle
in an effective dialogue to move forward with a possible solution that will work for both parties.


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Sent from my BlackBerry Wireless Handheld




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